Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 1 of 238. PageID #: 575911




      MOTION FOR LEAVE TO FILE SETTLING DISTRIBUTORS’
     MOTION TO DISMISS CLAIMS FILED BY NON-PARTICIPATING
        NEW YORK SUBDIVISIONS AS BARRED BY STATUTE




                         EXHIBIT 1
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 2 of 238. PageID #: 575912




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF OHIO
                                EASTERN DIVISION



 IN RE: NATIONAL PRESCRIPTION
       OPIATE LITIGATION

        This document relates to:
                                                   MDL No. 2804
     All cases identified in Exhibit A
                                                Hon. Dan Aaron Polster




   SETTLING DISTRIBUTORS’ MOTION TO DISMISS CLAIMS FILED BY NON-
     PARTICIPATING NEW YORK SUBDIVISIONS AS BARRED BY STATUTE
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 3 of 238. PageID #: 575913




                                                    TABLE OF CONTENTS
                                                                                                                                           Page

INTRODUCTION .......................................................................................................................... 1
BACKGROUND ............................................................................................................................ 1
ARGUMENT .................................................................................................................................. 3
I.        The Nonparticipating Entities Are “Government Entities” For Purposes Of The
          Statutory Prohibition. .......................................................................................................... 3
II.       The Nonparticipating Entities’ Claims Were Released By The Attorney General. ........... 5
III.      All Of The Nonparticipating Entities’ Lawsuits Were Filed After The Statutory
          Deadline .............................................................................................................................. 6
CONCLUSION ............................................................................................................................... 6




                                                                        i
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 4 of 238. PageID #: 575914




                                           INTRODUCTION

        Settling Distributor Defendants (referred to herein as “Settling Distributors”)1 move this

Court to dismiss all claims against Settling Distributors in cases filed by certain New York

government entities (the “Nonparticipating Entities”) and consolidated in this MDL proceeding

on the ground that the claims are barred by New York statute. In furtherance of statewide opioid

settlement agreements entered into by the New York Attorney General, the recently passed

amendments to New York Mental Hygiene Law § 25.18(d) extinguish by operation of law

certain claims brought by New York “government entities” against the Settling Distributors. As

discussed further below, the Nonparticipating Entities, the claims they assert, and the Settling

Distributors they assert those claims against all fall within the scope of the statutory prohibition.

        Because the Nonparticipating Entities are statutorily barred from proceeding with any of

the claims against the Settling Distributors currently pending before this Court (a list of these

cases is attached as Exhibit A), Settling Distributors request that the Court enter an order and

final judgment, pursuant to Fed. R. Civ. P. 54(b), dismissing the claims against the Settling

Distributors in the cases listed in Exhibit A.

                                            BACKGROUND

        On July 20, 2021, the Attorney General for the State of New York entered into a

settlement agreement and release between the State of New York and the Settling Distributors to

resolve the myriad lawsuits brought by state government entities against the Settling

Distributors, based on their distribution of prescription opioids. See Exhibit B. The New York


1
 The Settling Distributors are AmerisourceBergen Corporation, AmerisourceBergen Drug Corporation, Bellco
Drug Corp., American Medical Distributors, Inc., McKesson Corporation, PSS World Medical, Inc., Cardinal
Health, Inc., and Kinray LLC, as well as any other Released Entities, as that term is defined in the New York
Agreement, that have been named as defendants in any of the cases listed in Exhibit A. See Exhibit A; Exhibit
B at 8-9 & Ex. F thereto.



                                                     1
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 5 of 238. PageID #: 575915




Agreement was specifically “intended to parallel the terms of the Distributor Global Settlement

Agreement,” with which this Court is familiar. Exhibit B at 1. To facilitate settlements between

the New York Attorney General and defendants in the opioid litigation, the New York State

Legislature amended the New York Mental Hygiene Law, effective June 29, 2021, to create a

statewide opioid settlement fund comprised of specified proceeds from the statewide settlements.

See generally N.Y. Mental Hyg. Law § 25.18. The amendment provides that the statewide

opioid settlement fund will be disbursed to eligible and qualifying political subdivisions within

the State who have submitted Subdivision Settlement Participation Forms. See id.

          Of critical relevance here, the amendment sets forth what happens to claims filed by

political subdivisions like those of the Nonparticipating Entities here. The amendment provides

that “[n]o government entity shall have the authority to assert released claims against entities

released by the department of law in a statewide opioid settlement agreement executed by the

department of law and the released party on or after June first, two thousand twenty-one.” Id.

§ 25.18(d). Furthermore, “[a]ny action filed by a government entity after June thirtieth, two

thousand nineteen asserting released claims against a manufacturer, distributor, or dispenser of

opioid products shall be extinguished by operation of law upon being released by the department

of law in such statewide opioid settlement agreement.” Id.2

          “Government entity” is defined to include “any governmental subdivision within the

boundaries of the state of New York, including, but not limited to, counties, municipalities,

districts, towns and/or villages, and any of their subdivisions, special districts and school

districts, and any department, agency, division, board, commission and/or instrumentality




2
    By statute, the New York Attorney General is the “head of the department of law.” N.Y. Exec. Law § 60.



                                                       2
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 6 of 238. PageID #: 575916




thereof.” Id. § 25.18(a)(2). “Released claims” are given the same meaning as “such term is

defined in the statewide opioid settlement agreements.” Id. § 25.18(a)(5).          And “Released

entities” are given the same meaning “as such term is defined in the statewide opioid settlement

agreements.” Id. § 25.18(a)(6). The definitions of those terms in the New York Agreement are

substantially identical to the definitions in the Distributor Global Settlement Agreement.

                                          ARGUMENT

       By its terms, § 25.18(d) of the amended Mental Hygiene Law extinguishes claims against

Settling Distributors by political subdivisions if three elements are met. First, the party asserting

the claims must be a “government entity.” Second, the “government entity” must be asserting

“released claims” as defined in the statewide settlement agreement against Settling Distributors.

And third, the action must have been filed after June 30, 2019. As discussed in further detail

below, each of these elements is met as to all of the claims against the Settling Distributors in the

lawsuits listed in Exhibit A, and thus dismissal of those claims is appropriate.

I.     The Nonparticipating Entities Are “Government Entities” For Purposes Of The
       Statutory Prohibition.

       As noted, the amendments to the Mental Hygiene Law broadly define “government

entities” to include standard “governmental subdivision[s]” in New York like “counties,

municipalities, districts, towns and/or villages,” but also “any department, agency, division,

board, commission and/or instrumentality thereof.” N.Y. Mental Hyg. Law § 25.18(a)(2)(ii). A

review of Exhibit A reveals that all of the Nonparticipating Entities fall within the scope of this

broad definition.

       Cities, Towns, and Villages. Many of the Nonparticipating Entities fall within the scope

of the statutory definition of “government entities” as cities, towns, and villages. The statute




                                                 3
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 7 of 238. PageID #: 575917




specifically identifies these types of municipal bodies as “government entities.” See N.Y. Mental

Hyg. Law § 25.18(a)(2)(ii); see also Exhibit A.

       Districts.   A number of other Nonparticipating Entities are districts, including: fire

districts; water districts; and school districts. The statute expressly includes “districts” within the

definition of “government entities.” See N.Y. Mental Hyg. Law § 25.18(a)(2)(ii); see also

Exhibit A.

       Public Libraries. The four libraries listed as Nonparticipating Entities in Exhibit A—

Merrick Public Library, West Hampstead Public Library, Plainview-Old Bethpage Public

Library, and Rockville Centre Public Library—are listed as “Special Districts” by the U.S.

Census Bureau.      See 2017 Governmental Units Listing, U.S. Census Bureau, available at

https://www.census.gov/data/datasets/2017/econ/gus/public-use-files.html (last visited April 20,

2022). The statute expressly includes “special districts” like these four entities within the

definition of “government entities.” See N.Y. Mental Hyg. Law § 25.18(a)(2)(ii). At least two of

these entities also expressly note their state affiliation on their websites. See About the Library

& Board of Trustees, Merrick Library, available at https://www.merricklibrary.org/board-of-

trustees/ (last visited April 20, 2022); Board of Trustees, West Hempstead Public Library,

available at https://www.whplibrary.org/board-of-trustees/ (last visited April 20, 2022).

       Nassau University Medical Center. The Nassau University Medical Center is a public

entity operated by a public benefits corporation—the Nassau Health Care Corporation—created

by Nassau County and the State of New York, and has been treated as such in past lawsuits. See

Our History, Nassau University Medical Center, available at https://www.numc.edu/about/our-

history/ (last visited April 20, 2022); Yates v. Singh, No. 601020/18, 2018 N.Y. Misc. LEXIS

3189, at *9 (N.Y. Sup. Ct. Nassau Cnty. June 22, 2018) (in suit involving, inter alia, Nassau




                                                  4
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 8 of 238. PageID #: 575918




University Medical Center, the court referred to it as a “public entity”). Because the statutory

definition of “government entities” specifically includes any “department, agency, division,

board, commission and/or instrumentality” of a “count[y],” the Medical Center is a

“governmental entity” under the statute as well. See N.Y. Mental Hyg. Law § 25.18(a)(2)(ii).

        Given the foregoing, the Nonparticipating Entities all fall within the scope of

“government entities” that are statutorily precluded from maintaining suits against Settling

Distributors.

II.     The Nonparticipating Entities’ Claims Were Released By The Attorney General.

        The claims asserted in each of the Nonparticipating Entities’ cases identified in Exhibit A

were released by the New York Attorney General, thus satisfying the second statutory bar

requirement.

        The amendment provides that “released claims against a manufacturer, distributor, or

dispenser of opioid products shall be extinguished by operation of law upon being released by

the department of law in such statewide opioid settlement agreement.” N.Y. Mental Hyg. Law

§ 25.18(d). As noted, on July 20, 2021, the New York Attorney General (in her capacity as head

of the department of law) entered into a full and final statewide opioid settlement agreement and

release. See Exhibit B.    That settlement agreement released Settling Distributors from “all

Claims for Covered Conduct” and was drafted broadly to “bar[] any further future claims or

demands of any kind or character whatsoever as a result of or relating to the Covered Conduct.”

Id. at 4. “Covered Conduct” in turn is broadly defined to cover, inter alia, any claim related to

the distribution of prescription opioids, including reporting or non-reporting of orders, diversion

control programs, or suspicious order monitoring. The Attorney General made the determination

that the settlement, including resolution of all subdivision claims, was in the State’s best

interests.


                                                 5
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 9 of 238. PageID #: 575919




       The Attorney General explicitly stated in her November 17, 2021 Letter and Release of

Opioid-Related Claims Pursuant to the Distributors New York Settlement Agreement and New

York Mental Hygiene Law § 25.18(d), that the Attorney General had obtained the authority to

settle and release, to the maximum extent of the State’s power, all Released Claims, and that the

New York Agreement constitutes a “statewide opioid settlement agreement” under § 25.18(d) of

the Mental Hygiene Law. See Exhibit C. And the Attorney General had good reason to

exercise this authority because, under the settlement, resolution of all subdivision claims,

including through the statutory bar, maximizes settlement bonus payments to the State of New

York. See Exhibit B at 17-22.

       Here, there can be no dispute that the claims against the Settling Distributors in all of the

complaints listed in Exhibit A and consolidated for pretrial purposes in this MDL fall within the

scope of the release and thus fall within the scope of the statutory prohibition in § 25.18(d).

III.   All Of The Nonparticipating Entities’ Lawsuits Were Filed After The Statutory
       Deadline

       Third, and finally, the amendment applies to claims filed “after June thirtieth, two

thousand nineteen.” N.Y. Mental Hyg. Law § 25.18(d). All of the Nonparticipating Entities’

lawsuits were filed after the June 30, 2019 cutoff. See Exhibit A. Accordingly, all three criteria

for the statutory bar set forth in § 25.18(d) are met, and the Nonparticipating Entities’ lawsuits

should be dismissed.

                                         CONCLUSION

       For the foregoing reasons, Settling Distributors respectfully request that this Court

dismiss all claims against Settling Distributors in the lawsuits identified in Exhibit A as

statutorily barred by New York Mental Hygiene Law § 25.18(d).




                                                  6
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 10 of 238. PageID #: 575920




Dated: April 21, 2022
                                          Respectfully submitted,


                                          /s/ Robert A. Nicholas
                                          Robert A. Nicholas
                                          Shannon E. McClure
                                          REED SMITH LLP
                                          Three Logan Square
                                          1717 Arch Street, Suite 3100
                                          Philadelphia, PA 19103
                                          Telephone: (215) 851-8100
                                          Fax: (215) 851-1420
                                          smcclure@reedsmith.com

                                          Counsel for AmerisourceBergen Corporation

                                          /s/ Enu A. Mainigi
                                          Enu A. Mainigi
                                          Jennifer G. Wicht
                                          Steven Pyser
                                          Ashley Hardin
                                          WILLIAMS & CONNOLLY LLP
                                          725 Twelfth Street NW
                                          Washington, DC 20005
                                          (202) 434-5000 / tel.
                                          (202) 434-5029/ fax
                                          emainigi@wc.com

                                          Attorneys for Defendant Cardinal Health, Inc.

                                          /s/ Mark H. Lynch
                                          Geoffrey E. Hobart
                                          Mark H. Lynch
                                          Christian J. Pistilli
                                          COVINGTON & BURLING LLP
                                          One CityCenter
                                          850 Tenth Street NW
                                          Washington, DC 20001
                                          Tel: (202) 662-5281
                                          ghobart@cov.com
                                          mlynch@cov.com
                                          cpistilli@cov.com

                                          Counsel for Defendant McKesson
                                          Corporation
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 11 of 238. PageID #: 575921




            SETTLING DISTRIBUTORS’ MOTION TO DISMISS
           CLAIMS FILED BY NON-PARTICIPATING NEW YORK
                SUBDIVISIONS AS BARRED BY STATUTE




                         EXHIBIT A
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 12 of 238. PageID #: 575922




                                              Exhibit A

    Case Name                                                      Case Number          Date Filed
    Amityville (NY), Village of v. McKesson Corporation, et al. 1:19-op-45955            10/30/2019
    Babylon (NY), Incorporated Village of v. McKesson Corp., et
    al.                                                         1:19-op-46062            11/21/2019
    Babylon (NY), Town of v. McKesson Corp., et al.                1:19-op-46047         11/21/2019
    Bellmore (NY), Fire District of v McKesson Corp., et al.       1:19-op-46034         11/20/2019
    Bellport (NY), Village of v. McKesson Corp., et al.            1:19-op-46019         11/15/2019
    Board of Education of Thornton Township High Schools
    (IL), et al. v. Cephalon, Inc., et al.1                        1:20-op-45281         12/16/2020
    Brookhaven (NY), Town of v. McKesson Corporation, et al.       1:19-op-46018         11/15/2019
    Centereach (NY), Fire District v. McKesson Corporation, et
    al.                                                            1:19-op-46100          12/3/2019
    Centerport (NY), Fire District of v. McKesson Corp., et al.    1:19-op-46107          12/4/2019
    Clarkstown (NY), Town of v. McKesson Corp., et al.             1:19-op-46088         11/22/2019
    East Hampton (NY), Village of v. McKesson Corp., et al.    1:19-op-46040             11/20/2019
    East Rockaway (NY), Village of v. McKesson Corporation, et
    al.                                                        1:19-op-45999             11/11/2019
    Farmingdale (NY), Village of v. McKesson Corp., et al.         1:19-op-46037         11/20/2019
    Floral Park (NY), Village of v. McKesson Corporation, et al.   1:19-op-46000         11/11/2019
    Garden City (NY), Village of v. McKesson Corp., et al.         1:19-op-45902         10/22/2019
    Great Neck (NY), Village of v. McKesson Corp., et al.          1:19-op-46145         12/19/2019
    Greenport (NY), Village of v. McKesson Corp., et al.           1:19-op-46084         11/22/2019
    Hauppauge (NY), Fire District of v. McKesson Corporation,
    et al.                                                         1:19-op-46108          12/4/2019
    Haverstraw (NY), Town of v. McKesson Corp., et al.             1:19-op-46083         11/22/2019
    Hempstead (NY), Town of v. McKesson Corp., et al.              1:19-op-46035         11/20/2019
    Hempstead (NY), Village of v. McKesson Corporation, et al.     1:19-op-46026         11/18/2019
    Hicksville (NY), Water District of v. McKesson Corp., et al.   1:20-op-45072          2/10/2020
    Huntington (NY), Town of v. McKesson Corp., et al.             1:19-op-46038         11/20/2019
    Island Park (NY), Village of v. McKesson Corp., et al.         1:19-op-45903         10/22/2019



1
  Board of Education of Thornton Township High Schools is a multi-plaintiff case filed by plaintiffs
from multiple states. Through this motion, Settling Distributors only seek dismissal of the claims
brought by plaintiff Rochester City School District, which is a New York government entity
subject to the statutory bar.


                                                 -1-
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 13 of 238. PageID #: 575923




 Case Name                                                    Case Number         Date Filed
 Islandia (NY), Incorporated Village of v. McKesson Corp., et
 al.                                                          1:19-op-45954       10/29/2019
 Islip Terrace (NY), Fire District of v. McKesson Corp., et al.   1:20-op-45049     2/5/2020
 Islip (NY), Town of v. McKesson Corp., et al.                    1:19-op-46079   11/22/2019
 Lake Grove (NY), Incorporated Village of v. McKesson
 Corp., et al.                                                    1:19-op-46032   11/20/2019
 Lawrence (NY), Incorporated Village of v. McKesson Corp.,
 et al.                                                           1:19-op-45992    11/6/2019
 Levittown (NY), Fire District of v. McKesson Corp., et al.       1:19-op-46077   11/22/2019
 Lindenhurst (NY), Incorporated Village of v. McKesson
 Corp., et al.                                                    1:19-op-46064   11/21/2019
 Lloyd Harbor (NY), Incorporated Village of v. McKesson
 Corp., et al.                                                    1:19-op-46052   11/21/2019
 Long Beach (NY), City of v. McKesson Corporation, et al.         1:19-op-46005   11/13/2019
 Lynbrook (NY), Village of v. McKesson Corporation, et al.        1:19-op-46009   11/15/2019
 Massapequa Park (NY), Village of v. McKesson
 Corporation, et al.                                              1:19-op-46024   11/18/2019
 Melville (NY), Fire District of v. McKesson Corp., et al.        1:19-op-46112    12/5/2019
 Merrick Library (NY) v. McKesson Corporation, et al.             1:19-op-46097    12/2/2019
 Mill Neck (NY), Incorporated Village of v. McKesson Corp.,
 et al.                                                           1:19-op-46074   11/22/2019
 Miller Place (NY), Fire District of v. McKesson Corp., et al.    1:19-op-46109    12/4/2019
 Millerton (NY), Village of v. McKesson Corporation, et al.       1:19-op-45998   11/11/2019
 Mount Sinai (NY), Fire District of v. McKesson Corporation,
 et al.                                                           1:19-op-46110    12/4/2019
 Nassau University Medical Center (NY) v. Purdue Pharma
 L.P., et al.                                                     1:19-op-45812    8/30/2019
 Nesconset (NY), Fire District of v. McKesson Corp., et al.       1:19-op-46106    12/4/2019
 New Hyde Park (NY), Incorporated Village of v. McKesson
 Corp., et al.                                                    1:19-op-46022   11/15/2019
 Nissequogue (NY), Incorporated Village of v. McKesson
 Corp., et al.                                                    1:19-op-46063   11/21/2019
 North Hempstead (NY), Town of v. McKesson Corp., et al.          1:19-op-46043   11/20/2019
 North Merrick (NY), Fire District of v. McKesson Corp., et
 al.                                                              1:19-op-46048   11/21/2019
 North Patchogue (NY), First District of v. McKesson Corp.,
 et al.                                                           1:20-op-45050     2/5/2020
 Northport (NY), Incorporated Village of v. McKesson Corp.,
 et al.                                                           1:19-op-46050   11/21/2019


                                               -2-
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 14 of 238. PageID #: 575924




 Case Name                                                     Case Number     Date Filed
 Old Westbury (NY), Village of v. McKesson Corp., et al.       1:19-op-46075   11/22/2019
 Orangetown (NY), Town of v. McKesson Corp., et al.            1:19-op-46081   11/22/2019
 Oyster Bay (NY), Town of v. McKesson Corp., et al.            1:19-op-46041   11/20/2019
 Patchogue (NY), Village of v. McKesson Corp., et al.          1:19-op-46039   11/20/2019
 Plainview - Old Bethpage (NY) Public Library v. McKesson
 Corp., et al.                                                 1:19-op-46061   11/21/2019
 Poquott (NY), Incorporated Village of v. McKesson Corp., et
 al.                                                           1:19-op-46031   11/20/2019
 Port Washington North (NY), Village of v. Purdue Pharma,
 et al.                                                        1:19-op-46051   11/21/2019
 Port Washington (NY), Water District of v. McKesson Corp.,
 et al.                                                        1:19-op-46004   11/13/2019
 Poughkeepsie (NY), Town of v. Teva Pharmaceuticals USA,
 Inc., et al.                                                  1:20-op-45260    2/21/2020
 Ramapo, (NY), Town of v. McKesson Corporation, et al          1:20-op-45042    1/27/2020
 Ridge (NY), Fire District of v. McKesson Corp., et al.        1:19-op-46144   12/19/2019
 Riverhead (NY), Town of v. McKesson Corp., et al.             1:19-op-46036   11/20/2019
 Rockville Centre Public Library (NY) v. McKesson Corp., et
 al.                                                           1:19-op-46065   11/21/2019
 Rosalyn (NY), Water District of v. McKesson Corporation, et
 al.                                                           1:19-op-46015   11/15/2019
 Saltaire (NY), Village of v. McKesson Corp., et al.           1:19-op-46080   11/22/2019
 Smithtown (NY), Fire District of v. McKesson Corporation,
 et al.                                                        1:19-op-46111    12/4/2019
 Smithtown (NY), Town of v. McKesson Corp., et al.             1:19-op-46033   11/20/2019
 South Farmingdale (NY), Fire District of v. McKesson
 Corporation, et al.                                           1:19-op-46003   11/13/2019
 Southampton (NY), Town of v. McKesson Corp., et al.           1:19-op-45968    11/4/2019
 Southold (NY), Town of v. McKesson Corp., et al.              1:19-op-46090   11/22/2019
 St James (NY), Fire District of v. McKesson Corporation, et
 al.                                                           1:20-op-45035    1/19/2020
 Stewart Manor (NY), Village of v. McKesson Corporation, et
 al.                                                           1:19-op-46002   11/13/2019
 Stony Brook (NY), Fire District of v. McKesson Corporation,
 et al.                                                        1:19-op-46113    12/5/2019
 Stony Point (NY), Town of v. McKesson Corp., et al.           1:20-op-45036    1/22/2020
 Suffern (NY), Village of v. McKesson Corp., et al.            1:19-op-46087   11/22/2019
 The Branch (NY), Village of v. McKesson Corporation, et al.   1:19-op-46114    12/5/2019


                                              -3-
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 15 of 238. PageID #: 575925




 Case Name                                                    Case Number     Date Filed
 Uniondale (NY), Fire District of v. McKesson Corp., et al.   1:19-op-46049   11/21/2019
 Valley Stream (NY), Village of v. McKesson Corporation, et
 al.                                                          1:19-op-46023   11/15/2019
 Wappinger Falls (NY), Town of v. ABDC, et al.                1:19-op-46091    11/1/2019
 Wappingers Falls (NY), Village of v. ABDC, et al.            1:19-op-45922    9/18/2019
 West Hampton Dunes (NY), Incorporated Village of v.
 McKesson Corp., et al.                                       1:19-op-46055   11/21/2019
 West Haverstraw (NY), Village of v. McKesson Corp., et al.   1:19-op-46089   11/22/2019
 West Hempstead (NY) Public Library v. McKesson
 Corporation, et al.                                          1:20-op-45018    1/13/2020
 Westbury (NY), Village of v. McKesson Corporation, et al.    1:19-op-46025   11/18/2019




                                             -4-
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 16 of 238. PageID #: 575926




            SETTLING DISTRIBUTORS’ MOTION TO DISMISS
           CLAIMS FILED BY NON-PARTICIPATING NEW YORK
                SUBDIVISIONS AS BARRED BY STATUTE




                         EXHIBIT B
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 17 of 238. PageID #: 575927




         DISTRIBUTORS NEW YORK SETTLEMENT
                    AGREEMENT
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 18 of 238. PageID #: 575928




                                                   Table of Contents

I.         Overview ......................................................................................................................1

II.        Definitions ....................................................................................................................1

III.       Condition to Effectiveness of Agreement ..................................................................12

IV.        Participation by Subdivisions .....................................................................................12

V.         Settlement Payments ..................................................................................................14

VI.        Allocation and Use of Settlement Payments. .............................................................26

VII.       Enforcement ...............................................................................................................27

VIII.      Plaintiffs’ Attorneys’ Fees and Costs .........................................................................27

IX.        New York Additional Restitution Amount ................................................................30

X.         Release........................................................................................................................30

XI.        Later Litigating Subdivisions .....................................................................................34

XII.       Reductions/Offsets .....................................................................................................38

XIII.      Injunctive Relief .........................................................................................................39

XIV.       Miscellaneous .............................................................................................................40

           Alleged Harms..............................................................................................................1

           Later Litigating Subdivision Suspension and Offset Determinations ..........................1

           List of Opioid Remediation Uses .................................................................................1

           Primary Subdivisions ...................................................................................................1

           Agreed List of New York State Litigating Subdivisions ..............................................1

          Settling Distributors’ Subsidiaries, Joint Ventures, and Predecessor Entities ..............1

          Settlement Payment Schedule .......................................................................................1

          Illustrative Examples of Settlement Prepayments .........................................................1

          ABC IRS Form 1098-F ..................................................................................................1

          Cardinal Health IRS Form 1098-F ................................................................................1



                                                                 i
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 19 of 238. PageID #: 575929




          McKesson IRS Form 1098-F .......................................................................................1

          Subdivision Settlement Participation Form ..................................................................1

          Stipulations of Discontinuance with Prejudice .............................................................1

          New York Opioid Settlement Sharing Agreement .......................................................1

           List of New York Subdivisions and Special Districts Represented by
           Napoli Shkolnik PLLC and Simmons Hanly Conroy LLC .........................................1

          Case Management Order...............................................................................................1

          List of States .................................................................................................................1

          Proposed Injunctive Relief Term Sheet ........................................................................1




                                                                ii
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 20 of 238. PageID #: 575930

                                                                                                   §I


                DISTRIBUTORS NEW YORK SETTLEMENT AGREEMENT



I.       Overview

        This Distributors New York Settlement Agreement (“Agreement”) sets forth the terms
and conditions of a settlement agreement between and among the State of New York, Nassau
County, Suffolk County, all “Participating Subdivisions” as that term is defined herein,
McKesson Corporation (“McKesson”), Cardinal Health, Inc. (“Cardinal”), and
AmerisourceBergen Corporation (“Amerisource”) (collectively, “the Parties”) to resolve opioid-
related Claims against McKesson, Cardinal, and/or Amerisource (collectively, “Settling
Distributors”).

         The Parties intend the terms of this Agreement to parallel the terms of the Distributor
Global Settlement Agreement (“Global Settlement”) currently under negotiation. As of the date
of this signing, based on the status of current negotiations, New York State intends to join the
Global Settlement if it becomes effective. If the Global Settlement becomes effective by July 1,
2022, its terms will supersede the terms of this Agreement except for Sections III.B (Dismissal
of Claims), VIII (Plaintiffs’ Attorneys’ Fees and Costs), and X (Release). If the Global
Settlement is not effective by the aforementioned date, this Agreement and the New York
Consent Judgment giving effect to its terms will control.

         The Settling Distributors have agreed to the below terms for the sole purpose of
settlement, and nothing herein may be taken as or construed to be an admission or concession of
any violation of law, rule, or regulation, or of any other matter of fact or law, or of any liability
or wrongdoing, all of which the Settling Distributors expressly denies. No part of this
Agreement, including its statements and commitments, shall constitute evidence of any liability,
fault, or wrongdoing by the Settling Distributors. Unless the contrary is expressly stated, this
Agreement is not intended for use by any third party for any purpose, including submission to
any court for any purpose. This Agreement is not contingent on the Global Settlement taking
effect.

        This Agreement resolves the Settling Distributor’s portion of the coordinated litigation
before Justice Jerry Garguilo as In Re Opioid Litigation, 400000/2017 (Sup. Ct. Suffolk Cty.).
Pursuant to NYSCEF Doc. No. 541, the following three were designated by the Court as Track
One Cases: (1) The County of Suffolk, New York v. Purdue Pharma L.P., Case No. 400001/2017,
(2) The County of Nassau, New York v. Purdue Pharma LP., Case No. 400008/2017, and (3)
State of New York v. Purdue Pharma, LP. (400016/2018).

II.      Definitions

         For all sections of this Agreement except as otherwise specified, the following definitions
apply:

      A.       “Actions.” (1) In Re Opioid Litigation, 400000/2017 (Sup. Ct. Suffolk Cty); (2)
The County of Suffolk, New York v. Purdue Pharma L.P., Case No. 400001/2017; (3) The County



                                                  1
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 21 of 238. PageID #: 575931

                                                                                                 § II

of Nassau, New York v. Purdue Pharma LP., Case No. 400008/2017; and (4) State of New York
v. Purdue Pharma, LP. (400016/2018).

      B.       “Agreement.” This Distributors New York Statewide Opioid Settlement
Agreement, inclusive of all exhibits.

        C.       “Alleged Harms.” The alleged past, present, and future financial, societal, and
public nuisance harms and related expenditures arising out of the alleged misuse and abuse of
Products, non-exclusive examples of which are described in the documents listed on Exhibit A,
all of which were filed in connection with the case captioned In re National Prescription Opiate
Litigation, No. 1-17-md-02804 (N.D. Ohio), that have allegedly arisen as a result of the physical
and bodily injuries sustained by individuals suffering from opioid-related addiction, abuse, death,
and other related diseases and disorders, and that have allegedly been caused by the Settling
Distributors.

        D.       “Annual Payment.” The total amount payable to the New York Qualified
Settlement Fund Administrator by the Settling Distributors on the Payment Date each year, as
calculated by the New York Qualified Settlement Fund Administrator pursuant to Section
V.B.1.d. For the avoidance of doubt, this term does not include the New York Additional
Restitution Amount or amounts paid pursuant to Section VIII.

       E.        “Appropriate Official.” As defined in Section XIV.F.3.

        F.       “Bar.” Either: (1) a law in New York State barring Subdivisions from
maintaining Released Claims against Released Entities (either through a direct bar or through a
grant of authority to release claims and the exercise of such authority in full) or (2) a ruling by
the New York State Court of Appeals setting forth the general principle that Subdivisions may
not maintain any Released Claims against Released Entities, whether on the ground of this
Agreement (or the release in it) or otherwise. For the avoidance of doubt, a law or ruling that is
conditioned or predicated upon payment by a Released Entity (apart from the Annual Payments
by Settling Distributors under this Agreement) shall not constitute a Bar.

        G.        “Case-Specific Resolution.” Either: (1) a law in New York State barring the
Subdivision at issue from maintaining any Released Claims against any Released Entities (either
through a direct bar or through a grant of authority to release claims and the exercise of such
authority in full); or (2) a ruling by a court of competent jurisdiction over the Subdivision at
issue that the Subdivision may not maintain any Released Claims at issue against any Released
Entities, whether on the ground of this Agreement (or the release in it) or otherwise. For the
avoidance of doubt, a law or ruling that is conditioned or predicated upon payment by a Released
Entity (apart from the Annual Payments by Settling Distributors under this Agreement) shall not
constitute a Case-Specific Resolution.

       H.       “Claim.” Any past, present or future cause of action, claim for relief, cross-claim
or counterclaim, theory of liability, demand, derivative claim, request, assessment, charge,
covenant, damage, debt, lien, loss, penalty, judgment, right, obligation, dispute, suit, contract,
controversy, agreement, parens patriae claim, promise, performance, warranty, omission, or
grievance of any nature whatsoever, whether legal, equitable, statutory, regulatory or



                                                 2
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 22 of 238. PageID #: 575932

                                                                                                 § II

administrative, whether arising under federal, state or local common law, statute, regulation,
guidance, ordinance or principles of equity, whether filed or unfiled, whether asserted or
unasserted, whether known or unknown, whether accrued or unaccrued, whether foreseen,
unforeseen or unforeseeable, whether discovered or undiscovered, whether suspected or
unsuspected, whether fixed or contingent, and whether existing or hereafter arising, in all such
cases, including, but not limited to, any request for declaratory, injunctive, or equitable relief,
compensatory, punitive, or statutory damages, absolute liability, strict liability, restitution,
abatement, subrogation, contribution, indemnity, apportionment, disgorgement, reimbursement,
attorney fees, expert fees, consultant fees, fines, penalties, expenses, costs or any other legal,
equitable, civil, administrative, or regulatory remedy whatsoever.

        I.       “Claim Over.” A Claim asserted by a Non-Released Entity against a Released
Entity on the basis of contribution, indemnity, or other claim-over on any theory relating to a
Non-Party Covered Conduct Claim asserted by a Releasor.

       J.        “Compensatory Restitution Amount.” The aggregate amount of payments paid or
incurred by the Settling Distributors hereunder other than amounts paid as attorneys’ fees and
costs.

      K.       “Court.” The court to which the Agreement and the New York Consent
Judgment are presented for approval and/or entry.

         L.       “Covered Conduct.” Any actual or alleged act, failure to act, negligence,
statement, error, omission, breach of any duty, conduct, event, transaction, agreement,
misstatement, misleading statement or other activity of any kind whatsoever from the beginning
of time through the Effective Date (and any past, present, or future consequence of any such act,
failure to act, negligence, statement, error, omission, breach of duty, conduct, event, transaction,
agreement, misstatement, misleading statement or other activity) relating in any way to (1) the
discovery, development, manufacture, packaging, repackaging, marketing, promotion,
advertising, labeling, recall, withdrawal, distribution, delivery, monitoring, reporting, supply,
sale, prescribing, dispensing, physical security, warehousing, use or abuse of, or operating
procedures relating to, any Product, or any system, plan, policy or advocacy relating to any
Product or class of Products, including but not limited to any unbranded promotion, marketing,
programs, or campaigns relating to any Product or class of Products; (2) the characteristics,
properties, risks, or benefits of any Product; (3) the reporting, disclosure, non-reporting or non-
disclosure to federal, state or other regulators of orders placed with any Released Entity; or (4)
diversion control programs or suspicious order monitoring; provided, however, that as to any
Claim that a Releasor has brought or could bring, Covered Conduct does not include non-
compliance with statutory or administrative supply security standards concerning cleanliness of
facilities or stopping counterfeit products, so long as such standards apply to the storage and
distribution of both controlled and non-controlled pharmaceuticals.

        M.        “Effective Date.” The date of entry of the New York Consent Judgment, which
shall be filed not later than thirty (30) calendar days after the Initial Participation Date.

        N.        “Final Order.” An order or judgment of a court of competent jurisdiction with
respect to the applicable subject matter (1) which has not been reversed or superseded by a


                                                 3
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 23 of 238. PageID #: 575933

                                                                                                § II

modified or amended order, is not currently stayed, and as to which any right to appeal or seek
certiorari, review, reargument, stay, or rehearing has expired, and as to which no appeal or
petition for certiorari, review, reargument, stay, or rehearing is pending or (2) as to which an
appeal has been taken or petition for certiorari, review, reargument, stay, or rehearing has been
filed and (a) such appeal or petition for certiorari, review, reargument, stay, or rehearing has
been resolved by the highest court to which the order or judgment was appealed or from which
certiorari, review, reargument, stay, or rehearing was sought or (b) the time to appeal further or
seek certiorari, review, reargument, stay, or rehearing has expired and no such further appeal or
petition for certiorari, review, reargument, stay, or rehearing is pending.

         O.        “Global Settlement.” The proposed agreement, in which New York State intends
to participate if it becomes effective, resolving the litigation and claims brought or threatened to
be brought by states and subdivisions against the Settling Distributors, including claims against
the Settling Distributors asserted in the multi-district litigation In re: Nationwide Prescription
Opiate Litigation, MDL No. 2804 (N.D. Ohio) (“MDL”) and state court prescription opiate
litigation.

       P.        “Global Settlement Net Abatement Amount.” The “Net Abatement Amount”
defined in the Global Settlement, an amount of $18,554,013,693.

       Q.       “Incentive Payment A.” The incentive payment described in Section V.F.1.

       R.       “Incentive Payment B.” The incentive payment described in Section V.F.2.

       S.       “Incentive Payment C.” The incentive payment described in Section V.F.3.

       T.       “Incentive Payment D.” The incentive payment described in Section V.F.4.

        U.      “Incentive Payment Final Eligibility Date.” The date that is the earlier of (1) the
fifth Payment Date, (2) the date of completion of opening statements in a trial of any action
brought by a Subdivision that includes a Released Claim against a Released Entity when such
date is more than two (2) years after the Effective Date, or (3) two (2) years after the Effective
Date in the event a trial of an action brought by a Subdivision that includes a Released Claim
against a Released Entity began after the Initial Participation Date but before two (2) years after
the Effective Date.

        V.       “Initial Participating Subdivision.” A Subdivision that meets the requirement set
forth in Section IV.E.

        W.      “Initial Participation Date.” The date, unless it is extended by agreement of the
Parties, one hundred twenty (120) calendar days after the Preliminary Agreement Date.

        X.         “Later Litigating Subdivision.” A Subdivision (or Subdivision official asserting
the right of such a Subdivision to recover for alleged harms to the Subdivision and/or the people
thereof) that: (1) first files a lawsuit bringing a Released Claim against a Released Entity after
the Effective Date; or (2) adds a Released Claim against a Released Entity after the Effective
Date to a lawsuit brought before the Effective Date that, prior to the Effective Date, did not
include any Released Claims against a Released Entity; (3) (a) was a Litigating Subdivision


                                                 4
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 24 of 238. PageID #: 575934

                                                                                                   § II

whose Released Claims against Released Entities were resolved by a legislative Bar or
legislative Case-Specific Resolution as of the Effective Date, (b) such legislative Bar or
legislative Case-Specific Resolution is subject to a Revocation Event after the Effective Date,
and (c) the earlier of the date of completion of opening statements in a trial in an action brought
by a Subdivision that includes a Released Claim against a Released Entity or one hundred eighty
(180) calendar days from the Revocation Event passes without a Bar or Case-Specific Resolution
being implemented as to that Litigating Subdivision or the Litigating Subdivision’s Released
Claims being dismissed; or (4) (a) was a Litigating Subdivision whose Released Claims against
Released Entities were resolved by a judicial Bar or judicial Case-Specific Resolution as of the
Effective Date, (b) such judicial Bar or Case-Specific Resolution is subject to a Revocation
Event after the Effective Date, and (c) such Litigating Subdivision takes any action to further,
assert, or revive a Released Claim in a lawsuit against a Released Entity other than seeking a stay
or dismissal.

         Y.        “Later Participating Subdivision.” A Participating Subdivision that is not an
Initial Participating Subdivision but meets the requirements set forth in Section IV.C.

       Z.          “Litigating Subdivision.” A Subdivision (or Subdivision official) that brought
any Released Claim against any Released Entity prior to the Effective Date. Exhibit E is an
agreed list of all New York State Litigating Subdivisions. Exhibit E will be updated
periodically, including any appropriate corrections, and a final version of Exhibit E will be
attached hereto as of the Effective Date.

      AA.     “New York Abatement Amount.” $1,000,132,092, which is the Global Settlement
Net Abatement Amount multiplied by the New York Overall Allocation Percentage.

        BB.     “New York Additional Restitution Amount.” $27,506,821, which is the portion
of the “Additional Restitution Amount” specified by the Global Settlement that is allocated to
New York under that settlement.

        CC.       “New York Consent Judgment.” A consent judgment in a form to be agreed by
New York State and the Settling Distributors prior to the Initial Participation Date that, among
other things, (1) approves this Agreement and (2) provides for the release set forth in Section X,
including the dismissal with prejudice of any Released Claims that New York State, Nassau
County, or Suffolk County has brought against Released Entities.

       DD.     “New York Overall Allocation Percentage.” 5.3903813405%, which is New
York State’s Overall Allocation Percentage as set forth in the Global Settlement.

      EE.      “New York Qualified Settlement Fund.” The fund established pursuant to this
Agreement into which the Annual Payments are made under Section V.

       FF.      “New York Qualified Settlement Fund Administrator.” The entity that annually
determines the Annual Payment (including calculating Incentive Payments pursuant to Section
IV and any amounts subject to suspension, offset, or reduction pursuant to Sections XI and XII)
administers the New York Qualified Settlement Fund, and distributes amounts from the New
York Qualified Settlement Fund pursuant to this Agreement. The duties of the New York



                                                 5
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 25 of 238. PageID #: 575935

                                                                                                          § II

Qualified Settlement Fund Administrator shall be governed by this Agreement and shall be
specified in detail by the Parties prior to the Initial Participation Date.

       GG.      “New York Qualified Settlement Fund Escrow.” The interest-bearing escrow
fund established pursuant to this Agreement to hold disputed or suspended payments made under
this Agreement, and to hold the first Annual Payment until 10 days after the Effective Date.

        HH.      “New York Settlement Amount.” In the event the Global Settlement is not
effective by July 1, 2022, $1,179,251,066.68, which reflects the attorneys’ fees and costs in
Section VIII.B and New York’s estimated payments pursuant to the Global Settlement.

       II.      “Non-Litigating Subdivision.” Any Subdivision that is neither a Litigating
Subdivision, nor a Later Litigating Subdivision.

       JJ.           “Non-Participating Subdivision.” Any Subdivision that is not a Participating
Subdivision.

       KK.       “Non-Party Covered Conduct Claim.” Claim against any non-Released Entity
involving, arising out of, or related to Covered Conduct (or conduct that would be Covered
Conduct if engaged in by a Released Entity).

       LL.      “Non-Party Settlement.” A settlement by any Releasor that settles any Non-
Party Covered Conduct Claim and includes a release of any Non-Released Entity.

           MM.       “Non-Released Entity.” An entity that is not a Released Entity.

        NN.     “Offset Cap.” The dollar amount which the dollar-for-dollar offset described in
Section XI.A cannot exceed in a Payment Year, to be calculated by multiplying the amount of
the relevant Annual Payment apportioned to New York State and its Subdivisions for that
Payment Year by the percentage for the applicable Participation Tier as set forth in Exhibit B.

         OO.       “Opioid Remediation.” Care, treatment, and other programs and expenditures
(including, reimbursement for past such programs or expenditures1 except where this Agreement
restricts the use of funds solely to future Opioid Remediation) designed to (1) address the misuse
and abuse of opioid products, (2) treat or mitigate opioid use or related disorders, or (3) mitigate
other alleged effects of, including on those injured as a result of, the opioid epidemic. Exhibit C
provides a non-exhaustive list of expenditures that qualify as being paid for Opioid Remediation.
Qualifying expenditures may include reasonable related administrative expenses.

        PP.      “Opioid Tax.” Any tax, assessment, license fee, surcharge or any other fee (other
than a fixed prospective excise tax or similar tax or fee that has no restriction on pass-through)
imposed by New York State on a Settling Distributor on the sale, transfer or distribution of
opioid products. Notwithstanding the definition in the prior sentence, neither the Excise Tax on
sale of Opioids, Article 20-D of New York’s Tax Law nor the Opioid Stewardship Act, Article



1
    Reimbursement includes amounts paid to any governmental entities for past expenditures or programs.


                                                          6
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 26 of 238. PageID #: 575936

                                                                                                § II

33, Title 2-A of New York’s Public Health Law, as that Act is currently enacted, shall be
considered an Opioid Tax.

        QQ.      “Other State Resolution.” A settlement with, or judgment obtained by, a State
other than New York and/or a Subdivision(s) in that other State relating to one or more Claims
involving, arising out of or relating to Covered Conduct, including attorney’s fees and costs
payable under such settlement or judgment.

         RR.       “Participating Subdivision.” Any Subdivision that meets the requirements for
becoming a Participating Subdivision under Section IV. Participating Subdivisions include both
Initial Participating Subdivisions and Later Participating Subdivisions.

       SS.      “Participation Tier.” The Participation Tier shall be determined as set forth in
Section V.K.

       TT.      “Parties.” As defined in Section I (each, a “Party”).

       UU.      “Payment Date.” The date by which the Settling Distributors must make the
Annual Payment pursuant to Section V.B. The Payment Date for Payment Year 1 shall be 10
Days after the Effective Date. The Payment Date for Payment Year 2 shall be July 15, 2022.
The Payment Date for each subsequent Payment Year shall be July 15 of that Payment Year.

        VV.      “Payment Year.” The calendar year during which the applicable Annual
Payment is due pursuant to Section V.B. Payment Year 1 is 2021, Payment Year 2 is 2022 and
so forth, with 2038 being the final Payment Year. References to payment “for a Payment Year”
mean the Annual Payment due during that year. References to eligibility “for a Payment Year”
mean eligibility in connection with the Annual Payment due during that year.

        WW. “Preliminary Agreement Date.” The date upon which this Agreement becomes
fully executed.

       XX.      “Prepayment Notice.” As defined in Section V.I.1.

        YY.       “Primary Subdivision.” A Subdivision that is a General Purpose Government
(including, but not limited to, a municipality, county, county subdivision, city, town, township,
parish, village, borough, gore, or any other entities that provide municipal-type government) with
population over 10,000; provided, however, that as used in connection with Incentive Payment
C, the population threshold is 30,000. Attached as Exhibit D is an agreed list of the Primary
Subdivisions.

        ZZ.       “Product.” Any chemical substance, whether used for medicinal or non-
medicinal purposes, and whether natural, synthetic, or semi-synthetic, or any finished
pharmaceutical product made from or with such substance, that is: (1) an opioid or opiate, as
well as any product containing any such substance; or (2) benzodiazepine, carisoprodol, or
gabapentin; or (3) a combination or “cocktail” of chemical substances prescribed, sold, bought,
or dispensed to be used together that includes opioids or opiates. “Product” shall include, but is
not limited to, any substance consisting of or containing buprenorphine, codeine, fentanyl,
hydrocodone, hydromorphone, meperidine, methadone, morphine, oxycodone, oxymorphone,


                                                 7
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 27 of 238. PageID #: 575937

                                                                                                 § II

tapentadol, tramadol, opium, heroin, carfentanil, diazepam, estazolam, quazepam, alprazolam,
clonazepam, oxazepam, flurazepam, triozolam, temazepam, midazolam, carisoprodol,
gabapentin, any variant of these substances or any similar substance. Notwithstanding the
foregoing, nothing in this section prohibits New York State from taking administrative or
regulatory action related to benzodiazepine (including, but not limited to, diazepam, estazolam,
quazepam, alprazolam, clonazepam, oxazepam, flurazepam, triozolam, temazepam, and
midazolam), carisoprodol, or gabapentin that is wholly independent from the use of such drugs in
combination with opioids, provided such action does not seek money (including abatement
and/or remediation) for conduct prior to the Effective Date.

        AAA. “Released Claims.” Any and all Claims that directly or indirectly are based on,
arise out of, or in any way relate to or concern the Covered Conduct occurring prior to the
Effective Date. Without limiting the foregoing, Released Claims include any Claims that have
been asserted against a Settling Distributor by New York State or a Litigating Subdivision in any
federal, state or local action or proceeding (whether judicial, arbitral or administrative) based on,
arising out of, or relating to, in whole or in part, the Covered Conduct, or any such Claims that
could be or could have been asserted now or in the future in those actions or in any comparable
action or proceeding brought by New York State, Subdivision or Releasor (whether or not New
York State, Subdivision or Releasor has brought such action or proceeding). Released Claims
also include all Claims asserted in any proceeding to be dismissed pursuant to this Agreement,
whether or not such claims relate to Covered Conduct. The Parties intend that this term,
“Released Claims,” be interpreted broadly. This Agreement does not release Claims by private
individuals. It is the intent of the Parties that Claims by private individuals be treated in
accordance with applicable law. Released Claims is also used herein to describe claims brought
by a Later Litigating Subdivision or other non-party Subdivision that would have been Released
Claims if they had been brought by a Releasor against a Released Entity.

        BBB. “Released Entities.” With respect to Released Claims, the Settling Distributors
and (1) all past and present subsidiaries, divisions, predecessors, successors, and assigns (in each
case, whether direct or indirect) of each Settling Distributor; (2) all past and present subsidiaries
and divisions (in each case, whether direct or indirect) of any entity described in clause (1); (3)
the respective past and present officers, directors, members, trustees, and employees of any of
the foregoing (each for actions that occurred during and related to their work for, or employment
with, any of the Settling Distributors or the foregoing entities); (4) all past and present joint
ventures (whether direct or indirect) of each Settling Distributor or its subsidiaries, including in
such Settling Distributor’s or subsidiary’s capacity as a participating member in such joint
venture; (5) all direct or indirect parents and shareholders of the Settling Distributors (solely in
their capacity as parents or shareholders of the applicable Settling Distributor with respect to
Covered Conduct); (6) any insurer of any Settling Distributor or any person or entity otherwise
described in clauses (1)-(5) (solely in its role as insurer of such person or entity). For the
avoidance of doubt, CVS Health Corp., Walgreens Boots Alliance, Inc., and Walmart Inc.
(collectively, the “Pharmacies”) are not Released Entities, nor are their direct or indirect past or
present subsidiaries, divisions, predecessors, successors, assigns, joint ventures, shareholders,
officers, directors, members, trustees, or employees (shareholders, officers, directors, members,
trustees, and employees for actions related to their work for, employment with, or involvement
with the Pharmacies) Released Entities. Notwithstanding the prior sentence, any joint venture or
past or present subsidiary of a Settling Distributor is a Released Entity, including any joint


                                                  8
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 28 of 238. PageID #: 575938

                                                                                                  § II

venture between a Settling Distributor or any Settling Distributor’s subsidiary and a Pharmacy
(or any subsidiary of a Pharmacy). Lists of Settling Distributors’ subsidiaries, joint ventures, and
predecessor entities are appended to this Agreement as Exhibit F. With respect to joint ventures
(including predecessor entities), only entities listed on Exhibit F are Released Entities. With
respect to wholly-owned subsidiaries (including predecessor entities), Exhibit F represents a
good faith effort by the Settling Distributors to list all such entities, but any and all wholly-
owned subsidiaries (including predecessor entities) of any Settling Distributor are Released
Entities, whether or not they are listed on Exhibit F. For the avoidance of doubt, any entity
acquired, or joint venture entered into, by a Settling Distributor after the Initial Participation Date
is not a Released Entity.

        CCC. “Releasors.” With respect to Released Claims, (1) New York State, including
the New York Department of Financial Services;(2) Nassau and Suffolk Counties; (3) each
Participating Subdivision; and (4) without limitation and to the maximum extent of the power of
New York State’s Attorney General and/or each Participating Subdivision to release Claims, (a)
New York State’s and Participating Subdivisions’ departments, agencies, divisions, boards,
commissions, Subdivisions, districts, instrumentalities of any kind and attorneys, including its
Attorney General, and any person in his or her official capacity whether elected or appointed to
serve any of the foregoing and any agency, person, or other entity claiming by or through any of
the foregoing, (b) any public entities, public instrumentalities, public educational institutions,
unincorporated districts, fire districts, irrigation districts and other Special Districts in New York
State, and (c) any person or entity acting in a parens patriae, sovereign, quasi-sovereign, private
attorney general, qui tam, taxpayer, or other capacity seeking relief on behalf of or generally
applicable to the general public with respect to New York State or its Subdivisions, whether or
not any of them participate in this Agreement. The inclusion of a specific reference to a type of
entity in this definition shall not be construed as meaning that the entity is not a Subdivision.
New York State’s Attorney General represents that he or she has or has obtained (or will obtain
no later than the Initial Participation Date) the authority set forth in Section X.E. In addition to
being a Releasor as provided herein, a Participating Subdivision shall also provide the
Participation and Release Form, providing for a release to the fullest extent of the Participating
Subdivision’s authority.

       DDD. “Revocation Event.” With respect to a Bar, Settlement Class Resolution, or
Case-Specific Resolution, a revocation, rescission, reversal, overruling, or interpretation that in
any way limits the effect of such Bar, Settlement Class Resolution, or Case-Specific Resolution
on Released Claims, or any other action or event that otherwise deprives the Bar, Settlement
Class Resolution, or Case-Specific Resolution of force or effect in any material respect.

        EEE.      “Settlement Class Resolution.” A class action resolution in a court of competent
jurisdiction with respect to a class of Subdivisions that (1) conforms with New York State’s
statutes, case law, and rules of procedure regarding class actions; (2) is approved and entered as
an order of a court of competent jurisdiction in New York State and such order has become a
Final Order; (3) is binding on all Non-Participating Subdivisions (other than opt-outs as
permitted under the next sentence); (4) provides that all such Non-Participating Subdivisions
may not bring any Released Claims against any Released Entities, whether on the ground of this
Agreement (or the releases herein) or otherwise; and (5) does not impose any costs or obligations
on Settling Distributors other than those provided for in this Agreement, or contain any provision


                                                  9
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 29 of 238. PageID #: 575939

                                                                                                 § II

inconsistent with any provision of this Agreement. If applicable state law requires that opt-out
rights be afforded to members of the class, a class action resolution otherwise meeting the
foregoing requirements shall qualify as a Settlement Class Resolution unless Subdivisions
collectively representing more than the opt-out percentage specified in the Global Settlement. In
seeking certification of any Settlement Class, New York State and Participating Subdivisions
shall make clear that certification is sought solely for settlement purposes and should have no
applicability beyond approval of the settlement for which certification is sought. Nothing in this
Agreement constitutes an admission by any Party that class certification would be appropriate for
litigation purposes in any case.

       FFF.          “Settlement Payment Schedule.” The schedule attached to this Agreement as
Exhibit G.

           GGG.      “Settlement Prepayment.” As defined in Section V.I.1.

           HHH.      “Settlement Prepayment Reduction Schedule.” As defined in Section V.I.1.

      III.    “Settling Distributors.” McKesson Corporation, Cardinal Health, Inc., and
AmerisourceBergen Corporation (each, a “Settling Distributor”).

        JJJ.       “State Cap.” The total of a Settling Distributor’s share of the amounts payable
under the Global Settlement (a) to a State other than New York for a Payment Year assuming
that State is eligible for Incentive Payments A and D and that no offset or suspension is
applicable with respect to that State, and (b) for attorney’s fees and costs that would have been
owed during that Payment Year times that State’s allocable share as specified in the Global
Settlement.

        KKK. “States.”         The states, commonwealths, and territories of the United States of
America, as well as the District of Columbia, but not including West Virginia (each a “State”).
The 55 States are listed in Exhibit Q. Each “State” also includes its departments, agencies,
divisions, boards, commissions, districts, instrumentalities of any kind, any other units of State
government, attorneys, including its Attorney General, and any person in his or her official
capacity whether elected or appointed to serve any of the foregoing and any agency, person, or
other entity claiming by or through any of the foregoing.

        LLL.     “Subdivision.” Any (1) General Purpose Government (including, but not limited
to, a municipality, county, county subdivision, city, town, township, parish, village, borough,
gore, or any other entities that provide municipal-type government), School District, or Special
District within New York State and (2) any other subdivision or subdivision official or sub-entity
of or located within New York State (whether political, geographical or otherwise, whether
functioning or non-functioning, regardless of population overlap, and including, but not limited
to, Nonfunctioning Governmental Units and public institutions) that has filed a lawsuit that
includes a Released Claim against a Released Entity in a direct, parens patriae, or any other
capacity. “General Purpose Government,” “School District,” and “Special District” shall
correspond to the “five basic types of local governments” recognized by the U.S. Census Bureau
and match the 2017 list of Governmental Units.2 The three (3) General Purpose Governments are
2
    https://www.census.gov/data/datasets/2017/econ/gus/public-use-files.html


                                                         10
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 30 of 238. PageID #: 575940

                                                                                                                § II

county, municipal, and township governments; the two (2) special purpose governments are
School Districts and Special Districts.3 “Fire District,” “Health District,” “Hospital District,” and
“Library District” shall correspond to categories of Special Districts recognized by the U.S.
Census Bureau.4 References to New York State’s Subdivisions or to a Subdivision “in,” “of” or
“within” New York State include Subdivisions located within New York State even if they are
not formally or legally a sub-entity of New York State; provided, however, that a “Health
District” that includes any of the following words or phrases in its name shall not be considered a
Subdivision: mosquito, pest, insect, spray, vector, animal, air quality, air pollution, clean air,
coastal water, tuberculosis, and sanitary.

        MMM. “Subdivision Settlement Participation Form.” The form attached as Exhibit L
that Participating Subdivisions must execute and return to the Settlement Fund Administrator,
and which shall (1) make such Participating Subdivisions signatories to this Agreement, (2)
include a full and complete release of any and all of such Subdivision’s claims, and (3) require
the prompt dismissal with prejudice of any Released Claims that have been filed by any such
Participating Subdivision.

       NNN. “Suspension Amount.” The amount calculated as follows: the per capita amount
corresponding to the applicable Participation Tier as set forth in Exhibit B multiplied by the
population of the Later Litigating Subdivision.

       OOO. “Suspension Cap.” The amount calculated as follows: the suspension percentage
corresponding to the applicable Participation Tier as set forth in Exhibit B multiplied by the
amount of the relevant Annual Payment apportioned to New York State and the Participating
Subdivisions in each year of the suspension.

       PPP.      “Suspension Deadline.” With respect to a lawsuit filed by a Later Litigating
Subdivision asserting a Released Claim, the deadline set forth in Exhibit B corresponding to the
applicable Participation Tier.

        QQQ. “Threshold Motion.” A motion to dismiss or equivalent dispositive motion made
at the outset of litigation under applicable procedure. A Threshold Motion must include as
potential grounds for dismissal any applicable Bar or the relevant release by New York State or
Participating Subdivision provided under this Agreement and, where appropriate on Threshold
Motion under applicable law, any applicable limitations defense.


3
  E.g., U.S. Census Bureau, “Technical Documentation: 2017 Public Use Files for State and Local Government
Organization” at 7 (noting that “the Census Bureau recognizes five basic types of local governments,” that three of
those are “general purpose governments” (county governments, municipal governments, and township
governments), and that the other two are “school district and special district governments”),
https://www2.census.gov/programs-surveys/gus/datasets/2017/2017_gov_org_meth_tech_doc.pdf.
4
  A list of 2017 Government Units provided by the Census Bureau identifies 38,542 Special Districts and
categorizes them by “FUNCTION_NAME.” “Govt_Units_2017_Final” spreadsheet, “Special District” sheet,
included in “Independent Governments - list of governments with reference information,”
https://www.census.gov/data/datasets/2017/econ/gus/public-use-files.html. As used herein, “Fire District”
corresponds to Special District function name “24 – Local Fire Protection,” “Health District” corresponds to Special
District function name “32 – Health,” “Hospital District” corresponds to Special District function name “40 –
Hospitals,” and “Library District” corresponds to Special District function name “52 – Libraries.” See id.


                                                        11
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 31 of 238. PageID #: 575941

                                                                                                § III


III.   Condition to Effectiveness of Agreement

        A.        Obligations of Attorney General. If any of the conditions in this subsection A is
not satisfied, this Agreement will have no further effect and all releases and other commitments
or obligations contained herein will be void.

                 1.     No later than the Initial Participation Date, New York State’s Attorney
       General shall exercise to the fullest extent his or her powers under S.7194/A.6395B to
       release all Claims for Covered Conduct.

               2.      No later than the Initial Participation Date, New York State’s Attorney
       General shall secure the releases specified in Section X.E.

        B.        Dismissal of Claims. Upon the execution of this Agreement, while awaiting
formal approval of the Agreement by the Nassau and Suffolk County Legislatures, the Parties
agree to stay or extend all deadlines and proceedings in the Actions as to the Settling Distributors
and to jointly move for the claims against the Settling Distributors to be severed from the
Actions. It is the Parties’ intent that all litigation activities in the Actions relating to New York
State’s and Nassau and Suffolk Counties’ claims against the Settling Distributors shall
immediately cease as of the date of the execution of this Agreement and that the claims against
the Settling Distributors not be further prosecuted in the trial that commenced with jury selection
on June 8, 2021. Concurrently with the execution of this Agreement, the Settling Distributors
and Nassau and Suffolk Counties will execute a Stipulation of Discontinuance with Prejudice, in
the form annexed hereto in Exhibit M. The Parties will hold Nassau and Suffolk Counties’
Stipulation of Discontinuance with Prejudice in escrow until the Counties’ Legislatures approve
the Agreement or a resolution is passed satisfying the approval process of the Agreement. Once
approval is given, Nassau and Suffolk Counties and/or the Settling Distributors shall promptly
submit the executed Stipulation of Discontinuance with Prejudice to the Court with a request that
it be so ordered. In the event the Counties’ Legislatures fail to approve the Agreement or the
Court declines to so order the discontinuance of the Actions with prejudice as against the Settling
Distributors, each Settling Distributor shall be entitled to terminate the Agreement as to itself and
shall be excused from all obligations under the Agreement. Concurrently with the execution of
this Agreement, the Settling Distributors and New York State will execute a separate Stipulation
of Discontinuance with Prejudice covering New York State’s claims against the Settling
Distributors, in the form annexed hereto in Exhibit M. New York State’s Stipulation of
Discontinuance with Prejudice will be held in escrow until the Effective Date and shall be
submitted to the Court with a request that it be so ordered concurrently with the entry of the New
York Consent Judgment implementing this Agreement. In the event the Court declines to so
order the discontinuance of the Actions with prejudice as against the Settling Distributors, each
Settling Distributor shall be entitled to terminate the Agreement as to itself and shall be excused
from all obligations under the Agreement.

IV.    Participation by Subdivisions

       A.       Requirements for Becoming a Participating Subdivision—Litigating
Subdivisions/Later Litigating Subdivisions. A Litigating Subdivision or Later Litigating
Subdivision may become a Participating Subdivision by either executing a Subdivision


                                                 12
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 32 of 238. PageID #: 575942

                                                                                               § IV

Settlement Participation Form and upon prompt dismissal of its legal action or by having its
claims extinguished by operation or law or released by the Department of Law (New York State
Attorney General’s Office).

        B.      Initial Participating Subdivisions. A Subdivision qualifies as an Initial
Participating Subdivision if it meets the applicable requirements for becoming a Participating
Subdivision by the Initial Participation Date.

         C.        Later Participating Subdivisions. A Subdivision that is not an Initial
Participating Subdivision may become a Later Participating Subdivision by meeting the
applicable requirements for becoming a Participating Subdivision after the Initial Participation
Date and agreeing to be subject to the terms of the agreement reached by New York State with
Initial Participating Subdivision. A Later Participating Subdivision shall not receive any share of
any base or incentive payments paid to the Qualified Settlement Fund that were due before it
became a Participating Subdivision.

        D.       Notice. In conjunction and accordance with the notice process anticipated in the
Global Settlement, the Office of the New York State Attorney General shall send individual
notice to all Subdivisions eligible to participate in the settlement and the requirements for
participation. Such notice may include publication and other standard forms of notification.
Nothing contained herein shall preclude New York State from providing further notice to, or
from contacting any of its Subdivision(s) about, becoming a Participating Subdivision.

        E.        Requirements for Becoming a Participating Subdivision—Non-Litigating
Subdivisions. A Non-Litigating Subdivision may become a Participating Subdivision by either
executing a Subdivision Settlement Participation Form specifying (1) that the Subdivision agrees
to the terms of this Agreement pertaining to Subdivisions, (2) that the Subdivision releases all
Released Claims against all Released Entities, and (3) that the Subdivision submits to the
jurisdiction of the court where the New York Consent Judgment is filed for purposes limited to
that court’s role under the Agreement or by having their claims extinguished by operation or law
or release by the Department of Law (New York State Attorney General’s Office).

        F.       Non-Participating Subdivisions. Non-Participating Subdivisions shall not
directly receive any portion of any base or incentive payments paid to the Qualified Settlement
Fund and New York State may choose that its Non-Participating Subdivisions are ineligible for
benefits from the fund.

        G.       Representation With Respect to Participation Rate. New York State represents
and warrants for itself that it has a good faith belief that all of New York’s Litigating
Subdivisions that are represented by Napoli Shkolnik PLLC and Simmons Hanly Conroy LLC
will become Participating Subdivisions. New York State acknowledges the materiality of the
foregoing representation and warranty. Napoli Shkolnik PLLC and Simmons Hanly Conroy LLC
represent and warrant that they have a good faith belief that this Agreement is a fair settlement
and that they will therefore recommend this Agreement to their Subdivision clients within New
York State. A list of Litigating Subdivisions represented by Napoli Shkolnik PLLC and
Simmons Hanley Conroy LLC is annexed hereto as Exhibit O.




                                                13
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 33 of 238. PageID #: 575943

                                                                                                §V

       H.        Within 5 days of entry of the Court’s entry of an order discontinuing the Actions
brought by Nassau County and Suffolk County consistent with the Stipulation of Discontinuance
with Prejudice submitted by those counties per Section III.B, the Parties will seek to have
entered the Case Management Order annexed hereto as Exhibit P. And, further, the Settling
Distributors will participate in making motions to dismiss barred claims upon their release.

        I.      Unpaid Allocations to Later Participating Subdivisions and Non-Participating
Subdivisions. Any base payment and incentive payments allocated to a Later Participating
Subdivision or Non-Participating Subdivision that cannot be paid pursuant to subsection C will
be allocated consistent with the terms of Exhibit N.

V.     Settlement Payments

        A.       New York Qualified Settlement Fund. Until such time as the Global Settlement
becomes effective, all payments under this Section V shall be made into the New York Qualified
Settlement Fund, except that where specified, they shall be made into the New York Qualified
Settlement Fund Escrow. The New York Qualified Settlement Fund shall be allocated and used
only as specified in Section VI and Exhibit N.

       B.       Annual Payments. The Settling Distributors shall make eighteen (18) Annual
Payments, each comprised of base and incentive payments as provided in this Section V and as
determined by the New York Qualified Settlement Fund Administrator as set forth in this
Agreement.

                1.      All data relevant to the determination of the Annual Payment and
       allocations to New York State and its Participating Subdivisions shall be submitted to the
       Settlement Administrator no later than sixty (60) days prior to the Payment Date for each
       Annual Payment. The New York Qualified Settlement Fund Administrator shall then
       determine the Annual Payment and the amount to be paid to New York State and its
       Participating Subdivisions, by:

                     a.      determining, the amount of base and incentive payments to which
                New York State is entitled by applying the criteria under Sections V.D, E and F;

                       b.     applying any suspensions, offsets or reductions as specified under
                Sections V, XI and XII;

                        c.      applying any adjustment required as a result of prepayment or
                significant financial constraint, as specified under Sections V.I and J; and

                        d.     determining the total amount owed by Settling Distributors
                (including any amounts to be held in the New York Qualified Settlement Fund
                Escrow pending resolution of a case by a Later Litigating Subdivision as
                described in Section XI) to New York State and the Participating Subdivisions.

                        e.      the New York Qualified Settlement Fund Administrator shall
                then allocate the Annual Payment to New York State and then among the
                Participating Subdivisions receiving direct allocations.


                                               14
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 34 of 238. PageID #: 575944

                                                                                               §V

                2.      The Settlement Fund Administrator shall also apply the allocation
       percentages set forth in Section V.H and determine for each Settling Distributor the
       amount of its allocable share of the Annual Payment. For the avoidance of doubt, each
       Settling Distributor’s liability for its share of the Annual Payment is several, and not
       joint.

                3.      As soon as possible but no later than fifty (50) days prior to the Payment
       Date for each Annual Payment and following the determination described in paragraph 1
       above, the New York Qualified Settlement Fund Administrator shall give notice to the
       Settling Distributors and New York State of the amount of the Annual Payment, the
       amount to be received by New York State and the amount to be received by Participating
       Subdivisions receiving direct allocations. The New York Qualified Settlement Fund
       Administrator shall also apply the allocation percentages set forth in Section V.H and
       give notice to each Settling Distributor of the amount of its allocable share of the Annual
       Payment.

                 4.     Within twenty-one (21) calendar days of the notice provided by the New
       York Qualified Settlement Fund Administrator, New York State and any Settling
       Distributor may dispute, in writing, the calculation of the Annual Payment, or the amount
       to be received by New York State and/or its Participating Subdivisions. Such disputing
       Party must provide a written notice of dispute to the New York Qualified Settlement
       Fund Administrator, New York State, and the Settling Distributors identifying the nature
       of the dispute and the amount of money that is disputed.

                5.      Within twenty-one (21) calendar days of the sending of a written notice
       of dispute, if New York State or any Settling Distributor is affected by the dispute, New
       York State or the affected Settling Distributor(s) may each submit a response, in writing,
       to the New York Qualified Settlement Fund Administrator, New York State and the
       Settling Distributors identifying the basis for disagreement with the notice of dispute.

                6.      If no response is filed, the New York Qualified Settlement Fund
       Administrator shall adjust the amount calculated consistent with the written notice of
       dispute, and Settling Distributors shall pay the adjusted amount as the Annual Payment
       on the Payment Date. If a written response to the written notice of dispute is timely sent
       to the New York Qualified Settlement Fund Administrator, the New York Qualified
       Settlement Fund Administrator shall notify the Settling Distributors of the preliminary
       amount to be paid, which shall be the greater of the amount originally calculated by the
       Settling Administrator or the amount that would be consistent with the notice of dispute,
       provided, however that in no circumstances shall the preliminary amount to be paid be
       higher than the maximum amount of base and Incentive Payments A and D for that
       Payment Year as set forth on Exhibit G. For the avoidance of doubt, a transfer of
       suspended payments from the New York Qualified Settlement Fund Escrow pursuant to
       Section XI does not count toward determining whether the amount to be paid is higher
       than the maximum amount of base and Incentive Payments A and D for that Payment
       Year as set forth in Exhibit G.




                                               15
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 35 of 238. PageID #: 575945

                                                                                               §V

                7.     The New York Qualified Settlement Fund Administrator shall place any
       disputed amount of the preliminary amount paid by the Settling Distributors into the New
       York Qualified Settlement Fund Escrow and shall disburse any undisputed amount to
       New York State and the Participating Subdivisions within fifteen (15) calendar days of
       the Payment Date or at such later time as directed by New York State.

                8.     Disputes described in this subsection B shall be resolved in accordance
       with the terms of Section VII.

       C.       Procedure for Annual Payment in Payment Years 1 and 2. The process
described in Section V.B shall not apply to Payment Years 1 and 2. The procedure in lieu of
Section V.B for Payment Years 1 and 2 is as set forth below:

                 1.       The Payment Date for Payment Year 1 shall be 10 days after the
       Effective Date. By September 30, 2021, the Settling Distributors shall pay into the New
       York Qualified Settlement Fund Escrow the total amount of the base payment and
       Incentive Payment A for New York State (the amount specified in Exhibit G) for
       Payment Year 1. In the event that the condition set forth in Section III.A is not met, the
       funds held in the New York Qualified Settlement Fund Escrow shall immediately revert
       to the Settling Distributors. The Payment Year 1 funds in the New York Qualified
       Settlement Fund Escrow shall be released and the New York Qualified Settlement Fund
       Administrator shall allocate the Payment Year 1 payment, pursuant to Section VI and
       Exhibit N, among New York State and the Subdivisions receiving a direct allocation. The
       Annual Payment for Payment Year 1 shall be transferred by the New York Qualified
       Settlement Fund Administrator from the New York Qualified Settlement Fund Escrow to
       the New York Qualified Settlement Fund and then to New York State and those of its
       Initial Participating Subdivisions on the Effective Date, provided, however, that if the
       New York Consent Judgment has not been entered as of the Payment Date for Payment
       Year 1, the funds allocable to New York State and its Participating Subdivisions shall not
       be transferred from the New York Qualified Settlement Fund Escrow or disbursed until
       ten (10) calendar days after the entry of the New York Consent Judgment; and, provided
       further, the Settlement Fund Administrator shall leave in the Settlement Fund Escrow
       funds allocated to Participating Subdivisions that are not Initial Participating
       Subdivisions. Should such a Subdivision become a Participating Subdivision between
       the Initial Participation Date and the Effective Date, the allocation for such Participating
       Subdivision shall be transferred to the Settlement Fund and paid to the Participating
       Subdivision at the same time as Initial Participating Subdivisions in that State are paid.

                2.     The Payment Date for Payment Year 2 shall be July 15, 2022. On or
       before the Payment Date for Payment Year 2, the Settling Distributors shall pay into the
       New York Qualified Settlement Fund the total amount of the base payment and Incentive
       Payment A for State (the amount specified in Exhibit G) due for Payment Year 2. The
       New York Qualified Settlement Fund Administrator shall disburse such amounts to New
       York State and its Participating Subdivisions within fifteen (15) calendar days of the
       Payment Date or at such later time as directed by New York State. At that time, any
       amounts remaining in the New York Qualified Settlement Fund Escrow for allocations to



                                                16
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 36 of 238. PageID #: 575946

                                                                                                §V

       Subdivisions that have not become Participating Subdivisions shall be transferred to the
       New York Qualified Settlement Fund.

                 3.      New York Qualified Settlement Fund. Any disputes as to the allocation of
       the Annual Payments in Payment Years 1 and 2 shall be resolved pursuant to the process
       set forth in subsection V.B above, except that in Payment Year 1, the Settlement Fund
       Administrator shall have until ten (10) calendar days after the Initial Participation Date to
       give notice of the amount to be received by New York State, and the amount to be
       received by New York State’s Participating Subdivisions.

        D.       Payment Date for Subsequent Payment Years. For Payment Year 3 and
successive Payment Years, the Annual Payment shall be made pursuant to the process set forth in
Section V.B, except that, with respect to Payment Year 3, New York State shall have up to the
Payment Date for Payment Year 3 to become eligible for Incentive Payment A and thus avoid
the reductions set forth in Section XII. If New York State enacts a Bar less than sixty (60)
calendar days before the Payment Date for Payment Year 3, Settling Distributors shall pay,
within thirty (30) calendar days of the Payment Year 3 Payment Date, the difference between the
Annual Payment as calculated by the Settlement Fund Administrator and the amount that would
have been owed had the Settlement Fund Administrator taken the Bar into account.

        E.       Base Payments. Subject to the suspension, reduction and offset provisions set
forth in Sections XI and XII, the Settling Distributors shall collectively make base payments
equal to 55% of the New York Abatement Amount. These payments will be due in installments
consistent with Exhibit G over the eighteen (18) Payment Years and as adjusted by the
Settlement Fund Administrator pursuant to the provisions in Sections V, XI and XII.

        F.        Incentive Payments. Subject to the suspension, reduction, and offset provisions
set forth in Sections XI and XII, the Settling Distributors shall collectively make potential
additional incentive payments totaling up to a maximum of 45% of the New York Abatement
Amount, with the actual amount depending on whether and the extent to which New York State
meets the criteria set forth below. The incentive payments shall be divided among four (4)
categories, referred to as Incentive Payments A-D. Incentive Payments A-C will be due in
installments over the eighteen (18) Payment Years, and Incentive Payment D will be due in
installments over thirteen (13) years beginning with Payment Year 6. The incentive payments
shall be made to New York State based on its eligibility for that year under the criteria set forth
below.

                 1.       Incentive Payment A. Incentive Payment A shall be equal to 40% of the
       New York Settlement Abatement Amount, provided that New York State satisfies the
       requirements of Incentive Payment A. Incentive Payment A will be due as part of the
       Annual Payment in each of the eighteen (18) Payment Years that New York State is
       eligible for Incentive Payment A and shall equal a total potential maximum of
       $400,052,837 if New York State is eligible for all eighteen (18) Payment Years. New
       York State’s share of Incentive Payment A in a given year, provided that New York State
       is eligible, shall equal the total maximum amount available for Incentive Payment A for
       that year as reflected in Exhibit G. Eligibility for Incentive Payment A is as follows:



                                                 17
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 37 of 238. PageID #: 575947

                                                                                                 §V

                       a.      For the Payment Years 1 and 2, New York State is deemed
               eligible for Incentive Payment A.

                         b.     For each Payment Year other than Payment Years 1 and 2, New
               York State is eligible for Incentive Payment A if, as of sixty (60) calendar days
               prior to the Payment Date (except that in Payment Year 3, this date is as of the
               Payment Date), (i) there is a Bar in full force and effect, (ii) there is a Settlement
               Class Resolution in full force and effect, (iii) the Released Claims of all of the
               following entities are released through the execution of Subdivision Settlement
               Participation Forms, or there is a Case-Specific Resolution against such entities:
               all Primary Subdivisions, Litigating Subdivisions, School Districts with a K-12
               student enrollment of at least 25,000 or 0.10% of New York State’s population,
               whichever is greater, and Health Districts and Hospital Districts that have at
               least one hundred twenty-five (125) hospital beds in one or more hospitals
               rendering services in that district; or (iv) a combination of the actions in clauses
               (i)-(iii) has achieved the same level of resolution of Claims by Subdivisions
               (e.g., a Bar against future litigation combined with full joinder by Litigating
               Subdivisions). For the avoidance of doubt, clause (iv) cannot be satisfied unless
               all Litigating Subdivisions are Participating Subdivisions or there is a Case-
               Specific Resolution against any such Subdivisions that are not Participating
               Subdivisions.

                       c.      Notwithstanding Section V.F.1.b, for each Payment Year other
               than Payment Years 1 and 2, if New York State is not eligible for Incentive
               Payment A as of the Incentive Payment Final Eligibility Date, New York State
               shall not be eligible for Incentive Payment A for that Payment Year or any
               subsequent Payment Years.

                       d.      If the Settling Distributors made a payment under Incentive
               Payment A solely on the basis of a Bar or Settlement Class Resolution and that
               Bar or Settlement Class Resolution is subsequently removed, revoked,
               rescinded, reversed, overruled, interpreted in a manner to limit the scope of the
               release, or otherwise deprived of force or effect in any material respect, New
               York State shall not be eligible for Incentive Payment A thereafter, unless New
               York State requalifies for Incentive Payment A through any method pursuant to
               Section V.F.1.b, in which case New York State shall be eligible for Incentive
               Payment A less any litigation fees and costs incurred by Settling Distributor in
               the interim, except that, if the re-imposition occurs after the completion of
               opening statements in a trial involving a Released Claim, New York State shall
               not be eligible for Incentive Payment A (unless this exception is waived by the
               Settling Distributors).

                2.       Incentive Payment B. Incentive Payment B shall be available to New
       York State if it is not eligible for Incentive Payment A for the applicable Payment Year.
       Incentive Payment B shall be equal to up to 25% of the New York Settlement Abatement
       Amount. Incentive Payment B will be due as part of the Annual Payment in each of the
       eighteen (18) Payment Years that New York State is eligible for Incentive Payment B and


                                                18
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 38 of 238. PageID #: 575948

                                                                                                                §V

        equal a total potential maximum of $250,033,023 if New York State is eligible for all
        eighteen (18) Payment Years. New York State’s maximum share of Incentive Payment B
        in a given year shall equal the total maximum amount available for Incentive Payment B
        for that year as reflected in Exhibit G. Eligibility for Incentive Payment B is as follows:

                         a.     New York State is not eligible for Incentive Payment B for a
                   Payment Year for which it is eligible for Incentive Payment A.

                           b.      Subject to Section V.F.2.a, the amount of Incentive Payment B
                   for which New York State is eligible in a Payment Year shall be a percentage of
                   that New York State’s maximum share of Incentive Payment B based on the
                   extent to which (A) Litigating Subdivisions are Participating Subdivisions or (B)
                   there is a Case-Specific Resolution against Litigating Subdivisions, collectively,
                   “Incentive B Eligible Subdivisions.” The percentage of New York State’s
                   maximum share of Incentive Payment B that New York State is eligible for in a
                   Payment Year shall be determined according to the table below:

                           Percentage of Litigating
                                                                     Incentive Payment
                        Subdivision Population that is
                                                                        B Eligibility
                       Incentive B Eligible Subdivision
                                                                         Percentage
                                 Population5
                                     Up to 85%                                 0%
                                        85%+                                  30%
                                         86+                                  40%
                                         91+                                  50%
                                         95+                                  60%
                                        99%+                                  95%
                                        100%                                 100%




5
  The “Percentage of Litigating Subdivision Population that is Incentive B Eligible Subdivision Population” shall be
determined by the aggregate population of New York State’s Litigating Subdivisions that are Incentive B Eligible
Subdivisions divided by the aggregate population of New York State’s Litigating Subdivisions. In calculating New
York State’s population that resides in Litigating Subdivisions, (a) the population of New York State’s Litigating
Subdivisions shall be the sum of the population of all Litigating Subdivisions, notwithstanding that persons may be
included within the population of more than one Litigating Subdivision, and (b) the population that resides in
Incentive B Eligible Subdivisions shall be the sum of the population of the Incentive B Eligible Subdivisions,
notwithstanding that persons may be included within the population of more than one Incentive B Eligible
Subdivision. An individual Litigating Subdivision shall not be included more than once in the numerator, and shall
not be included more than once in the denominator, of the calculation regardless if it (or any of its officials) is
named as multiple plaintiffs in the same lawsuit. For the avoidance of doubt, if the population that resides in
Incentive B Eligible Subdivisions is less than 85% of the population of Litigating Subdivisions, New York State
shall not be eligible for any portion of Incentive Payment B.


                                                        19
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 39 of 238. PageID #: 575949

                                                                                                                §V

                          c.      New York State’s Incentive Payment B amount shall be
                   discounted to reflect New York State’s eligibility percentage for that Payment
                   Year per the table above.

                           d.      New York State’s eligibility for Incentive Payment B for a
                   Payment Year with the exception of Payment Year 1, which shall be determined
                   on the Initial Participation Date; provided that the percentage of Incentive
                   Payment B for which New York State is eligible as of the Incentive Payment
                   Final Eligibility Date shall cap its eligibility for that Payment Year and all
                   subsequent Payment Years.

                 3.      Incentive Payment C. Incentive Payment C shall be available to New
        York State if New York State is not eligible for Incentive Payment A for a Payment Year.
        Incentive Payment C shall be equal to up to 15% of the New York Settlement Abatement
        Amount. Incentive Payment C will be due as part of the Annual Payment in each of the
        eighteen (18) Payment Years that New York State is eligible for Incentive Payment C and
        equal a total potential maximum of $150,019,814 if New York State is eligible for all
        eighteen (18) Payment Years. The maximum Incentive Payment C in a given year shall
        equal the total maximum amount available for Incentive Payment C for that year as
        reflected in Exhibit G multiplied by New York State’s Incentive Payment C Eligibility
        Percentage. Eligibility for Incentive Payment C is as follows:

                         a.     New York State is not eligible for Incentive Payment C for a
                   Payment Year in which it is eligible for Incentive Payment A.

                           b.     Subject to Section V.F.3.a, the amount of Incentive Payment C
                   for which New York State is eligible in a Payment Year shall be a percentage of
                   New York State’s maximum share of Incentive Payment C based on the extent
                   to which (A) Non-Litigating Primary Subdivisions with a population over
                   30,000 and Litigating Subdivisions are Participating Subdivisions or (B) there is
                   a Case-Specific Resolution against Non-Litigating Primary Subdivisions with a
                   population over 30,000 and Litigating Subdivisions, collectively, “Incentive C
                   Eligible Subdivisions.” The percentage of New York’s State’s maximum share
                   of Incentive Payment C that the State is eligible for in a Payment Year shall be
                   determined according to the table below:

                              Percentage of Relevant                    Incentive
                            Subdivision Population that                Payment C
                              is Incentive C Eligible                  Eligibility
                                   Population 6                        Percentage
                                       Up to 60%                            0%

6
 The “Percentage of Relevant Subdivision Population that is Incentive C Eligible Population” shall be determined
by the aggregate population of Incentive C Eligible Subdivisions divided by the aggregate population of the Non-
Litigating Primary Subdivisions with a population over 30,000 and Litigating Subdivisions (“Incentive Payment C
Subdivisions”). In calculating the population that resides in Incentive Payment C Subdivisions, (a) the population
shall be the sum of the population of all Incentive Payment C Subdivisions, notwithstanding that persons may be


                                                        20
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 40 of 238. PageID #: 575950

                                                                                                                 §V


                              Percentage of Relevant                     Incentive
                            Subdivision Population that                 Payment C
                              is Incentive C Eligible                   Eligibility
                                   Population 6                         Percentage
                                          60%+                              25%
                                          70%+                              35%
                                          75%+                              40%
                                          80%+                              45%
                                          85%+                              55%
                                          90%+                              60%
                                          93%+                              65%
                                          94%+                              75%
                                            95+                             90%
                                            98+                             95%
                                           100%                             100%

                            c.     The amount New York State receives under Incentive Payment C
                    shall be discounted to reflect New York State’s eligibility percentage for that
                    Payment Year per the table above.

                            d.     New York State’s eligibility for Incentive Payment C for a
                    Payment Year shall be determined as of sixty (60) calendar days prior to the
                    Payment Date for that Payment Year with the exception of Payment Year 1,
                    which shall be determined on the Initial Participation Date; provided that the
                    percentage of Incentive Payment C for which New York State is eligible as of
                    the Incentive Payment Final Eligibility Date shall cap its eligibility for that
                    Payment Year and all subsequent Payment Years.

                  4.      Incentive Payment D. Incentive Payment D shall be applied at Payment
         Year 6. Incentive Payment D shall be equal to 5% of the New York Settlement
         Abatement Amount. Incentive Payment D will be due as part of the Annual Payment for
         each of thirteen (13) Payment Years (from Payment Year 6 to Payment Year 18) that
         New York State is eligible for Incentive Payment D and equal a total potential maximum
         of $50,006,605 if New York State is eligible for all thirteen (13) Payment Years. New

included within the population of more than one Incentive Payment C Subdivision, and (b) the population that
resides in Incentive C Eligible Subdivisions shall be the sum of the population of the Incentive C Eligible
Subdivisions, notwithstanding that persons may be included within the population of more than one Incentive C
Eligible Subdivision. An individual Incentive Payment C Subdivision shall not be included more than once in the
numerator, and shall not be included more than once in the denominator, of the calculation regardless if it (or any of
its officials) is named as multiple plaintiffs in the same lawsuit. For the avoidance of doubt, if the population that
resides in Incentive C Eligible Subdivisions is less than 60% of the population of Incentive Payment C Subdivisions,
New York State shall not be eligible for any portion of Incentive Payment C.


                                                         21
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 41 of 238. PageID #: 575951

                                                                                                 §V

       York State’s Incentive Payment D in a given year shall equal the total maximum amount
       set forth in Exhibit G. Eligibility for Incentive Payment D is as follows:

                        a.     New York State is eligible for Incentive Payment D if there has
                been no Later Litigating Subdivision that has had a Claim against a Released
                Entity survive more than six (6) months after denial in whole or in part of a
                Threshold Motion.

                        b.      New York State’s for Incentive Payment D shall be determined
                as of sixty (60) calendar days prior to the Payment Date. If a Later Litigating
                Subdivision’s lawsuit survives more than six (6) months after denial in whole or
                in part of a Threshold Motion after that date, New York State shall not be
                eligible for Incentive Payment D for the Payment Year in which that occurs and
                any subsequent Payment Year.

                        c.       Notwithstanding Sections V.F.4, New York State can become re-
                eligible for Incentive Payment D if the lawsuit that survived a Threshold Motion
                is dismissed pursuant to a later motion on grounds included in the Threshold
                Motion, in which case New York State shall be eligible for Incentive Payment D
                less any litigation fees and costs incurred by Settling Distributor in the interim,
                except that if the dismissal motion occurs after the completion of opening
                statements in such action, New York State shall not be eligible for Incentive
                Payment D.

                       d.     For the avoidance of doubt, New York State may be eligible for
                Incentive Payment D whether or not it is eligible for Incentive Payments A-C.

                5.      The eligibility criteria set forth in paragraphs 1-4 above are intended to
       be consistent with the Global Settlement. To the extent that the Global Settlement is
       consummated and the terms of the eligibility criteria for Incentive Payments A-D are
       more favorable to New York State under the Global Settlement than the terms set forth in
       paragraphs 1-4, the terms of the Global Settlement shall control.

       G.       Reductions/Offsets. The base and incentive payments are subject to suspension,
reduction, and offset as provided in Sections XI and XII.

        H.       Allocation of Payments among Settling Distributors. Payments due from the
Settling Distributors under this Section V, Section VIII, and Section IX will be allocated among
the Settling Distributors as follows: McKesson – 38.1%; Amerisource – 31.0%; Cardinal –
30.9%. A Settling Distributor’s sole responsibility for payments under this Agreement shall be to
make its share of each payment. The obligations of the Settling Distributors in this Agreement
are several and not joint. No Settling Distributor shall be responsible for any portion of another
Settling Distributor’s share.

       I.       Pre-payment Option.

                 1.     Any Settling Distributor shall have the right, subject to the limitations set
       forth in Section V.I.3, to prepay any base payment or incentive payment in whole or in


                                                22
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 42 of 238. PageID #: 575952

                                                                                             §V

       part, without premium or penalty (a “Settlement Prepayment”) by providing at least
       fourteen (14) calendar days prior written notice to the New York Qualified Settlement
       Fund Administrator (a “Prepayment Notice”). Any Prepayment Notice shall specify: (a)
       the gross amount of the Settlement Prepayment, (b) the manner in which such Settlement
       Prepayment shall be applied to reduce such Settling Distributor’s future share of Annual
       Payments (i.e., to which future Annual Payments owed by such Settling Distributor the
       Settlement Prepayment should be applied) (such manner of application, a “Settlement
       Prepayment Reduction Schedule”), (c) the net present value of the Settlement Prepayment
       as of the Prepayment Date based on the Settlement Prepayment Reduction Schedule
       using a discount rate equal to the prime rate as published by The Wall Street Journal on
       the date of the Prepayment Notice plus 1.75% (such net present value amount, the “Net
       Settlement Prepayment Amount”), and (d) the date on which the prepayment will be
       made, which shall be no more than fifteen (15) calendar days after the date of the
       Prepayment Notice (the “Prepayment Date”).

                2.     On the Prepayment Date the Settling Distributor shall pay the Net
       Settlement Prepayment Amount to the New York Qualified Settlement Fund and such
       amount shall be used only as specified in Section VI. Following such payment, all future
       Annual Payments allocated to the applicable Settling Distributor under Sections V.E and
       V.F shall be reduced pursuant to the Settlement Prepayment Reduction Schedule, and
       Exhibit G will be updated to give effect to such reduction, and going forward such
       updated schedule will be Exhibit G.

               3.      A Settling Distributor’s right to make prepayments shall be subject to the
       following limitations:

                        a.    Prepayments may apply to base payments or to both base and
                incentive payments. If the prepayment applies to both base and incentive
                payments, the prepayments will apply proportionately across base and incentive
                payments.

                        b.      A Settling Distributor shall make no more than three (3)
                prepayments over the eighteen (18) year payment term. A Settling Distributor
                shall not make more than one (1) prepayment in a five (5) year period and there
                shall not be prepayments made in the first two (2) Payment Years.

                       c.    Prepayments shall only be applied to one (1) or more of the three
                (3) Payment Years following the prepayment.

                        d.     The total amount of a prepayment of base payments after
                discounting calculations shall not be larger than the base payment for the
                Payment Year with the lowest Annual Payment amount affected by the
                prepayment. The total amount of a prepayment for both base payments and
                incentive payments shall not be larger than the base payment and anticipated
                incentive payments for the lowest Payment Year affected by the prepayment.
                The “anticipated incentive payment” for a future Payment Year shall reflect the




                                               23
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 43 of 238. PageID #: 575953

                                                                                                 §V

                incentives earned by New York State as of the time of the prepayment and any
                offsets or adjustments known at that time.

                        e.       In a Payment Year against which there has been a prepayment, if
                the amount New York State is calculated to receive is greater than the amount
                prepaid prior to discounting calculations, the Settling Distributor shall pay the
                difference. If, in a Payment Year for which there has been a prepayment, the
                amount that New York State is calculated to receive is less than the amount
                calculated at the time of the prepayment, there shall be a credit for the difference
                to the Settling Distributor to be applied in the subsequent Payment Year(s), if
                any.

               4.      For illustrative purposes only, attached as Exhibit H are examples
       showing a Settlement Prepayment, the related calculation of the Net Settlement
       Prepayment Amount, and the related adjustment to the Settlement Payment Schedule.

       J.       Significant Financial Constraint.

                 1.      If the Global Settlement does not become effective, Settling Distributor’s
       allocable share of the Annual Payment for a Payment Year may, at the election of such
       Settling Distributor, be deferred either (a) up to the amount by which that share plus (i)
       such Settling Distributor’s share of amounts payable during that Payment Year under
       Section V and Section VIII and (ii) amounts payable (if any) during that Payment Year
       by that Settling Distributor under any Other State Resolutions up to the applicable State
       Caps for the States of such Other State Resolutions, would in total exceed 20% of such
       Settling Distributor’s total operating cash flow (as determined pursuant to United States
       generally accepted accounting principles) for its fiscal year that concluded most recently
       prior to the due date for that Annual Payment; or (b) (i) up to 25% if, as of thirty (30)
       calendar days preceding that payment date, the company’s credit rating from one or more
       of the three nationally recognized rating agencies is below BBB or Baa2 or (ii) up to
       100% if, as of thirty (30) calendar days preceding that payment date, the company’s
       credit rating from one or more of the three nationally recognized rating agencies is below
       BBB- or Baa3. As used herein, the “applicable” State Cap refers to the State that is the
       beneficiary of the Other State Resolution at issue or, in the case of an Other State
       Resolution with a Subdivision(s), the State in which such Subdivision(s) is located. In
       the case of multiple Other State Resolutions in a State (e.g., with the State and/or
       separately with Subdivisions in it), payments under them shall count cumulatively
       towards the applicable State Cap.

                 2.     If the reason for exceeding 20% of a Settling Distributor’s total operating
       cash flow or the decrease in credit rating is substantially attributable to the incurrence of
       debt to fund post-settlement acquisitions or to the payment of dividends and/or share
       repurchases that together are of an amount that exceeds the total amount of those two
       items for the prior fiscal year, no deferral is available. A Settling Distributor shall not be
       allowed to defer payment for a Payment Year if that Settling Distributor engaged in any
       share repurchases in the three fiscal quarters prior to the Payment Date for that Payment
       Year.


                                                24
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 44 of 238. PageID #: 575954

                                                                                                   §V

                3.       If a Settling Distributor has reason to believe that it will not be able to
       pay some or all of its allocable share of the Annual Payment for a Payment Year, it shall
       provide at least ninety (90) calendar days’ prior written notice to the New York Qualified
       Settlement Fund Administrator and to New York State (a “Deferred Payment Notice”).
       Any Deferred Payment Notice shall specify and include: (a) the gross amount of the
       payments owed (including the estimated allocable portion of the Annual Payment, and
       amounts owed under Section V and Section VIII, by the relevant Settling Distributor); (b)
       the amount that the Settling Distributor believes it will be unable to pay; (c) the
       accounting and audited financial documents upon which the Settling Distributor relied for
       making this determination; and (d) any other relevant information for New York State to
       consider.

                4.       A Settling Distributor shall not utilize this provision during the first three
       (3) Payment Years. If a Settling Distributor defers some or all of the payments due in a
       Payment Year pursuant to this Section V.J, it shall not repurchase any shares, or fund
       new acquisitions with an acquisition price greater than $250 million, during the deferral
       period until the deferred amount is fully repaid with interest. Any amounts deferred shall
       bear interest at an interest rate equal to the prime rate as published by the Wall Street
       Journal on the date of the Deferral Payment Notice plus 0.5%.

                5.      The Settling Distributor shall pay all deferred amounts, including
       applicable interest on the next Payment Date. If the amounts previously deferred
       (including interest) together with the Settling Distributor’s share of all payments due for a
       Payment Year would allow for a deferral under Section V.J.1, the Settling Distributor
       shall pay as much of the previously deferred amounts (including interest) as it can pay
       without triggering the ability to defer payment and may defer the remainder as permitted
       under (and subject to the restrictions of) this Section V.J.

                 6.       Deferrals will apply proportionally across base payments and incentive
       payments. For the avoidance of doubt, this Section V.J applies fully to Payment Years
       after the first three (3) Payment Years, including the base payments and all incentive
       payments due pursuant to this Agreement during the Payment Year at issue.

                7.      If a Settling Distributor could pay a portion of its allocable share of the
       Annual Payments due pursuant to this Agreement during a Payment Year without
       triggering this Section V.J, the Settling Distributor shall be required to pay that portion as
       scheduled and only the excess would be subject to deferral at the election of the Settling
       Distributor (in whole or in part) as provided herein.

                8.      The Settling Distributor shall pay any deferred amounts, including
       applicable interest on or before the date on which the payment is due for Payment Year
       18.

               9.      If the Global Settlement becomes Effective, this provision shall be
       superseded by the Significant Financial Constraint provision set forth therein.




                                                 25
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 45 of 238. PageID #: 575955

                                                                                               § VI

         K.        Participation Tier Calculations. New York State will be eligible for benefits
associated with any tier implemented in the Global Settlement. If a suspension is put into effect
and it is later determined that the State would have been entitled to additional protection from the
suspension due to tier participation, any excess funds captured by the moratorium will be
reimbursed. If the Global Settlement does not become effective by July 1, 2022, New York State
will be eligible for benefits associated with any tier negotiated in the Global Settlement, based on
the level of subdivision participation in New York, provided that the parties negotiating the
Global Settlement agreed on tier provisions prior to that settlement’s Preliminary Agreement
Date and the provisions are distributed as part of the notice process. Any disputes as to the
determination of the Participation Tier shall be decided pursuant to Section VII.

VI.    Allocation and Use of Settlement Payments.

        A.      Payments shall be allocated according to the Intrastate Term Sheet annexed
hereto as Exhibit N and incorporated herein by reference, subject to the following provisions:

        B.     Both the entire New York Abatement Amount and the New York Additional
Restitution Amount shall be for Opioid Remediation.

       C.       Nature of Payment. Each of the Parties and each of the Participating
Subdivisions acknowledges and agrees that notwithstanding anything to the contrary in this
Agreement, including, but not limited to, the scope of the Released Claims:

               1.      It has entered into this Agreement to avoid the delay, expense,
       inconvenience, and uncertainty of further litigation;

                 2.      (a) New York State and Participating Subdivisions sought compensatory
       restitution (within the meaning of 26 U.S.C. § 162(f)(2)(A)) as damages for the Alleged
       Harms allegedly suffered by New York State and Participating Subdivisions; (b) the
       Compensatory Restitution Amount is no greater than the amount, in the aggregate, of the
       Alleged Harms allegedly suffered by New York State and Participating Subdivisions; and
       (c) the portion of the Compensatory Restitution Amount received by New York State or
       Participating Subdivision is no greater than the amount of the Alleged Harms allegedly
       suffered by New York State or Participating Subdivision;

                3.     The payment of the Compensatory Restitution Amount by the Settling
       Distributors constitutes, and is paid for, compensatory restitution (within the meaning of
       26 U.S.C. § 162(f)(2)(A)) for alleged damage or harm (as compensation for alleged
       damage or harm arising out of alleged bodily injury) allegedly caused by the Settling
       Distributors;

                 4.      The Compensatory Restitution Amount is being paid as compensatory
       restitution (within the meaning of 26 U.S.C. § 162(f)(2)(A)) in order to restore, in whole
       or in part, New York State and Participating Subdivisions to the same position or
       condition that they would be in had New York State and Participating Subdivisions not
       suffered the Alleged Harms; and




                                                26
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 46 of 238. PageID #: 575956

                                                                                               § VII

                 5.     For the avoidance of doubt: (a) no portion of the Compensatory
       Restitution Amount represents reimbursement to New York State or any Participating
       Subdivision or other person or entity for the costs of any investigation or litigation, (b)
       the entire Compensatory Restitution Amount is properly characterized as described in
       Section VI.B, and (c) no portion of the Compensatory Restitution Amount constitutes
       disgorgement or is properly characterized as the payment of statutory or other fines,
       penalties, punitive damages, or other punitive assessments.

VII.   Enforcement

        A.       The terms of the Agreement and the New York Consent Judgment will be
enforceable solely by New York State and the Settling Distributors. Participating Subdivisions
shall not have enforcement rights against the Settling Distributors with respect to the Agreement
or New York Consent Judgment except as to payments that would be allocated to the Qualified
Settlement Fund for subdivision use; provided, however, that New York State shall establish a
process for Participating Subdivisions to notify it of any perceived violations of the Agreement
or New York Consent Judgment. Nassau County is currently a member of the Enforcement
Committee of the Global Settlement according to the draft by-laws of that Committee.

     B.      The Settling Distributors consent to the jurisdiction of the court in which the
New York Consent Judgment is filed for the limited purpose of enforcing this Agreement.

       C.         The parties to a dispute shall promptly meet and confer in good faith to resolve
any dispute. If the parties cannot resolve the dispute informally, and unless otherwise agreed in
writing, they shall follow the remaining provisions of this section to resolve the dispute.

       D.      Disputes not resolved informally shall be resolved in the Court that entered the
New York Consent Judgment, except as to disputes involving Injunctive Relief, which shall be
governed by Section XIII.

        E.      If the Global Settlement is consummated, disputes between or among the Parties
shall be governed by the enforcement and dispute resolution provisions of the Global Settlement,
notwithstanding any contrary provision in this Agreement.

VIII. Plaintiffs’ Attorneys’ Fees and Costs

        A.       It is the intent of the Parties that the attorneys’ fees and costs for New York
State and its Subdivisions shall be addressed consistent with the national settlement, except as set
forth in subsection B below.

               1.      If the Global Settlement is consummated, attorneys’ fees and costs for
       the Subdivisions shall be addressed through the mechanisms in such national settlement
       and any accompanying agreement related to attorneys’ fees.

        B.       Regardless of whether and when the Global Settlement becomes effective, no
later than September 30, 2021 or 15 days after the Court orders the Stipulation of Discontinuance
with Prejudice entered between the Settling Distributors and Nassau and Suffolk Counties per
Section III.B, whichever is later, except for the payment described in paragraph 5 below, which


                                                 27
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 47 of 238. PageID #: 575957

                                                                                            § VIII

shall be made in two equal payments on the Payment Dates for Payment Year 1 and Payment
Year 3, the Settling Distributors shall pay:

                 1.      $40,000,000 for Napoli Shkolnik PLLC’s and Simmons Hanly Conroy
       LLC’s attorney fees in satisfaction of their contingency fee agreements associated with
       their representation of Nassau and Suffolk Counties which shall be divided according to
       the allocation percentage of Nassau and Suffolk Counties as set forth in the Intrastate
       Allocation Agreement annexed hereto as Exhibit N. The firms have provided their wire
       information to the Settling Distributors for that purpose. Napoli Shkolnik PLLC and
       Simmons Hanly Conroy LLC shall waive their contingency fee contracts with Nassau
       and Suffolk Counties, respectively. In consideration for this, Napoli Shkolnik PLLC and
       Simmons Hanly Conroy LLC further agree that they will seek reimbursement for attorney
       fees for Nassau County and Suffolk County and other New York State clients from the
       Global Settlement Contingency Fee Fund and/or Global Settlement Common Benefit
       Fund, if effective, or the New York State equivalent, if not, and will not otherwise seek to
       enforce their contingency fee contracts. Napoli Shkolnik PLLC and Simmons Hanly LLC
       shall direct the administrators of the Global Settlement Contingency Fee Fund and the
       Global Settlement Common Benefit Funds to disburse any and all payments allocated to
       each of those firms to the Settling Distributors until the Settling Distributors have been
       repaid the $40,000,000 paid under this provision. To the extent that Napoli Shkolnik
       PLLC’s and Simmons Hanly Conroy LLC’s allocations from those funds and from the
       Subdivision Cost Fund in paragraph 2 below do not total the sum of $40,000,000 and any
       amount by which litigation costs and expenses approved by the Court in paragraph 2
       exceeds the amount of litigation costs and expenses allocated from the Global
       Subdivision Cost Fund, they will repay Settling Distributors directly. For the avoidance
       of doubt, Settling Distributors will recoup all amounts paid under this paragraph and the
       next paragraph from the Global Settlement Contingency Fee Fund, the Global Settlement
       Common Benefit Fund, the Global Settlement Subdivision Cost Fund, and/or Napoli
       Shkolnik PLLC and Simmons Hanly Conroy LLC and shall be fully indemnified by
       Napoli Shkolnik PLLC and Simmons Hanly Conroy LLC.

                 2.      Up to $10,000,000 for litigation costs and expenses associated with
       Napoli Shkolnik PLLC’s and Simmons Hanly Conroy LLC’s representation of Nassau
       and Suffolk Counties, provided the costs and expenses are documented according to the
       requirements under the Global Settlement. The firms have provided their wire
       information to the Settling Distributors for that purpose. This amount will be the actual
       documented litigation costs and expenses associated with Suffolk and Nassau Counties
       and in no event shall exceed $10,000,000. The initial disbursements will be $5,000,000 to
       each firm. Each firm shall submit costs to the Court for approval. Any costs not
       approved shall revert to the Settling Distributors. If the Global Settlement becomes
       effective, Napoli Shkolnik PLLC and Simmons Hanly Conroy LLC will submit the same
       litigation costs and expenses to the Global Settlement Subdivision Cost Fund and
       Subdivision Cost Fund and will direct the administrator of the Global Settlement
       Subdivision Cost Fund to disburse the amount allocated for litigation costs and expenses
       to the Settling Distributors. In the event there is a difference between the costs and
       expenses approved by the Court and the administrator of the Global Settlement Cost
       Fund, such difference shall be addressed as described in paragraph 1.


                                               28
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 48 of 238. PageID #: 575958

                                                                                               § VIII

                3.     $20,000,000 in additional costs and expenses to Nassau County to be
       paid to Nassau County’s counsel, Napoli Shkolnik PLLC, on behalf of Nassau County
       pursuant to wire instructions to be provided.

                4.      $20,000,000 in additional costs and expenses to Suffolk County to be
       paid to Suffolk County’s counsel, Simmons Hanly Conroy LLC, on behalf of Suffolk
       County pursuant to wire instructions to be provided.

                 5.      $30,000,000 to be allocated to New York State towards New York
       State’s fees and expenses. Counsel for the State of New York shall submit litigation costs
       and expenses to the State Cost Fund of the Global Settlement. The $30,000,000 payable
       under this paragraph shall be paid in equal amounts on the Payment Dates for Payment
       Year 1 and Payment Year 3. To the extent that the State of New York is awarded costs
       and expenses by the administrator of the Global Settlement State Cost Fund, the State of
       New York shall direct the administrator to disburse any and all payments to Settling
       Distributors. If the New York Additional Restitution Amount exceeds the amount set
       forth in Exhibit G, then the amount due under this paragraph shall be reduced dollar for
       dollar by that excess amount.

                 6.       Nassau and Suffolk Counties agree to submit to the Global Settlement
       Subdivision Cost Fund to compensate direct in-house litigation costs for expenditures
       related to their litigation against the Settling Distributors including the cost of in-house
       employees. If it is determined that those Counties are eligible to receive an amount
       greater than $10,000,000, the Counties shall direct the administrator of the Subdivision
       Cost Fund to disburse any and all payments in excess of $10,000,000 to the Settling
       Distributors up to an amount no more than $20,000,000.

        C.       If the Global Settlement is not effective by July 1, 2022, the Settling Distributors
shall pay into the New York Qualified Settlement Fund the following amounts:

                 1.      $27,862,154 to reimburse Participating Subdivision attorney fees upon
       application by eligible counsel who waive enforcement of their contingency fee contracts.
       This amount was calculated assuming that the contingency fee portion of the
       contemplated Global Settlement fee fund will be 40% of the total and that New York
       litigants’ share of the contingency fee fund would parallel its allocation. If there is a later
       determination that changes any of these assumptions, this payment will be adjusted
       accordingly.

                 2.      Litigation costs incurred by the Participating Subdivisions other than
       Nassau County and Suffolk County, as follows: Litigating Subdivisions shall submit
       litigation costs to the New York Qualified Settlement Administrator, who shall review
       and approve fully documented litigation costs, which shall then be paid by Settling
       Distributors, within 60 days of such determination, up to a maximum of $3,750,000. In
       the event that the approved litigation costs paid exceed $3,750,000, the New York
       Qualified Settlement Fund Administrator shall reduce such claims pro rata.




                                                 29
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 49 of 238. PageID #: 575959

                                                                                                § IX

                 3.      The amounts paid by Settling Distributors under this Section VIII.C will
       be paid consistent with the schedule set forth in the Global Settlement as it was
       distributed to the States for their consideration for participation on the schedule set forth
       in Exhibit G.

IX.    New York Additional Restitution Amount

        A.      New York Additional Restitution Amount. Pursuant to the schedule set forth in
Exhibit G, the Settling Distributors shall pay an Additional Restitution Amount to New York
State. Such funds shall be paid, on the schedule set forth in Exhibit G, on the Payment Date for
each relevant Payment Year.

        B.      Use of Funds. All funds paid under this Section IX shall be part of the
Compensatory Restitution Amount, shall be used for Opioid Remediation and shall be governed
by the same requirements as specified in Section VI.C.

X.     Release

        A.         Scope. As of the Effective Date, the Released Entities are hereby released and
forever discharged from all Released Claims. New York State (for itself and its Releasors) and
each Participating Subdivision hereby absolutely, unconditionally, and irrevocably covenant not
to bring, file, or claim, or to cause, assist or permit to be brought, filed, or claimed, or to
otherwise seek to establish liability for any Released Claims against any Released Entity in any
forum whatsoever. The releases provided for in this Agreement are intended by the Parties to be
broad and shall be interpreted so as to give the Released Entities the broadest possible bar against
any liability relating in any way to Released Claims and extend to the full extent of the power of
New York State and its Attorney General to release claims. This Agreement shall be a complete
bar to any Released Claim.

       B.        Claim-Over and Non-Party Settlement.

                 1.      It is the intent of the Parties that: Released Entities should not seek
       contribution or indemnification (other than pursuant to an insurance contract), from other
       parties for their payment obligations under this Agreement; the payments made under this
       Settlement Agreement shall be the sole payments made by the Released Entities to the
       Releasors involving, arising out or, or related to Covered Conduct (or conduct that would
       be Covered Conduct if engaged in by a Released Entity); Claims by Releasors against
       non-Parties should not result in additional payments by Released Entities, whether
       through contribution, indemnification or any other means; and the Settlement meets the
       requirements of the Uniform Contribution Among Joint Tortfeasors Act and any similar
       state law or doctrine that reduces or discharges a released party’s liability to any other
       parties. The provisions of this Section X.B are intended to be implemented consistent
       with these principles.

               2.      This Agreement and the releases and dismissals provided for herein are
       made in good faith.




                                                30
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 50 of 238. PageID #: 575960

                                                                                                 §X

                 3.      No Released Entity shall seek to recover for amounts paid under this
       Agreement based on indemnification, contribution, or any other theory from a
       manufacturer, pharmacy, hospital, pharmacy benefit manager, health insurer, third-party
       vendor, trade association, distributor, or health care practitioner, provided that a Released
       Entity shall be relieved of this prohibition with respect to any entity that asserts a Claim-
       Over against it. For the avoidance of doubt, nothing herein shall prohibit a Released
       Entity from recovering amounts owed pursuant to insurance contracts.

                 4.     To the extent that, on or after the Initial Participation Date, any Releasor
       enters into a Non-Party Settlement, including in any bankruptcy proceeding or through
       any plan of reorganization, the Releasor will include, unless prohibited from doing so
       under applicable law, in the Non-Party Settlement a prohibition on contribution or
       indemnity of any kind substantially equivalent to that required from the Settling
       Distributors in Section X.B.3, or a release from such non-Released Entity in favor of the
       Released Entities (in a form equivalent to the releases contained in this Agreement) of
       any Claim-Over. The obligation to obtain the prohibition and/or release required by this
       subsection is a material term of this Agreement. If a Releasor uses best efforts (which
       must be documented and substantiated by such Releasor) to obtain such prohibition
       and/or release but is unable to do so, the Released Entities’ remedy is that Section X.B.5
       applies. For purposes of this Section X.B, references to “settle” or “settlement” include
       consent or stipulated judgments and other forms of relief that the Releasor does not
       oppose.

                 5.     If any Releasor settles a Non-Party Covered Conduct Claim with any
       Non-Released Entity and fails, following documented and substantiated best efforts, to
       obtain the prohibition and/or release required by Section X.B.4, and if the non-Released
       Entity in turn asserts a Claim-Over, the following shall apply:

                       a.       The Released Entity shall move to dismiss such Claim-Over on
                the grounds that this Agreement moots or otherwise extinguishes the Claim-
                Over. Each Releasor, with respect to any proceeding to which it is a party, shall
                not unreasonably withhold consent to and shall join in such motion. The
                Released Entity shall move to dismiss, in litigation, arbitration, or other
                appropriate proceeding, such Claim-Over on the grounds that this Agreement
                moots or otherwise extinguishes the Claim-Over. Each Releasor, with respect to
                any proceeding to which it is a party, shall not unreasonably withhold consent to
                and shall join in such motion.

                        b.      If the Claim-Over proceeds despite such motion (including if
                material substantive proceedings are permitted to go forward during the
                pendency of such motion), the Releasor shall reduce the settlement it obtained
                against such non-Released Entity by whatever amount or percentage is
                necessary to extinguish such Claim-Over under applicable law, including, if
                necessary, by returning monies paid to the Releasor by the non-Released Entity,
                and shall fully hold the Released Entity harmless from such Claim-Over
                (including, if necessary, by returning monies paid by Released Entities to the
                Releasor under this Agreement).


                                                31
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 51 of 238. PageID #: 575961

                                                                                              §X

                 6.      In the event that any Releasor obtains a judgment with respect to Non-
       Party Covered Conduct against a non-Released Entity that does not contain a prohibition
       like that in Section X.B.3 or any Releasor files a Non-Party Covered Conduct Claim
       against a non-Released Entity in bankruptcy:

                       a.      If the non-Released Entity in turn successfully asserts a Claim-
               Over against a Released Entity, except as provided in Section X.B.7, the
               Releasor shall reduce its Claim and any judgment it has obtained or may obtain
               against such non-Released Entity by whatever amount or percentage is
               necessary to extinguish such Claim-Over under applicable law, including, if
               necessary, by returning monies paid to the Releasor in satisfaction of a judgment
               against or settlement with the Non-Released Entity, and to fully hold the
               Released Entity harmless from such Claim-Over (including, if necessary, by
               returning monies paid by Released Entities to the Releasor under this
               Agreement).

                        b.     For purposes of this provision, successful assertion of a Claim-
               Over means either (i) a final monetary judgment in litigation, arbitration or other
               proceeding; provided that the applicable State Attorney(s) General had notice of
               and opportunity to intervene in the proceeding giving rise to such judgment or
               (ii) a settlement; provided that the Released Entity sought the applicable State
               Attorney(s) General’s consent to the settlement and such consent was either
               obtained or unreasonably withheld. Should the judgment against the Released
               Entity resolve claims that are not Claim-Over claims, the reduction of the Claim
               and/or judgment shall be for the Claim-Over portion only, which shall be
               distinguishable in the judgment.

                       c.      The Released Entity will take reasonable and necessary steps to
               defend against the Claim-Over and will consent to the intervention of any
               Releasor seeking to defend against the Claim-Over. Each Releasor, with respect
               to any proceeding to which it is a party, shall not unreasonably withhold consent
               to and shall join in, and with respect to all other proceedings shall not
               unreasonably withhold consent to, any motion by any of the Released Entities to
               dismiss any Claim-Over on the grounds that this Agreement moots or otherwise
               extinguishes any such Claim-Over.

                 7.     To the extent that the Claim-Over is based on a contractual indemnity,
       the obligations under Section X.B.4, Section X.B.5, and Section X.B.6 shall extend solely
       to a Non-Party Covered Conduct Claim against a pharmacy, clinic, hospital or other
       purchaser or dispenser of Products, a manufacturer that sold Products, a consultant,
       and/or a pharmacy benefit manager or other third-party payor. Each Settling Distributor
       shall notify New York State, to the extent permitted by applicable law, in the event that
       any of these types of non-Released Entity asserts a Claim-Over arising out of contractual
       indemnity against it.

                8.     The Parties to this Agreement recognize that these Claim-Over
       provisions are under negotiation in the Global Settlement and that any Claim-Over


                                              32
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 52 of 238. PageID #: 575962

                                                                                                               §X

        provision negotiated therein will supersede this one if the Global Settlement becomes
        effective.

        C.        General Release. In connection with the releases provided for in this
Agreement, New York State (for itself and its Releasors) and each Participating Subdivision
expressly waive, release, and forever discharge any and all provisions, rights, and benefits
conferred by any law of any New York State or territory of the United States or other
jurisdiction, or principle of common law, which is similar, comparable, or equivalent to § 1542
of the California Civil Code, which reads:

                   General Release; extent. A general release does not extend to claims
                   that the creditor or releasing party does not know or suspect to exist in
                   his or her favor at the time of executing the release and that if known by
                   him or her, would have materially affected his or her settlement with the
                   debtor or released party.

A Releasor may hereafter discover facts other than or different from those which it knows,
believes, or assumes to be true with respect to the Released Claims, but New York State (for
itself and its Releasors) and each Participating Subdivision hereby expressly waive and fully,
finally, and forever settle, release and discharge, upon the Effective Date, any and all Released
Claims that may exist as of such date but which Releasors do not know or suspect to exist,
whether through ignorance, oversight, error, negligence or through no fault whatsoever, and
which, if known, would materially affect New York State’s decision to enter into this Agreement
or the Participating Subdivisions’ decision to participate in this Agreement.

        D.        Res Judicata. Nothing in this Agreement shall be deemed to reduce the scope of
the res judicata or claim preclusive effect that the settlement memorialized in this Agreement,
and/or any New York Consent Judgment or other judgment entered on this Agreement, gives rise
to under applicable law.

         E.       Representation and Warranty. The signatories hereto on behalf of New York
State expressly represent and warrant that they have (or have obtained, or will obtain no later
than the Initial Participation Date) the authority to settle and release, to the maximum extent of
New York State’s power, all Released Claims of (1) New York State; (2) all past and present
executive departments, state agencies, divisions, boards, commissions and instrumentalities with
the regulatory authority to enforce state and federal controlled substances acts; and (3) any of
New York State’s past and present executive departments, agencies, divisions, boards,
commissions and instrumentalities that have the authority to bring Claims related to Covered
Conduct seeking money (including abatement and/or remediation) or revocation of a
pharmaceutical distribution license;7 and (4) any Participating Subdivision. For the purposes of
clause (3) above, executive departments, agencies, divisions, boards, commissions, and
instrumentalities are those that are under the executive authority or direct control of New York
State’s Governor. Also for the purposes of clause (3), a release from New York State’s Governor
is sufficient to demonstrate that the appropriate releases have been obtained.

7
 In New York State, the department and agency that have the duties and powers in clauses (2) and (3) are the
Department of Health and the Department of Financial Services.


                                                        33
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 53 of 238. PageID #: 575963

                                                                                                § XI

        F.       Effectiveness. The releases set forth in this Agreement shall not be impacted in
any way by any dispute that exists, has existed, or may later exist between or among the
Releasors. Nor shall such releases be impacted in any way by any current or future law,
regulation, ordinance, or court or agency order limiting, seizing, or controlling the distribution or
use of the New York Qualified Settlement Fund or any portion thereof, or by the enactment of
future laws, or by any seizure of the New York Qualified Settlement Fund or any portion thereof.

       G.       Cooperation. Releasors (1) will not encourage any person or entity to bring or
maintain any Released Claim against any Released Entity and (2) will reasonably cooperate with
and not oppose any effort by Settling Distributors to secure the prompt dismissal of any and all
Released Claims.

         H.       Non-Released Claims. Notwithstanding the foregoing or anything in the
definition of Released Claims, this Agreement does not waive, release or limit any criminal
liability, Claims for liability under tax law, Claims under securities law by New York State as an
investor, Claims against parties who are not Released Entities, Claims by private individuals and
any claims arising under this Agreement for enforcement of this Agreement.

XI.    Later Litigating Subdivisions

       A.        Released Claims against Released Entities. Subject to Section XI.B, the
following shall apply in the event a Later Litigating Subdivision maintains a lawsuit for a
Released Claim against a Released Entity after the Effective Date:

                1.     The Released Entity shall take ordinary and reasonable measures to
       defend the action, including filing a Threshold Motion with respect to the Released
       Claim. The Released Entity shall further notify New York State and New York Qualified
       Settlement Fund Administrator immediately upon notice of a Later Litigating Subdivision
       bringing a lawsuit for a Released Claim, and shall not oppose New York State’s
       submission in support of the Threshold Motion.

               2.       The provisions of this Section XI.A.2 apply if the Later Litigating
       Subdivision is a Primary Subdivision (except as provided in Section XI.A.2.f):

                        a.      If a lawsuit including a Released Claim survives until the
                 Suspension Deadline for that lawsuit, the New York Qualified Settlement Fund
                 Administrator shall calculate the Suspension Amount applicable to the next
                 Payment due from the Settling Distributor(s) at issue and apportioned to New
                 York State and the Participating Subdivisions; provided, however, that the
                 Suspension Amount for a Payment Year cannot exceed the Suspension Cap. The
                 Suspension Amount shall be paid into the New York Qualified Settlement Fund
                 Escrow account. If the Suspension Amount exceeds the Suspension Cap for that
                 Payment Year, then the remaining amount will be paid into the New York
                 Qualified Settlement Fund Escrow in the following Payment Year, subject to the
                 Suspension Cap, and so forth in each succeeding Payment Year until the entire
                 Suspension Amount has been paid into the New York Qualified Settlement Fund
                 Escrow or the Released Claim is resolved, as provided below, whichever comes



                                                 34
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 54 of 238. PageID #: 575964

                                                                                              § XI

              first. A suspension does not apply during the pendency of any appeal dismissing
              the lawsuit for a Released Claim in whole.

                      b.      If the Released Claim is resolved with finality without
              requirement of payment by the Released Entity, the placement of any remaining
              balance of the Suspension Amount into the New York Qualified Settlement
              Fund Escrow shall cease and the New York Qualified Settlement Fund
              Administrator shall immediately transfer amounts in the New York Qualified
              Settlement Fund Escrow on account of the suspension to New York State and
              the Participating Subdivisions. The lawsuit will not cause further suspensions
              unless the Released Claim is reinstated upon further review, legislative action,
              or otherwise.

                       c.      If the Released Claim is resolved with finality on terms requiring
              payment by the Released Entity, the New York Qualified Settlement Fund
              Administrator will transfer the amounts in the New York Qualified Settlement
              Fund Escrow on account of the suspension to the Settling Distributor(s) at issue
              necessary to satisfy the payment obligation of the Released Entity to the relevant
              Later Litigating Subdivision. If any balance remains in the New York Qualified
              Settlement Fund Escrow on account of the suspension after transfer of the
              amount necessary to satisfy the payment obligation, the New York Qualified
              Settlement Fund Administrator will immediately transfer the balance to New
              York State and the Participating Subdivisions. If the payment obligation of the
              Released Entity to the relevant Later Litigating Subdivision exceeds the amounts
              in the New York Qualified Settlement Fund Escrow on account of the
              suspension, the Settling Distributor at issue shall receive a dollar-for-dollar
              offset, subject to the yearly Offset Cap, for the excess amount against its
              obligation to pay its allocable share of Annual Payments that would be
              apportioned to New York State and to the Participating Subdivisions. The offset
              shall be applied as follows: first against the Settling Distributor’s allocable share
              of the Annual Payment due in Payment Year 18, up to the Offset Cap for that
              Payment Year, with any remaining amounts above the Offset Cap applied
              against the Settling Distributor’s allocable share of the Annual Payment due in
              Payment Year 17, up to the Offset Cap for that Payment Year, and so forth for
              each preceding Payment Year until the entire amount to be offset has been
              applied or no future Payment Years remain.

                      d.      If the lawsuit asserting a Released Claim is resolved with finality
              on terms requiring payment by the Released Entity, and the Released Claim did
              not give rise to a suspension of Annual Payments (e.g., because it was resolved
              during Payment Years 1 or 2, during which New York State is deemed eligible
              for Incentive Payment A and thus no suspension of payments took place, as
              provided by Section XI.B), the Settling Distributor at issue shall receive a
              dollar-for-dollar offset, subject to the yearly Offset Cap, for the amount paid.
              The offset shall be applied against the relevant Settling Distributor’s allocable
              portion of the Annual Payments starting in Payment Year 18 and working
              backwards as set forth in Section XI.A.2.c. If the lawsuit for a Released Claim is


                                              35
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 55 of 238. PageID #: 575965

                                                                                                § XI

                otherwise resolved by the Released Entity, without the Settling Distributor filing
                a Threshold Motion despite an opportunity to do so, and the Released Claim did
                not give rise to a suspension of any Settling Distributor’s portion of any Annual
                Payments, the Settling Distributor at issue shall not receive any offset for the
                amount paid.

                        e.      If more than one Primary Subdivision becomes a Later Litigating
                Subdivision, a single Suspension Cap applies and the total amounts deducted
                from the Annual Payment in a given Payment Year cannot exceed the
                Suspension Cap. For the avoidance of doubt, an individual Primary Subdivision
                shall not trigger more than one suspension regardless if it (or any of its officials)
                is named as multiple plaintiffs in the same lawsuit.

                        f.      This Section XI.A.2 shall not apply with respect to a Primary
                Subdivision that is either (i) a Later Litigating Subdivision under clause (3) of
                the definition of that term solely because a legislative Bar or legislative Case-
                Specific Resolution applicable as of the Effective Date is invalidated by judicial
                decision after the Effective Date or (ii) a Later Litigating Subdivision under
                clause (4) of the definition of that term. Such a Primary Subdivision shall be
                treated as a General Purpose Government under Section XI.A.3.

                 3.      The terms of this Section XI.A.3 apply if a Later Litigating Subdivision
       is not a Primary Subdivision (except for Primary Subdivisions referenced in Section
       XI.A.2.f) but is a General Purpose Government, School District, Health District or
       Hospital District: if the Released Claim is resolved with finality on terms requiring
       payment by the Released Entity, the Settling Distributor at issue shall receive a dollar-
       for-dollar offset, subject to the yearly Offset Cap, for the amount paid against its portion
       of the obligation to make Annual Payments that would be apportioned to New York State
       and to the Participating Subdivisions. The offset shall be applied as follows: first against
       the relevant Settling Distributor’s allocable share of the Annual Payment due in Payment
       Year 18, up to the Offset Cap for that Payment Year, with any remaining amounts above
       the Offset Cap applied against the Payment due in Payment Year 17, up to the Offset Cap
       for that Payment Year, and so forth for each preceding Payment Year until the entire
       amount to be offset has been applied or no future Payment Year remains. If the Released
       Claim is resolved on terms requiring payment during the first two (2) Payment Years, in
       no case will any amounts be offset against the amounts due in Payment Years 1 and 2.

                 4.     In no event shall the total of Suspension Amounts and offsets pursuant to
       this Section applicable to New York State in a Payment Year for that Payment Year
       exceed the Offset Cap for New York State. If, in a Payment Year, the total of Suspension
       Amounts and offsets applicable to New York State exceeds the Offset Cap, the
       Suspension Amounts shall be reduced so that the total of Suspension Amounts and
       offsets equals the Offset Cap.

                 5.      For the avoidance of doubt, any offset pursuant to this Section XI that is
       not eligible for Incentive Payment A shall continue to apply even if New York State
       subsequently becomes eligible for Incentive Payment A.


                                                36
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 56 of 238. PageID #: 575966

                                                                                                § XI

                  6.     “Terms requiring payment” shall mean (i) a final monetary judgment or
       (ii) a settlement; provided that the Released Entity sought the New York State Attorney
       General’s consent to the settlement and such consent was either obtained or unreasonably
       withheld. Should the judgment or settlement resolve claims that are not Released Claims,
       the offset shall be for the Released Claims portion only, which shall be distinguishable in
       the judgment or settlement.

       B.       Exceptions.

                 1.      Section XI.A shall not apply where New York State meets the eligibility
       criteria for and is entitled to Incentive Payment A for the Payment Year at issue, except
       as expressly provided therein. For the avoidance of doubt, because New York State is
       deemed eligible for Incentive Payment A for Payment Years 1 and 2 under Section
       V.F.1.c, a suspension of Payments under Section XI.A.2 shall not apply to New York
       State for those Payment Years.

                 2.      An offset under Sections XI.A.2 and XI.A.3 shall not apply where the
       Later Litigating Subdivision opted out of a Settlement Class Resolution at issue that was
       in full force and effect as of the due date of the payment for Payment Year 2 and that
       remains in full force and effect; provided that an offset relating to that Subdivision may
       apply under Section XII.

                 3.      Section XI.A shall not apply where the Later Litigating Subdivision
       seeks less than $10 million, or so long as its total claim is reduced to less than $10
       million, in the lawsuit for a Released Claim at issue.

                4.      An offset under Section XI.A.3 shall not apply where the applicable
       Participation Tier is Participation Tier 1 and the population of the Later Litigating
       Subdivision is under 10,000.

                 5.      If the applicable Participation Tier is Participation Tier 2 or higher, and
       the Later Litigating Subdivision has a population less than 10,000, the offset under
       Section XI.A.3 shall only apply to amounts paid pursuant to a settlement or judgment that
       are over $10 million per case or resolution. Any type of consolidated or aggregated or
       joined or class actions, however styled, shall be considered a single case, and any
       resolutions that occur within a sixty (60) calendar day period of each other and involve
       Later Litigating Subdivisions that share some common counsel and/or are in New York
       State or are created by the same or related judgments, settlement agreements, or other
       instruments or are conditioned upon one another, shall be considered a single resolution.
       For the avoidance of doubt, any such case or resolution shall have only a single
       $10,000,000 exemption from the offset under Section XI.A.3.

       C.        No Effect on Other Provisions. A suspension, reduction or offset under Section
XI.A shall not affect the Injunctive Relief Terms or the New York Consent Judgment.




                                                37
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 57 of 238. PageID #: 575967

                                                                                                              § XII


XII.     Reductions/Offsets

        A.       Offset Relating to Incentive Payment A. If New York State is not eligible for
Incentive Payment A at the third Payment Date,8 Settling Distributors shall receive an offset.9
The offset shall be the dollar amount difference between (1) the total amount of the Incentive
Payment A due from Settling Distributors on the Effective Date and on the Payment Date for
Payment Year 2 allocated to New York State and the Participating Subdivisions, and (2) the total
amount of Incentive Payments B and C that would have been due from Settling Distributors on
the Effective Date and on the Payment Date for Payment Year 2 so allocated but for New York
State’s deemed eligibility for Incentive Payment A. The offset shall be applied in equal
installments to reduce the Settling Distributor’s Payments for Payment Years 3 through 7 that
would be apportioned to New York State or the Participating Subdivisions, and shall remain
applicable even if that New York State subsequently becomes eligible for Incentive Payment A.

        B.        Settlement Class Resolution Opt Outs. If New York State is eligible for
Incentive Payment A on the basis of a Settlement Class Resolution, and a Primary Subdivision
that opted out of the Settlement Class Resolution maintains a lawsuit asserting a Released Claim
against a Released Entity, the following shall apply. If the lawsuit asserting a Released Claim
either survives a Threshold Motion or has an unresolved Threshold Motion fewer than sixty (60)
calendar days prior to the scheduled start of a trial involving a Released Claim, and is resolved
with finality on terms requiring payment by the Released Entity, the Settling Distributor at issue
shall receive a dollar-for-dollar offset for the amount paid against its obligation to make
remaining Incentive Payment A payments that would be apportioned to New York State or
Participating Subdivisions. For the avoidance of doubt, an offset shall not be applicable under
this subsection B if it is applicable under Section XI.A with respect to the Subdivision at issue.

        C.        Revoked Bar, Settlement Class Resolution, or Case-Specific Resolution. If the
Settling Distributors made any Annual Payments that included any incentive payments earned as
a result of the existence of a Bar, Settlement Class Resolution, or Case-Specific Resolution after
the determination of the amount of such Annual Payment, and there is subsequently a
Revocation Event with respect to that Bar, Settlement Class Resolution, or Case-Specific
Resolution, the Settling Distributors shall receive a dollar-for-dollar offset against the portion of
remaining Annual Payments that would be allocated to New York State and the Participating
Subdivisions. This offset will be calculated as the dollar amount difference between (1) the total
amount of incentive payments paid by the Settling Distributors by virtue of the Bar, Settlement
Class Resolution, or Case-Specific Resolution subject to the Revocation Event and (2) the total
amount of incentive payments that would have been due from the Settling Distributors during
that time had the Bar, Settlement Class Resolution, or Case-Specific Resolution subject to the
Revocation Event not been in effect. The amount of Incentive Payments that would have been
due, referenced in clause (2) above, will be calculated one hundred eighty (180) calendar days
after the Revocation Event; for purposes of calculating the amount of incentive payments that

8
  In the event that New York State has passed a legislative bar before the Payment Date for Payment Year 3 that
would otherwise qualify New York State for Incentive Payment A, but such legislation is not effective until a date in
2023 after the Payment Date for Payment Year 3, New York State will not be required to make the offset required
by this Section XIV.A.
9
  For purposes of this provision, in determining whether New York State would not be eligible for Incentive
Payment A for Payment Year 3, the criteria set forth in Section V.F.1.b shall apply to that Payment Year.


                                                         38
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 58 of 238. PageID #: 575968

                                                                                               § XIII

would have been due, any relevant Subdivision shall be included as a Participating Subdivision
if: (1) its Released Claims are extinguished by any subsequent Bar, Settlement Class Resolution,
or Case-Specific Resolution in effect as of the date of such calculation, or (2) it becomes a
Participating Subdivision (in addition to all other Participating Subdivisions) prior to the date of
such calculation.

        D.        Certain Taxes. Amounts paid by a Settling Distributor under an Opioid Tax in
New York State in a Payment Year shall give rise to a dollar-for-dollar offset against that
Settling Distributor’s obligation to pay its share of the Annual Payment in that Payment Year
that would be allocated to New York State or Participating Subdivisions in it. If such amounts
paid exceed that Settling Distributor’s share of the Annual Payment allocable to New York State
or Participating Subdivisions in that Payment Year, the excess shall carry forward as an offset
against its allocable share of remaining Annual Payments that would be allocated to New York
State or Participating Subdivisions.

        E.      Not Subject to Suspension Cap or Offset Cap. For the avoidance of doubt,
neither the Suspension Cap nor the Offset Cap apply to the offsets and reductions set forth in this
Section XII.

XIII. Injunctive Relief

        A.       It is the intent of the Parties that significant injunctive relief shall be
implemented through the Global Settlement that will benefit New York State as a whole
(including Suffolk and Nassau Counties), as well as other States. A draft version of the proposed
Injunctive Relief Term Sheet is annexed hereto as Exhibit R.

                1.      New York State, Suffolk County, and Nassau County currently intend to
       participate in such settlement and shall benefit from the injunctive relief set forth therein.

               2.      In the event that the Global Settlement is not consummated, the parties
       will meet and confer about elements of the injunctive relief that can be implemented in
       New York State on a statewide-only basis, with the understanding that:

                         a.      Implementation of injunctive terms on a New York State-only
                 basis is limited and creates additional costs to Settling Distributors, given their
                 nationwide operations;

                         b.      Elements of injunctive relief for this Agreement shall include
                 those terms that have been negotiated for Global Agreement that can reasonably
                 be implemented on a statewide-only basis. The Sections of Exhibit R that will be
                 considered by the Parties for implementation are Sections I through XIV, and
                 XVI, which, among other things, set forth requirements for internal controls,
                 oversight, training, tracking, and prevention designed to prevent improper
                 distribution of opioids; and

                         c.     The parties agree that modifications will be necessary before
                 Sections VIII, IX, X, XI, XII, XIII, XIV, XVI of Exhibit R can be implemented
                 with respect to conduct that occurs solely within the State of New York. The


                                                 39
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 59 of 238. PageID #: 575969

                                                                                              § XIV

                parties further agree that modifications may be required before Sections I, II, III,
                IV, V, VI and VII of Exhibit R can be implemented in the event that the Global
                Settlement is not consummated. A Settling Distributor shall be under no
                obligation to implement any of the requirements contained in Exhibit R until the
                meet and confer process is completed and there is agreement as to the necessary
                modifications.

                3.      In the event the meet and confer does not lead to agreement on Statewide
       injunctive terms, the matter will be submitted to arbitration.

XIV. Miscellaneous

        A.       Population of General Purpose Governments. The population figures for
General Purpose Governments shall be the published U.S. Census Bureau’s population estimates
for July 1, 2019, released May 2020. These population figures shall remain unchanged during the
term of this Agreement.

       B.        Population of Special Districts. For any purpose in this Agreement in which the
population of a Special District is used other than Section V.F.1.b: (a) School Districts’
population will be measured by the number of students enrolled who are eligible under the
Individuals with Disabilities Education Act (“IDEA”) or Section 504 of the Rehabilitation Act of
1973; (b) Health Districts’ and Hospital Districts’ population will be measured at 25% of
admissions; and (c) all other Special Districts’ (including Fire Districts’ and Library Districts’)
population will be measured at 10% of the population served.

       C.      Population Associated with Sheriffs. For any purpose in this Agreement in
which the population associated with a lawsuit by a sheriff is used, the population will be
measured at 20% of the capacity of the jail(s) operated by the sheriff.

        D.       No Admission. The Settling Distributors do not admit liability or wrongdoing.
Neither this Agreement nor the New York Consent Judgment shall be considered, construed or
represented to be (1) an admission, concession or evidence of liability or wrongdoing or (2) a
waiver or any limitation of any defense otherwise available to the Settling Distributors. It is the
understanding and intent of the parties that this Agreement shall not be entered into evidence in
any other action against the Settling Distributors, among other reasons, because it is not relevant
to such action.

        E.       Most-Favored-Nation Provision. If, after execution of this Agreement, there is a
collective resolution—through settlement, bankruptcy, or other mechanism—of substantially all
Claims against the Settling Distributors via the Global Settlement under which New York State
or Nassau or Suffolk Counties would have received a greater monetary amount than the sum of
all amounts provided in this Agreement, Settling Distributors shall remit to New York State or
Nassau or Suffolk Counties the difference between the sums of the amounts provided in this
Agreement and the monetary amount that New York State or Nassau or Suffolk Counties would
have received if they had been participants in the Global Settlement according to the payment
schedule in the Global Settlement.

       F.       Tax Cooperation and Reporting.


                                                40
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 60 of 238. PageID #: 575970

                                                                                               § XIV

                 1.      Upon request by any Settling Distributor, New York State and
       Participating Subdivisions agree to perform such further acts and to execute and deliver
       such further documents as may be reasonably necessary for the Settling Distributors to
       establish the statements set forth in Section VI.C and to track and assist in the report of
       remediation disbursements as agreed to among the Settling Distributors to the satisfaction
       of their tax advisors, their independent financial auditors, the Internal Revenue Service,
       or any other governmental authority, including as contemplated by Treasury Regulations
       Section 1.162-21(b)(3)(ii) and any subsequently proposed or finalized relevant
       regulations or administrative guidance.

                2.      Without limiting the generality of Section XIV.F.1, New York State,
       Nassau County, Suffolk County and each Participating Subdivision shall cooperate in
       good faith with any Settling Distributor with respect to any tax claim, dispute,
       investigation, audit, examination, contest, litigation, or other proceeding relating to this
       Agreement.

                 3.       New York State, on behalf of itself and all Participating Subdivisions,
       shall designate one of its officers or employees to act as the “appropriate official” within
       the meaning of Treasury Regulations Section 1.6050X-1(f)(1)(ii)(B) (the “Appropriate
       Official”). If the Global Settlement does not become effective by July 1, 2022, New York
       State shall direct and ensure that the Appropriate Official timely (a) files (i) at the time
       this Agreement becomes binding on the Parties, an IRS Form 1098-F in the form
       attached as Exhibit I, Exhibit J, and Exhibit K with respect to each of the Settling
       Distributors and (ii) any legally required returns or amended returns with any applicable
       governmental authority, or any returns requested by the respective Settling Distributors,
       and (b) provides to each of the Settling Distributors a copy of (i) the IRS Form 1098-F
       filed with respect to such Settling Distributor and (ii) any legally required written
       statement pursuant to any applicable law and any other document referred to in clause
       (a)(ii) above. Any such form, return, or statement shall be prepared and filed in a manner
       fully consistent with Section VI.C.

               4.      New York State and its Participating Subdivisions agree that any return,
       amended return, or written statement filed or provided pursuant to paragraph 3, and any
       similar document, shall be prepared and filed in a manner consistent with reporting each
       Settling Distributor’s portion of the New York Settlement Amount as the “Total amount
       to be paid” pursuant to this Agreement in Box 1 of IRS Form 1098-F and each Settling
       Distributor’s portion of the Compensatory Restitution Amount as
       “Restitution/remediation amount” in Box 2 of IRS Form 1098-F, as reflected in the
       attached Exhibit I, Exhibit J, and Exhibit K. If the Designated State or Appropriate
       Official shall be required to file any return, amended return, or written statement
       contemplated by this Section XIV.F other than an IRS Form 1098-F in the form attached
       as Exhibit I, Exhibit J, and Exhibit K, New York State shall direct and ensure that the
       Appropriate Official provides to each Settling Distributor a draft of such return, amended
       return, or written statement in respect of such Settling Distributor no later than sixty (60)
       calendar days prior to the due date thereof and shall accept and reflect any reasonable
       comments of such Settling Distributor on the return, amended return, or written statement
       in respect of such Settling Distributor.


                                                 41
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 61 of 238. PageID #: 575971

                                                                                             § XIV

               5.       For the avoidance of doubt, neither the Settling Distributors nor New
       York State and Participating Subdivisions make any warranty or representation to New
       York State, Nassau County, Suffolk County, any Participating Subdivision or any
       Releasor as to the tax consequences of the payment of the Compensatory Restitution
       Amount (or any portion thereof).

        G.        Bankruptcy. The following provisions shall apply if a Settling Distributor enters
Bankruptcy (a Settling Distributor which does so and takes the actions, or is otherwise subjected
to the actions, referred to in (i) and/or (ii) herein being referred to as a “Bankrupt Settling
Distributor”) and (i) the Bankrupt Settling Distributor’s bankruptcy estate recovers, pursuant to
11 U.S.C. § 550, any payments made under this Agreement, or (ii) this Agreement is deemed
executory and is rejected by such Settling Distributor pursuant to 11 U.S.C. § 365:

                1.      In the event that New York State deems (by written notice to the Settling
       Distributors other than the Bankrupt Settling Distributor) that the financial obligations of
       this Agreement have been terminated and rendered null and void as to such Bankrupt
       Settling Distributor (except as provided in subparagraph a below) due to a material
       breach by such Bankrupt Settling Distributor, whereupon, with respect to New York
       State:

                        a.      all agreements, all concessions, all reductions of Releasing
                Parties’ Claims, and all releases and covenants not to sue, contained in this
                Agreement shall immediately and automatically be deemed null and void as to
                such Bankrupt Settling Distributor; New York State shall be deemed
                immediately and automatically restored to the same position it was in
                immediately prior to their entry into this Agreement in respect to such Bankrupt
                Settling Distributor and New York State shall have the right to assert any and all
                claims against such Bankrupt Settling Distributor in the Bankruptcy or
                otherwise, subject to any automatic stay, without regard to any limits or
                agreements as to the amount of the settlement otherwise provided in this
                Agreement; provided, however, that notwithstanding the foregoing sentence, (i)
                all reductions of Releasing Parties’ Claims, and all releases and covenants not to
                sue, contained in this Agreement shall remain in full force and effect as to all
                persons or entities other than the Bankrupt Settling Distributor itself; and (ii) in
                the event New York State asserts any Released Claim against a Bankrupt
                Settling Distributor after the rejection and/or termination of this Agreement with
                respect to such Settling Distributor as described in this Section XIV.G.1.a and
                receives a judgment, settlement or distribution arising from such Released
                Claim, then the amount of any payments that New York State has previously
                received from such Bankrupt Settling Distributor under this Agreement shall be
                applied to reduce the amount of any such judgment, settlement or distribution
                (provided that no credit shall be given against any such judgment, settlement or
                distribution for any payment that New York State is required to disgorge or
                repay to the Bankrupt Settling Distributor’s bankruptcy estate); and

                        b.    New York State may exercise all rights provided under the
                federal Bankruptcy Code (or other applicable bankruptcy or non-bankruptcy


                                                42
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 62 of 238. PageID #: 575972

                                                                                               § XIV

                 law) with respect to its Claims against such Bankrupt Settling Distributor
                 subject to all defenses and rights of the Bankrupt Settling Distributor.

        H.         No Third-Party Beneficiaries. Except as expressly provided in this Agreement,
no portion of this Agreement shall provide any rights to, or be enforceable by, any person or
entity that is not New York State or a Released Entity. New York State may not assign or
otherwise convey any right to enforce any provision of this Agreement.

        I.        Cooperation. Each Party and each Participating Subdivision agrees to use its
best efforts and to cooperate with the other Parties and Participating Subdivisions to cause this
Agreement and the New York Consent Judgment to become effective, to obtain all necessary
approvals, consents and authorizations, if any, and to execute all documents and to take such
other action as may be appropriate in connection herewith. Consistent with the foregoing, each
Party and each Participating Subdivision agrees that it will not directly or indirectly assist or
encourage any challenge to this Agreement or the New York Consent Judgment by any other
person, and will support the integrity and enforcement of the terms of this Agreement and the
New York Consent Judgment.

        J.       Retention of Jurisdiction. The Supreme Court, County of Suffolk, Justice Jerry
Garguilo, shall retain jurisdiction of the Parties for the purpose of this Agreement, including its
interpretation and enforcement.

        K.        Successors. This Agreement is binding upon, and inures to the benefit of, a
Settling Distributor’s successors and assigns. A Settling Distributor shall not, in one (1)
transaction or a series of related transactions, sell or transfer U.S. assets having a fair market
value equal to twenty-five percent (25%) or more of the consolidated assets of such Settling
Distributor (other than sales or transfers of inventories, or sales or transfers to an entity owned
directly or indirectly by such Settling Distributor) where the sale or transfer is announced after
the Effective Date, is not for fair consideration, and would foreseeably and unreasonably
jeopardize such Settling Distributor’s ability to make the payments under this Agreement that are
due on or before the third Payment Date following the close of a sale or transfer transaction,
unless the Settling Distributor obtains the acquiror’s agreement that it will be either a guarantor
of or successor to the percentage of that Settling Distributor’s remaining Payment Obligations
under this Agreement equal to the percentage of the Settling Distributor’s consolidated assets
being sold or transferred in such transaction. Percentages under this subsection K shall be
determined in accordance with United States generally accepted accounting principles and as of
the date of the Settling Distributor’s most recent publicly filed consolidated balance sheet prior
to the date of entry into the sale or transfer agreement at issue. Any objection under this
subsection K not raised within twenty (20) calendar days of the announcement of the relevant
transaction is waived.

        L.       No Violations of Applicable Law. Nothing in this Agreement shall be construed
to authorize or require any action by Settling Distributors in violation of applicable federal, state,
or other laws.

        M.        Modification. This Agreement may be modified by a written agreement of the
Parties or, in the case of the New York Consent Judgment, by court proceedings resulting in a


                                                 43
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 63 of 238. PageID #: 575973

                                                                                           § XIV

modified judgment of the Court. For purposes of modifying this Agreement or the New York
Consent Judgment, Settling Distributors may contact the New York Attorney General for
purposes of coordinating this process.

        N.       No Waiver. Any failure by any Party to this Agreement to insist upon the strict
performance by any other party of any of the provisions of this Agreement shall not be deemed a
waiver of any of the provisions of this Agreement, and such party, notwithstanding such failure,
shall have the right thereafter to insist upon the specific performance of any and all of the
provisions of this Agreement.

        O.       Entire Agreement. This Agreement represents the full and complete terms of the
settlement entered into by the Parties hereto, except as provided herein. In any action undertaken
by the Parties, no prior versions of this Agreement and no prior versions of any of its terms may
be introduced for any purpose whatsoever.

        P.       Counterparts. This Agreement may be executed in counterparts, and a facsimile
or .pdf signature shall be deemed to be, and shall have the same force and effect as, an original
signature.

       Q.       Notice. All notices under this Agreement shall be provided to the following via
email and overnight delivery to:

       Copy to AmerisourceBergen Corporation’s attorneys at:
       Michael T. Reynolds
       Cravath, Swaine & Moore LLP
       825 8th Avenue
       New York, NY 10019
       mreynolds@cravath.com

       Copy to Cardinal Health, Inc.’s attorneys at:
       Elaine Golin
       Wachtell, Lipton, Rosen & Katz
       51 West 52nd Street
       New York, NY 10019
       epgolin@wlrk.com

       Copy to McKesson Corporation’s attorneys at:
       Thomas J. Perrelli
       Jenner & Block LLP
       1099 New York Avenue, NW, Suite 900
       Washington, DC 20001-4412
       TPerrelli@jenner.com

       Copy to New York State at:
       Noah Popp
       Assistant Attorney General
       Office of the Attorney General of the State of New York


                                               44
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 64 of 238. PageID #: 575974

                                                                          § XIV

       28 Liberty Street,
       New York, New York, 10005
       Noah.Popp@ag.ny.gov


       For Plaintiff Nassau County:
       Salvatore C. Badala
       Napoli Shkolnik PLLC
       400 Broadhollow Road
       Melville, NY 11747
       Phone: (212) 397-1000
       sbadala@napolilaw.com

       For Plaintiff Suffolk County:

       Jayne Conroy
       Simmons Hanly Conroy LLC
       112 Madison Ave 7th Floor
       New York, NY 10016
       Phone: (212) 257-8482
       jconroy@simmonsfirm.com


[Signatures begin on next page.]




                                       45
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 65 of 238. PageID #: 575975




 Authorized and agreed to by:



 Dated: 7/20/21                   THE PEOPLE OF THE STATE OF NEW YORK

                                  By:
                                        Jennifer Levy
                                        First Deputy Attorney General
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 66 of 238. PageID #: 575976
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 67 of 238. PageID #: 575977




Authorized and agreed to by:

Dated: July 20, 2021             THE COUNTY OF NASSAU, NEW YORK

                                 By:
                                       Name: John B. Chiara
                                       Title: Acting County Attorney
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 68 of 238. PageID #: 575978
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 69 of 238. PageID #: 575979
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 70 of 238. PageID #: 575980



  Authorized and agreed to by:


  out"a,fp/21                     AMEzuSOIIRCEBERGEN CORPORATION



                                                        Vice President and Chief
                                                   C)fficer
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 71 of 238. PageID #: 575981
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 72 of 238. PageID #: 575982
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 73 of 238. PageID #: 575983




                                       Alleged Harms

1.     Expert report of Professor David Cutler, dated March 25, 2019.

2.     Expert report of Dr. Jeffrey B. Liebman, dated March 25, 2019.

3.     Expert report of Professor Thomas McGuire regarding damages to Bellwethers, dated
       March 25, 2019.

4.     Report of Professor Thomas McGuire regarding public nuisance, dated March 25, 2019.




                                          Exhibit A
                                              1
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 74 of 238. PageID #: 575984




                  Later Litigating Subdivision Suspension and Offset Determinations

 Participation          Per Capita               Suspension               Offset Cap   Suspension Deadline and
     Tier               Amount10                 Percentage                                 Ending Point
            1              $2,500                    66%                      66%      Earlier of (1) 6 months after
                                                                                       denial of a motion to
                                                                                       dismiss, (2) 12 months from
                                                                                       filing, or (3) 6 months
                                                                                       before final pre-trial
                                                                                       conference, and until final
                                                                                       judgment affirmed on
                                                                                       appeal, including dismissal.
            2              $2,000                  33.33%                     34%      Earlier of (1) 6 months after
                                                                                       denial of a motion to
                                                                                       dismiss, (2) 12 months from
                                                                                       filing, or (3) 6 months
                                                                                       before final pre-trial
                                                                                       conference, and until final
                                                                                       judgment affirmed on
                                                                                       appeal, including dismissal.
            3              $1,500                   27.5%                     30%      Earlier of (1) 9 months after
                                                                                       denial of a motion to
                                                                                       dismiss, (2) 12 months from
                                                                                       filing, or (3) 6 months
                                                                                       before final pre-trial
                                                                                       conference, and until final
                                                                                       judgment affirmed on
                                                                                       appeal, including dismissal.
            4              $1,000                    20%                      25%      Earlier of (1) 9 months after
                                                                                       denial of a motion to
                                                                                       dismiss, (2) 12 months from
                                                                                       filing, or (3) 6 months
                                                                                       before final pre-trial
                                                                                       conference, and until final
                                                                                       judgment affirmed on
                                                                                       appeal, including dismissal.




10
     Population will be measured at the level of the Later Litigating Subdivision.

                                                        Exhibit B
                                                             1
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 75 of 238. PageID #: 575985




                                      List of Opioid Remediation Uses

                                                 Schedule A
                                                Core Strategies

New York State shall choose from among the abatement strategies listed in Schedule B.
However, priority shall be given to the following core abatement strategies (“Core Strategies”).11

         A.       NALOXONE OR OTHER FDA-APPROVED DRUG TO REVERSE
                  OPIOID OVERDOSES

                  1.       Expand training for first responders, schools, community support groups
                           and families; and

                  2.       Increase distribution to individuals who are uninsured or whose insurance
                           does not cover the needed service.

         B.       MEDICATION-ASSISTED TREATMENT (“MAT”) DISTRIBUTION AND
                  OTHER OPIOID-RELATED TREATMENT

                  1.       Increase distribution of MAT to individuals who are uninsured or whose
                           insurance does not cover the needed service;

                  2.       Provide education to school-based and youth-focused programs that
                           discourage or prevent misuse;

                  3.       Provide MAT education and awareness training to healthcare providers,
                           EMTs, law enforcement, and other first responders; and

                  4.       Provide treatment and recovery support services such as residential and
                           inpatient treatment, intensive outpatient treatment, outpatient therapy or
                           counseling, and recovery housing that allow or integrate medication and
                           with other support services.

         C.       PREGNANT & POSTPARTUM WOMEN

                  1.       Expand Screening, Brief Intervention, and Referral to Treatment
                           (“SBIRT”) services to non-Medicaid eligible or uninsured pregnant
                           women;

                  2.       Expand comprehensive evidence-based treatment and recovery services,
                           including MAT, for women with co-occurring Opioid Use Disorder



11
  As used in this Schedule A, words like “expand,” “fund,” “provide” or the like shall not indicate a preference for
new or existing programs.

                                                     Exhibit C
                                                          1
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 76 of 238. PageID #: 575986




                   (“OUD”) and other Substance Use Disorder (“SUD”)/Mental Health
                   disorders for uninsured individuals for up to 12 months postpartum; and

             3.    Provide comprehensive wrap-around services to individuals with OUD,
                   including housing, transportation, job placement/training, and childcare.

       D.    EXPANDING TREATMENT FOR NEONATAL ABSTINENCE
             SYNDROME (“NAS”)

             1.    Expand comprehensive evidence-based and recovery support for NAS
                   babies;

             2.    Expand services for better continuum of care with infant-need dyad; and

             3.    Expand long-term treatment and services for medical monitoring of NAS
                   babies and their families.

       E.    EXPANSION OF WARM HAND-OFF PROGRAMS AND RECOVERY
             SERVICES

             1.    Expand services such as navigators and on-call teams to begin MAT in
                   hospital emergency departments;

             2.    Expand warm hand-off services to transition to recovery services;

             3.    Broaden scope of recovery services to include co-occurring SUD or
                   mental health conditions;

             4.    Provide comprehensive wrap-around services to individuals in recovery,
                   including housing, transportation, job placement/training, and childcare;
                   and

             5.    Hire additional social workers or other behavioral health workers to
                   facilitate expansions above.

       F.    TREATMENT FOR INCARCERATED POPULATION

             1.    Provide evidence-based treatment and recovery support, including MAT
                   for persons with OUD and co-occurring SUD/MH disorders within and
                   transitioning out of the criminal justice system; and

             2.    Increase funding for jails to provide treatment to inmates with OUD.

       G.    PREVENTION PROGRAMS

             1.    Funding for media campaigns to prevent opioid use (similar to the FDA’s
                   “Real Cost” campaign to prevent youth from misusing tobacco);

             2.    Funding for evidence-based prevention programs in schools;

                                         Exhibit C
                                            2
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 77 of 238. PageID #: 575987




             3.    Funding for medical provider education and outreach regarding best
                   prescribing practices for opioids consistent with the 2016 CDC guidelines,
                   including providers at hospitals (academic detailing);

             4.    Funding for community drug disposal programs; and

             5.    Funding and training for first responders to participate in pre-arrest
                   diversion programs, post-overdose response teams, or similar strategies
                   that connect at-risk individuals to behavioral health services and supports.

       H.    EXPANDING SYRINGE SERVICE PROGRAMS

             1.    Provide comprehensive syringe services programs with more wrap-around
                   services, including linkage to OUD treatment, access to sterile syringes
                   and linkage to care and treatment of infectious diseases.

       I.    EVIDENCE-BASED DATA COLLECTION AND RESEARCH
             ANALYZING THE EFFECTIVENESS OF THE ABATEMENT
             STRATEGIES WITHIN STATE




                                         Exhibit C
                                             3
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 78 of 238. PageID #: 575988




                                       Schedule B
                                      Approved Uses

Support treatment of Opioid Use Disorder (OUD) and any co-occurring Substance Use Disorder
or Mental Health (SUD/MH) conditions through evidence-based or evidence-informed programs
or strategies that may include, but are not limited to, the following:

                                PART ONE: TREATMENT

       A.    TREAT OPIOID USE DISORDER (OUD)

             Support treatment of Opioid Use Disorder (“OUD”) and any co-occurring
             Substance Use Disorder or Mental Health (“SUD/MH”) conditions through
             evidence-based or evidence-informed programs or strategies that may include, but
             are not limited to, those that:

             1.     Expand availability of treatment for OUD and any co-occurring SUD/MH
                    conditions, including all forms of Medication-Assisted Treatment
                    (“MAT”) approved by the U.S. Food and Drug Administration.

             2.     Support and reimburse evidence-based services that adhere to the
                    American Society of Addiction Medicine (“ASAM”) continuum of care for
                    OUD and any co-occurring SUD/MH conditions

             3.     Expand telehealth to increase access to treatment for OUD and any co-
                    occurring SUD/MH conditions, including MAT, as well as counseling,
                    psychiatric support, and other treatment and recovery support services.

             4.     Improve oversight of Opioid Treatment Programs (“OTPs”) to assure
                    evidence-based or evidence-informed practices such as adequate
                    methadone dosing and low threshold approaches to treatment.

             5.     Support mobile intervention, treatment, and recovery services, offered by
                    qualified professionals and service providers, such as peer recovery
                    coaches, for persons with OUD and any co-occurring SUD/MH conditions
                    and for persons who have experienced an opioid overdose.

             6.     Provide treatment of trauma for individuals with OUD (e.g., violence,
                    sexual assault, human trafficking, or adverse childhood experiences) and
                    family members (e.g., surviving family members after an overdose or
                    overdose fatality), and training of health care personnel to identify and
                    address such trauma.

             7.     Support evidence-based withdrawal management services for people with
                    OUD and any co-occurring mental health conditions.



                                         Exhibit C
                                             4
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 79 of 238. PageID #: 575989




             8.    Provide training on MAT for health care providers, first responders,
                   students, or other supporting professionals, such as peer recovery coaches
                   or recovery outreach specialists, including telementoring to assist
                   community-based providers in rural or underserved areas.

             9.    Support workforce development for addiction professionals who work
                   with persons with OUD and any co-occurring SUD/MH conditions.

             10.   Offer fellowships for addiction medicine specialists for direct patient care,
                   instructors, and clinical research for treatments.

             11.   Offer scholarships and supports for behavioral health practitioners or
                   workers involved in addressing OUD and any co-occurring SUD/MH or
                   mental health conditions, including but not limited to training,
                   scholarships, fellowships, loan repayment programs, or other incentives
                   for providers to work in rural or underserved areas.

             12.   Provide funding and training for clinicians to obtain a waiver under the
                   federal Drug Addiction Treatment Act of 2000 (“DATA 2000”) to
                   prescribe MAT for OUD, and provide technical assistance and
                   professional support to clinicians who have obtained a DATA 2000
                   waiver.

             13.   Disseminate of web-based training curricula, such as the American
                   Academy of Addiction Psychiatry’s Provider Clinical Support Service–
                   Opioids web-based training curriculum and motivational interviewing.

             14.   Develop and disseminate new curricula, such as the American Academy
                   of Addiction Psychiatry’s Provider Clinical Support Service for
                   Medication–Assisted Treatment.

       B.    SUPPORT PEOPLE IN TREATMENT AND RECOVERY

             Support people in recovery from OUD and any co-occurring SUD/MH conditions
             through evidence-based or evidence-informed programs or strategies that may
             include, but are not limited to, the programs or strategies that:

             1.    Provide comprehensive wrap-around services to individuals with OUD
                   and any co-occurring SUD/MH conditions, including housing,
                   transportation, education, job placement, job training, or childcare.

             2.    Provide the full continuum of care of treatment and recovery services for
                   OUD and any co-occurring SUD/MH conditions, including supportive
                   housing, peer support services and counseling, community navigators,
                   case management, and connections to community-based services.




                                         Exhibit C
                                             5
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 80 of 238. PageID #: 575990




             3.    Provide counseling, peer-support, recovery case management and
                   residential treatment with access to medications for those who need it to
                   persons with OUD and any co-occurring SUD/MH conditions.

             4.    Provide access to housing for people with OUD and any co-occurring
                   SUD/MH conditions, including supportive housing, recovery housing,
                   housing assistance programs, training for housing providers, or recovery
                   housing programs that allow or integrate FDA-approved mediation with
                   other support services.

             5.    Provide community support services, including social and legal services,
                   to assist in deinstitutionalizing persons with OUD and any co-occurring
                   SUD/MH conditions.

             6.    Support or expand peer-recovery centers, which may include support
                   groups, social events, computer access, or other services for persons with
                   OUD and any co-occurring SUD/MH conditions.

             7.    Provide or support transportation to treatment or recovery programs or
                   services for persons with OUD and any co-occurring SUD/MH conditions.

             8.    Provide employment training or educational services for persons in
                   treatment for or recovery from OUD and any co-occurring SUD/MH
                   conditions.

             9.    Identify successful recovery programs such as physician, pilot, and college
                   recovery programs, and provide support and technical assistance to
                   increase the number and capacity of high-quality programs to help those in
                   recovery.

             10.   Engage non-profits, faith-based communities, and community coalitions to
                   support people in treatment and recovery and to support family members
                   in their efforts to support the person with OUD in the family.

             11.   Provide training and development of procedures for government staff to
                   appropriately interact and provide social and other services to individuals
                   with or in recovery from OUD, including reducing stigma.

             12.   Support stigma reduction efforts regarding treatment and support for
                   persons with OUD, including reducing the stigma on effective treatment.

             13.   Create or support culturally appropriate services and programs for persons
                   with OUD and any co-occurring SUD/MH conditions, including new
                   Americans.

             14.   Create and/or support recovery high schools.



                                         Exhibit C
                                             6
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 81 of 238. PageID #: 575991




             15.    Hire or train behavioral health workers to provide or expand any of the
                    services or supports listed above.

       C.    CONNECT PEOPLE WHO NEED HELP TO THE HELP THEY NEED
             (CONNECTIONS TO CARE)

             Provide connections to care for people who have—or are at risk of developing—
             OUD and any co-occurring SUD/MH conditions through evidence-based or
             evidence-informed programs or strategies that may include, but are not limited to,
             those that:

             1.     Ensure that health care providers are screening for OUD and other risk
                    factors and know how to appropriately counsel and treat (or refer if
                    necessary) a patient for OUD treatment.

             2.     Fund SBIRT programs to reduce the transition from use to disorders,
                    including SBIRT services to pregnant women who are uninsured or not
                    eligible for Medicaid.

             3.     Provide training and long-term implementation of SBIRT in key systems
                    (health, schools, colleges, criminal justice, and probation), with a focus on
                    youth and young adults when transition from misuse to opioid disorder is
                    common.

             4.     Purchase automated versions of SBIRT and support ongoing costs of the
                    technology.

             5.     Expand services such as navigators and on-call teams to begin MAT in
                    hospital emergency departments.

             6.     Provide training for emergency room personnel treating opioid overdose
                    patients on post-discharge planning, including community referrals for
                    MAT, recovery case management or support services.

             7.     Support hospital programs that transition persons with OUD and any co-
                    occurring SUD/MH conditions, or persons who have experienced an
                    opioid overdose, into clinically appropriate follow-up care through a
                    bridge clinic or similar approach.

             8.     Support crisis stabilization centers that serve as an alternative to hospital
                    emergency departments for persons with OUD and any co-occurring
                    SUD/MH conditions or persons that have experienced an opioid overdose.

             9.     Support the work of Emergency Medical Systems, including peer support
                    specialists, to connect individuals to treatment or other appropriate
                    services following an opioid overdose or other opioid-related adverse
                    event.


                                          Exhibit C
                                              7
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 82 of 238. PageID #: 575992




             10.    Provide funding for peer support specialists or recovery coaches in
                    emergency departments, detox facilities, recovery centers, recovery
                    housing, or similar settings; offer services, supports, or connections to care
                    to persons with OUD and any co-occurring SUD/MH conditions or to
                    persons who have experienced an opioid overdose.

             11.    Expand warm hand-off services to transition to recovery services.

             12.    Create or support school-based contacts that parents can engage with to
                    seek immediate treatment services for their child; and support prevention,
                    intervention, treatment, and recovery programs focused on young people.

             13.    Develop and support best practices on addressing OUD in the workplace.

             14.    Support assistance programs for health care providers with OUD.

             15.    Engage non-profits and the faith community as a system to support
                    outreach for treatment.

             16.    Support centralized call centers that provide information and connections
                    to appropriate services and supports for persons with OUD and any co-
                    occurring SUD/MH conditions.

       D.    ADDRESS THE NEEDS OF CRIMINAL JUSTICE-INVOLVED PERSONS

             Address the needs of persons with OUD and any co-occurring SUD/MH
             conditions who are involved in, are at risk of becoming involved in, or are
             transitioning out of the criminal justice system through evidence-based or
             evidence-informed programs or strategies that may include, but are not limited to,
             those that:

             1.     Support pre-arrest or pre-arraignment diversion and deflection strategies
                    for persons with OUD and any co-occurring SUD/MH conditions,
                    including established strategies such as:

                    a.      Self-referral strategies such as the Angel Programs or the Police
                            Assisted Addiction Recovery Initiative (“PAARI”);

                    b.      Active outreach strategies such as the Drug Abuse Response Team
                            (“DART”) model;

                    c.      “Naloxone Plus” strategies, which work to ensure that individuals
                            who have received naloxone to reverse the effects of an overdose
                            are then linked to treatment programs or other appropriate services;

                    d.      Officer prevention strategies, such as the Law Enforcement
                            Assisted Diversion (“LEAD”) model;


                                          Exhibit C
                                              8
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 83 of 238. PageID #: 575993




                    e.     Officer intervention strategies such as the Leon County, Florida
                           Adult Civil Citation Network or the Chicago Westside Narcotics
                           Diversion to Treatment Initiative; or

                    f.     Co-responder and/or alternative responder models to address
                           OUD-related 911 calls with greater SUD expertise.

             2.     Support pre-trial services that connect individuals with OUD and any co-
                    occurring SUD/MH conditions to evidence-informed treatment, including
                    MAT, and related services.

             3.     Support treatment and recovery courts that provide evidence-based options
                    for persons with OUD and any co-occurring SUD/MH conditions.

             4.     Provide evidence-informed treatment, including MAT, recovery support,
                    harm reduction, or other appropriate services to individuals with OUD and
                    any co-occurring SUD/MH conditions who are incarcerated in jail or
                    prison.

             5.     Provide evidence-informed treatment, including MAT, recovery support,
                    harm reduction, or other appropriate services to individuals with OUD and
                    any co-occurring SUD/MH conditions who are leaving jail or prison or
                    have recently left jail or prison, are on probation or parole, are under
                    community corrections supervision, or are in re-entry programs or
                    facilities.

             6.     Support critical time interventions (“CTI”), particularly for individuals
                    living with dual-diagnosis OUD/serious mental illness, and services for
                    individuals who face immediate risks and service needs and risks upon
                    release from correctional settings.

             7.     Provide training on best practices for addressing the needs of criminal
                    justice-involved persons with OUD and any co-occurring SUD/MH
                    conditions to law enforcement, correctional, or judicial personnel or to
                    providers of treatment, recovery, harm reduction, case management, or
                    other services offered in connection with any of the strategies described in
                    this section.

       E.    ADDRESS THE NEEDS OF PREGNANT OR PARENTING WOMEN AND
             THEIR FAMILIES, INCLUDING BABIES WITH NEONATAL
             ABSTINENCE SYNDROME

             Address the needs of pregnant or parenting women with OUD and any co-
             occurring SUD/MH conditions, and the needs of their families, including babies
             with neonatal abstinence syndrome (“NAS”), through evidence-based or evidence-
             informed programs or strategies that may include, but are not limited to, those
             that:


                                          Exhibit C
                                              9
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 84 of 238. PageID #: 575994




             1.    Support evidence-based or evidence-informed treatment, including MAT,
                   recovery services and supports, and prevention services for pregnant
                   women—or women who could become pregnant—who have OUD and
                   any co-occurring SUD/MH conditions, and other measures to educate and
                   provide support to families affected by Neonatal Abstinence Syndrome.

             2.    Expand comprehensive evidence-based treatment and recovery services,
                   including MAT, for uninsured women with OUD and any co-occurring
                   SUD/MH conditions for up to 12 months postpartum.

             3.    Provide training for obstetricians or other healthcare personnel who work
                   with pregnant women and their families regarding treatment of OUD and
                   any co-occurring SUD/MH conditions.

             4.    Expand comprehensive evidence-based treatment and recovery support for
                   NAS babies; expand services for better continuum of care with infant-need
                   dyad; and expand long-term treatment and services for medical monitoring
                   of NAS babies and their families.

             5.    Provide training to health care providers who work with pregnant or
                   parenting women on best practices for compliance with federal
                   requirements that children born with NAS get referred to appropriate
                   services and receive a plan of safe care.

             6.    Provide child and family supports for parenting women with OUD and
                   any co-occurring SUD/MH conditions.

             7.    Provide enhanced family support and child care services for parents with
                   OUD and any co-occurring SUD/MH conditions.

             8.    Provide enhanced support for children and family members suffering
                   trauma as a result of addiction in the family; and offer trauma-informed
                   behavioral health treatment for adverse childhood events.

             9.    Offer home-based wrap-around services to persons with OUD and any co-
                   occurring SUD/MH conditions, including but not limited to parent skills
                   training.

             10.   Provide support for Children’s Services—Fund additional positions and
                   services, including supportive housing and other residential services,
                   relating to children being removed from the home and/or placed in foster
                   care due to custodial opioid use.




                                        Exhibit C
                                            10
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 85 of 238. PageID #: 575995




                               PART TWO: PREVENTION

       F.    PREVENT OVER-PRESCRIBING AND ENSURE APPROPRIATE
             PRESCRIBING AND DISPENSING OF OPIOIDS

             Support efforts to prevent over-prescribing and ensure appropriate prescribing and
             dispensing of opioids through evidence-based or evidence-informed programs or
             strategies that may include, but are not limited to, the following:

             1.     Funding medical provider education and outreach regarding best
                    prescribing practices for opioids consistent with the Guidelines for
                    Prescribing Opioids for Chronic Pain from the U.S. Centers for Disease
                    Control and Prevention, including providers at hospitals (academic
                    detailing).

             2.     Training for health care providers regarding safe and responsible opioid
                    prescribing, dosing, and tapering patients off opioids.

             3.     Continuing Medical Education (CME) on appropriate prescribing of
                    opioids.

             4.     Providing Support for non-opioid pain treatment alternatives, including
                    training providers to offer or refer to multi-modal, evidence-informed
                    treatment of pain.

             5.     Supporting enhancements or improvements to Prescription Drug
                    Monitoring Programs (“PDMPs”), including but not limited to
                    improvements that:

                    a.     Increase the number of prescribers using PDMPs;

                    b.     Improve point-of-care decision-making by increasing the quantity,
                           quality, or format of data available to prescribers using PDMPs, by
                           improving the interface that prescribers use to access PDMP data,
                           or both; or

                    c.     Enable states to use PDMP data in support of surveillance or
                           intervention strategies, including MAT referrals and follow-up for
                           individuals identified within PDMP data as likely to experience
                           OUD in a manner that complies with all relevant privacy and
                           security laws and rules.

             6.     Ensuring PDMPs incorporate available overdose/naloxone deployment
                    data, including the United States Department of Transportation’s
                    Emergency Medical Technician overdose database in a manner that
                    complies with all relevant privacy and security laws and rules.


                                          Exhibit C
                                             11
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 86 of 238. PageID #: 575996




             7.     Increasing electronic prescribing to prevent diversion or forgery.

             8.     Educating dispensers on appropriate opioid dispensing.

       G.    PREVENT MISUSE OF OPIOIDS

             Support efforts to discourage or prevent misuse of opioids through evidence-
             based or evidence-informed programs or strategies that may include, but are not
             limited to, the following:

             1.     Funding media campaigns to prevent opioid misuse.

             2.     Corrective advertising or affirmative public education campaigns based on
                    evidence.

             3.     Public education relating to drug disposal.

             4.     Drug take-back disposal or destruction programs.

             5.     Funding community anti-drug coalitions that engage in drug prevention
                    efforts.

             6.     Supporting community coalitions in implementing evidence-informed
                    prevention, such as reduced social access and physical access, stigma
                    reduction—including staffing, educational campaigns, support for people
                    in treatment or recovery, or training of coalitions in evidence-informed
                    implementation, including the Strategic Prevention Framework developed
                    by the U.S. Substance Abuse and Mental Health Services Administration
                    (“SAMHSA”).

             7.     Engaging non-profits and faith-based communities as systems to support
                    prevention.

             8.     Funding evidence-based prevention programs in schools or evidence-
                    informed school and community education programs and campaigns for
                    students, families, school employees, school athletic programs, parent-
                    teacher and student associations, and others.

             9.     School-based or youth-focused programs or strategies that have
                    demonstrated effectiveness in preventing drug misuse and seem likely to
                    be effective in preventing the uptake and use of opioids.

             10.    Create or support community-based education or intervention services for
                    families, youth, and adolescents at risk for OUD and any co-occurring
                    SUD/MH conditions.




                                          Exhibit C
                                             12
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 87 of 238. PageID #: 575997




             11.    Support evidence-informed programs or curricula to address mental health
                    needs of young people who may be at risk of misusing opioids or other
                    drugs, including emotional modulation and resilience skills.

             12.    Support greater access to mental health services and supports for young
                    people, including services and supports provided by school nurses,
                    behavioral health workers or other school staff, to address mental health
                    needs in young people that (when not properly addressed) increase the risk
                    of opioid or another drug misuse.

       H.    PREVENT OVERDOSE DEATHS AND OTHER HARMS (HARM
             REDUCTION)

             Support efforts to prevent or reduce overdose deaths or other opioid-related harms
             through evidence-based or evidence-informed programs or strategies that may
             include, but are not limited to, the following:

             1.     Increased availability and distribution of naloxone and other drugs that
                    treat overdoses for first responders, overdose patients, individuals with
                    OUD and their friends and family members, schools, community
                    navigators and outreach workers, persons being released from jail or
                    prison, or other members of the general public.

             2.     Public health entities providing free naloxone to anyone in the community.

             3.     Training and education regarding naloxone and other drugs that treat
                    overdoses for first responders, overdose patients, patients taking opioids,
                    families, schools, community support groups, and other members of the
                    general public.

             4.     Enabling school nurses and other school staff to respond to opioid
                    overdoses, and provide them with naloxone, training, and support.

             5.     Expanding, improving, or developing data tracking software and
                    applications for overdoses/naloxone revivals.

             6.     Public education relating to emergency responses to overdoses.

             7.     Public education relating to immunity and Good Samaritan laws.

             8.     Educating first responders regarding the existence and operation of
                    immunity and Good Samaritan laws.

             9.     Syringe service programs and other evidence-informed programs to reduce
                    harms associated with intravenous drug use, including supplies, staffing,
                    space, peer support services, referrals to treatment, fentanyl checking,
                    connections to care, and the full range of harm reduction and treatment
                    services provided by these programs.

                                          Exhibit C
                                             13
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 88 of 238. PageID #: 575998




             10.    Expanding access to testing and treatment for infectious diseases such as
                    HIV and Hepatitis C resulting from intravenous opioid use.

             11.    Supporting mobile units that offer or provide referrals to harm reduction
                    services, treatment, recovery supports, health care, or other appropriate
                    services to persons that use opioids or persons with OUD and any co-
                    occurring SUD/MH conditions.

             12.    Providing training in harm reduction strategies to health care providers,
                    students, peer recovery coaches, recovery outreach specialists, or other
                    professionals that provide care to persons who use opioids or persons with
                    OUD and any co-occurring SUD/MH conditions.

             13.    Supporting screening for fentanyl in routine clinical toxicology testing.

                           PART THREE: OTHER STRATEGIES

       I.    FIRST RESPONDERS

             In addition to items in section C, D and H relating to first responders, support the
             following:

             1.     Education of law enforcement or other first responders regarding
                    appropriate practices and precautions when dealing with fentanyl or other
                    drugs.

             2.     Provision of wellness and support services for first responders and others
                    who experience secondary trauma associated with opioid-related
                    emergency events.

       J.    LEADERSHIP, PLANNING AND COORDINATION

             Support efforts to provide leadership, planning, coordination, facilitations,
             training and technical assistance to abate the opioid epidemic through activities,
             programs, or strategies that may include, but are not limited to, the following:

             1.     Statewide, regional, local or community regional planning to identify root
                    causes of addiction and overdose, goals for reducing harms related to the
                    opioid epidemic, and areas and populations with the greatest needs for
                    treatment intervention services, and to support training and technical
                    assistance and other strategies to abate the opioid epidemic described in
                    this opioid abatement strategy list.

             2.     A dashboard to (a) share reports, recommendations, or plans to spend
                    opioid New York Qualified Settlement Funds; (b) to show how opioid
                    New York Qualified Settlement Funds have been spent; (c) to report
                    program or strategy outcomes; or (d) to track, share or visualize key

                                           Exhibit C
                                              14
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 89 of 238. PageID #: 575999




                    opioid- or health-related indicators and supports as identified through
                    collaborative statewide, regional, local or community processes.

             3.     Invest in infrastructure or staffing at government or not-for-profit agencies
                    to support collaborative, cross-system coordination with the purpose of
                    preventing overprescribing, opioid misuse, or opioid overdoses, treating
                    those with OUD and any co-occurring SUD/MH conditions, supporting
                    them in treatment or recovery, connecting them to care, or implementing
                    other strategies to abate the opioid epidemic described in this opioid
                    abatement strategy list.

             4.     Provide resources to staff government oversight and management of
                    opioid abatement programs.

       K.    TRAINING

             In addition to the training referred to throughout this document, support training
             to abate the opioid epidemic through activities, programs, or strategies that may
             include, but are not limited to, those that:

             1.     Provide funding for staff training or networking programs and services to
                    improve the capability of government, community, and not-for-profit
                    entities to abate the opioid crisis.

             2.     Support infrastructure and staffing for collaborative cross-system
                    coordination to prevent opioid misuse, prevent overdoses, and treat those
                    with OUD and any co-occurring SUD/MH conditions, or implement other
                    strategies to abate the opioid epidemic described in this opioid abatement
                    strategy list (e.g., health care, primary care, pharmacies, PDMPs, etc.).

       L.    RESEARCH

             Support opioid abatement research that may include, but is not limited to, the
             following:

             1.     Monitoring, surveillance, data collection and evaluation of programs and
                    strategies described in this opioid abatement strategy list.

             2.     Research non-opioid treatment of chronic pain.

             3.     Research on improved service delivery for modalities such as SBIRT that
                    demonstrate promising but mixed results in populations vulnerable to
                    opioid use disorders.

             4.     Research on novel harm reduction and prevention efforts such as the
                    provision of fentanyl test strips.



                                           Exhibit C
                                              15
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 90 of 238. PageID #: 576000




             5.    Research on innovative supply-side enforcement efforts such as improved
                   detection of mail-based delivery of synthetic opioids.

             6.    Expanded research on swift/certain/fair models to reduce and deter opioid
                   misuse within criminal justice populations that build upon promising
                   approaches used to address other substances (e.g., Hawaii HOPE and
                   Dakota 24/7).

             7.    Epidemiological surveillance of OUD-related behaviors in critical
                   populations, including individuals entering the criminal justice system,
                   including, but not limited to approaches modeled on the Arrestee Drug
                   Abuse Monitoring (“ADAM”) system.

             8.    Qualitative and quantitative research regarding public health risks and
                   harm reduction opportunities within illicit drug markets, including surveys
                   of market participants who sell or distribute illicit opioids.

             9.    Geospatial analysis of access barriers to MAT and their association with
                   treatment engagement and treatment outcomes.




                                         Exhibit C
                                            16
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 91 of 238. PageID #: 576001




                                              Primary Subdivisions12


      Albany City*                           Cohoes City                          Goshen Town
      Albany County*                         Colonie Town*                        Grand Island Town
      Allegany County*                       Columbia County*                     Great Neck Village
      Amherst Town*                          Corning City                         Greece Town*
      Amsterdam City                         Cornwall Town                        Greenburgh Town*
      Arcadia Town                           Cortland City                        Greene County*
      Auburn City                            Cortland County*                     Guilderland Town*
      Aurora Town                            Cortlandt Town*                      Halfmoon Town
      Babylon Town*                          De Witt Town                         Hamburg Town*
      Babylon Village                        Delaware County*                     Harrison Town
      Ballston Town                          Depew Village                        Harrison Village
      Batavia City                           Dobbs Ferry Village                  Haverstraw Town*
      Bath Town                              Dryden Town                          Haverstraw Village
      Beacon City                            Dunkirk City                         Hempstead Town*
      Bedford Town                           Dutchess County*                     Hempstead Village*
      Beekman Town                           East Fishkill Town                   Henrietta Town*
      Bethlehem Town*                        East Greenbush Town                  Herkimer County*
      Binghamton City*                       East Hampton Town                    Highlands Town
      Blooming Grove Town                    Eastchester Town*                    Horseheads Town
      Brighton Town*                         Elma Town                            Huntington Town*
      Brookhaven Town*                       Elmira City                          Hyde Park Town
      Broome County*                         Endicott Village                     Irondequoit Town*
      Brunswick Town                         Erie County*                         Islip Town*
      Buffalo City*                          Essex County*                        Ithaca City*
      Camillus Town                          Evans Town                           Ithaca Town
      Canandaigua City                       Fallsburg Town                       Jamestown City
      Canandaigua Town                       Farmington Town                      Jefferson County*
      Canton Town                            Fishkill Town                        Johnson City Village
      Carmel Town*                           Floral Park Village                  Kenmore Village
      Catskill Town                          Franklin County*                     Kent Town
      Cattaraugus County*                    Fredonia Village                     Kingsbury Town
      Cayuga County*                         Freeport Village*                    Kingston City
      Chautauqua County*                     Fulton City                          Kirkland Town
      Cheektowaga Town*                      Fulton County*                       Kiryas Joel Village
      Chemung County*                        Garden City Village                  La Grange Town
      Chenango County*                       Gates Town                           Lackawanna City
      Chenango Town                          Geddes Town                          Lake Grove Village
      Chester Town                           Genesee County*                      Lancaster Town*
      Chili Town                             Geneseo Town                         Lancaster Village
      Cicero Town*                           Geneva City                          Lansing Town
      Clarence Town*                         German Flatts Town                   Le Ray Town
      Clarkstown Town*                       Glen Cove City                       Lewis County
      Clay Town*                             Glens Falls City                     Lewisboro Town
      Clifton Park Town*                     Glenville Town                       Lewiston Town
      Clinton County*                        Gloversville City                    Lindenhurst Village

12
     Primary Subdivisions marked with asterisks have populations above 30,000.

                                                     Exhibit D
                                                          1
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 92 of 238. PageID #: 576002



   Livingston County*           Ontario Town                  Seneca County*
   Lloyd Town                   Orange County*                Shawangunk Town
   Lockport City                Orangetown Town*              Sleepy Hollow Village
   Lockport Town                Orchard Park Town             Smithtown Town*
   Long Beach City*             Orleans County*               Somers Town
   Lynbrook Village             Ossining Town*                Southampton Town*
   Lysander Town                Ossining Village              Southeast Town
   Madison County*              Oswego City                   Southold Town
   Malone Town                  Oswego County*                Spring Valley Village*
   Malta Town                   Otsego County*                St Lawrence County*
   Mamakating Town              Owego Town                    Steuben County*
   Mamaroneck Town              Oyster Bay Town*              Stony Point Town
   Mamaroneck Village           Palm Tree Town                Suffern Village
   Manlius Town*                Parma Town                    Suffolk County*
   Massapequa Park Village      Patchogue Village             Sullivan County*
   Massena Town                 Patterson Town                Sullivan Town
   Massena Village              Peekskill City                Sweden Town
   Middletown City              Pelham Town                   Syracuse City*
   Milton Town                  Penfield Town*                Tarrytown Village
   Mineola Village              Perinton Town*                Thompson Town
   Monroe County*               Pittsford Town                Tioga County*
   Monroe Town                  Plattekill Town               Tompkins County*
   Montgomery County*           Plattsburgh City              Tonawanda City
   Montgomery Town              Plattsburgh Town              Tonawanda Town*
   Moreau Town                  Pomfret Town                  Troy City*
   Mount Kisco Village          Port Chester Village          Ulster County*
   Mount Pleasant Town*         Potsdam Town                  Ulster Town
   Mount Vernon City*           Poughkeepsie City*            Union Town*
   Nassau County*               Poughkeepsie Town*            Utica City*
   New Castle Town              Putnam County*                Valley Stream Village*
   New Hartford Town            Putnam Valley Town            Van Buren Town
   New Paltz Town               Queensbury Town               Vestal Town
   New Rochelle City*           Ramapo Town*                  Victor Town
   New Windsor Town             Red Hook Town                 Wallkill Town
   New York City*               Rensselaer County*            Wappinger Town
   Newburgh City                Riverhead Town*               Warren County*
   Newburgh Town*               Rochester City*               Warwick Town*
   Niagara County*              Rockland County*              Washington County*
   Niagara Falls City*          Rockville Centre Village      Watertown City
   Niskayuna Town               Rome City*                    Wawarsing Town
   North Castle Town            Rotterdam Town                Wayne County*
   North Greenbush Town         Rye City                      Webster Town*
   North Hempstead Town*        Rye Town*                     West Haverstraw Village
   North Tonawanda City*        Salina Town*                  West Seneca Town*
   Ogden Town                   Saratoga County*              Westbury Village
   Ogdensburg City              Saratoga Springs City         Westchester County*
   Olean City                   Saugerties Town               Wheatfield Town
   Oneida City                  Scarsdale Village             White Plains City*
   Oneida County*               Schenectady City*             Whitestown Tow
   Oneonta City                 Schenectady County*           Wilton Town
   Onondaga County*             Schodack Town                 Woodbury Town
   Onondaga Town                Schoharie County*             Woodbury Village
   Ontario County*              Schuyler County               Wyoming County*

                                        Exhibit D
                                             2
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 93 of 238. PageID #: 576003



   Yates County
   Yonkers City*
   Yorktown Town*




                                    Exhibit D
                                       3
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 94 of 238. PageID #: 576004




                      Agreed List of New York State Litigating Subdivisions


   Albany (NY), City of              Great Neck (NY), Village of        Mount Sinai (NY), Fire
   Albany (NY), County of            Greene (NY), County of              District of
   Allegany (NY), County of          Greenport (NY), Village of         Mount Vernon (NY), City of
   Amherst (NY), Town of             Hamilton (NY), County of           Nassau (NY), County of
   Amityville (NY), Village of       Hauppauge (NY), Fire               Nesconset (NY), Fire District
   Amsterdam (NY), City of            District                            of
   Auburn (NY), City of              Haverstraw (NY), Town of           New Hyde Park (NY),
   Babylon (NY), Town of             Hempstead (NY), Town of             Village of
   Babylon (NY), Village of          Hempstead (NY), Village of         New York (NY), City of
   Bellmore (NY), Fire District      Herkimer (NY), County of           Niagara (NY), County of
    of                                Herkimer (NY), Village of          Nissequogue (NY), Village
   Bellport (NY), Village of         Hicksville (NY), Water              of
   Board of Education of              District of                        North Hempstead (NY),
    Rochester City School             Huntington (NY), Town of            Town of
    District (NY)                     Island Park (NY), Village of       North Merrick (NY), Fire
   Brookhaven (NY), Town of          Islandia (NY), Village of           District of
   Broome (NY), County of            Islip (NY), Town of                North Patchogue (NY), Fire
   Buffalo (NY), City of             Islip Terrace (NY), Fire            District of
   Cattaraugus (NY), County of        District of                        Northport (NY), Village of
   Cayuga (NY), County of            Ithaca (NY), City of               Ogdensburg (NY), City of
   Centereach (NY), Fire             Jefferson (NY), County of          Old Westbury (NY), Village
    District                          Kingston (NY), City of              of
   Centerport (NY), Fire             Lackawanna (NY), City of           Oneida (NY), County of
    District of                       Lake Grove (NY), Village of        Onondaga (NY), County of
   Chautauqua (NY), County of        Lancaster (NY), Town of            Ontario (NY), County of
   Cheektowaga (NY), Town of         Lawrence (NY), Village of          Orange (NY), County of
   Chemung (NY), County of           Levittown (NY), Fire District      Orangetown (NY), Town of
   Chenango (NY), County of           of                                 Orleans (NY) County of
   Clarkstown (NY), Town of          Lewis (NY), County of              Oswego (NY), County of
   Clinton (NY), County of           Lindenhurst (NY), Village of       Otsego (NY), County of
   Columbia (NY), County of          Livingston (NY), County of         Oyster Bay (NY), Town of
   Cortland (NY) County of           Lloyd Harbor (NY), Village         Patchogue (NY), Village of
   Dutchess (NY), County of           of                                 Plainview - Old Bethpage
   East Hampton (NY), Village        Long Beach (NY), City of            Public Library (NY)
    of                                Lynbrook (NY), Village of          Plattsburgh (NY), City of
   East Rockaway (NY),               Madison (NY), County of            Poquott (NY), Village of
    Village of                        Massapequa Park (NY),              Port Washington (NY),
   Erie (NY), County of               Village of                          Village of
   Essex (NY), County of             Melville (NY), Fire District       Port Washington (NY),
   Farmingdale (NY), Village          of                                  Water District of
    of                                Merrick Library (NY)               Port Washington North
   Floral Park (NY), Village of      Mill Neck (NY), Village of          (NY), Village of
   Franklin (NY), County of          Miller Place (NY), Fire            Poughkeepsie (NY), City of
   Fulton (NY), County of             District of                        Poughkeepsie (NY), Town of
   Garden City (NY), Village         Millerton (NY), Village of         Putnam (NY), County of
    of                                Monroe (NY), County of             Ramapo (NY), Town of
   Genesee (NY), County of           Montgomery (NY), County            Rensselaer (NY), County of
   Geneva (NY), City of               of                                 Ridge (NY), Fire District of

                                              Exhibit E
                                                  1
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 95 of 238. PageID #: 576005



   Riverhead (NY), Town of           West Hampton Dunes (NY),
   Rochester (NY), City of            Village of
   Rockland (NY), County of          West Haverstraw (NY),
   Rockville Centre Public            Village of
    Library (NY)                      West Hempstead (NY)
   Rome (NY), City of                 Public Library
   Rosalyn (NY) Water District       Westbury (NY), Village of
   Saltaire (NY), Village of         Westchester (NY), County of
   Saratoga (NY), County of          Wyoming (NY), County of
   Saratoga Springs (NY), City       Yates (NY) County of
    of                                Yonkers (NY), City of
   Schenectady (NY), City of
   Schenectady (NY), County
    of
   Schoharie (NY), County of
   Schuyler (NY), County of
   Seneca (NY), County of
   Smithtown (NY), Fire
    District of
   Smithtown (NY), Town of
   South Farmingdale (NY),
    Fire District of
   Southampton (NY), Town of
   Southold (NY), Town of
   St James (NY), Fire District
   St. Lawrence (NY), County
    of
   Steuben (NY), County of
   Stewart Manor (NY), Village
    of
   Stony Brook (NY), Fire
    District of
   Stony Point (NY), Town of
   Suffern (NY), Village of
   Suffolk (NY), County of
   Sullivan (NY), County of
   Syracuse (NY), City of
   The Branch (NY), Village of
   Tioga (NY), County of
   Tompkins (NY), County of
   Tonawanda (NY), Town of
   Troy (NY), City of
   Ulster (NY), County of
   Uniondale (NY), Fire
    District of
   Utica (NY), City of
   Valley Stream (NY), Village
    of
   Wappinger (NY), Town of
   Wappingers Falls (NY),
    Village of
   Warren (NY), County of
   Washington (NY), County of


                                             Exhibit E
                                                 2
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 96 of 238. PageID #: 576006




         Settling Distributors’ Subsidiaries, Joint Ventures, and Predecessor Entities


                                                      ABC

   A.T. Pharma Consultancy FZC                                Alliance Healthcare Turkey Holding A.S.
   AB Eurco Ltd                                               Alliance Healthcare Yatirim Holding Anonim
   AB Financing, LLC                                           Şirketi
   AB Finco Ltd                                               Alliance Home Health Care, Inc.
   AB Nokco Ltd                                               Alliance UniChem IP Limited
   AB Singapore Investments Pte. Ltd.                         Alloga (Nederland) B.V.
   AB Specialty Solutions, LLC                                Alloga France SAS
   ABBP International Company                                 Alloga Logifarma, S.A.
   ABSG Canada Holdings, Inc.                                 Alloga Logistica (España) S.L.
   Access M.D. Inc.                                           ALLOGA LOGISTICS ROMANIA SRL
   AERO LINK Courier GmbH                                     Alloga Portugal - Armazenagem e Distribuicao
   Agri-Laboratories, LTD                                      Farmaceutica, Lda
   Agstrata, LLC                                              Alloga UK Limited
   AH Schweiz GmbH                                            AllyDVM, Inc.
   AH UK Holdco 1 Limited                                     Almus Farmaceutica, S.A.
   Alcura France                                              Almus France
   Alcura Health España, S.A.                                 Almus Pharmacuticals Limited
   Alcura UK Limited                                          Almus, Lda.
   Alliance Boots BV                                          Alphega SA
   Alliance Boots Schweiz Investments GmbH                    Ambulatory Pharmaceutical Services, Inc.
   Alliance Health Services, Inc.                             American Medical Distributors, Inc.
   Alliance Healthcare (Distribution) Limited                 American Oncology Network, LLC
   Alliance Healthcare Acores (f/k/a Proconfar,               Amerisource Health Services Corporation
    S.A.)                                                      Amerisource Health Services, LLC
   Alliance Healthcare Ecza Deposu Anonim Şirketi             Amerisource Health Services, LLC d/b/a
   Alliance Healthcare España Holdings, S.L.                   American Health Packaging
   Alliance Healthcare España S.A.                            Amerisource Heritage Corporation
   Alliance Healthcare France SA                              AmeriSource Heritage LLC
   Alliance Healthcare Group France SA                        Amerisource Receivables Financial Corporation
   Alliance Healthcare Management Services                    Amerisource Sales Corporation
    (Nederland) B.V.                                           AmerisourceBergen Associate Assistance Fund
   Alliance Healthcare Management Services                    AmerisourceBergen BC, ULC
    Limited                                                    AmerisourceBergen Canada Corporation
   Alliance Healthcare Nederland B.V.                         AmerisourceBergen Canada GP LLC
   Alliance Healthcare Norge AS                               AmerisourceBergen Canada GP, LLC
   Alliance Healthcare Participações SGPS,                    AmerisourceBergen Canada Holdings LP
    unipessoal, Lda.                                           AmerisourceBergen Consulting Services, Inc.
   Alliance Healthcare Répartition                            AmerisourceBergen Consulting Services, LLC
   Alliance Healthcare Romania SRL                            AmerisourceBergen Corporation
   Alliance Healthcare S.A.                                   AmerisourceBergen Drug Corporation
   Alliance Healthcare s.r.o.                                 AmerisourceBergen Foundation
   Alliance Healthcare s.r.o. Slovakia Branch                 AmerisourceBergen Global Holdings GmbH
   Alliance Healthcare Services France (f/k/a                 AmerisourceBergen Global Investments S.a.r.l.
    Alliance Healthcare Formation SAS)                         AmerisourceBergen Global Manufacturer
   Alliance Healthcare Technology Services Limited             Services GmbH


                                                 Exhibit F
                                                       1
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 97 of 238. PageID #: 576007



   AmerisourceBergen Group GmbH                             Bermuda Equity Holdings, Ltd.
   AmerisourceBergen Holding Corporation                    Beverly Acquisition Corporation
   AmerisourceBergen Integrated Services Offering,          Blue Hill II, Inc.
    LLC                                                      Blue Hill, Inc.
   AmerisourceBergen International Holdings Inc.            BluePoint Intellectual Property, LLC
   AmerisourceBergen International Investments,             Boots Nederland B.V.
    LLC                                                      Boots Norge AS
   AmerisourceBergen Luxembourg s.a.r.l.                    BP Pharmaceuticals Laboratories Unlimited
   AmerisourceBergen Services Corporation                    Company
   AmerisourceBergen Sourcing, LLC                          BPL Brasil Participacoes Ltda.
   AmerisourceBergen Specialty Group Canada                 BPL Brazil Holding Company s.a.r.l.
    Corporation                                              BPL Brazil, LLC
   AmerisourceBergen Specialty Group Canada                 BPL Group, LLC
    Holdings, Inc.                                           BPL Pharmaceuticals Holding Unlimited
   AmerisourceBergen Specialty Group, Inc.                   Company
   AmerisourceBergen Specialty Group, LLC                   BPLH Ireland Company Dublin, Zug Branch
   AmerisourceBergen Swiss Holdings GmbH                    BPLH Ireland Unlimited Company
   AmerisourceBergen Switzerland GmbH                       Brecon Holdings Limited
   AmerisourceBergen UK Holdings Ltd                        Brecon Pharmaceuticals Holdings Limited
   Anderson Packaging, Inc.                                 Brecon Pharmaceuticals Limited
   AndersonBrecon Inc.                                      Bridge Medical, Inc.
   Animal Prescriptions Limited                             Brownstone Pharmacy, Inc.
   Animalytix LLC                                           Bruin Acquisition Corp.
   Apluspharma Ltd                                          Burt's Pharmacy, LLC
   Apotheek Hagi B.V.                                       Cameron Stewart Lifescience Canada Inc.
   Apotheek Lichtenvoorde B.V.                              Cannes RJ Participacoes S.A.
   APS Acquisitions Corporation                             Capstone Med, Inc.
   APS Enterprises Holding Company, Inc.                    Capstone Pharmacy of Delaware, Inc.
   Armila UAB                                               CDRF Parent LLC
   ASD Hemophilia Management, LLC                           CDRF Parent, Inc.
   ASD Hemophilia Program, L.P.                             Centaur Services Limited
   ASD Specialty Healthcare, Inc.                           Centro Farmaceutico Asturiano, SA
   ASD Specialty Healthcare, LLC                            Century Advertising Inc.
   ASD Specialty Healthcare, LLC d/b/a ASD                  Chapin Drug Company
    Healthcare                                               Choice Medical, Inc.
   ASD Specialty Healthcare, LLC d/b/a Besse                Clinical Outcomes Resource Application
    Medical                                                   Corporation
   ASD Specialty Healthcare, LLC d/b/a Oncology             Clinical Outcomes Resource Application, Inc.
    Supply                                                   CliniCare Concepts, Inc.
   Automed Technologies (Canada) Inc.                       ClinPharm, L.L.C.
   Automed Technologies (Canada) ULC                        Committed Provider Services, LLC
   Automed Technologies, Inc.                               Compuscript, Inc.
   BBC Laboratories                                         Computran Systems, Inc.
   BBC Operating Sub, Inc.                                  Corrections Pharmacies Licensing Company,
   BBC Packing Corporation                                   L.L.C.
   BBC Special Packaging, Inc.                              Corrections Pharmacies of California, LP
   BBC Transportation Co.                                   Corrections Pharmacies of Hawaii, LP
   Beachcourse Limited                                      Corrections Pharmacies, L.L.C.
   Bellco Drug Corp.                                        Cubex, LLC
   Bellco Health Corp.                                      Datapharm Sarl
   Bergen Brunswig Corporation                              DD Wholesale, Inc.
   Bergen Brunswig Drug Company                             Dialysis Purchasing Alliance, Inc.
   Bergen Brunswig Realty Services, Inc.                    Directlog

                                                  Exhibit F
                                                      2
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 98 of 238. PageID #: 576008



   Documedics Acquisition Co., Inc.                         Insta-Care Holdings, Inc.
   Drug Service, Inc.                                       Insta-Care Pharmacy Services Corporation
   Dunnington Drug, Inc.                                    Intake Initiatives Incorporated
   Dunnington RX Services of Massachusetts, Inc.            IntegraConnect NewCo, LLC
   Dunnington RX Services of Rhode Island, Inc.             Integrated Commercialization Solutions, Inc.
   Durr-Fillauer Medical, Inc.                              Integrated Commercialization Solutions, LLC
   Durvet, Inc.                                             Integrated Health Systems Outcomes Coalition,
   Dymaxium Healthcare Innovations, Ltd.                     LLC
   Dymaxium Holdings, Ltd.                                  Inteplex, Inc.
   Dymaxium, Ltd.                                           Interfill, LLC
   Entel d.o.o.                                             International Oncology Network Solutions, Inc.
   Escalante Solutions, L.P.                                International Physician Networks, L.L.C.
   Esko Itriyat Sanayi ve Ticaret Anonim Şirketi            International Rheumatology Network, L.L.C.
   Euro Registratie Collectief B.V.                         IntrinsiQ Holdings, Inc.
   European Physician Networks GmbH                         IntrinsiQ Specialty Solutions, Inc.
   Express Pharmacy Services, Inc.                          IntrinsiQ Tendler, Inc.
   Falcon Acquisition Sub, LLC                              IntrinsiQ, LLC
   Family Center Pharmacy, Inc.                             J.M. Blanco, Inc.
   Feeders Advantage, LCC                                   James Brudnick Company, Inc.
   General Drug Company                                     K/S Instrument Corp.
   Goot Nursing Home Pharmacy, Inc.                         KRP Investments, Inc.
   Goot Westbridge Pharmacy, Inc.                           Labpak Limited
   Goot's Goodies, Inc.                                     LAD Drug Corporation
   Goot's Pharmacy & Orthopedic Supply, Inc.                Leading Educational Research Network, LLC
   Green Barn, Inc                                          Lexicon Pharmacy Services, L.L.C.
   H. D. Smith Holding Company                              Liberty Acquisition Corp.
   H. D. Smith Holdings, LLC                                Libra C.V.
   H. D. Smith Wholesale Drug Co.                           Los Angeles Drug Corporation
   H. D. Smith, LLC                                         M.D.P. Properties, Inc.
   HAI Acquisition, Inc.                                    Managed Care Network, Inc.
   HDS Solutions, LLC                                       Marshall Reinardy LLC
   Health Services Capital Corporation                      Medical Health Industries, Inc.
   Healthcare Prescription Services, Inc.                   Medical Initiatives, Inc.
   HealthForward Inc.                                       Medidyne Corp.
   HealthQuest Partner II, L.P.                             Medselect Inc.
   HealthTronics Data Solutions LLC                         Memorial Pet Care, Inc.
   HealthTronics Data Solutions, LLC                        Micro Technologies Canada Inc.
   HealthTronics Information Technology Solutions,          MWI Buying Group Limited (formerly St.
    Inc.                                                      Francis Limited)
   Hedef International Holdings BV                          MWI Supply (UK Acquisition) Limited
   Home Medical Equipment Health Company                    MWI Supply (UK Holdings) Limited
   Hydra Pharm SPA                                          MWI Supply (UK) Limited
   I.g.G. of America, Inc.                                  MWI Veterinary Supply Co.
   IHS Acquisition XXX, Inc.                                MWI Veterinary Supply, Inc.
   Imedex, Inc.                                             Nareks Ecza Deposu Ticaret Anonim Şirketi
   Imedex, LLC                                              Network for Medical Communication & Research
   Independent Pharmacy Buying Group, Inc.                   Analytics, LLC
   Innomar Pharmacy (BC) Inc.                               New Jersey Medical Corporation
   Innomar Pharmacy (SK) Inc.                               Nexiapharma, SL
   Innomar Pharmacy Inc.                                    NMCR Holdings, Inc.
   Innomar Specialty Pharmacy, Inc.                         NMCR-Europe, LLC
   Innomar Strategies Inc.                                  Northeast Veterinary Supply Company, LLC
   Innovation Cancer, Inc.                                  Oktal Pharma d.o.o

                                                 Exhibit F
                                                      3
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 99 of 238. PageID #: 576009



   Oktal Pharma d.o.o                                     Snipetjernveien 10 Norge AS
   Oktal Pharma d.o.o [Zagreb]                            Solana Beach, Inc.
   Oktal Pharma d.o.o.                                    Southwest Pharmacies, Inc.
   Oktal Pharma Hungary K.f.t.                            Southwestern Drug Corporation
   Omni Med B, Inc.                                       SparkSense Analytics, Inc.
   OPH Oktal Pharma d.o.o                                 Specialty Advancement Network, LLC
   OTC Direct Limited                                     Specialty Pharmacy of California, Inc.
   Paris Acquisition Corp.                                Specialty Pharmacy, Inc.
   Pharm Plus Acquisition, Inc.                           Spielberg Acquisition Corp.
   Pharma One Corporation Limited                         Spits B.V.
   Pharmacy Corporation of America                        Stadt Solutions, LLC
   Pharmacy Corporation of America -                      Stephar B.V.
    Massachusetts, Inc.                                    Strategic Pharmaceutical Solutions, Inc.
   Pharmacy Healthcare Solutions, Ltd.                    Swine Solutions Network, LLC
   Pharmacy Review Services, Inc.                         Taylor & Manno Asset Recovery, Inc.
   Pharmdata s.r.o.                                       Telepharmacy Solutions, Inc.
   PharMEDium Healthcare Corporation                      Terra-Lab d.o.o
   PharMEDium Healthcare Holdings LLC                     The Allen Company
   PharMEDium Healthcare Holdings, Inc.                   The Lash Group, Inc.
   PharMEDium Healthcare LLC                              The Lash Group, LLC
   PharMEDium Pharmacy Services, LLC                      TheraCom, L.L.C.
   PharMEDium R.E., LLC                                   ThermoSecure Medical Equipment GmbH
   PharMEDium Services, LLC                               TMESYS, Inc.
   PharMerica Drug Systems, Inc.                          TrakCel Holding Company, Inc.
   PharMerica Technology Solutions, LLC                   Trellis Healthcare Consulting, L.L.C.
   Pharmerica, Inc.                                       Trellis Healthcare Consulting, LLC
   Pitango HealthTech Fund I, L.P.                        True Blue Indemnity Company
   Planet Software Limited                                United Company of Pharmacists SAE
   PMSI MSA Services, Inc.                                Universal Packaging Systems, Inc.
   PMSI, Inc.                                             US Bioservices Corporation
   PPSC USA, LLC                                          Valley Wholesale Drug Co., LLC
   Premier Pharmacy, Inc.                                 Value Apothecaries, Inc.
   Premier Source Diagnostics Inc.                        Vedco, Inc.
   Premier Source, LLC                                    Vetbridge Animal Health, LLC
   Prescribe Wellness, LLC                                Vetbridge Product Development (NM-OMP)
   Profarma Distribuidora de Produtos                      LLC
    Farmaceuticos S.A.                                     VetSpace Limited
   Ramuneles Vaistine UAB                                 VetSpace, Inc.
   Reimbursement Education Network, LLC                   Vetswest Limited
   Rightpak, Inc.                                         W.C. International Limited
   Rombro's Drug Center, Inc.                             WBA Acquisitions Luxco 9 S.à.r.l.
   Roscoe Acquisition Corporation                         Wight Nederland Holdco 2 B.V.
   S.R.P. (Services de la Répartition                     Wight Nederland Holdco 4 BV
    Pharmaceutique)                                        WML, LLC
   SecureDVM, LLC                                         Woodglen Properties Limited
   Securos Europe GmbH                                    Woodglen Properties Limited Portugal Branch
   Silver Streak I, LLC                                   World Courier (Aust) Pty. Ltd.
   Skills in Healthcare France                            World Courier (Austria) GmbH
   Skills in Healthcare Pazarlama ve Tanitim              World Courier (Austria) GmbH – Serbia Branch
    Hizmetleri Anonim Şirketi                              World Courier (Deutschland) GmbH
   Skills in Healthcare Romania S.r.l.                    World Courier (Finland) Oy
   Smart ID Works, LLC                                    World Courier (India) Private Limited
   Smith Medical Partners, LLC                            World Courier (Ireland) Limited

                                                Exhibit F
                                                   4
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 100 of 238. PageID #: 576010



    World Courier (Lithuania), UAB                           World Courier Hungary Freight Forwarder and
    World Courier (Malaysia) Sdn. Bhd.                        Service Provider Limited Liability Company
    World Courier (Norway) AS                                World Courier Israel Ltd.
    World Courier (NZ) Limited                               World Courier Italia srl
    World Courier (Poland) Sp. Z.o.o.                        World Courier K.K. Japan
    World Courier (Shanghai) Co., Ltd Guangzhou              World Courier Korea Co., Ltd.
     Branch                                                   World Courier Limited (Russia)
    World Courier (Shanghai) Co., Ltd.                       World Courier Logistics (Europe) Limited
    World Courier (Shanghai) Co., Ltd., Beijing              World Courier Logistics (UK) Limited
     Branch                                                   World Courier Logistics, Inc.
    World Courier (Sweden) AB                                World Courier Logistics, Inc. (DE)
    World Courier (Switzerland) SA                           World Courier Logistics, Inc. (NY)
    World Courier (U.K.) Limited                             World Courier Management Limited
    World Courier Asia (Thailand) Co., Ltd.                  World Courier Management, Inc.
    World Courier Belgium s.a.                               World Courier of Canada Ltd
    World Courier Bulgaria                                   World Courier Operations Kenya Limited
    World Courier Czech Republic s.r.o.                      World Courier Philippines – Representative
    World Courier de Chile Limitada                           Office
    World Courier de Colombia S.A.                           World Courier Romania S.R.L.
    World Courier de Espana, S.A.                            World Courier S.A.
    World Courier de Mexico S.A. de C.V.                     World Courier Singapore Pte Ltd
    World Courier de Portugal, Lda.                          World Courier Slovak Republic s.r.o.
    World Courier de Uruguay S.A.                            World Courier South Africa (Proprietary) Limited
    World Courier del Ecuador S.A.                           World Courier Tasimacilik ve Lojistik Hizmetleri
    World Courier del Peru S.A.                               Ticaret Limited Sirketi
    World Courier Denmark A/S                                World Courier Ukraine LLC
    World Courier do Brasil Transportes                      World Courier Venezuela, S.A.
     Internacionais Ltda.                                     World Courier Zagreb d.o.o.
    World Courier France S.A.R.L.                            World Courier, Inc.
    World Courier Ground (Europe) Limited                    World Courier, kurirske storitve,d.o.o.
    World Courier Ground, Inc.                               World Customs Brokerage, Inc.
    World Courier Group Logistics, Inc.                      Xcenda (UK) Limited
    World Courier Group S.a.r.l.                             Xcenda GmbH
    World Courier Group, Inc.                                Xcenda Switzerland GmbH
    World Courier Group, Inc. Taiwan Branch                  Xcenda, L.L.C.
    World Courier Hellas Limited Liability Company           ZU Vase Zdravije
    World Courier Holland BV
    World Courier Hong Kong Limited
                                                Cardinal Health

    A+ Secure Packaging, LLC                                 AssuraMed Group, Inc.
    Abilene Nuclear, LLC                                     AssuraMed Holding, Inc.
    Access Closure, Inc.                                     AssuraMed Intermediate Holding, Inc.
    Acuity GPO, LLC                                          AssuraMed, Inc.
    Aero-Med, Ltd.                                           C. International, Inc.
    Allegiance (BVI) Holding Co. Ltd.                        Cardinal Distribution Holding Corporation - I
    Allegiance Corporation                                   Cardinal Distribution Holding Corporation - II
    Allegiance Healthcare (Labuan) Pte. Ltd.                 Cardinal Health 100, Inc.
    Allegiance I, LLC                                        Cardinal Health 104 LP
    Allegiance Labuan Holdings Pte. Ltd.                     Cardinal Health 105, Inc.
    API (Suppliers) Limited                                  Cardinal Health 107, LLC
    AssuraMed Acquisition Corp.                              Cardinal Health 108, LLC


                                                   Exhibit F
                                                      5
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 101 of 238. PageID #: 576011



    Cardinal Health 110, LLC                                Cardinal Health Colombia S.A.S.
    Cardinal Health 112, LLC                                Cardinal Health Commercial Technologies, LLC
    Cardinal Health 113, LLC                                Cardinal Health Corporate Solutions, LLC
    Cardinal Health 114, Inc.                               Cardinal Health D.R. 203 II Ltd.
    Cardinal Health 115, LLC                                Cardinal Health Denmark ApS
    Cardinal Health 116, LLC                                Cardinal Health do Brasil Ltda.
    Cardinal Health 118, LLC                                Cardinal Health Finance
    Cardinal Health 119, LLC                                Cardinal Health Finland Oy
    Cardinal Health 121, LLC                                Cardinal Health Foundation
    Cardinal Health 122, LLC                                Cardinal Health France 506 SAS
    Cardinal Health 123, LLC                                Cardinal Health Funding, LLC
    Cardinal Health 124, LLC                                Cardinal Health Germany 507 GmbH
    Cardinal Health 125, LLC                                Cardinal Health Germany Manufacturing GmbH
    Cardinal Health 126, LLC                                Cardinal Health Holding International, Inc.
    Cardinal Health 127, Inc.                               Cardinal Health International Philippines, Inc.
    Cardinal Health 128, LLC                                Cardinal Health IPS, LLC
    Cardinal Health 130, LLC                                Cardinal Health Ireland 419 Designated Activity
    Cardinal Health 131, LLC                                 Company
    Cardinal Health 132, LLC                                Cardinal Health Ireland 508 Limited
    Cardinal Health 133, Inc.                               Cardinal Health Ireland Manufacturing Limited
    Cardinal Health 2, LLC                                  Cardinal Health Ireland Unlimited Company
    Cardinal Health 200, LLC                                Cardinal Health Italy 509 S.r.l.
    Cardinal Health 201 Canada L.P.                         Cardinal Health Japan G.K.
    Cardinal Health 201, Inc.                               Cardinal Health Korea Limited
    Cardinal Health 215, LLC                                Cardinal Health Luxembourg 420 S.a.r.l.
    Cardinal Health 222 (Thailand) Ltd.                     Cardinal Health Luxembourg 522 S.a.r.l.
    Cardinal Health 242, LLC                                Cardinal Health Malaysia 211 Sdn. Bhd.
    Cardinal Health 246, Inc.                               Cardinal Health Malta 212 Limited
    Cardinal Health 247, Inc.                               Cardinal Health Managed Care Services, LLC
    Cardinal Health 249, LLC                                Cardinal Health Medical Products India Private
    Cardinal Health 250 Dutch C.V.                           Limited
    Cardinal Health 251, LLC                                Cardinal Health Mexico 244 S. de R.L. de C.V.
    Cardinal Health 252, LLC                                Cardinal Health Mexico 514 S. de R.L. de C.V.
    Cardinal Health 253, LP                                 Cardinal Health Middle East FZ-LLC
    Cardinal Health 3, LLC                                  Cardinal Health MPB, Inc.
    Cardinal Health 414, LLC                                Cardinal Health Napoleon Holding, LLC
    Cardinal Health 418, Inc.                               Cardinal Health Netherlands 502 B.V.
    Cardinal Health 5, LLC                                  Cardinal Health Netherlands 525 Cooperatie U.A.
    Cardinal Health 500, LLC                                Cardinal Health Netherlands 528 B.V.
    Cardinal Health 524, LLC                                Cardinal Health Norway AS
    Cardinal Health 529, LLC                                Cardinal Health P.R. 120, Inc.
    Cardinal Health 6, Inc.                                 Cardinal Health P.R. 218, Inc.
    Cardinal Health 7, LLC                                  Cardinal Health P.R. 220, LLC
    Cardinal Health 8, LLC                                  Cardinal Health P.R. 436, Inc.
    Cardinal Health Australia 503 Pty Ltd.                  Cardinal Health Panama, S. de R.L.
    Cardinal Health Austria 504 GmbH                        Cardinal Health Pharmaceutical Contracting, LLC
    Cardinal Health Belgium 505 BVBA                        Cardinal Health Pharmacy Services, LLC
    Cardinal Health Canada Holdings Cooperatie              Cardinal Health Poland Spolka z ograniczona
     U.A.                                                     odpowiedzialnoscia
    Cardinal Health Canada Inc.                             Cardinal Health Portugal 513, Unipessoal Lda.
    Cardinal Health Capital Corporation                     Cardinal Health Russia
    Cardinal Health Cardiology Solutions, LLC               Cardinal Health Singapore 225 Pte. Ltd.
    Cardinal Health Chile Limitada                          Cardinal Health Spain 511 S.L.

                                                  Exhibit F
                                                     6
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 102 of 238. PageID #: 576012



    Cardinal Health Sweden 512 A.B.                         Medicap Pharmacies Incorporated
    Cardinal Health Switzerland 515, GmbH                   Medicine Shoppe Capital Corporation
    Cardinal Health Systems, Inc.                           Medicine Shoppe International, Inc.
    Cardinal Health Technologies Switzerland GmbH           Medicine Shoppe Internet, Inc.
    Cardinal Health Technologies, LLC                       Mediquip Sdn. Bhd.
    Cardinal Health U.K. 418 Limited                        Mirixa Corporation
    Cardinal Health U.K. 432 Limited                        MosaicGPO, LLC
    Cardinal Health U.K. Holding Limited                    mscripts Holdings, LLC
    Cardinal Health U.K. International Holding LLP          mscripts Systems India Private Limited
    Cardinal Health, Inc.                                   mscripts, LLC
    Cardinal MED Equipment Consulting (Shanghai)            Nippon Covidien Ltd.
     Co., Ltd.                                               One Cloverleaf, LLC
    Cirpro de Delicias S.A. de C.V.                         Outcomes Incorporated
    Clinic Pharmacies III, LLC                              Owen Shared Services, Inc.
    Clinic Pharmacies, LLC                                  Pharmacy Operations Of New York, Inc.
    Community Pharmacy Enterprises, LLC                     Pharmacy Operations, Inc.
    Convertors de Mexico S.A. de C.V.                       Physicians Purchasing, Inc.
    Cordis (Shanghai) MED Devices Co., Ltd.                 Pinnacle Intellectual Property Services, Inc.
    Cordis Cashel Unlimited Company                         Pinnacle Intellectual Property Services-
    Cordis Corporation                                       International, Inc.
    Cornerstone Rheumatology LP                             Quiroproductos de Cuauhtemoc S. de R.L. de
    Covidien Manufacturing Solutions, S.A.                   C.V.
    Dutch American Manufacturers II (D.A.M. II)             RainTree Administrative Services, LLC
     B.V.                                                    RainTree Care Management, LLC
    Ellipticare, LLC                                        RainTree GPO, LLC
    EPIC Insurance Company                                  Ransdell Surgical, Inc.
    Especialidades Medicas Kenmex S.A. de C.V.              Red Oak Sourcing, LLC
    Experience East, LLC                                    Renal Purchasing Group, LLC
    Flexible Stenting Solutions, Inc.                       RGH Enterprises, Inc.
    Frog Horned Capital, Inc.                               RT Oncology Services Corporation
    Generic Drug Holdings, Inc.                             Rxealtime, Inc.
    GetOutcomes, LLC                                        Sierra Radiopharmacy, L.L.C.
    Griffin Capital, LLC                                    Sonexus Health Access & Patient Support, LLC
    HDG Acquisition, Inc.                                   Sonexus Health Distribution Services, LLC
    imgRx Healdsburg, Inc.                                  Sonexus Health Financial Solutions, LLC
    imgRx Salud, Inc.                                       Sonexus Health Pharmacy Services, LLC
    imgRx SJ Valley, Inc.                                   Sonexus Health, LLC
    imgRx SLO, Inc.                                         TelePharm, LLC
    imgRx Sonoma, Inc.                                      The Harvard Drug Group, L.L.C.
    InnerDyne Holdings, Inc.                                Tianjin ITI Trading Company
    Innovative Therapies, Inc.                              Tradex International, Inc.
    Instant Diagnostic Systems, Inc.                        Traverse GPO, LLC
    InteCardia-Tennessee East Catheterization, LLC          Wavemark Lebanon Offshore s.a.l.
    ITI Sales, LLC                                          Wavemark, Inc.
    Kendall-Gammatron Limited                               Red Oak Sourcing, LLC
    Killilea Development Company, Ltd.                      API (Suppliers) Limited
    Kinray I, LLC                                           Sierra Radiopharmacy, L.L.C.
    KPR Australia Pty. Ltd.                                 Abilene Nuclear, LLC
    KPR Switzerland Sales GmbH                              InteCardia-Tennessee East Catheterization, LLC
    KPR U.S., LLC                                           Kendall-Gammatron Limited
    Leader Drugstores, Inc.                                 Almus Pharmaceuticals USA LLC
    Ludlow Technical Products Canada, Ltd.                  Cardinal Health (H.K.) Co. Limited
    Marin Apothecaries

                                                 Exhibit F
                                                      7
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 103 of 238. PageID #: 576013



    Cardinal Health (Shanghai) Pharmaceutical Co.,           Cardinal Health (Chongqing) Pharmaceutical Co.,
     Ltd.                                                      Ltd.
    Cardinal Health (Sichuan) Pharmaceutical Co.,            Cardinal Health (Chongqing) Pharmacy Co., Ltd.
     Ltd.                                                     Cardinal Health (H.K.) Co. Limited
    Cardinal Health (Wuxi) Pharmaceutical Co., Ltd.          Cardinal Health (Hubei) Pharmaceutical Co., Ltd.
    Cardinal Health Hedan (Shenzhen)                         Cardinal Health (L) Co., Ltd.
     Pharmaceutical Co., Ltd.                                 Cardinal Health (Liaoning) Pharmaceutical Co.,
    Dalian Zhongda Pharmaceutical Company                     Ltd.
     Limited                                                  Cardinal Health (P02296)
    NaviHealth Holdings, LLC                                 Cardinal Health (P04080)
    Parch, L.L.C.                                            Cardinal Health (Shanghai) Commercial and
    6464661 Canada Inc.                                       Trading Company Limited
    AB Acquisitions Luxco 3A S.A.R.I.                        Cardinal Health (Shanghai) Cosmetics Trading
    Academy Of Managed Care Medicine, L.L.C.                  Co., Ltd.
    Alaris Medical 1 (Suisse) Sarl                           Cardinal Health (Shanghai) Logistics Co., Ltd.
    Alaris Medical New Zealand Limited                       Cardinal Health (Shanghai) Pharmaceutical Co.,
    Allegiance Healthcare International GmbH                  Ltd.
    Allegiance Pro Inc.                                      Cardinal Health (Shanghai) Pharmacy Co., Ltd.
    Allied Healthcare Services, Inc.                         Cardinal Health (Shanxi) Pharmaceutical Co.,
    Almus Pharmaceuticals Singapore Pte. Ltd.                 Ltd.
    Almus Pharmaceuticals USA LLC                            Cardinal Health (Shenyang) Pharmacy Co., Ltd.
    American Threshold Industries, Inc.                      Cardinal Health (Sichuan) Pharmaceutical Co.,
    Anoka, LLC                                                Ltd.
    ARCH Collection Corporation                              Cardinal Health (Tianjin) Pharmaceutical Co.,
    ARCH, S.A.                                                Ltd.
    Armand Scott, LLC                                        Cardinal Health (Wuxi) Pharmaceutical Co., Ltd.
    Aurum Pharmaceuticals Limited                            Cardinal Health (WuXi) Pharmacy Co., Ltd.
    Behrens Inc.                                             Cardinal Health (Zhejiang) Pharmaceutical Co.,
    Beijing Baiji Advanced Specialty Company                  Ltd.
     Limited                                                  Cardinal Health 101, Inc.
    Bellwether Oncology Alliance, Inc.                       Cardinal Health 102, Inc.
    Bentley Merger Sub, LLC                                  Cardinal Health 103, Inc.
    Bindley Western Funding Corporation                      Cardinal Health 106, Inc.
    Bindley Western Industries II Of Maine, Inc.             Cardinal Health 109, Inc.
    Biosigna GmbH Institut für                               Cardinal Health 111, LLC
     Biosignalverarbeitung und Systemanalyse                  Cardinal Health 113, LLC
    Bird Products (Japan) Ltd.                               Cardinal Health 117, LLC
    Bird Products Corporation                                Cardinal Health 129, Inc.
    Boots Retail Holdings (USA) Inc.                         Cardinal Health 208, Inc.
    Brighton Capital, Inc.                                   Cardinal Health 301, LLC
    Buffalo Merger Corp.                                     Cardinal Health 400, Inc.
    BW Transportation Services, Inc.                         Cardinal Health 401, Inc.
    Cardal II, LLC                                           Cardinal Health 402, Inc.
    Cardal, Inc.                                             Cardinal Health 403, Inc.
    Cardinal Florida, Inc.                                   Cardinal Health 404, Inc.
    Cardinal Health (Beijing) China Pharmaceutical           Cardinal Health 405, Inc.
     Co., Ltd.                                                Cardinal Health 406, Inc.
    Cardinal Health (Beijing) Medical Trading Co.,           Cardinal Health 406, LLC
     Ltd.                                                     Cardinal Health 407, Inc.
    Cardinal Health (Beijing) Pharmacy Co., Ltd.             Cardinal Health 408, Inc.
    Cardinal Health (Chengdu) Pharmacy Co., Ltd.             Cardinal Health 409, Inc.
    Cardinal Health (China) Investment Co., Ltd.             Cardinal Health 410, Inc.
                                                              Cardinal Health 411, Inc.

                                                   Exhibit F
                                                       8
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 104 of 238. PageID #: 576014



    Cardinal Health 412, Inc.                                Cardinal Health Mauritius Holding 226 Ltd.
    Cardinal Health 413, Inc.                                Cardinal Health Mexico 213, S.A. de C.V.
    Cardinal Health 415, Inc.                                Cardinal Health Netherlands 238 BV
    Cardinal Health 416, Inc.                                Cardinal Health Netherlands 526 B.V.
    Cardinal Health 417, Inc.                                Cardinal Health Netherlands Financing C.V.
    Cardinal Health 419, LLC                                 Cardinal Health Netherlands Holding B.V.
    Cardinal Health 420, LLC                                 Cardinal Health New Zealand 313 Limited
    Cardinal Health 421 Limited Partnership                  Cardinal Health Norway 315 A/S
    Cardinal Health 421, Inc.                                Cardinal Health P.R. 227, Inc.
    Cardinal Health 422, Inc.                                Cardinal Health P.R. 409 B.V.
    Cardinal Health 501 Dutch C.V.                           Cardinal Health PTS, Inc.
    Cardinal Health Austria 201 GmbH                         Cardinal Health PTS, LLC
    Cardinal Health Bermuda 224, Ltd.                        Cardinal Health S.A. 319 (Proprietary) Limited
    Cardinal Health Brasil 423 Servicos                      Cardinal Health Singapore 304
     Farmaceuticos Nucleares Ltda                             Cardinal Health Singapore 423 Pte. Ltd.
    Cardinal Health Canada 204, Inc.                         Cardinal Health Spain 219 S.L.U.
    Cardinal Health Canada 301, Inc.                         Cardinal Health Spain 239 SA
    Cardinal Health Canada 302, Inc.                         Cardinal Health Specialty Pharmacy, LLC
    Cardinal Health Canada 307, ULC                          Cardinal Health Sweden 220 AB
    Cardinal Health Canada 403, Inc.                         Cardinal Health Sweden 314 AB
    Cardinal Health Canada 437, Inc.                         Cardinal Health Switzerland 221 Sarl
    Cardinal Health Canada Inc.                              Cardinal Health Switzerland 317 Sarl
    Cardinal Health Canada LP                                Cardinal Health Trading (Shanghai) Co., Ltd.
    Cardinal Health Cayman Islands Holding Co. Ltd           Cardinal Health U.K. 100 Limited
    Cardinal Health Cayman Islands Ltd.                      Cardinal Health U.K. 101 Limited
    Cardinal Health China Co., Ltd.                          Cardinal Health U.K. 102 Limited
    Cardinal Health D.R. 203 Limited                         Cardinal Health U.K. 103 Limited
    Cardinal Health Europe IT GmbH                           Cardinal Health U.K. 104 Limited
    Cardinal Health France 205 SAS                           Cardinal Health U.K. 105 Limited
    Cardinal Health France 309 SAS                           Cardinal Health U.K. 106 Limited
    Cardinal Health Germany 206 GmbH                         Cardinal Health U.K. 223 Limited
    Cardinal Health Germany 234 GmbH                         Cardinal Health U.K. 232 Limited
    Cardinal Health Germany 318 GmbH                         Cardinal Health U.K. 235 Limited
    Cardinal Health Hedan (Shenzhen)                         Cardinal Health U.K. 236 Limited
     Pharmaceutical Co., Ltd.                                 Cardinal Health U.K. 240 Limited
    Cardinal Health Hong Kong Limited                        Cardinal Health U.K. 305 Limited
    Cardinal Health I, Inc.                                  Cardinal Health U.K. 306 Limited
    Cardinal Health Imaging, LLC                             Cardinal Health U.K. 433 Limited
    Cardinal Health India Private Limited                    Cardinal Health U.K. 434 Limited
    Cardinal Health International Ventures, Ltd.             Cardinal Syracuse, Inc.
    Cardinal Health Ireland 406 Ltd.                         Cardinal.Com Holdings, Inc.
    Cardinal Health Ireland 527 General Partnership          Care Fusion Development Private Limited
    Cardinal Health Italy 208 S.r.l.                         Care Fusion Incorporated
    Cardinal Health Italy 312 S.p.A.                         CareFusion 202, Inc.
    Cardinal Health Lease Funding 2002A, LLC                 CareFusion 203, Inc.
    Cardinal Health Lease Funding 2002AQ, LLC                CareFusion 205, Inc.
    Cardinal Health Lease Funding 2003A, LLC                 CareFusion 206, Inc.
    Cardinal Health Lease Funding 2003AQ, LLC                CareFusion 207, Inc.
    Cardinal Health Lease Funding 2003B, LLC                 CareFusion 209, Inc.
    Cardinal Health Lease Funding 2003BQ, LLC                CareFusion 210, Inc.
    Cardinal Health Lease Funding 2004A, LLC                 CareFusion 211, Inc.
    Cardinal Health Lease Funding 2004AQ, LLC                CareFusion 212, LLC
    Cardinal Health Luxembourg 523 S.a.r.l.                  CareFusion 213, LLC

                                                   Exhibit F
                                                       9
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 105 of 238. PageID #: 576015



    CareFusion 214, LLC                                    Comprehensive Medical Imaging-Encino, Inc.
    CareFusion 2200, Inc.                                  Comprehensive Medical Imaging-Fort
    CareFusion 2201, Inc.                                   Lauderdale, Inc.
    CareFusion 302, LLC                                    Comprehensive Medical Imaging-Fremont, Inc.
    CareFusion 303, Inc.                                   Comprehensive Medical Imaging-Hesperia, Inc.
    CareFusion 304, LLC                                    Comprehensive Medical Imaging-Huntington
    CareFusion Australia 200 Pty Ltd.                       Beach, Inc.
    CareFusion Australia 316 Pty Limited                   Comprehensive Medical Imaging-Palm Springs,
    CareFusion Australia 500 Pty Ltd                        Inc.
    CareFusion Belgium 202 BVBA                            Comprehensive Medical Imaging-Rancho
    CareFusion Brasil 231 Servico e Comercia de             Cucamonga, Inc.
     Productos Medicos Ltda                                 Comprehensive Medical Imaging-Rancho
    CareFusion Corporation                                  Mirage, Inc.
    CareFusion EIT, LLC                                    Comprehensive Medical Imaging-Salisbury, Inc.
    CareFusion Iberia 308 S.L.U.                           Comprehensive Medical Imaging-Sherman Oaks,
    CareFusion Italy 237 Srl                                Inc.
    CareFusion Italy 311 Srl                               Comprehensive Medical Imaging-Tempe, Inc.
    CareFusion Japan 228 K.K.                              Comprehensive Medical Imaging-Van Nuys, Inc.
    CareFusion Japan 233, Inc.                             Comprehensive Medical Imaging-Victorville, Inc.
    CareFusion Luxembourg 501 Sarl                         Comprehensive Medical Imaging-Westlake
    CareFusion Manufacturing Ireland 241 Limited            Village, Inc.
    CareFusion Manufacturing, LLC                          Comprehensive Open MRI-Carmichael, Inc.
    CareFusion Netherlands 214 B.V.                        Comprehensive Open MRI-Folsom, Inc.
    CareFusion Netherlands 238 BV                          Comprehensive Open MRI-Fullerton, Inc.
    CareFusion Netherlands 310 B.V.                        Comprehensive Open MRI-Laguna Hills, Inc.
    CareFusion Netherlands 503 B.V.                        Comprehensive Open MRI-Sacramento, Inc.
    CareFusion New Zealand 217 Limited                     Comprehensive Reimbursement Consultants, Inc.
    CareFusion New Zealand 313 Limited                     Consumer2patient, LLC
    CareFusion Resources, LLC                              CR Medicap, Inc.
    CareFusion Singapore 243 Pte. Ltd.                     Curaspan Health Group, Inc.
    CareFusion Solutions, LLC                              Cytokine Pharmasciences, Inc.
    CareFusion U.K. 284 Limited                            Dalian Zhongda Pharmaceutical Company
                                                             Limited
    CareFusion U.K. 286 Limited
    CareFusion U.K. 287 Limited                            Daniels Pharmaceuticals Limited
                                                            DC Merger Corp
    CareFusion U.K. 288 Limited
                                                            Denver Biomedical, Inc.
    Cascade Development, Inc.
                                                            Desert PET, LLC
    CCB, Inc.
                                                            Dik Drug Company, LLC
    CDI Investments, Inc.
    Centralia Pharmacy, Inc.                               Dik Medical Supplies, LLC
                                                            Discor Limited
    Centricity, LLC
                                                            Dismed Inc.
    Chapman Drug Company
                                                            Dohmen Distribution Partners Southeast, L.L.C.
    Chengdu Baiji Advanced Specialty Pharmacy
     Company Limited                                        Dover Communications, LLC
    Cheshire Merger Sub, Inc.                              Duquoin Pharmacy, Inc.
    CMI Net, Inc.                                          Dutch American Manufacturers (D.A.M.) B.V.
    College Park Plaza Associates, Inc.                    East Iowa Pharmacies, Inc.
    Comprehensive Medical Imaging-Anaheim Hills,           EGIS Holdings, Inc.
     Inc.                                                   Eldon Laboratories Limited
    Comprehensive Medical Imaging-Apple Valley,            Ellicott Drug Company
     Inc.                                                   EME Medical, Inc.
    Comprehensive Medical Imaging-Boynton                  Enturia Canada ULC
     Beach, Inc.                                            Enturia de Mexico S. de R.L. de C.V.
    Comprehensive Medical Imaging-Downey, Inc.             Enturia Limited

                                                Exhibit F
                                                    10
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 106 of 238. PageID #: 576016



    Enturican, Inc.                                           KPR U.S., Inc.
    EON Media Inc.                                            Kunming Baiji Advanced Specialty Pharmacy
    Eureka Merger Sub, Inc.                                    Company Limited
    European Pharmaceuticals Group Ltd.                       Lake Charles Pharmaceutical Supply Company,
    First Choice, Inc. Of Maine                                LLC
    Flower Merger Corp.                                       Liaoning Longda Pharmaceutical Co., Ltd.
    Futuremed Health Care Products Limited                    Liberty Communications Network, LLC
     Partnership                                               Ludlow Technical Products Corporation
    Futuremed Healthcare Products Corporation                 Macarthy Group Trustees Limited
    Futuremed Holdings General Partner Inc.                   Macarthys Laboratories Limited
    Fuzhou Baiji Pharmacy Company Limited                     Macarthy's Limited
    Gala Design, Inc.                                         Marmac Distributors, Inc.
    Gelatin Products International, Inc.                      Martindale Pharma GmbH
    Geodax Technology, Inc.                                   Martindale Pharmaceuticals Limited
    Glacier Corporation                                       Medcon S.A.
    Grand Avenue Pharmacy, Inc.                               MedEd Resources, LLC
    Graphic Holdings, Inc.                                    Medesta Associates, LLC
    Griffin Group Document Management Services,               Medical Concepts Development, Inc.
     Inc.                                                      Medical Diagnostic Leasing, Inc
    Guangzhou Baiji Advanced Specialty                        Medical Education Systems, LLC
     Pharmaceutical Chain Stores Company Limited               Medical Media Communications, LLC
    Guangzhou Baiji Drug Store Company Limited                Medical Strategies, Inc.
    Guangzhou City Kangwei Information                        MediQual Systems, Inc.
     Technology Company Limited                                Meditrol Automation Systems, Inc.
    Guangzhou Ruixun Pharmaceutical Company                   Meditrol, Inc.
     Limited                                                   MedMined, Inc.
    Guizhou Yibai Medical Co., Ltd.                           Mercury Merger Sub, LLC
    Hangzhou Baiji Advanced Specialty Drug Store              Mesa Merger Corp.
     Company Limited                                           MicroGas Limited
    Heartland Diagnostic Services, Inc.                       MicroMedical Deutschland GmbH
    HLS Advantage, LLC                                        Microport Healthcare, LLC
    Homecare (North-West) Limited                             Midland Pharmacies, Inc
    Humiston-Keeling, Inc.                                    Mississippi Medical Supply Cooperative, L.L.C.
    IMI Of Boca Raton, Inc.                                   MRI Equipment Partners, Ltd.
    IMI Of Miami, Inc.                                        Mudhen Merger Corp.
    IMI Of North Miami Beach, Inc.                            Multi-Medica S.A.
    Inland Empire Regional Pet Center, LLC                    Multipharm Limited
    InnerDyne, Inc.                                           Nanjing Baiji Advanced Specialty Drug Store
    Inpharm Nationwide Limited                                 Company Limited
    InteCardia-Tennessee East Diagnostic, LLC                 Nanning Baiji Advanced Specialty Pharmacy
    Intercare Holdings Limited                                 Company Limited
    Intercare Investments Limited                             Nationwide Ostomy Supplies Limited
    Intercare Properties Plc                                  Navigator Health, Inc.
    Iowa Falls Pharmacy, Inc.                                 NaviHealth Holdings, LLC
    IVAC Overseas Holdings LP                                 NaviHealth SM Holdings, Inc.
    JakaMed AB AB                                             NaviHealth, Inc.
    Jinan Baiji Drug Store Company Limited                    Nexus Healthcare, Inc.
    JRG, Ltd.                                                 Nitric Bio Therapeudics, Inc.
    Kendall Patient Recovery BVBA                             Northern Michigan Supply Alliance, L.L.C.
    Kinetic Surgical, LLC                                     Ohio Valley-Clarksburg, Inc.
    Kinray, Inc.                                              Oncology Holdings, Inc.
    Kinray, LLC                                               Onpointe Medical Communications, LLC
    KPR Italia S.r.l.                                         Oval (Shanghai) Technologies, Inc.

                                                    Exhibit F
                                                       11
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 107 of 238. PageID #: 576017



    Oval Technologies (H.K.) Pty Limited                    Sistemas Medicos ALARIS S.A. de C.V.
    Owen Healthcare Building, Inc.                          Snowden Pencer Holdings, Inc.
    Pacific Surgical Innovations, Inc.                      Snowden Pencer, Inc.
    Panther Merger Sub II, Inc.                             Solomons Company
    Panther Merger Sub, Inc.                                Source Medical Corporation
    Parch, L.L.C.                                           SRX, Inc.
    Parch, L.L.C. State File                                Strategic Implications International, LLC
    ParMed Pharmaceuticals, LLC                             Supplyline Technologies Limited
    PatientScribe Inc.                                      Surgical Carepair, L.L.C.
    PCI Acquisition I, Inc.                                 Surgical Instrument Repair Service, L.L.C.
    PCI Acquisition II, Inc.                                Syncor Belgium SPRL
    PCI Services Holdings, Inc.                             Syncor Diagnostics Bakersfield, LLC
    PCI Services III, Inc.                                  Syncor Diagnostics Dallas, LLC
    PCI/Acquisition III, Inc.                               Syncor Diagnostics Encino, LLC
    PCI/All Pack Holdings, Inc.                             Syncor Diagnostics Fullerton, LLC
    PCI/Delvco, Inc. State File                             Syncor Diagnostics Laguna Hills, LLC
    PCI/Tri-Line (Usa), Inc.                                Syncor Diagnostics Plano, LLC
    Pharmaceutical & Diagnostic Services, LLC               Syncor Diagnostics Sacramento, LLC
    Pharmacy Service Corporation                            Syncor Financing Corporation
    Phillipi Holdings, Inc.                                 Syncor Italy srl
    PHR Staffing, Inc.                                      The Enright Group, Inc.
    Post-Acute Care Center For Research, LLC                The Heron Corporation
    Practicome Solutions, LLC                               The LVC Corporation
    Princeton Diagnostic Isotopes, Inc.                     Tianjin Cardinal Pharmacy Co., Ltd.
    Priority Healthcare Services Corporation                Toledo Pharmacy Company
    Procedure-Based Instrument Services, L.L.C.             Tropic Merger Sub, Inc.
    Productos Urologos de Mexico S.A. de C.V.               UroMed, Inc.
    Professional Health-Care Resources, Inc.                VIASYS Healthcare Ireland Limited
    Pyxis Capital Corporation                               VIASYS Healthcare Island EHF
    Pyxis Funding II, LLC                                   VIASYS Healthcare S.A.R.L.
    Pyxis Funding, LLC                                      VIASYS Holdings Inc.
    R Cubed, Inc.                                           VIASYS NeuroCare France SAS
    R. P. Scherer Hardcapsule (West)                        VIASYS Polymer Products LLC
    R.P. Scherer Inc.                                       Virginia Imaging Center, LLC
    R.P. Scherer Technologies, Inc.                         Virginia Merger Corporation
    Radiopharmacy Of Boise, Inc.                            Vistant Corporation
    Radiopharmacy Of Northern California, Inc.              Vistant Holdings, Inc.
    Renlar Systems, Inc.                                    Vubiq Inc.
    RightCare Solutions, Inc.                               Wenzhou Xinte Pharmaceutical Co., Ltd.
    Royal Merger Sub, Inc.                                  West Hudson, Inc.
    Scela, Inc.                                             West Texas Nuclear Pharmacy Partners
    Scriptline, Inc.                                        Wholesale (PI) Limited
    SensorMedics (Deutschland) GmbH                         Williams Drug Distributors, Inc.
    SensorMedics Corporation                                Wolf Merger Corp.
    Shanghai Baiwei Drug Store Company Limited              Wrangler Acquisition Sub, Inc.
    Shanghai Cardinal Baiwei Drug Store Co., Ltd.           Wuhan Baiji New & Special Drug Store
    Shanghai Jinyi Health Management Consultation            Company Limited
     Co., Ltd.                                               Xiamen Cardinal Baiwei Drug Store Co., Ltd.
    Shanghai Luoda Pharmaceutical Company                   Xi'an Baiji Advanced Specialty Pharmacy
     Limited                                                  Company Limited
    Shenzhen Zhengdan Investment Company                    Yorkshire Pharmacy, Inc.
     Limited
    Simolo (GL) Limited

                                                 Exhibit F
                                                     12
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 108 of 238. PageID #: 576018




                                               McKesson

    "Aewige" ärztliche Wirtschaftsgesellschaft             Adler Apotheke Krems Mag. Gabriele Denk KG,
     m.b.H., HG Wien                                         LG Krems an der Donau
    "die apoteeke in teesdorf" Mag. pharm. Gerda           Adler-Apotheke Mag.pharm. Ingrid Chvatal KG,
     Kohlhauser KG, LG Wiener Neustadt                       LG Leoben
    "Esplanade-Apotheke" Mag. pharm. Anna-Maria            Admenta Beteiligungs GmbH, HG Wien
     Köck KG, Landesgericht Wels                            Admenta Denmark ApS, Copenhagen
    "Panther Apotheke" Mag. pharm. Sandra Krokos           Admenta Deutschland GmbH, Stuttgart
     KG, Landesgericht Graz                                 ADMENTA HOLDINGS LIMITED, England
    10101 Woodloch Forest LLC                              ADMENTA ITALIA S.P.A., CCIAA di Bologna
    2012 DREAM LIMITED, England                            ADMENTA PENSION TRUSTEES LIMITED,
    28CVR LIMITED, England                                  England
    3068312 Nova Scotia ULC                                Admenta Sweden AB
    3069163 Nova Scotia Limited                            ADMENTA UK LIMITED, England
    3069164 Nova Scotia Limited                            Admenta Verwaltungs GmbH, HG Wien
    30MC LIMITED, England                                  AFM S.p.A., CCIAA di Bologna
    701985 N.B. INC.                                       AHLP PHARMACY LIMITED, England
    A C FERGUSON (CHEMIST) LIMITED,                        ALCHEM (SOUTHERN) LIMITED, England
     England                                                ALPE-ADRIA PHARMA farmacevtsko podjetje
    A. SUTHRELL (HAULAGE) LIMITED,                          d.o.o., Ljubljana
     England                                                Alphar Ayeneux, Belgium
    A.F.M. Bergamo S.p.A., Italy                           Alphar Gilly DL, Belgium
    A.L.I. Holdings LLC                                    Alphar Monceau sur Sambre, Belgium
    A.L.I. Imaging Systems Corp.                           Alphar Partners SA, Belgium
    A.L.I. Technologies (International) LLC                Alte Löwen-Apotheke Mag. pharm. Kristina
    AAH BUILDERS SUPPLIES LIMITED,                          Taubald KG, HG Wien
     England                                                Alte Spora Apotheke Mag.pharm. Stephan
    AAH FURB PENSION TRUSTEE LIMITED,                       Öhlzelt KG, LG St. Pölten
     England                                                Amethyst Acquisition Corp.
    AAH Glass & Windows Limited, England                   Ancavion GmbH, AG Darmstadt
    AAH Ireland, Dublin                                    Ancillary Management Solutions, Inc.
    AAH LIMITED, England                                   Anton-Bruckner-Apotheke Mag.pharm. Christian
    AAH Lloyds Insurance (IoM) Limited, Isle Of             Schwarzenbrunner KG, LG Linz
     Man                                                    AOR Holding Company of Indiana, Inc. (AOR
    AAH LLOYDS PENSION TRUSTEES                             Holding Company of Indiana, LLC)
     LIMITED, England                                       AOR Holding Company of Indiana, LLC
    AAH NOMINEES LIMITED, England                          AOR Management Company of Alabama, Inc.
    AAH ONE LIMITED, Scotland                              AOR Management Company of Arizona, Inc.
    AAH PHARMACEUTICALS LIMITED,                            (AOR Management Company of Arizona, LLC)
     England                                                AOR Management Company of Arizona, LLC
    AAH TWENTY FOUR LIMITED, Scotland                      AOR Management Company of Central Florida,
    AAH TWENTY LIMITED, England                             Inc.
    AAH TWENTY SIX LIMITED, England                        AOR Management Company of Florida, Inc.
    ABG Apotheken-Beratungsgesellschaft mbH,               AOR Management Company of Indiana, Inc.
     Stuttgart                                               (AOR Management Company of Indiana, LLC)
    Access Health NZ Limited                               AOR Management Company of Indiana, LLC
    AccessMed Holdings, Inc.                               AOR Management Company of Kansas, Inc.
    AccessMed, Inc. (AccessMed, LLC)                       AOR Management Company of Missouri, Inc.
    AccessMed, LLC                                          (AOR Management Company of Missouri, LLC)
    ACME DRUG CO. LIMITED, Scotland                        AOR Management Company of Missouri, LLC
    ADDED MARKETING LIMITED, England                       AOR Management Company of Nevada, Inc.
                                                            AOR Management Company of New York, Inc.

                                                Exhibit F
                                                    13
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 109 of 238. PageID #: 576019



    AOR Management Company of North Carolina,                Apotheke Zur hl. Dreifaltigkeit Mag. pharm.
     Inc.                                                      Doris Richter KG, LG Wiener Neustadt
    AOR Management Company of Ohio, Inc.                     Apotheke Zur Hütte Mag. pharm. Mrak KG, LG
    AOR Management Company of Oklahoma, Inc.                  Leoben
     (AOR Management Company of Oklahoma,                     Apovest AS
     LLC)                                                     Apovest Drift AS
    AOR Management Company of Oklahoma, LLC                  Art Acquisition Subsidiary, Inc.
    AOR Management Company of Oregon, Inc.                   Ascalon International, Inc.
    AOR Management Company of Pennsylvania,                  ATLAS Travel Clinic Limited, England
     Inc. (AOR Management Company of                          Attentus Medical Sales, Incorporated (Attentus
     Pennsylvania, LLC)                                        Medical Sales, LLC)
    AOR Management Company of Pennsylvania,                  Attentus Medical Sales, LLC
     LLC                                                      Awarix, Inc.
    AOR Management Company of South Carolina,                Axis Medical Management, Inc.
     Inc.                                                     AYRSHIRE PHARMACEUTICALS LIMITED,
    AOR Management Company of Texas, Inc.                     Scotland
    AOR Management Company of Virginia, Inc.                 AZIENDA FARMACEUTICA MUNICIPALE di
     (AOR Management Company of Virginia, LLC)                 Cremona S.p.A., CCIAA di Cremona
    AOR Management Company of Virginia, LLC                  Azienda Farmacie Milanesi S.p.A., CCIAA di
    AOR of Indiana Management Partnership                     Milano
    AOR of Texas Management Limited Partnership              Babbingore Limited, Dublin
    AOR of Texas Management, LLC                             BAILLIESTON HEALTH CENTRE
    AOR Real Estate, Inc. (AOR Real Estate, LLC)              PHARMACY LIMITED, Scotland
    AOR Real Estate, LLC                                     Ballycane Pharmacy Limited, Ireland
    AOR Synthetic Real Estate, Inc. (AOR Synthetic           BANNISTER & THATCHER LIMITED,
     Real Estate, LLC)                                         England
    AOR Synthetic Real Estate, LLC                           BARCLAY PHARMACEUTICALS
    AORIP, Inc.                                               (ATHERSTONE) LIMITED, England
    AORT Holding Company, Inc. (AORT Holding                 BARCLAY PHARMACEUTICALS LIMITED,
     Company, LLC)                                             England
    AORT Holding Company, LLC                                BARLEY CHEMISTS HOLDINGS LIMITED,
    AORT LP, LLC                                              England
    Aporana AS                                               BARRY SHOOTER (ROMFORD) LIMITED,
    Apotheke "Zum Bergmann" Mag.pharm. Sabine                 England
     Tuttner KG, LG Leoben                                    BDI Pharma, Inc. (BDI Pharma, LLC)
    Apotheke "Zur heiligen Dreifaltigkeit" Mag.              BDI Pharma, LLC
     pharm. Edith Schuller-Grundnig KG,                       Beausejour Drugs Limited
     Landesgericht Korneuburg                                 BEAUTY CARE DRUGSTORES LIMITED,
    Apotheke "Zur Mutter Gottes" Mag. pharm. Karin            England
     Nozicka KG, HG Wien                                      Beldere Corporation
    Apotheke Atzgersdorf Mr. Hermann Latzin KG,              BeneVi Health LLC (Biologics, Inc.)
     Wien                                                     BENU Apotheken B.V., Chamber of commerce
    Apotheke im Messepark Mag. pharm. Dietmar                 Amsterdam
     Purin KG, LG Feldkirch                                   BENU Nederland BV, Kamer van Koophandel
    Apotheke Niklasdorf Mag. pharm. Matthias                  Amsterdam
     Schöggl KG, LG Leoben                                    BERKSHIRE MEDICAL SUPPLIES LIMITED,
    APOTHEKE U1 TROSTSTRASSE, Mag. pharm.                     England
     Max Wellan KG, HG Wien                                   BETTERLIFEHEALTHCARE LIMITED,
    Apotheke Zum heiligen Antonius Mag. pharm.                England
     Walter Staschek KG, LG Wiener Neustadt                   BIG PHARMA LIMITED, Scotland
    Apotheke zum heiligen Schutzengel Mag.pharm.             Biologics, Inc.
     Barbara Penz-Arzberger KG, Landesgericht Graz            Blackhall Pharmaceutical Distributors Limited
    Apotheke zum Patriarchen Mag. pharm. Brigitte            Blackhawk Development LLC
     Kölbl KG, HG Wien                                        Blackstaff Pharmaceuticals Limited, England

                                                 Exhibit F
                                                      14
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 110 of 238. PageID #: 576020



    Blomsterdalen Apotek AS                                Combined Enterprises Corporation
    Blue Medical Supply, Inc. (McKesson Medical-           COMPANY CHEMISTS ASSOCIATION
     Surgical Inc.)                                          LIMITED, England
    Boad Seven, Inc.                                       COMPTOIR MONEGASQUE DE BIOCHIMIE,
    BOFH Holdings Unlimited Company, Ireland                Monaco
    Bottomline Medical Solutions, LLC (Linear              COMPTOIR PHARMACEUTIQUE
     Holdings, LLC)                                          MEDITERRANEEN, Monaco
    Breamor Pharmacy Limited, Ireland                      CONSORZIO SERVIZI SALUTARI S.C.A.
    Brevard Radiation Oncology, LLC                         R.L., Italy
    Brickyard Acquisition Inc. (Biologics, Inc.)           CookCo, Inc.
    BRIDPORT MEDICAL CENTRE SERVICES                       Cophana SA, Belgium
     LIMITED, England                                       Corporation Groupe Pharmessor/Pharmessor
    Brocacef Groep N.V., Maarssen                           Group Corporation (SUCCESSOR 10/01/2017)
    Brockton Radiation Oncology, LLC                       Corporation of America
    Brooklyn Radiation Oncology, LLC                       CoverMyMeds LLC
    Brukar Enterprises, Inc.                               CoverMYMeds Specialty Pharmacy Holdings
    Bullet Acquisition Corporation                          LLC
    CAHILL MAY ROBERTS GROUP LIMITED,                      CoverMYMeds Specialty Pharmacy LLC
     Dublin                                                 CPG Industries, Inc.
    California Golden State Finance Company                Crocker Plaza Company (Crocker Plaza LLC)
    Camic Pharmacies Limited, Ireland                      Crocker Plaza LLC
    Canada Distribution Holdings Limited                   CROSS AND HERBERT (DEVON) LIMITED,
     Partnership                                             England
    Canada Retail Holdings Limited Partnership             CROSS AND HERBERT (HOLDINGS)
     Societe en Commandite Gestion Detail Canada             LIMITED, England
    Cancer Treatment Associates of Northeast               CROSS AND HERBERT LIMITED, England
     Missouri, Ltd.                                         Crowley`s Blackrock Limited, Dublin
    CARONET TRADING LIMITED, England                       Cypress Import Brokerage LLC
    Carrollton Radiation Therapy Center, LLC               Cypress Medical Products LLC
    Cascade Medical Supply, Inc. (McKesson                 D & K Healthcare Resources LLC
     Medical-Surgical Minnesota Supply Inc.)                D & K Healthcare Resources, Inc. (D & K
    Cavalier Acquisition Company LLC                        Healthcare Resources LLC)
    CCCN NW Building JV, LLC                               D & K Pharmacy Solutions, Inc.
    Celesio Business Services Ltd., Ireland                D & K Receivables Corporation
    CENTRALE D`ADMINISTRATION DE BIENS                     D.F. O'Neill (Chemists) Ltd, Dublin
     IMMOBILIERS, Bobigny                                   Dale Apotek AS
    CGSF Funding Corporation (CGSF Funding                 Danubia-Apotheke Mag. pharm. Barbara Sedelies
     LLC)                                                    KG, HG Wien
    CGSF Funding LLC                                       Dargle Pharmacies Holdings Limited, Ireland
    Chem Labs Limited, Dublin                              DATACARE Datenpflege des
    CHNG Newco LLC                                          Pharmagroßhandels Ges.m.b.H., HG Wien
    CHNG NewSub Inc.                                       DATAPHARM, Paris
    City Properties, S.A.                                  Daytona Beach Radiation Oncology, LLC
    Civiche Farmacie Desio S.p.A., Italy                   DC Land Company
    Claimone, LLC (Linear Holdings, LLC)                   DCAZ Land Company
    ClaimSecure Inc. (SUCCESSOR)                           Delta Clinical Research, LLC
    CLARK CARE GROUP LIMITED, England                      DEPOTRADE, Bobigny
    CLARK MUNRO LIMITED, Scotland                          Derm Vantage, LLC
    ClarusONE Sourcing Services LLP                        Diana-Apotheke Dr. et Mag. pharm. Michaela
    Clinicians Database, L.L.C.                             Stipsits KG, LG Eisenstadt
    CMR Holdings Ltd, Dublin                               Die Apotheke Ebenfurth, Mag.pharm. Beate
    Coleham, Dublin                                         Haage-Löwe KG, LG Wiener Neustadt
    Colorado Cancer Centers, LLC

                                                Exhibit F
                                                    15
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 111 of 238. PageID #: 576021



    Dispensing Solutions Acquisition Corporation                Felview Limited, Dublin
     (DS Holdings, Inc.)                                         First Aid Service, Inc.
    Dispensing Solutions, Inc. (Dispensing Solutions,           First Choice Medical Supply Holding, Inc. (First
     LLC)                                                         Choice Medical Supply Holding, LLC)
    Dispensing Solutions, LLC (DS Holdings, Inc.)               First Choice Medical Supply Holding, LLC
    Ditt Apotek Amfi Os AS                                      First Choice Medical Supply, LLC
    Ditt Apotek Rodberg AS                                      FIRTH & PILLING LIMITED, England
    Ditt Apotek Sorumsand AS                                    Flex-Master Technology Holdings, Inc.
    Diversified Healthcare, LLC                                 Floriani-Apotheke Mag.pharm. Doris Leykauf
    Dix Bulles Pharma, Belgium                                   KG, LG Graz
    DLI Market Intelligence ApS, Denmark                        Foremost de Venezuela, S.A. (Forvensa)
    DOL Pharmacy Limited, Ireland                               Foremost Homes Hawaii, Ltd.
    Donnybrook Pharmacy Limited, Ireland                        Foremost Iran Corporation
    Downtown Los Angeles Radiation Oncology,                    Foremost Shir, Inc.
     LLC                                                         Foremost Tehran, Inc.
    DS Holdings, Inc. (DS Holdings, LLC)                        FOSTER & PLUMPTON GROUP LIMITED,
    DS Holdings, LLC (McKesson Medical-Surgical                  England
     Top Holdings Inc.)                                          FOSTER & PLUMPTON LIMITED, England
    DSRX, Inc. (DS Holdings, Inc.)                              Foundation For Opioid Response Efforts
    Dublin 2016 Acquisition, LLC                                G J MALEY LIMITED, Isle Of Man
    Dublin Holdings Acquisitions, LLC (Vantage                  G K CHEMISTS (GLOS) LIMITED, England
     Oncology Holdings, LLC)                                     G K CHEMISTS LIMITED, England
    Dublin POS I Acquisition Corp. (POS I Corp.)                GEHE Immobilien GmbH & Co. KG, Stuttgart
    East Indy CC, LLC                                           GEHE Immobilien Verwaltungs-GmbH, Stuttgart
    ECLIPSE HEALTHCARE LIMITED, England                         GEHE Pharma Handel GmbH, Stuttgart
    Edwards Medical Supply, Inc.                                General Medical Inc.
    EM Acquisition Corporation                                  GEORGE STAPLES (STOKE) LIMITED,
    Emploi AS                                                    England
    Engel-Apotheke Mag. pharm. Susanne Zauner                   Gerard Ryan Pharmacy (Clonmel) Limited,
     KG, LG Wiener Neustadt                                       Dublin
    Ephrata Diamond Spring Water Co.                            GERSTHOFER-APOTHEKE Mag.pharm.
    ESCON (ST NEOTS) LIMITED, England                            Elisabeth Reisegger KG, HG Wien
    Espafarmed S.L., Belgium                                    Giardina Enterprises, Inc.
    EUROSANTE (Société en liquidation),                         Glendale Radiation Oncology, LLC (Vantage
     Luxembourg                                                   Oncology Treatment Centers, LLC)
    Evesland Limited, Dublin                                    Golden State Company, Ltd.
    EVOLUTION HOMECARE SERVICES                                 Golden State Corporate Services LLC
     LIMITED, England                                            Golden State Insurance Company Limited
    EXPERT HEALTH LIMITED, England                              Golden State Milk Products Company
    Family Pharmacy @ Las Colinas LLC                           Goodman Manufacturing Company
    Fana Apotek AS                                              Gorrys Pharmacy Limited, Ireland
    FAR.CO.SAN S.p.A., CCIAA di Arezzo                          Goviltown Limited, Westmeath
    FARILLON LIMITED, England                                   GPL 2007 LIMITED, England
    Farmacia Garbatella I S.r.l., Italy                         GRAEME PHARMACY (STIRLING)
    Farmacie Comunali di Modena S.p.A., Italy                    LIMITED, Scotland
    Farmacie Comunali di Padova S.p.A., Italy                   GREENS PHARMACEUTICAL (HOLDINGS)
    Farmacie di Sassuolo S.p.A., Italy                           LIMITED, England
    Farmacie Pratesi Pratofarma S.p.A., CCIAA di                Greenville Radiation Care, Inc.
     Prato                                                       Greystones Pharmacy Limited, Dublin
    FARMALVARION S.R.L. SOCIO UNICO, Italy                      GROUPE PHR, France
    FASTPRO International, Inc.                                 Gulf South Medical Supply, Inc. (Gulf South
    Federal Medical Supplies, Inc. (McKesson                     Medical Supply, LLC)
     Medical-Surgical Minnesota Supply Inc.)                     Gulf South Medical Supply, LLC

                                                     Exhibit F
                                                         16
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 112 of 238. PageID #: 576022



    Gwinnett Radiation Oncology, LLC                       Integrated Cancer Care, LLC
    H THATCHER LIMITED, England                            Integrated Pathology Services
    Haleston Enterprises Limited, Dublin                   IntelliClaim, Inc.
    HBO & Company (VI), Inc.                               Inten GmbH, Stuttgart
    HBO & Company of Georgia                               Intercal, Inc.
    HBOC Ventures, Inc.                                    International Dairy Engineering Co. of Asia, Inc.
    HC Beteiligungsgesellschaft mbH, HG Wien               InterQual Inc.
    HDSC Acquisition Corp.                                 intraFUSION GP, LLC
    Health Data Sciences Corporation                       Intrafusion Holding Corp.
    Health Mart Atlas, LLC                                 intraFUSION Purchasing Network, LLC
    Health Mart Systems, Inc.                              intraFUSION Research Network, LLC
    HEALTH NEEDS LIMITED, England                          Inviva, McKesson Pharma Care Network
    HEALTHCLASS LIMITED, England                            Corporation / La Corporation Inviva, Reseau de
    Heinz Management Co.                                    soins pharmacologiques McKesson
    Helmard Holdings Limited, Dublin                        (SUCCESSOR)
    HEP HealthQx Holdings, Inc. (McKesson                  Iowa Pharmaceutical Services, LLC
     Technologies Inc.)                                     IPCC LIMITED, England
    Herba Chemosan Apotheker-AG, HG Wien                   IPD Holdings, Inc.
    HERBERT FERRYMAN LIMITED, England                      J S DENT LIMITED, England
    Hercules Parent LLC                                    Bradbury (Surgical) Limited, Northern Ireland
    Herz - Jesu Apotheke Mag. pharm. Marianne              J.G. Crowley Pharmacy Limited, Dublin
     Keller KG, HG Wien                                     JACS, Inc.
    Herz Jesu Apotheke & Parfümerie Mag. pharm.            Jaron, Inc.
     Ingrid Heller KG, LG Feldkirch                         Jeffersonville Radiation Technology, LLC
    HF Land Company                                        Jessheim Apotek AS
    HFN of Northwest Florida, Inc.                         Jewett Drug Co.
    HIGGINS & SON (CHEMISTS) LIMITED,                      Jewett Drug LLC
     England                                                Johannes Apotheke Mag. pharm. Deutsch KG,
    HILL-SMITH (WARRINGTON) LIMITED,                        LG Graz
     England                                                JOHN BELL & CROYDEN LIMITED, England
    HisComp Co., Zee Medical Service Co.                   JOHN HAMILTON (PHARMACEUTICALS)
    HMS Acquisition Corp.                                   LIMITED, Scotland
    HOLLYFAR - Marcas e Comunicação,                       Jupiter Acquisition Ltd.
     Unipessoal, Lda., Portugal                             Kairnbury, Dublin
    HOLMSCROFT HC LIMITED, Scotland                        Kathleen Properties Subdivision Association, Inc.
    HOLON, S.A., Portugal                                  Keling Limited
    Honeybee Bridge LLC                                    Keltman Pharmaceuticals, Inc. (Linear Holdings,
    HTP Inc. (HTP LLC)                                      LLC)
    HTP LLC                                                Kemofarmacija, veletrgovina za oskrbo zdravstva,
    Hubertus-Apotheke Mag.pharm. E. Klettenhofer            d.d., Ljubljana
     KG, HG Wien                                            Keystone/Ozone Pure Water Company
    HUSKY AQUISITION INC.                                  Kilshallow Limited, Dublin
    Hygeia Bottled Water, Inc.                             KINGSWOOD CHEMISTS LIMITED, England
    HYWEL DAVIES (CAERPHILLY) LIMITED,                     KINGSWOOD GK LIMITED, England
     England                                                Kitco, Inc.
    IHA Corp.                                              Knowledgeable Healthcare Solutions, Inc.
    Imagine Health, Inc.                                   Kreuz-Apotheke KG, HG Wien
    INDEPENDENT PHARMACY CARE                              KWS & P, Inc
     CENTRES (2008) LIMITED, England                        KWS & P/SFA, Inc.
    Indian River Radiation Oncology, LLC                   KYLE & CARRICK HOLDINGS LIMITED,
    Infolab, LLC                                            Scotland
    Innovent Oncology, LLC                                 Laboratoria Flandria NV, Belgium
    INSPIRON DISTRIBUTION LIMITED, England                 Laboratory Supply Company

                                               Exhibit F
                                                    17
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 113 of 238. PageID #: 576023



    Labsco Holdings, Inc. (McKesson Medical-                Marien-Apotheke Mag. pharm. Thomas Job KG,
     Surgical Inc.)                                           LG Eisenstadt
    Leesburg Radiation Oncology, LLC                        Marien-Apotheke, Mag.pharm. Eva Grabner KG,
    LEVELCROWN LIMITED, England                              Landesgericht Korneuburg
    Liberty Real Estate NJ LLC                              Maryland First Aid Co., Inc.
    Lind-Apotheke Mag. pharm. Alexander Telesko             MASTA Limited, England
     KG, LG Klagenfurt                                       Masters Drug Company, Inc.
    Linear Holdings, Inc. (McKesson Medical-                MATIS Immobilien OHG, Stuttgart
     Surgical Top Holdings Inc.)                             Maurice F. Dougan Limited, Dublin
    Linear Holdings, LLC (Linear Holdings, Inc.)            May Roberts Ltd, Dublin
    Linear Medical Solutions, LLC                           MCK Acquisition Corp.
    LINFORD PHARMACIES LIMITED, England                     McK International Financial Holdings (Barbados)
    LISEAPOTEKENE AS                                         SRL
    Lissone Farmacie S.p.A., CCIAA di Monza e               McKesson (Cayman Islands) Inc.
     Brianza                                                 McKesson (Shanghai) Trading Company Limited
    LIVINGSTON HEALTH CENTRE (P.D) CO.                      McKesson + Strategic Solutions ULC / Solutions
     LIMITED, Scotland                                        Strategiques McKesson + ULC
    LKW, Inc.                                               McKesson Automation Systems Inc.
    LLOYDS CHEMISTS LIMITED, England                        McKesson Belgium Holdings SPRL, Belgium
    LLOYDS CHEMISTS RETAIL (NORTHERN)                       McKesson Canada Corporation/La Corporation
     LIMITED, England                                         McKesson Canada (SUCCESSOR)
    LLOYDS CHEMISTS RETAIL LIMITED,                         McKesson Canada Finance IA ULC
     England                                                 McKesson Canada Finance IB ULC
    LLOYDS GROUP PROPERTIES LIMITED,                        McKesson Capital Funding Corp.
     England                                                 McKesson Capital Funding Corporation
    Lloyds Pharmacy Clinical Homecare Limited,              McKesson Capital LLC
     England                                                 McKesson Central Fill LLC (McKesson
    LLOYDS PHARMACY LIMITED, England                         Distribution Holdings LLC)
    LLOYDS PROPERTIES LIMITED, England                      McKesson Contract Research Organization LLC
    LLOYDS Property Management Company                      McKesson Cork Business Solutions Unlimited
     Belgium S.A., Belgium                                    Company
    LLOYDS RETAIL CHEMISTS LIMITED,                         McKesson Corporate Properties, Inc.
     England                                                 McKesson Corporation
    Lloyds Retail S.r.l., Socio Unico, Italy                McKesson Development Corp.
    LLOYDSFARMACIA ROMA 4 S.R.L., Italy                     McKesson Distribution Holdings LLC
    Lloydspharma Group S.A., Belgium                        McKesson Drug Company LLC
    Lloydspharma S.A., Belgium                              McKesson Europe AG
    Lloydspharmacy Ireland Limited, Dublin                  McKesson Europe Holdings GmbH & Co. KGaA
    Lory Apotheke Mag. pharm. Karin Eichinger KG,           McKesson Europe Holdings Verwaltungs GmbH
     HG Wien                                                 McKesson Financial Holdings II Unlimited
    LP Clinical Homecare Group Limited, England              Company
    LPL ONE LIMITED, England                                McKesson Financial Holdings Unlimited
    M H GILL LIMITED, England                                Company
    M PAYNE & CO LIMITED, England                           McKesson Financing Trust III
    Macfor International Finance Company                    McKesson Financing Trust IV
    MACON Acquisition Corp.                                 McKesson Foundation Inc.
    Macro Helix LLC                                         McKESSON FRANCE HOLDINGS, Bobigny
    Madison Acquisition Inc.                                McKesson France Retail, Bobigny B
    Marathon Acquisition Subsidiary, Inc.                   McKesson Funding Company of Canada
    Mariahilf-Apotheke Mag. pharm. Christoph                McKesson Global Procurement & Sourcing
     Rücklinger KG, LG St. Pölten                             Limited
    Mariahilf-Apotheke Mag. pharm. Helga Mann               McKesson Global Sourcing Limited
     KG, Landesgericht Graz


                                                Exhibit F
                                                     18
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 114 of 238. PageID #: 576024



    McKesson Global Sourcing Limited [Irish                   McKesson International Finance III Limited
     Branch]                                                    (McKesson US Finance Corporation)
    McKesson Health Solutions Holdings LLC                    McKesson International Finance S.a.r.l.
    McKesson Health Solutions LLC                             McKesson International Holdings III S.a.r.l.
    McKesson Health Solutions Puerto Rico Inc.                McKesson International Holdings IV S.a.r.l.
    McKesson Health Solutions Texas Inc.                      McKesson International Holdings S.a.r.l.
    McKesson High Volume Solutions Inc.                       McKesson International Holdings Unlimited
    McKesson Information Solutions Finance S.a.r.l.            Company
    McKesson Information Solutions Holdings II                McKesson International Holdings VI S.a.r.l.
     S.a.r.l.                                                  McKesson International Holdings VII S.a.r.l.
    McKesson Information Solutions Holdings III               McKesson International Investment Corp.
     S.a.r.l.                                                  McKesson International Ireland I Limited
    McKesson Information Solutions Holdings IV                McKesson International LLC
     S.a.r.l.                                                  McKesson International Malaysia Sdn Bhd
    McKesson Information Solutions Holdings V                 McKesson International S.a.r.l.
     S.a.r.l.                                                  McKesson International Topholdings S.a.r.l.
    McKesson Information Solutions III LLC                    McKesson Ireland Limited
    McKesson Information Solutions Inc. (McKesson             McKesson Logistics Solutions
     Information Solutions LLC)                                McKesson Medical Imaging Company Ltd.
    McKesson Information Solutions IV LLC                      (predecessor)
    McKesson Information Solutions LLC                        McKesson Medical-Surgical FDT Inc.
    McKesson Information Solutions Topholdings                McKesson Medical-Surgical Government
     S.a.r.l.                                                   Solutions LLC
    McKesson Information Solutions UK Limited                 McKesson Medical-Surgical Holdings Inc.
    McKesson International Bermuda IP2A Limited               McKesson Medical-Surgical Inc.
    McKesson International Bermuda IP2B                       McKesson Medical-Surgical Iowa Inc.
     Unlimited                                                 McKesson Medical-Surgical Iowa Supply Inc.
    McKesson International Bermuda IP3A Limited               McKesson Medical-Surgical Maine Inc.
    McKesson International Bermuda IP3B                       McKesson Medical-Surgical Manufacturing Inc.
     Unlimited (McKesson International Bermuda                 McKesson Medical-Surgical MediMart Inc.
     IP3A Limited)                                             McKesson Medical-Surgical MediNet Inc.
    McKesson International Bermuda IP4A Limited               McKesson Medical-Surgical Minnesota Inc.
    McKesson International Bermuda IP4B                        (McKesson Medical-Surgical Holdings Inc.)
     Unlimited (McKesson International Bermuda                 McKesson Medical-Surgical Minnesota Supply
     IP4A Limited)                                              Inc.
    McKesson International Bermuda IP5A Limited               McKesson Medical-Surgical Supply Chain
    McKesson International Bermuda IP5B                        Services LLC
     Unlimited (McKesson International Bermuda                 McKesson Medical-Surgical Top Holdings Inc.
     IP5A Limited)
                                                               McKesson Medication Management Holdings
    McKesson International Bermuda Opco1A                      Inc.
     Limited
                                                               McKesson Medication Management Virgin
    McKesson International Bermuda Opco1B                      Islands Inc.
     Unlimited (McKesson International Bermuda
                                                               McKesson Norway Holdings AS
     Opco1A Limited)
                                                               McKesson Pharmacy Optimization LLC
    McKesson International Bermuda Opco3A
                                                               McKesson Pharmacy Systems Canada ULC
     Limited
                                                               McKesson Pharmacy Systems LLC
    McKesson International Bermuda Opco3B
                                                               McKesson Plasma and Biologics LLC
     Unlimited (McKesson International Bermuda
     Opco3A Limited)                                           McKesson Prescription Drug Plan LLC
    McKesson International Bermuda Opco4A                     McKesson Property Company, Inc.
     Limited                                                   McKesson Purchasing Company LLC
    McKesson International Bermuda Opco4B                     McKesson Services Inc. (McKesson Services
     Unlimited                                                  LLC)
                                                               McKesson Services LLC

                                                  Exhibit F
                                                       19
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 115 of 238. PageID #: 576025



    McKesson Sourcing Services Inc.                             Medaid Supply, Inc.
    McKesson Specialized Distribution Inc. /                    Medcon Telemedicine Technology, Inc.
     McKesson Distribution Specialisee Inc.                      Median Healthcare Services Unlimited Company,
     (Successor)                                                  Ireland
    McKesson Specialty Arizona Inc.                             Medical & Vaccine Products, Inc.
    McKesson Specialty Care Distribution                        Medical Advisory Services for Travellers Abroad
     Corporation (McKesson Specialty Care                         Limited, England
     Distribution LLC)                                           Medical Specialties Distributors Holdings, Inc.
    McKesson Specialty Care Distribution JV LLC                  (MSD Parent Corporation)
    McKesson Specialty Care Distribution LLC                    Medical Specialties Distributors, LLC
    McKesson Specialty Corporation                              Medical Specialties Holdings Corp. (Medical
    McKesson Specialty Distribution LLC                          Specialties Holdings II Corp.)
    McKesson Specialty Health Innovative Practice               Medical Specialties Holdings II Corp.
     Services, LLC                                               Medicentres Canada Inc. (SUCCESSOR)
    McKesson Specialty Health Management                        Medicine Shoppe Atlantic Corporation
     Services LLC                                                Medicine Shoppe Canada Corporation
    McKesson Specialty Health Pharmaceutical &                  Medicine Shoppe Canada Real Estate Corporation
     Biotech Solutions, LLC                                      MEDIMART LIMITED, England
    McKesson Specialty Health Pharmaceutical &                  MediVation, Inc.
     Biotech Solutions, LP (McKesson Specialty                   MedVentive Inc.
     Health Pharmaceutical & Biotech Solutions,                  MeMed CZ s.r.o., Praha
     LLC)                                                        Menges Medizintechnik Schweiz AG, Sankt
    McKesson Specialty Health Technology Products                Gallen
     LLC                                                         Merlin Subsidiary Inc.
    McKesson Specialty Pharmacy, LP (RxC                        Merrick Healthcare Limited
     Acquisition Company)
                                                                 Metabolic Healthcare Holdings Limited, England
    McKesson Specialty Prescription Services
                                                                 Metabolic Healthcare Limited, England
     (Atlantic) Corporation/Corporation McKesson
                                                                 Metropolitan Integrated Cancer Center, L.L.C.
     Services de Prescription Spécialisée (Atlantique)
                                                                 MH/USON Radiation Management Company,
    McKesson Specialty Prescription Services (B.C.)
                                                                  LLC
     Corporation
                                                                 MHD-USO General, LLC
    McKesson Specialty Prescription Services
                                                                 MHD-USO Management Company, LP
     Corporation
                                                                 MHS Connecticut LLC
    McKesson SPS (Manitoba) Corporation
                                                                 Michigan Pharmaceutical Services, LLC
    McKesson Strategic Services Limited
                                                                 Mid-Atlantic Radiation Oncology LLC
    McKesson Technologies Inc.
                                                                 Millennium Merger Corporation
    McKesson Trading Company
                                                                 Mohawk Liqueur Corporation
    McKesson Transportation Systems, Inc.
                                                                 Mohren-Apotheke Mag. Christian Müller KG, LG
    McKesson UK Finance I Limited
                                                                  Graz
    McKesson UK Finance II Limited
                                                                 Moore Medical LLC (McKesson Medical-
    McKesson UK Finance V Limited
                                                                  Surgical Government Solutions LLC)
    McKesson UK Holdings Limited
                                                                 Mosaic Acquisition Corporation
    McKesson US Finance Corporation
                                                                 MOUNT PHARMACY LIMITED, England
    McKesson US Holdings GP
                                                                 MSA Products LLC
    McKesson Ventures LLC
                                                                 MSD Acquisition Corp. (Medical Specialties
    McKesson Ventures Unlimited Company
                                                                  Holdings Corp.)
    McQueary Bros. Drug Company
                                                                 MSD Parent Corporation (MSD Acquisition
    McQueary Bros. Drug Company, LLC                             Corp.)
    McSweeney Dispensers 10 Limited, Ireland                    Multum Information Services, Inc.
    McSweeney Dispensers 23 Limited, Ireland                    MUNRO PHARMACY LIMITED, Scotland
    MDD pharma N.V., Belgium                                    MWPC Acquisition Corp.
    MED3000 Health Solutions Southeast                          MWPC Acquisition Corp. (PA)
    MED3000 RPG                                                 My MHealth Limited, England & Wales

                                                     Exhibit F
                                                         20
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 116 of 238. PageID #: 576026



    myhca, inc.                                             Oswald-Apotheke Mag. pharm. Ilse Pedevilla
    NARO, LLC                                                KG, LG Feldkirch
    National Oncology Alliance, Inc.                        OTN Generics, Inc.
    Natureline, Dublin                                      OTN Participant, Inc.
    NDC of Canada, Inc.                                     Outpatient Infusion Systems, Inc
    NDCHealth Corporation                                   Øygarden Apotek AS
    NDCHealth Pharmacy Systems and Services, Inc.           P C Cahill & Company Limited, Dublin
    Nebraska Pharmaceutical Services, LLC                   P.L.C.E., Inc.
    Negatron, Inc.                                          Packet Merger Sub Inc.
    Nensi d.o.o., Ljubljana                                 PALEMODA LIMITED, England
    NERO GP, LLC                                            Palm Merger Sub, Inc.
    New Experimental Therapeutics of San Antonio,           Panther Acquisition Corporation
     LLC                                                     Panther-Apotheke Mag. pharm. Margarete Breyha
    NEW KIRK PHARMACY LIMITED, Scotland                      KG., LG St. Pölten
    New Mexico Pharmaceutical Services, LLC                 Paracelsus-Apotheke Mag. pharm. Dr. Birgit
    NewHealthCo, LLC                                         Müller KG, Austria
    NexCura, LLC (McKesson Specialty Health                 Pathology Service Associates, LLC
     Technology Products LLC)                                Pathway Purchasing Network, LLC
    Nibelungen-Apotheke Mag. pharm. Michaela                Patient Account Management Services, Inc.
     Wachter KG, LG St. Pölten                               PAUL WHEELER LIMITED, England
    Norsk Medisinaldepot AS                                 PCB SA, Belgium
    North Carolina Pharmaceutical Services, LLC             PEEL STREET PHARMACY LIMITED,
    Northeast Pennsylvania Radiation Oncology, LP            England
    Northern Arizona Oncology Centers, LLC                  peerVue, Inc. (DE)
    Northern Boulevard Radiation Oncology                   peerVue, Inc. (NH)
     Management, LLC                                         Pemberton Marketing International Limited
    Northern San Fernando Valley Radiation                  Penn-Chem Corporation
     Oncology, LLC                                           PERILLA Grundstücks-Verwaltungsgesellschaft
    Northstar Healthcare Holdings Limited                    mbH & Co. KG, AG München
    Northstar Healthcare Holdings Unlimited                 Per-Se Transaction Services, Inc.
     Company                                                 PF2 McKesson Technologies Inc.
    Northstar Healthcare Limited                            PF2 SpinCo Inc.
    Northstar Healthcare Unlimited Company                  Pharma Belgium Belmedis SA, Belgium
    Northstar International Holdings Limited                PHARMA PARTNERS, Belgium
    Northstar Rx LLC                                        Pharma Services (NI) Limited, Northern Ireland
    Norvern Enterprises, Inc.                               Pharmaceutical Distributors Federation Ireland
    NR Direct, Inc. (McKesson Patient Care                   Company Limited By Guarantee
     Solutions Inc.)                                         Pharmaceutical Support Services, Inc.
    O`Leary Pharmacy (Lucan) Limited, Dublin                Pharmacie Ananga-Talom, Belgium
    OCP FORMATION, Bobigny                                  Pharmacie de la Bascule, Belgium
    OCP PORTUGAL, PRODUTOS                                  PHARMACTIV DISTRIBUTION, Bobigny B
     FARMACÊUTICOS, S.A., Maia                               Pharmacy O`Riada Holdings Limited, Dublin
    OCP REPARTITION, Bobigny B                              PHARMAGEN LIMITED, England
    OCP, Bobigny                                            PHILIP GOODMAN LIMITED, England
    Oncology Holdings II, Inc.                              PHR ANTILLES, FORT DE FRANCE
    Oncology Holdings, Inc.                                 PhyServ Solutions, Inc.
    Oncology Rehab Partners, LLC                            Physician Micro Systems, Inc.
    Oncology Therapeutics Network Corporation               Physician Oncology Services Management
    Oncology Today, LP                                       Company, LLC
    OnMark, Inc.                                            Physician Reliance Holdings, LLC
    Optimed Health Limited, England & Wales                 Physician Reliance Maryland, LP
    Orca Acquisition Corp.                                  Physician Reliance Network, Inc. (Physician
    Ørebekk Apotek AS                                        Reliance Network, LLC)

                                                 Exhibit F
                                                     21
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 117 of 238. PageID #: 576027



    Physician Reliance Network, LLC                           Rancare, Inc.
    Physician Reliance, L.P.                                  Randolph Home Care Inc.
    Physician Reliance, LLC                                   Randolph Medical Inc.
    Physician Sales & Service Limited Partnership             RCOG Cancer Centers, LLC
    Physician Sales & Service, Inc. (McKesson                 Rebel Distributors Corp. (McKesson Medical-
     Medical-Surgical Top Holdings Inc.)                        Surgical Top Holdings Inc.)
    Pindsle Apotek AS                                         recucare GmbH, Stuttgart
    PMLX Limited                                              recusana GmbH, Stuttgart
    POC Management Group, LLC (Dispensing                     Regenbogenapotheke "Am Leberberg" Mag.
     Solutions, Inc.)                                           pharm. Andreas Portisch KG, HG Wien
    Podiatry Online, Inc.                                     RelayHealth Corporation (McKesson Information
    Portico Systems of Delaware, Inc.                          Solutions LLC)
    POS I Corp. (Dublin 2016 Acquisition, LLC)                Renoir Acquisition Corporation
    Presbyterian Cancer Center-Dallas, LLC                    Renoir Acquisition Corporation (DE)
    Prescribing Support Services Limited, England &           RESEAU SANTE, BREST
     Wales                                                     RetraceHealth, Inc.
    Prima Brands Limited, Northern Ireland                    Rexall Pharmacy Group Ltd.
    PRIMELIGHT LIMITED, England                               Rexall/Pharma Plus Pharmacies (BC) Ltd.
    Prismedica S.A.S.                                         Rexall/Pharma Plus Pharmacies (Sask) Ltd.
    PRN Physician Reliance, LLC                               Rexall/Pharma Plus Pharmacies Ltd.
    Pro-AvO GmbH, Deutschland                                 Riel, Inc.
    Proclaim, Inc. (McKesson Medical-Surgical                 Riverside Radiation Oncology, LLC (Vantage
     MediMart Inc.)                                             Oncology Treatment Centers, LLC)
    PRODILAB, France                                          R-jet, Incorporated
    Providence Radiation Oncology Partners LLC                RMCC Cancer Center, Inc. (RMCC Cancer
    PSS China Sourcing Limited                                 Center, LLC)
    PSS Global Holdings                                       RMCC Cancer Center, LLC
    PSS Global Sourcing China Business Trust                  ROSA of Eastern Shore, LLC
    PSS Global Sourcing Hong Kong Limited                     ROSA of Georgia, LLC
    PSS Global Sourcing Limited [Hong Kong]                   ROSA of South Alabama, LLC
    PSS HK 1 Limited                                          ROSA of Southern New Jersey, LLC
    PSS Holding, Inc. (McKesson Medical-Surgical              Roth Medical Services, Inc.
     Inc.)                                                     RPRS, LLC
    PSS Service, Inc. (McKesson Medical-Surgical              RX Information Technology LLC
     Top Holdings Inc.)                                        RxC Acquisition Company
    PSS Southeast Asia Limited                                RxCrossroads 3PL LLC
    PSS World Medical, Inc.                                   Ryle and De Lacy Pharmacies Limited, Ireland
    PST Products, LLC                                         S.K.U., Inc.
    PST Services, Inc. (PST Products, LLC)                    Salus-Apotheke Mag. pharm. Simone Gaigg KG,
    Purchasing Alliance for Clinical Therapeutics,             Salzburg
     LLC                                                       Salvator - Apotheke Mag. pharm. Gertrude Pölzl
    R F FOSKETT & SON LIMITED, England                         KG, LG Leoben
    R GORDON DRUMMOND LIMITED, England                        San Bruno Mountain Ltd., A California Limited
    R/X Automation Solutions, LLC                              Partnership
    Raabtal-Apotheke Mag.pharm. Karin Drawetz                 Sandviken Apotek AS
     KG, Landesgericht Graz                                    Sangers (Northern Ireland) Limited, Northern
    Radiation Oncology Services of America, Inc.               Ireland
    Radiotherapy Clinic Holdings, LLC                         SANOVA Pharma GesmbH, HG Wien
    Radiotherapy Clinics of Kentuckiana, LLC                  SAVORY & MOORE (JERSEY) LIMITED,
    Radiotherapy Clinics of Kentuckiana-2, LLC                 Jersey
    Radius Data Solutions, LLC                                SAVORY & MOORE LIMITED, Scotland
    Radius Reimbursement Services, LLC                        SCHOLES (CHEMISTS) LIMITED, England
    Radunnco, Inc.

                                                   Exhibit F
                                                       22
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 118 of 238. PageID #: 576028



    Schutzengelapotheke Neufeld Mag. Schweifer              Stadion-Apotheke Mag. pharm. Ulrike Grosser-
     KG, LG Eisenstadt                                        Schmidt KG, LG St. Pölten
    Scrip Pak, LLC (Linear Holdings, LLC)                   Stadt-Apotheke "Zur heiligen Barbara" Mag.
    Script2U Holdings LLC                                    pharm. Igor Mauritsch KG, Austria
    Script2U LLC                                            Stadtapotheke Fürstenfeld Mag. pharm. Waltraud
    ScriptHero LLC                                           Maier KG, Landesgericht Graz
    ScriptHero Pharmacy Holdings LLC                        Stat RX USA, LLC (Linear Holdings, LLC)
    ScriptHero Pharmacy LLC                                 STATIM FINANCE LIMITED, England
    Select RX, LLC (Linear Holdings, LLC)                   STEPHEN SMITH LIMITED, Guernsey
    SelectPlus Oncology, LLC                                Sterling Medical Services, LLC (McKesson
    Sens Arbeidsinkludering AS                               Patient Care Solutions Inc.)
    Sens Eiendom AS                                         STQ LLC
    Sens Gruppen AS                                         Strategic Health Alliance II, Inc.
    Sens Utvikling AS                                       Strategic Health Alliance Management Corp.
    SERVICE DE LA REPARTITION                               Strategic Sourcing Services LLC
     PHARMACEUTIQUE, Paris                                   Streator Radiation Oncology, LLC
    SF Valley Derm Equipment I, LLC                         Stubaital-Apotheke Mag.pharm. Christian
    Sherman Oaks Radiation Oncology, LLC                     Kernstock KG, LG Innsbruck
     (Vantage Oncology Treatment Centers, LLC)               Summa Script LLC
    Sherman Oaks Radiation Technology, LLC                  Sund Apotek AS
     (Vantage Oncology Treatment Centers, LLC)               SUPERFIELD LIMITED, England
    Shoup Properties, Inc.                                  Supplylogix LLC
    SHS V Medtech Investments GmbH & Co. KG                 T AND I WHITE LIMITED, England
    Simply Medical LLC                                      T. Sheridan Sales & Marketing, Dublin
    SIVEM Pharmaceuticals ULC/SIVEM Produits                Tabor Apotheke Mag. pharm. Wolfram Schaden
     Pharmaceutiques ULC                                      KG, LG Steyr
    Six R Investments, Inc.                                 Targa Parent Holdings, LLC
    SOCIETE COOPERATIVE OUEST PARTAGE,                      TBC Products, Inc.
     BREST                                                   Temperature Controlled Pharmaceuticals Limited
    SOCIETE D`ETUDES ET DE REALISATIONS                     Test Corporation changed 2 GM 3 AG
     INFORMATIQUES, Monaco                                   Test Entity - Corporation
    Sofarmex BVBA, Belgium                                  Test Entity - Corporation (Glenette)
    Sofiadis SCRL, Belgium                                  Test Entity - LLC (Anne)
    Soldier Acquisition Corporation                         Test Entity - LLC (Glenette)
    SOPI The Lough Limited, Ireland                         Test Entity - LLC (Karen)
    SOPI Youghal Limited, Ireland                           Test Entity - LLC (Melissa)
    SourceTenn LLC                                          Test Entity - LP
    South Alabama Cancer Centers, LLC                       Test Entity - Manager LLC
    South Bay Radiation Oncology, LLC                       Test Entity - Member LLC
    South Pacific Medical Inc.                              Test Entity - Parent Corporation
    Southeast Merger Corp.                                  Texas Pharmaceutical Services, LLC
    Southeast Texas Cancer Centers, L.P.                    Texas Proton Therapy Center, LLC
    Southern California Radiation Oncology, LLC             The Oregon Cancer Centers, Ltd.
    Spider Acquisition Corporation                          Theratech, Inc. (McKesson Medical-Surgical Top
    Spirit Acquisition Corporation                           Holdings Inc.)
    Spring Valley Industries, LLC                           Thriftymed, Inc. (McKesson Medical-Surgical
    St. Louis Pharmaceutical Services, LLC                   Top Holdings Inc.)
    St. Lucas-Apotheke Mag.pharm. Ilona Elisabeth           THURNBY ROSE LIMITED, England
     Leitner KG, HG Wien                                     Titus Home Health Care LLC
    St. Markus Apotheke Dr. Elke Kramberger-                Tjellesen Max Jenne A/S, Rodovre
     Kaplan KG, LG Linz                                      Todin A/S, Denmark
    St. Richard Apotheke Mag.pharm. Ursula Kohl             TOPS Pharmacy Services, Inc.
     KG, Landesgericht Korneuburg                            Tower Radiation Technology, LLC

                                                 Exhibit F
                                                     23
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 119 of 238. PageID #: 576029



    Tracer Enterprises LLC                                 Vantage Oncology Centers - Beverly Hills, LLC
    Tri-State Radiation Oncology Centers, LLC              Vantage Oncology Finance Co. (Vantage
    Tuna Acquisition Corp.                                  Oncology, LLC)
    Tyler Radiation Equipment Leasing, LLC                 Vantage Oncology Holdings, LLC
    Unicare Dispensers 16 Limited, Ireland                 Vantage Oncology LLC PAC Corporation
    Unicare Dispensers 27 Limited, Ireland                 Vantage Oncology Physics, LLC
    Unicare Dispensers 5 Limited, Ireland                  Vantage Oncology Treatment Centers - Brevard,
    Unicare Pharmacy Group Limited, Dublin                  LLC
    United Drug (Wholesale) Limited                        Vantage Oncology Treatment Centers - Brockton,
    United Drug Distributors Ireland Limited                LLC
    Unity Oncology, LLC                                    Vantage Oncology Treatment Centers - Central
    Urbani-Apotheke Mag. pharm. Bernhard Prattes            Florida, LLC (Vantage Oncology Treatment
     KG, LG Graz                                             Centers, LLC)
    US Oncology Corporate, Inc.                            Vantage Oncology Treatment Centers - Northern
    US Oncology Holdings, Inc.                              Arizona, LLC
    US Oncology Lab Services, LLC                          Vantage Oncology Treatment Centers - Ohio,
    US Oncology Pharmaceutical Services, LLC                LLC (Vantage Oncology Treatment Centers,
                                                             LLC)
    US Oncology Pharmacy GPO, L.P.
                                                            Vantage Oncology Treatment Centers - San
    US Oncology Reimbursement Solutions, LLC
                                                             Antonio, LLC (Vantage Oncology Treatment
    US Oncology Research, Inc. (US Oncology
                                                             Centers, LLC)
     Research, LLC)
                                                            Vantage Oncology Treatment Centers - Tri-State,
    US Oncology Research, LLC
                                                             LLC
    US Oncology Specialty, LP
                                                            Vantage Oncology Treatment Centers, LLC
    US Oncology, Inc.
                                                            Vantage Oncology, LLC
    USCITA LIMITED, England
                                                            Vantage Operational Support Services, LLC
    USON Insurance Company
                                                            Vantage Radiation Oncology Associates, LLC
    USON Risk Retention Group, Inc.
                                                            Vantage San Antonio Radiation Oncology, LLC
    Utah Acquisition Corporation
                                                             (Vantage Oncology Treatment Centers - San
    Valley Equipment Company                                Antonio, LLC)
    Vantage Acquisition Company, LLC (Vantage              Vantage South Suburban Radiation Oncology,
     Oncology, LLC)                                          LLC
    Vantage Acquisition Finance, LLC (Vantage              VC Services, Inc.
     Oncology, LLC)
                                                            VEC GP, LLC
    Vantage Cancer Care - Alabama, LLC (Vantage            VerbalCare, LLC
     Cancer Care Networks, LLC)
                                                            Verdal Apotek AS
    Vantage Cancer Care - Indiana, LLC (Vantage
                                                            Very Important Products, Inc.
     Cancer Care Networks, LLC)
                                                            Visitacion Associates
    Vantage Cancer Care - New Mexico, LLC
                                                            Vitapharm, proizvodnja in trgovina farmacevtskih
     (Vantage Cancer Care Networks, LLC)
                                                             izdelkov d.o.o., Murska Sobota
    Vantage Cancer Care Network of Alabama, LLC
                                                            Vitusapotek Jessheim Storsenter AS
     (Vantage Cancer Care Networks, LLC)
                                                            Vitus-Apoteket Torvbyen Fredrikstad AS
    Vantage Cancer Care Network of Indiana, LLC
     (Vantage Cancer Care Networks, LLC)                    VOTC-Queens, LLC
    Vantage Cancer Care Network of New Mexico,             Vulcan Acquisition Subsidiary, Inc.
     LLC (Vantage Cancer Care Networks, LLC)                W H CHANTER LIMITED, England
    Vantage Cancer Care Networks, LLC                      W H GREEN (CHEMISTS) LIMITED, England
    Vantage Cancer Centers of Georgia, LLC                 W JAMIESON (CHEMISTS) LIMITED,
    Vantage Central Ohio Radiation Therapy, LLC             England
    Vantage Equipment Acquisition, LLC                     W.H.C.P. (DUNDEE) LIMITED, Scotland
    Vantage Exton Radiation Oncology, LLC                  Walsh Distribution, L.L.C.
    Vantage Medical Management Services, LLC               Walsh Healthcare Solutions LLC
    Vantage Mokena Radiation Oncology, LLC                 Walsh Healthcare Solutions, Inc.
    Vantage Oncology - Brooklyn, LLC                       Walsh Heartland, L.L.C.


                                                Exhibit F
                                                    24
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 120 of 238. PageID #: 576030



    Walsh Southwest L.L.C.
    Well.ca ULC
    West Florida Radiation Therapy, LLC
    West Wholesale Drug Co.
    WESTCLOSE LIMITED, England
    Western Tumor Radiation Oncology, LLC
     (Vantage Oncology Treatment Centers, LLC)
    Westside LA Derm Equipment I, LLC
    WFCC Radiation Management Company, LLC
    Wickham Radiation Oncology, LLC (Vantage
     Oncology Treatment Centers, LLC)
    Wiley Industries, LLC
    Wilkes Barre Radiation Technology, LLC
     (Vantage Oncology Treatment Centers, LLC)
    Wilkes-Barre Radiation Oncology, LLC
    Windmill Realty, LLC
    WOODSIDE PHARMACY (GLASGOW)
     LIMITED, Scotland
    World Medical Government Solutions, LLC
    WorldMed Shared Services, Inc.
    WZ-WundZentren GmbH, AG Düsseldorf
    Ybbstal-Apotheke Mag.pharm. Adelheid
     Tazreiter KG, LG St. Pölten
    Zeepro, Inc.




                                                 Exhibit F
                                                    25
                                                               Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 121 of 238. PageID #: 576031




                                                                                                         Settlement Payment Schedule
             Restitution/          Base            Incentive         Incentive         Incentive        Incentive        Additional       Costs-State       Nassau and        Nassau and         Other           Other        Maximum Total
             Abatement                            Payment A         Payment B         Payment C        Payment D         Restitution                      Suffolk Attorney   Suffolk costs     Subdivision     Subdivision      Payment
                                                                                                                          Amount                                Fees         and expenses         Fees           Costs
Payment                                                                                                                                                                                                                        $160,695,245.79
            $42,724,855.60     $24,735,442.70    $17,989,412.90    $11,243,383.05     $6,746,029.85                      $6,287,273.37   $15,000,000.00   $40,000,000.00     $50,000,000.00    $2,933,116.82     $3,750,000
    1
Payment
            $44,901,740.35     $25,995,744.42    $18,905,995.93    $11,816,247.44     $7,089,748.49                     $11,002,728.40                                                         $3,254,156.70                     $59,158,625.45
    2
Payment
            $44,901,740.35     $25,995,744.42    $18,905,995.93    $11,816,247.44     $7,089,748.49                     $10,216,819.23   $15,000,000.00                                        $5,838,996.60                     $75,957,556.18
    3
Payment
            $56,200,888.68     $32,537,356.62    $23,663,532.06    $14,789,707.55     $8,873,824.51                                                                                            $3,958,970.97                     $60,159,859.65
    4
Payment
            $56,200,888.68     $32,537,356.62    $23,663,532.06    $14,789,707.55     $8,873,824.51                                                                                            $3,958,970.97                     $60,159,859.65
    5
Payment
            $56,200,888.68     $30,310,341.81    $22,043,884.98    $13,777,428.11     $8,266,456.88    $3,846,661.89                                                                           $3,958,970.97                     $60,159,859.65
    6
Payment
            $56,200,888.68     $30,310,341.81    $22,043,884.98    $13,777,428.11     $8,266,456.88    $3,846,661.89                                                                           $3,958,970.97                     $60,159,859.65
    7
Payment
            $66,099,016.30     $36,040,836.75    $26,211,517.67    $16,382,198.53     $9,829,319.14    $3,846,661.89                                                                                                             $66,099,016.30
    8
Payment
            $66,099,016.30     $36,040,836.75    $26,211,517.67    $16,382,198.53     $9,829,319.14    $3,846,661.89                                                                                                             $66,099,016.30
    9
Payment
            $66,099,016.30     $36,040,836.75    $26,211,517.67    $16,382,198.53     $9,829,319.14    $3,846,661.89                                                                                                             $66,099,016.30
   10
Payment
            $55,562,893.97     $29,940,976.49    $21,775,255.60    $13,609,534.76     $8,165,720.84    $3,846,661.89                                                                                                             $55,562,893.97
   11
Payment
            $55,562,893.97     $29,940,976.49    $21,775,255.60    $13,609,534.76     $8,165,720.84    $3,846,661.89                                                                                                             $55,562,893.97
   12
Payment
            $55,562,893.97     $29,940,976.49    $21,775,255.60    $13,609,534.76     $8,165,720.84    $3,846,661.89                                                                                                             $55,562,893.97
   13
Payment
            $55,562,893.97     $29,940,976.49    $21,775,255.60    $13,609,534.76     $8,165,720.84    $3,846,661.89                                                                                                             $55,562,893.97
   14
Payment
            $55,562,893.97     $29,940,976.49    $21,775,255.60    $13,609,534.76     $8,165,720.84    $3,846,661.89                                                                                                             $55,562,893.97
   15
Payment
            $55,562,893.97     $29,940,976.49    $21,775,255.60    $13,609,534.76     $8,165,720.84    $3,846,661.89                                                                                                             $55,562,893.97
   16
Payment
            $55,562,893.97     $29,940,976.49    $21,775,255.60    $13,609,534.76     $8,165,720.84    $3,846,661.89                                                                                                             $55,562,893.97
   17
Payment
            $55,562,893.97     $29,940,976.49    $21,775,255.60    $13,609,534.76     $8,165,720.84    $3,846,661.89                                                                                                             $55,562,893.97
   18
                                                                                                                                                                                                                              $1,179,251,066.79
 Total    $1,000,132,091.68   $550,072,650.57   $400,052,836.65   $250,033,022.92   $150,019,813.75   $50,006,604.57    $27,506,821.00   $30,000,000.00   $40,000,000.00     $50,000,000.00   $27,862,154.00      3,750,000


                                                                                                                       Exhibit G
                                                                                                                          1
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 122 of 238. PageID #: 576032




                      Illustrative Examples of Settlement Prepayments



 Example 1

 Gross Settlement Prepayment: $177,224,804

 Settlement Prepayment Reduction Schedule: Reduce Settlement Payments for Year 8 by
 $66,099,016, Year 13 by $55,562,894, and Year 18 by $55,562,894

 Net Settlement Prepayment Amount (assumes discount rate of 5%): $153,093,449 ($57,098,815
 for Year 5, $47,997,317 for Year 10, and $47,997,317 for Year 15)

                  Initial Settlement   Settlement Prepayment   Net Settlement    Revised Settlement
   Payment Year   Payment Schedule           Reduction          Prepayment       Payment Schedule
                   (Base Payments)               (-)                (+)           (Base Payments)
        1                $42,724,856                                                   $42,724,856
        2                $44,901,740                                                   $44,901,740
        3                $44,901,740                                                   $44,901,740
        4                $56,200,889                                                   $56,200,889
        5                $56,200,889                               $57,098,815        $113,299,704
        6                $56,200,889                                                   $56,200,889
        7                $56,200,889                                                   $56,200,889
        8                $66,099,016             $66,099,016                                     $0
        9                $66,099,016                                                   $66,099,016
       10                $66,099,016                               $47,997,317        $114,096,333
       11                $55,562,894                                                   $55,562,894
       12                $55,562,894                                                   $55,562,894
       13                $55,562,894             $55,562,894                                     $0
       14                $55,562,894                                                   $55,562,894
       15                $55,562,894                               $47,997,317        $103,560,211
       16                $55,562,894                                                   $55,562,894
       17                $55,562,894                                                   $55,562,894
       18                $55,562,894             $55,562,894                                     $0
      Total          $1,000,132,092            $177,224,804       $153,093,449        $976,000,737




                                             Exhibit H
                                                1
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 123 of 238. PageID #: 576033




 Example 2

 Gross Settlement Prepayment: $177,862,799

 Settlement Prepayment Reduction Schedule: Reduce Settlement Payments for Year 4 by
 $56,200,889, Year 9 by $66,099,016, and Year 14 by $55,562,894

 Net Settlement Prepayment Amount (assumes discount rate of 5%): $169,393,142 ($53,524,656
 for Year 3, $62,951,444 for Year 8, and $52,917,042 for Year 13)

                  Initial Settlement   Settlement Prepayment   Net Settlement    Revised Settlement
   Payment Year   Payment Schedule           Reduction          Prepayment       Payment Schedule
                   (Base Payments)               (-)                (+)           (Base Payments)
        1                $42,724,856                                                   $42,724,856
        2                $44,901,740                                                   $44,901,740
        3                $44,901,740                               $53,524,656         $98,426,396
        4                $56,200,889             $56,200,889                                     $0
        5                $56,200,889                                                   $56,200,889
        6                $56,200,889                                                   $56,200,889
        7                $56,200,889                                                   $56,200,889
        8                $66,099,016                               $62,951,444        $129,050,460
        9                $66,099,016             $66,099,016                                     $0
       10                $66,099,016                                                   $66,099,016
       11                $55,562,894                                                   $55,562,894
       12                $55,562,894                                                   $55,562,894
       13                $55,562,894                               $52,917,042        $108,479,936
       14                $55,562,894             $55,562,894                                     $0
       15                $55,562,894                                                   $55,562,894
       16                $55,562,894                                                   $55,562,894
       17                $55,562,894                                                   $55,562,894
       18                $55,562,894                                                   $55,562,894
      Total          $1,000,132,092            $177,862,799       $169,393,142        $991,662,435




                                             Exhibit H
                                                2
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 124 of 238. PageID #: 576034




                               ABC IRS Form 1098-F




                                     Exhibit I
                                        1
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 125 of 238. PageID #: 576035




                          Cardinal Health IRS Form 1098-F




                                      Exhibit J
                                         1
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 126 of 238. PageID #: 576036




                            McKesson IRS Form 1098-F




                                     Exhibit K
                                        1
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 127 of 238. PageID #: 576037




                          Subdivision Settlement Participation Form


  Governmental Entity:
  Authorized Official:
  Address 1:
  Address 2:
  City, State, Zip:
  Phone:
  Email:

         The governmental entity identified above (“Governmental Entity”), in order to obtain and
 in consideration for the benefits provided to the Governmental Entity pursuant to the New York
 Settlement Agreement dated [DATE] (the “Agreement”), and acting through the undersigned
 authorized official, hereby elects to participate in the Agreement, release all Released Claims
 against Released Entities, and agrees as follows.

    1. The Governmental Entity is aware of and has reviewed the Agreement, understands that
       all terms in this Election and Release have the meanings defined therein, and agrees that
       by this Election, the Governmental Entity elects to participate in the Agreement and
       become a Participating Subdivision as provided therein.

    2. The Governmental Entity shall, within 14 days of the Initial Participation Date and prior
       to the filing of the Consent Judgment, secure the dismissal with prejudice of any
       Released Claims that it has filed.

    3. The Governmental Entity agrees to the terms of the Agreement pertaining to Subdivisions
       as defined therein.

    4. By agreeing to the terms of the Agreement and becoming a Releasor, the Governmental
       Entity is entitled to the benefits provided therein, including, if applicable, monetary
       payments beginning after the Effective Date.

    5. The Governmental Entity agrees to use any monies it receives through the Agreement
       solely for the purposes provided therein.

    6. The Governmental Entity submits to the jurisdiction of the court where the Consent
       Judgment is filed for purposes limited to that court’s role as provided in, and for
       resolving disputes to the extent provided in, the Agreement.

    7. The Governmental Entity has the right to enforce the Agreement as provided therein.

    8. The Governmental Entity, as a Participating Subdivision, hereby becomes a Releasor for
       all purposes in the Agreement, including but not limited to all provisions of Section X,
       and along with all departments, agencies, divisions, boards, commissions, districts,

                                            Exhibit L
                                                1
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 128 of 238. PageID #: 576038




        instrumentalities of any kind and attorneys, and any person in their official capacity
        elected or appointed to serve any of the foregoing and any agency, person, or other entity
        claiming by or through any of the foregoing, and any other entity identified in the
        definition of Releasor, provides for a release to the fullest extent of its authority. As a
        Releasor, the Governmental Entity hereby absolutely, unconditionally, and irrevocably
        covenants not to bring, file, or claim, or to cause, assist or permit to be brought, filed, or
        claimed, or to otherwise seek to establish liability for any Released Claims against any
        Released Entity in any forum whatsoever. The releases provided for in the Agreement
        are intended by the Parties to be broad and shall be interpreted so as to give the Released
        Entities the broadest possible bar against any liability relating in any way to Released
        Claims and extend to the full extent of the power of the Governmental Entity to release
        claims. The Agreement shall be a complete bar to any Released Claim.

    9. In connection with the releases provided for in the Agreement, each Governmental Entity
       expressly waives, releases, and forever discharges any and all provisions, rights, and
       benefits conferred by any law of any state or territory of the United States or other
       jurisdiction, or principle of common law, which is similar, comparable, or equivalent to
       § 1542 of the California Civil Code, which reads:

            General Release; extent. A general release does not extend to claims that
            the creditor or releasing party does not know or suspect to exist in his or
            her favor at the time of executing the release, and that if known by him or
            her would have materially affected his or her settlement with the debtor or
            released party.

        A Releasor may hereafter discover facts other than or different from those which it
        knows, believes, or assumes to be true with respect to the Released Claims, but each
        Governmental Entity hereby expressly waives and fully, finally, and forever settles,
        releases and discharges, upon the Effective Date, any and all Released Claims that may
        exist as of such date but which Releasors do not know or suspect to exist, whether
        through ignorance, oversight, error, negligence or through no fault whatsoever, and
        which, if known, would materially affect the Governmental Entities’ decision to
        participate in the Agreement.

    10. Nothing herein is intended to modify in any way the terms of the Agreement, to which
        Governmental Entity hereby agrees. To the extent this Election and Release is
        interpreted differently from the Agreement in any respect, the Agreement controls.

 I have all necessary power and authorization to execute this Election and Release on behalf of
 the Governmental Entity.




                                              Exhibit L
                                                  2
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 129 of 238. PageID #: 576039




                               Signature:       _____________________________

                               Name:            _____________________________

                               Title:           _____________________________

                               Date:            _____________________________




                                        Exhibit L
                                            3
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 130 of 238. PageID #: 576040




                          Stipulations of Discontinuance with Prejudice



 [This page intentionally left blank.]




                                            Exhibit M
                                               1
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 131 of 238. PageID #: 576041




 SUPREME COURT OF THE STATE OF NEW YORK
 COUNTY OF SUFFOLK
                                     Index No. 400000/2017
  IN RE OPIOID LITIGATION
                                     Hon. Jerry Garguilo


  THE PEOPLE OF THE STATE OF NEW YORK                     Index No. 400016/2018
  by LETITIA JAMES, Attorney General of the State
  of New York,

                                Plaintiff,

                 -against-

  Purdue Pharma L.P., et al.,

                                Defendants.



                STIPULATION OF DISCONTINUANCE WITH PREJUDICE


        IT IS HEREBY STIPULATED AND AGREED, by and between the undersigned,

 counsel of record for Plaintiff, the People of the State of New York, by its attorney, LETITIA

 JAMES, Attorney General of the State of New York, and for Defendants McKesson Corporation,

 Cardinal Health, Inc., Kinray, LLC and AmerisourceBergen Drug Corporation, Bellco Drug

 Corp., and American Medical Distributors, Inc., (collectively, “Distributor Defendants”), that,

 pursuant to C.P.L.R. 3217, the following action is hereby voluntarily discontinued with prejudice

 as to Distributor Defendants only, without costs as to any party against the other:

        1.      The People of the State of New York v. Purdue Pharma L.P., et al., Case No.

                400016/2018.




                                              Exhibit M
                                                  2
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 132 of 238. PageID #: 576042




  Dated: July ______, 2021
  New York, New York


  REED SMITH LLP                               LETITIA JAMES
                                               Attorney General of the State of New York
  /s/ Robert A. Nicholas______
  Robert A. Nicholas                           _________________________
  Shannon E. McClure                           Office of the New York State Attorney General
  Michael J. Salimbene                         28 Liberty Street, 23rd Floor
  REED SMITH LLP                               New York, NY 10006
  Three Logan Square                           Tel: [PHONE]
  1717 Arch Street, Suite 3100                 [EMAIL]
  Philadelphia, Pennsylvania 19103
  (215)851-8100                               Counsel for Plaintiff, The People of the State of
  rnicholas@reedsmith.com                     New York
  smcclure@reedsmith.com
  msalimbene@reedsmith.com

  GIBBONS P.C.

  Paul E. Asfendis
  GIBBONS P.C.
  One Pennsylvania Plaza
  New York, New York 10119
  (212)613-2000
  pasfendis@gibbonslaw.com

  Attorneys for Defendants
  AmerisourceBergen
  Drug Corporation, Bellco Drug Corp., and
  American Medical Distributors, Inc.

  WILLIAMS & CONNOLLY LLP

  /s/ Steven Pyser
  Steven Pyser
  Enu Mainigi (admitted pro hac vice)
  J. Andrew Keyes (admitted pro hac vice)
  Steven M. Pyser
  Ashley W. Hardin (admitted pro hac vice)
  Williams & Connolly LLP
  725 12th St NW
  Washington, DC 20005
  Phone: (202) 434-5000
  emainigi@wc.com
  akeyes@wc.com

                                             Exhibit M
                                                3
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 133 of 238. PageID #: 576043




  spyser@wc.com
  ahardin@wc.com
  Counsel for Defendants Cardinal Health,
  Inc. and Kinray, LLC

  COVINGTON & BURLING LLP

  /s/ Paul W. Schmidt________
  Paul W. Schmidt
  David A. Luttinger Jr.
  Christopher Y. L. Yeung
  COVINGTON & BURLING LLP
  The New York Times Building
  620 Eighth Avenue
  New York, New York 10018
  (212) 841-1000
  pschmidt@cov.com
  dluttinger@cov.com
  cyeung@cov.com

  Andrew P. Stanner
  COVINGTON & BURLING LLP
  One CityCenter
  850 Tenth Street NW
  Washington DC, 20001
  (202) 662-6000
   astanner@cov.com

  Counsel for Defendant McKesson
  Corporation


 SO ORDERED:

 Dated:
                                                    HON. JERRY GARGUILO, J.S.C.




                                            Exhibit M
                                               4
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 134 of 238. PageID #: 576044




 SUPREME COURT OF THE STATE OF NEW YORK
 COUNTY OF SUFFOLK
                                     Index No. 400000/2017
  IN RE OPIOID LITIGATION
                                     Hon. Jerry Garguilo


  The County of Suffolk, New York,                         Index No. 400001/2017

                                 Plaintiff,

                 -against-

  Purdue Pharma L.P., et al.,

                                 Defendants

                                                           Index No. 400008/2017
  The County of Nassau, New York,

                                 Plaintiff,

                 -against-

  Purdue Pharma L.P., et al.,

                                 Defendants.



                STIPULATION OF DISCONTINUANCE WITH PREJUDICE


         IT IS HEREBY STIPULATED AND AGREED, by and between the undersigned, counsel

 of record for Plaintiffs Suffolk County, New York and Nassau County, New York, and for

 Defendants McKesson Corporation, PSS World Medical, Inc., Cardinal Health, Inc., Kinray, LLC,

 AmerisourceBergen Drug Corporation, Bellco Drug Corp., and American Medical Distributors,

 Inc. (collectively, “Distributor Defendants”), that, pursuant to C.P.L.R. 3217, the following actions

 are hereby voluntarily discontinued with prejudice as to Distributor Defendants only, without costs

 as to any party against the other:

                                               Exhibit M
                                                  5
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 135 of 238. PageID #: 576045
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 136 of 238. PageID #: 576046




  Steven M. Pyser
  Ashley W. Hardin (admitted pro hac vice)
  WILLIAMS & CONNOLLY LLP
  725 Twelfth Street, N.W.
  Washington, DC 20005
  (202) 434-5000
  emainigi@wc.com
  akeyes@wc.com
  spyser@wc.com
  ahardin@wc.com

  Attorneys for Defendants Cardinal
  Health, Inc. and Kinray, LLC

  COVINGTON & BURLING LLP

  /s/ Paul W. Schmidt________
  Paul W. Schmidt
  David A. Luttinger Jr.
  Christopher Y. L. Yeung
  COVINGTON & BURLING LLP
  The New York Times Building
  620 Eighth Avenue
  New York, New York 10018
  (212) 841-1000
  pschmidt@cov.com
  dluttinger@cov.com
  cyeung@cov.com

  Andrew P. Stanner
  COVINGTON & BURLING LLP
  One CityCenter
  850 Tenth Street NW
  Washington DC, 20001
  (202) 662-6000
   astanner@cov.com

  Counsel for Defendant McKesson
  Corporation and PSS World Medical, Inc.


 SO ORDERED:

 Dated:
                                                     HON. JERRY GARGUILO, J.S.C.



                                             Exhibit M
                                                7
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 137 of 238. PageID #: 576047




                       New York Opioid Settlement Sharing Agreement

        This Agreement sets forth the terms and conditions governing the sharing and allocation
 of funds between and among the State of New York and the New York Subdivisions (as defined
 below) received from Statewide Opioid Settlement Agreements (as defined below) with the
 Opioid Supply Chain Participants (as defined below).

        Whereas, the people of the State of New York and its communities have been harmed by
 misfeasance, nonfeasance, and malfeasance committed by certain entities within the opioid
 supply chain; and

          Whereas, the State of New York and certain New York Subdivisions are engaged in
 litigation seeking to hold Opioid Supply Chain Participants accountable for the damage caused
 by their misfeasance, nonfeasance, and malfeasance; and

         Whereas, the State of New York and the New York Subdivisions share a common desire
 to abate and alleviate the impacts of the misfeasance, nonfeasance, and malfeasance of the
 Opioid Supply Chain Participants throughout the State of New York;

        Now therefore, the State of New York and the New York Subdivisions enter into this
 Agreement relating to the allocation, distribution, and use of the proceeds of Settlements (as
 defined below).

 I.     DEFINITIONS

        A.      “Approved Uses” means any opioid or substance use disorder related projects or
 programs that fall within the list of uses in Schedule C.

        B.     “Lead State Agency” means the New York State Office of Addiction Services and
 Supports. As provided for in Section V, The Lead State Agency will coordinate with the New
 York Department of Health, the New York Office of Mental Health, and the New York Division
 of Housing and Community Renewal, as well as other agencies, to expend and oversee funds
 from the Opioid Settlement Fund.

        C.     The “Advisory Board” means the advisory board created and described by
 Section V under the Lead State Agency.

         D.    “Direct Share Subdivision” means every county of the State of New York other
 than the County of Nassau, the County of Suffolk, and the City of New York.

          E.    “New York Subdivisions” means each county, city, town, village or special
 district in New York.

        F.     “Opioid Settlement Funds” shall mean monetary amounts obtained through a
 Statewide Opioid Settlement Agreement as defined in this Agreement.


                                             Exhibit N
                                                 1
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 138 of 238. PageID #: 576048




         G.     “Opioid Supply Chain Participant” shall mean any entity or person that engages in
 or has engaged in the manufacture, marketing, promotion, distribution, or dispensing of an
 opioid analgesic, including their officers, directors, employees, or agents, acting in their capacity
 as such.

        H.      “Parties” means the State of New York and the New York Subdivisions who
 execute this agreement.

         I.      “Statewide Opioid Settlement Agreements” shall mean settlement agreements
 jointly entered into by the State of New York and New York Subdivisions with any Opioid
 Supply Chain Participant.

        J.       “Opioid Settlement Fund” means the fund created by Section IV, which will be
 used or distributed in accordance with Section IV and this Agreement.

 II.    GENERAL FINANCIAL AND STRUCTURE TERMS

       A.     Scope of Agreement. This Agreement applies to all Statewide Opioid Settlement
 Agreements entered into with an Opioid Supply Chain Participant on or after June 19, 2021.

        B.     Allocation and Distribution of Funds for Restitution and Abatement. Opioid
 Settlement Funds from each Settlement shall be allocated and distributed as follows:

                1.      17.5% to the State of New York, unless not in accordance with state law.
                        The Office of the Attorney General shall have the discretion to allocate a
                        portion of these funds to local governments not listed in the annexed
                        allocation chart.

                2.      16.39% to the Lead State Agency to be placed in the Opioid Settlement
                        Fund for Regional Spending on Approved Uses. In combination, the
                        amount of Regional Spending of the Opioid Settlement Fund committed to
                        cities other than New York City with a 2020 population of more than
                        90,000 shall not be less than 1.89% of the total Opioid Settlement Funds.

                3.      20% to the Lead State Agency to be placed in the Opioid Settlement Fund
                        for Discretionary Spending on Approved Uses and for Administration of
                        the Opioid Settlement Fund.

                4.      5.4% to the Direct Share Subdivisions as “Direct Unrestricted Funds.”

                5.      5.4% to the Direct Share Subdivisions for spending on Approved Uses
                        (“Direct Restricted Funds”).

                6.      6.68% to the County of Nassau for spending on Approved Uses.

                7.      8.63% to the County of Suffolk for spending on Approved Uses.

                8.      20% to the City of New York for spending on Approved Uses.

                                              Exhibit N
                                                  2
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 139 of 238. PageID #: 576049




         C.      Redistribution in Certain Situations. In the event a New York Subdivision
 merges, dissolves, or ceases to exist, the allocation percentage for that New York Subdivision
 shall be redistributed equitably based on the composition of the successor New York
 Subdivision. If a New York Subdivision for any reason is excluded from a specific Settlement,
 including because it does not execute a release as required by Section III.A, the allocation
 percentage for that New York Subdivision pursuant to Sections II.B.4 and 5 shall be redistributed
 equitably among the participating New York Subdivisions.

         D.     Direct Payment of Certain Funds. All Opioid Settlement Funds allocated to the
 Direct Share Subdivisions, the Counties of Nassau and Suffolk, and the City of New York
 pursuant to Sections II.B.4, 5, 6, 7 and 8 shall be paid directly and as promptly as reasonably
 practicable by the Opioid Supply Change Participant or settlement fund administrator(s) to the
 Direct Share Subdivisions, the Counties of Nassau and Suffolk, and the City of New York.

         E.      Attorneys’ Fees and Expenses. Unless state law or the applicable Statewide
 Opioid Settlement Agreement provides otherwise, Attorneys’ fees and expenses will be
 determined and paid according to each Direct Share Subdivision’s and New York Subdivision’s
 contracts with its respective counsel. This does not prevent counsel for New York subdivisions
 to agree to recover solely from: (1) the common benefit and contingency fee funds if established
 pursuant to settlements with Opioid Supply Chain Participants; or (2) payment of attorneys’ fees
 and costs directly from Opioid Supply Chain Participants.

 III.   THE DIRECT SHARE SUBDIVISION AND CITY OF NEW YORK FUNDS

         A.      Distribution of the Direct Share Subdivision Funds. The Direct Unrestricted
 Funds and the Direct Restricted Funds shall be paid to the Direct Share Subdivisions that execute
 a release for a given Statewide Opioid Settlement Agreement, pursuant to Section II.B.4 and 5,
 and will be fully distributed among them pursuant to the allocation set forth in Schedule A to this
 Agreement.

        B.      Certification of Spending on Approved Uses. Each year, the Direct Share
 Subdivisions, the City of New York and the Counties of Nassau and Suffolk shall certify to the
 Lead State Agency and the Advisory Board that all funds distributed to them pursuant to
 Sections II.B.5, 6, 7 and 8 of this Agreement, which were spent during the preceding year, were
 spent on projects and programs that constitute Approved Uses. These certifications shall be made
 by August 1 of each year following the year in which such funds were spent and shall be
 accompanied by a detailed accounting of the spending of such funds as well as analysis and
 evaluation of the projects and programs they have funded.

 IV.    THE OPIOID SETTLEMENT FUND

        A.      Establishment of the Opioid Settlement Fund.

                1.     Each year the Lead State Agency will allocate approximately 45% of the
                       Opioid Settlement Fund (16.39% of the total Opioid Settlement Funds) for
                       Approved Uses in the various regions and large cities of New York State,
                       except New York City and the Counties of Nassau and Suffolk, pursuant
                       to a commitment to spend in each such region and each city other than
                                              Exhibit N
                                                 3
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 140 of 238. PageID #: 576050




                       New York City with a population of more than 90,000 the corresponding
                       percentages shown in Schedule B. Of this amount, at least 1.89% of the
                       total Opioid Settlement Funds received by New York shall be set aside for
                       cities other than New York City with a population of more than 90,000.
                       Each New York Subdivision other than New York City and the Counties
                       of Nassau and Suffolk that has executed a release may apply for and
                       receive funds from the Opioid Settlement Fund, provided however, that
                       each such Subdivision shall, as a condition to the receipt of these funds,
                       certify at the end of each fiscal year during which it receives such funds
                       that all funds provided to it under this provision of the Agreement were
                       spent on projects and programs that constitute Approved Uses and
                       provided that it complies with the reporting requirements set forth in
                       Section IV.E.

               2.      Each year the Lead State Agency will set aside approximately 55% of the
                       Opioid Settlement Fund (20% of the total Opioid Settlement Funds) for
                       spending by the Lead State Agency to (a) fund State projects that
                       constitute Approved Uses, and (b) carry out the duties of the Lead State
                       Agency and Advisory Board under this Agreement, including oversight
                       and administration of the Opioid Settlement Fund and the Advisory Board.
                       No more than 5% of the total Opioid Settlement Fund may be used in any
                       fiscal year for oversight and administrative costs of the Opioid Settlement
                       Fund and the Advisory Board.

         B.     Approved Uses. The Approved Uses are set forth in Schedule C below. The
 Advisory Board may recommend to the Legislature adding or removing Approved Uses in
 response to changing substance use disorder needs in the state. The Advisory Board may not
 recommend that Approved Uses be removed from the list of Approved Uses without the vote of
 three-fourths of the present members of the Advisory Board.

         C.      Oversight and Auditing. The Lead State Agency will engage in oversight and
 audits of projects and programs funded through the Opioid Settlement Fund.

         D.      New York Subdivision Reporting. Each New York Subdivision that receives
 funds from the Opioid Settlement Fund under this Agreement will annually provide to the Lead
 State Agency and Advisory Board a detailed accounting of the spending of such funds as well as
 analysis and evaluation of the projects and programs it has funded. Such accounting shall be
 provided by August 1 of each year following the year in which such funds were spent. The Lead
 Agency may withhold future funds from any New York Subdivision that is delinquent in
 providing this reporting, until the required report is submitted.

         E.     Lead Agency Reporting. The Lead State Agency and other relevant government
 commissioners, in consultation with the Advisory Board, will annually provide the Governor,
 Speaker of the Assembly, the Temporary President of the Senate, and other legislative leaders as
 provided by law, a written report, which, among other things, provides a detailed accounting of
 the previous year’s spending of all monies in the Opioid Settlement Fund, any spending by the
 Direct Share Subdivisions pursuant to Sections II.B.5, any spending by the Counties of Nassau

                                            Exhibit N
                                                4
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 141 of 238. PageID #: 576051




 or Suffolk pursuant to Section II.B.6 and 7, and any spending by New York City pursuant to
 Section II.B.8, as well as an analysis and evaluation of the projects and programs so funded.
 This report shall be provided on or before November 1 of each year, beginning one year after the
 initial deposit of monies in the Opioid Settlement Fund. At the same time, in consultation with
 the Advisory Board, the Lead State Agency will report annually the results of research funded by
 funds from this Agreement, the status of any outstanding audits, and the non-binding
 recommendations of the Advisory Board.

 V.     THE ROLE OF THE ADVISORY BOARD

         A.     The Structure of the Advisory Board. The Advisory Board will be established
 under the Lead Agency and comprised of 19 members, serving set terms. Each member of the
 Advisory Board will have one vote, with all actions being taken by an affirmative vote of the
 majority of present voting members, except where otherwise provided for in this Agreement or
 by law.

               1.      Appointments to the Advisory Board. The Advisory Board shall consist
                       of 19 members, including the Commissioner of the Office of Addiction
                       Services and Supports, the Commissioner of Mental Health, the
                       Commissioner of Health (or their designees) serving as ex-officio non-
                       voting members. The Governor, the Attorney General, the Speaker of the
                       Assembly and the Temporary President of the Senate shall each appoint 2
                       voting members, and the Mayor of the City of New York shall appoint one
                       voting member. The remaining 7 voting members shall be appointed from
                       a list of persons provided by the New York State Association of Counties.
                       These appointments will be made two each by the Temporary President of
                       the Senate and the Speaker of the Assembly, and one each by the Minority
                       Leader of the Senate, the Minority Leader of the Assembly and the
                       Attorney General. Appointed members shall serve three-year terms and in
                       the event of a vacancy, such vacancy shall be filled in the manner of the
                       original appointment for the remainder of the term. The Advisory Board
                       membership shall include persons, to the extent possible, who have
                       expertise in public and behavioral health, substance use disorder
                       treatment, harm reduction, criminal justice, or drug policy. Further, the
                       Advisory Board shall include individuals with personal or professional
                       experience with substance use and addiction issues and co-occurring
                       mental illnesses as well as providing services to those that have been
                       disproportionately impacted by the enforcement and criminalization of
                       addiction.

               2.      Meetings of the Advisory Board. The Advisory Board shall hold at least
                       quarterly public meetings, to be publicized and located in a manner
                       reasonably designed to facilitate attendance by residents throughout the
                       State. The Advisory Board shall function in a manner consistent with New
                       York’s meeting, open government or similar laws, and with the Americans
                       with Disabilities Act.


                                            Exhibit N
                                                5
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 142 of 238. PageID #: 576052




                3.     Consensus. Members of the Advisory Board shall attempt to reach
                       consensus with respect to recommendations and other actions to the extent
                       possible. Consensus is defined in this process as a general agreement
                       achieved by the members that reflects, from as many members as possible,
                       their active support, support with reservations, or willingness to abide by the
                       decision of the other members. Consensus does not require unanimity or other
                       set threshold and may include objectors. In all events, however, actions of the
                       Advisory Board shall be effective if supported by at least a majority of its
                       voting members, except where otherwise provided for by this Agreement or
                       by law.

                4.     Payment and Ethics. Members of the Advisory Board will receive no
                       compensation but will be reimbursed for actual and necessary expenses
                       incurred in the performance of their duties. The members of the Advisory
                       Board shall not take any action to direct funding from the Opioid
                       Abatement Fund to any entity in which they or their family members have
                       any interest, direct or indirect, or receive any commission or profit
                       whatsoever, direct or indirect.

         B.       Responsibilities. On or before November 1 of each year, beginning November 1,
 2021, the Advisory Board shall issue a written report of recommendations regarding specific
 opioid abatement priorities and expenditures from the Opioid Settlement Fund for Approved
 Uses. This report shall be provided to the Governor, the Temporary President of the Senate, the
 Speaker of the Assembly, and other legislative leaders as provided by law. In carrying out its
 obligations to provide such recommendations, the Advisory Board may consider local, state and
 federal initiatives and activities that have been shown to be effective in preventing and treating
 substance use disorders as well as maintaining recovery and assisting with the collateral effects
 of substance use disorders for individuals and their families or support system. Such
 recommendations may be Statewide or specific to Regions and recommend Statewide or
 Regional funding with respect to specific programs or initiatives. Such recommendations shall
 also incorporate mechanisms for measurable outcomes for determining the effectiveness of funds
 expended for Approved Uses; and monitor the level of permitted administrative expenses in
 paragraph IV.A.2. The goal is for a process that produces recommendations that are recognized
 as being an efficient, evidence-based approach to abatement that addresses the State’s greatest
 needs while also including programs reflecting particularized needs in local communities. It is
 anticipated that such a process will inform and assist the State in making decisions about
 spending from the Opioid Settlement Fund. To the extent the State chooses not to follow a
 recommendation of the Advisory Board’s, it will make publicly available within 14 days after
 the decision is made a written explanation of the reasons for its decision, and allow 14 days for
 the Advisory Board to respond. The Advisory Board shall have additional advisory
 responsibilities, including reporting on projects and programs related to addressing the opioid
 epidemic, developing priorities, goals and recommendations for spending on such projects and
 programs, working with the Lead State Agency to develop measurable outcomes for such
 projects and programs, and making recommendations for policy changes.

         C.     Staff and Administration. The Lead State Agency and any other relevant agency
 will provide staff, resources and technical assistance to the Advisory Board.

                                             Exhibit N
                                                  6
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 143 of 238. PageID #: 576053




         D.     Research. The Advisory Board will recommend to the Lead State Agency
 research to fund and oversee related to addressing the opioid epidemic, including for outside
 grants.

 VI.    Recoveries Other Than Money

 In the event that any part of a Settlement is received other than in money, the Parties will
 negotiate in good faith to agree upon a method of sharing such Settlement in a manner as
 consistent as practicable with the sharing of Opioid Settlement Funds under this Agreement. In
 the event that the Parties are unable to reach an agreement, then the method of sharing shall be
 determined by the Advisory Board, whose decision shall be final and binding on the Parties.

 VII.   Retention of Jurisdiction

 The Supreme Court, County of Nassau, shall retain jurisdiction of the Parties for the purpose of
 this Agreement, including its interpretation and enforcement.

 LETITIA JAMES
 Attorney General of the State of New York

 By: _________________________                                  7/20/21
                                                         Date:_________________
 Jennifer Levy, First Deputy Attorney General
 Office of the New York State Attorney General
 28 Liberty Street, 23rd Floor
 New York, NY 10006
 Tel: 212-416-8450
 Jennifer.Levy@ag.ny.gov
 Counsel for The People of the State of New York




                                             Exhibit N
                                                 7
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 144 of 238. PageID #: 576054
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 145 of 238. PageID #: 576055




 Counsel for ____________________
 _____________________________
 _____________________________                   Date:_________________
 _____________________________
 _____________________________
 _____________________________
 _____________________________
 _____________________________
 Counsel for ____________________
 _____________________________
 _____________________________                   Date:_________________
 _____________________________
 _____________________________
 _____________________________
 _____________________________
 _____________________________
 Counsel for ____________________
 _____________________________
 _____________________________                   Date:_________________
 _____________________________
 _____________________________
 _____________________________
 _____________________________
 _____________________________
 Counsel for ____________________
 _____________________________
 _____________________________                   Date:_________________
 _____________________________
 _____________________________
 _____________________________
 _____________________________
 _____________________________
 Counsel for ____________________
 _____________________________
 _____________________________                   Date:_________________
 _____________________________
 _____________________________
 _____________________________
 _____________________________
 _____________________________
 Counsel for ____________________
 _____________________________
 _____________________________                   Date:_________________
 _____________________________
 _____________________________
 _____________________________

                                     Exhibit N
                                        9
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 146 of 238. PageID #: 576056




 _____________________________
 _____________________________
 Counsel for ____________________




                                     Exhibit N
                                        10
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 147 of 238. PageID #: 576057




                                  Schedule A
 Allegany                0.492651319%
 Cattaraugus             0.885804166%
 Chautauqua              1.712744591%
 Erie                    13.981832649%
 Niagara                 3.416877066%
 Western Region          20.489909791%

 Genesee                 0.710630089%
 Livingston              0.678797077%
 Monroe                  9.384433024%
 Ontario                 1.309944722%
 Orleans                 0.412856571%
 Seneca                  0.386847050%
 Wayne                   0.994089249%
 Wyoming                 0.411657124%
 Yates                   0.247909288%
 Finger Lakes Region     14.537164194%

 Broome                  2.790673871%
 Chemung                 1.231939720%
 Chenango                0.516475286%
 Delaware                0.549364256%
 Schuyler                0.208248729%
 Steuben                 1.137138754%
 Tioga                   0.542347836%
 Tompkins                1.177586745%
 Southern Tier Region    8.153775199%

 Cayuga                  0.903523653%
 Cortland                0.541036257%
 Madison                 0.810595101%
 Onondaga                6.323758786%
 Oswego                  1.549495093%
 Central NY Region       10.128408890%

 Fulton                  0.462070473%
 Herkimer                0.658308079%
 Montgomery              0.453395949%
                                     Exhibit N
                                        11
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 148 of 238. PageID #: 576058




 Oneida               2.826733181%
 Otsego               0.670962131%
 Schoharie            0.277769778%
 Mohawk Valley Region 5.349239592%

 Clinton                 0.831513299%
 Essex                   0.367293246%
 Franklin                0.457353060%
 Hamilton                0.030269643%
 Jefferson               1.273686826%
 Lewis                   0.251124198%
 St. Lawrence            1.234262202%
 North Country Region    4.445502475%

 Albany                  2.791375201%
 Columbia                0.656790382%
 Greene                  0.793267678%
 Rensselaer              1.270734936%
 Saratoga                1.679317072%
 Schenectady             1.217397796%
 Warren                  0.612162823%
 Washington              0.479903545%
 Capital Region          9.500949434%

 Dutchess                4.381104459%
 Orange                  5.187725669%
 Putnam                  1.184886753%
 Rockland                3.081816868%
 Sullivan                1.888626559%
 Ulster                  2.462996041%
 Westchester             9.207894077%
 Mid-Hudson Region       27.395050426%




                                     Exhibit N
                                        12
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 149 of 238. PageID #: 576059




                                  Schedule B
 Western Region          18.127131908%

 Finger Lakes Region     12.860822502%

 Southern Tier Region    7.213529004%

 Central NY Region       8.960459360%

 Mohawk Valley Region 4.732396222%

 North Country Region 3.932872842%

 Capital Region          8.405354899%

 Mid-Hudson Region       24.236011664%

 Albany                  0.772105290%

 Buffalo                 3.867429560%

 Rochester               2.595770859%

 Syracuse                1.749176400%

 Yonkers                 2.546939490%




                                     Exhibit N
                                        13
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 150 of 238. PageID #: 576060




                               Schedule C – Approved Uses

 I.     TREATMENT

        A.     TREAT OPIOID USE DISORDER (OUD)

 Support treatment of Opioid Use Disorder (OUD) and any co-occurring Substance Use Disorder
 or Mental Health (SUD/MH) conditions through evidence-based, evidence-informed, or
 promising programs or strategies that may include, but are not limited to, the following:

               1.     Expand availability of treatment for OUD and any co-occurring SUD/MH
                      conditions, including all forms of Medication-Assisted Treatment (MAT)
                      approved by the U.S. Food and Drug Administration.

               2.     Support and reimburse services that include the full American Society of
                      Addiction Medicine (ASAM) continuum of care for OUD and any co-
                      occurring SUD/MH conditions, including but not limited to:

                      a.     Medication-Assisted Treatment (MAT);

                      b.     Abstinence-based treatment;

                      c.     Treatment, recovery, or other services provided by states,
                             subdivisions, community health centers; non-for-profit providers;
                             or for-profit providers;

                      d.     Treatment by providers that focus on OUD treatment as well as
                             treatment by providers that offer OUD treatment along with
                             treatment for other SUD/MH conditions; or

                      e.     Evidence-informed residential services programs, as noted below.

               3.     Expand telehealth to increase access to treatment for OUD and any co-
                      occurring SUD/MH conditions, including MAT, as well as counseling,
                      psychiatric support, and other treatment and recovery support services.

               4.     Improve oversight of Opioid Treatment Programs (OTPs) to assure
                      evidence-based, evidence-informed or promising practices such as
                      adequate methadone dosing and low threshold approaches to treatment.

               5.     Support mobile intervention, treatment, and recovery services, offered by
                      qualified professionals and service providers, such as peer recovery
                      coaches, for persons with OUD and any co-occurring SUD/MH conditions
                      and for persons who have experienced an opioid overdose.

               6.     Treatment of mental health trauma resulting from the traumatic
                      experiences of the opioid user (e.g., violence, sexual assault, human
                      trafficking, or adverse childhood experiences) and family members (e.g.,
                                           Exhibit N
                                               14
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 151 of 238. PageID #: 576061




                   surviving family members after an overdose or overdose fatality), and
                   training of health care personnel to identify and address such trauma.

             7.    Support detoxification (detox) and withdrawal management services for
                   persons with OUD and any co-occurring SUD/MH conditions, including
                   medical detox, referral to treatment, or connections to other services or
                   supports.

             8.    Training for MAT for health care providers, students, or other supporting
                   professionals, such as peer recovery coaches or recovery outreach
                   specialists, including telementoring to assist community-based providers
                   in rural or undeserved areas.

             9.    Support workforce development for addiction professionals who work
                   with persons with OUD and any co-occurring SUD/MH conditions.

             10.   Fellowships for addiction medicine specialists for direct patient care,
                   instructors, and clinical research for treatments.

             11.   Scholarships and supports for certified addiction counselors and other
                   mental and behavioral health providers involved in addressing OUD any
                   co-occurring SUD/MH conditions, including but not limited to training,
                   scholarships, fellowships, loan repayment programs, or other incentives
                   for providers to work in rural or underserved areas.

             12.   Scholarships for persons to become certified addiction counselors,
                   licensed alcohol and drug counselors, licensed clinical social workers, and
                   licensed mental health counselors practicing in the SUD field, and
                   scholarships for certified addiction counselors, licensed alcohol and drug
                   counselors, licensed clinical social workers, and licensed mental health
                   counselors practicing in the SUD field for continuing education and
                   licensing fees.

             13.   Provide funding and training for clinicians to obtain a waiver under the
                   federal Drug Addiction Treatment Act of 2000 (DATA 2000) to prescribe
                   MAT for OUD and provide technical assistance and professional support
                   for clinicians who have obtained a DATA 2000 waiver.

             14.   Dissemination of web-based training curricula, such as the American
                   Academy of Addiction Psychiatry’s Provider Clinical Support Service-
                   Opioids web-based training curriculum and motivational interviewing.

             15.   Development and dissemination of new curricula, such as the American
                   Academy of Addiction Psychiatry’s Provider Clinical Support Service for
                   Medication-Assisted Treatment.

       B.    SUPPORT PEOPLE IN TREATMENT AND RECOVERY


                                         Exhibit N
                                            15
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 152 of 238. PageID #: 576062




 Support people in treatment for and recovery from OUD and any co-occurring SUD/MH
 conditions through evidence-based, evidence-informed, or promising programs or strategies that
 may include, but are not limited to, the following:

               1.     Provide the full continuum of care of recovery services for OUD and any
                      co-occurring SUD/MH conditions, including supportive housing,
                      residential treatment, medical detox services, peer support services and
                      counseling, community navigators, case management, transportation, and
                      connections to community-based services.

               2.     Provide counseling, peer-support, recovery case management and
                      residential treatment with access to medications for those who need it to
                      persons with OUD and any co-occurring SUD/MH conditions.

               3.     Provide access to housing for people with OUD and any co-occurring
                      SUD/MH conditions, including supportive housing, recovery housing,
                      housing assistance programs, or training for housing providers.

               4.     Provide community support services, including social and legal services,
                      to assist in deinstitutionalizing persons with OUD and any co-occurring
                      SUD/MH conditions.

               5.     Support or expand peer-recovery centers, which may include support
                      groups, social events, computer access, or other services for persons with
                      OUD and any co-occurring SUD/MH conditions.

               6.     Provide or support transportation to treatment or recovery programs or
                      services for persons with OUD and any co-occurring SUD/MH conditions.

               7.     Provide employment training or educational services for persons in
                      treatment for or recovery from OUD and any co-occurring SUD/MH
                      conditions.

               8.     Identifying successful recovery programs such as physician, pilot, and
                      college recovery programs, and providing support and technical assistance
                      to increase the number and capacity of high-quality programs to help those
                      in recovery.

               9.     Engaging non-profits, faith-based communities, and community coalitions
                      to support people in treatment and recovery and to support family
                      members in their efforts to manage the opioid user in the family.

               10.    Training and development of procedures for government staff to
                      appropriately interact and provide social and other services to current and
                      recovering opioid users, including reducing stigma.

               11.    Support stigma reduction efforts regarding treatment and support for
                      persons with OUD, including reducing the stigma on effective treatment.

                                            Exhibit N
                                               16
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 153 of 238. PageID #: 576063




               12.    Create or support culturally-appropriate services and programs for persons
                      with OUD and any co-occurring SUD/MH conditions, including new
                      Americans.

               13.    Create and/or support recovery high schools.

      C.   CONNECT PEOPLE WHO NEED HELP TO THE HELP THEY NEED
 (CONNECTIONS TO CARE)

 Provide connections to care for people who have – or at risk of developing – OUD and any
 cooccurring SUD/MH conditions through evidence-based, evidence-informed, or promising
 programs or strategies that may include, but are not limited to, the following:

               1.     Ensure that health care providers are screening for OUD and other risk
                      factors and know how to appropriately counsel and treat (or refer if
                      necessary) a patient for OUD treatment.

               2.     Fund Screening, Brief Intervention and Referral to Treatment (SBIRT)
                      programs to reduce the transition from use to disorders.

               3.     Provide training and long-term implementation of SBIRT in key systems
                      (health, schools, colleges, criminal justice, and probation), with a focus on
                      youth and young adults when transition from misuse to opioid disorder is
                      most common.

               4.     Purchase automated versions of SBIRT and support ongoing costs of the
                      technology.

               5.     Training for emergency room personnel treating opioid overdose patients
                      on post-discharge planning, including community referrals for MAT,
                      recovery case management or support services.

               6.     Support hospital programs that transition persons with OUD and any co-
                      occurring SUD/MH conditions, or persons who have experienced an
                      opioid overdose, into community treatment or recovery services through a
                      bridge clinic or similar approach.

               7.     Support crisis stabilization centers that serve as an alternative to hospital
                      emergency departments for persons with OUD and any co-occurring
                      SUD/MH conditions or persons that have experienced an opioid overdose.

               8.     Support the work of Emergency Medical Systems, including peer support
                      specialists, to connect individuals to treatment or other appropriate
                      services following an opioid overdose or other opioid-related adverse
                      event.

               9.     Provide funding for peer support specialists or recovery coaches in
                      emergency departments, detox facilities, recovery centers, recovery

                                            Exhibit N
                                               17
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 154 of 238. PageID #: 576064




                       housing, or similar settings; offer services, supports, or connections to care
                       to persons with OUD and any co-occurring SUD/MH conditions or to
                       persons who have experienced an opioid overdose.

                10.    Provide funding for peer navigators, recovery coaches, care coordinators,
                       or care managers that offer assistance to persons with OUD and any co-
                       occurring SUD/MH conditions or to persons who have experienced on
                       opioid overdose.

                11.    Create or support school-based contacts that parents can engage with to
                       seek immediate treatment services for their child; and supporting
                       prevention, intervention, treatment, and recovery programs focused on
                       young people.

                12.    Develop and support best practices on addressing OUD in the workplace.

                13.    Support assistance programs for health care providers with OUD.

                14.    Engage non-profits and faith community as a system to support outreach
                       for treatment.

                15.    Support centralized call centers that provide information and connections
                       to appropriate services and supports for persons with OUD and any co-
                       occurring SUD/MH conditions.

                16.    Create or support intake and call centers to facilitate education and access
                       to treatment, prevention, and recovery services for persons with OUD and
                       any co-occurring SUD/MH conditions.

                17.    Develop or support a National Treatment Availability Clearinghouse – a
                       multistate/nationally accessible database whereby health care providers
                       can list locations for currently available in-patient and out-patient OUD
                       treatment services that are accessible on a real-time basis by persons who
                       seek treatment.

        D.      ADDRESS THE NEEDS OF CRIMINAL-JUSTICE INVOLVED PERSONS

 Address the needs of persons with OUD and any co-occurring SUD/MH conditions who are
 involved – or are at risk of becoming involved – in the criminal justice system through evidence-
 based, evidence-informed or promising programs or strategies that may include, but are not
 limited to, the following:

                1.     Support pre-arrest and pre-arraignment diversion and deflection strategies
                       for persons with OUD and any co-occurring SUD/MH conditions,
                       including established strategies such as:

                       a.      Self-referral strategies such as the Angel Programs or the Police
                               Assisted Addiction Recovery Initiative (PAARI);

                                             Exhibit N
                                                 18
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 155 of 238. PageID #: 576065




                   b.     Active outreach strategies such as the Drug Abuse Response Team
                          (DART) model;

                   c.     “Naloxone Plus” strategies, which work to ensure that individuals
                          who have received Naloxone to reverse the effects of an overdose
                          are then linked to treatment programs or other appropriate services;

                   d.     Officer prevention strategies, such as the Law Enforcement
                          Assisted Diversion (LEAD) model; or

                   e.     Officer intervention strategies such as the Leon County, Florida
                          Adult Civil Citation Network or the Chicago Westside Narcotics
                          Diversion to Treatment Initiative; or

                   f.     Co-responder and/or alternative responder models to address
                          OUD-related 911 calls with greater SUD expertise and to reduce
                          perceived barriers associated with law enforcement 911 responses.

             2.    Support pre-trial services that connect individuals with OUD and any co-
                   occurring SUD/MH conditions to evidence-informed treatment, including
                   MAT, and related services.

             3.    Support treatment and recovery courts for persons with OUD and any co-
                   occurring SUD/MH conditions, but only if they provide referrals to
                   evidence-informed treatment, including MAT.

             4.    Provide evidence-informed treatment, including MAT, recovery support,
                   harm reduction, or other appropriate services to individuals with OUD and
                   any co-occurring SUD/MH conditions who are incarcerated in jail or
                   prison.

             5.    Provide evidence-informed treatment, including MAT, recovery support,
                   harm reduction, or other appropriate services to individuals with OUD and
                   any co-occurring SUD/MH conditions who are leaving jail or prison, who
                   have recently left jail or prison, are on probation or parole, are under
                   community corrections supervision, or are in re-entry programs or
                   facilities.

             6.    Support critical time interventions (CTI), particularly for individuals
                   living with dual-diagnosis OUD/serious mental illness, and services for
                   individuals who face immediate risks and service needs and risks upon
                   release from correctional settings.

             7.    Provide training on best practices for addressing the needs of criminal-
                   justice-involved persons with OUD and any co-occurring SUD/MH
                   conditions to law enforcement, correctional, or judicial personnel or to
                   providers of treatment, recovery, harm reduction, case management, or


                                         Exhibit N
                                            19
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 156 of 238. PageID #: 576066




                       other services offered in connection with any of the strategies described in
                       this section.

      E.    ADDRESS THE NEEDS OF PREGNANT OR PARENTING WOMEN AND
 THEIR FAMILIES, INCLUDING BABIES WITH NEONATAL ABSTINENCE SYNDROME

 Address the needs of pregnant or parenting women with OUD and any co-occurring SUD/MH
 conditions, and the needs of their families, including babies with neonatal abstinence syndrome,
 through evidence-based, evidence-informed, or promising programs or strategies that may
 include, but are not limited to, the following:

                1.     Support evidence-based, evidence-informed, or promising treatment,
                       including MAT, recovery services and supports, and prevention services
                       for pregnant women – or women who could become pregnant – who have
                       OUD and any co-occurring SUD/MH conditions, and other measures
                       educate and provide support to families affected by Neonatal Abstinence
                       Syndrome.

                2.     Training for obstetricians and other healthcare personnel that work with
                       pregnant women and their families regarding OUD treatment and any co-
                       occurring SUD/MH conditions.

                3.     Provide training to health care providers who work with pregnant or
                       parenting women on best practices for compliance with federal
                       requirements that children born with Neonatal Abstinence Syndrome get
                       referred to appropriate services and receive a plan of safe care.

                4.     Child and family supports for parenting women with OUD and any co-
                       occurring SUD/MH conditions.

                5.     Enhanced family supports and child care services for parents with OUD
                       and any cooccurring SUD/MH conditions.

                6.     Provide enhanced support for children and family members suffering
                       trauma as a result of addiction in the family; and offer trauma-informed
                       behavioral health treatment for adverse childhood events.

                7.     Offer home-based wrap-around services to persons with OUD and any co-
                       occurring SUD/MH conditions, including but not limited to parent skills
                       training.

                8.     Support for Children’s Services – Fund additional positions and services,
                       including supportive housing and other residential services, relating to
                       children being removed from the home and/or placed in foster care due to
                       custodial opioid use.




                                             Exhibit N
                                                20
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 157 of 238. PageID #: 576067




 II.    PREVENTION

      A.   PREVENT OVER-PRESCRIBING AND ENSURE APPROPRIATE
 PRESCRIBING AND DISPENSING OF OPIOIDS

 Support efforts to prevent over-prescribing and ensure appropriate prescribing and dispensing of
 opioids through evidence-based, evidence-informed, or promising programs or strategies that
 may include, but are not limited to, the following:

               1.      Training for health care providers regarding safe and responsible opioid
                       prescribing, dosing, and tapering patients off opioids.

               2.      Academic counter-detailing to educate prescribers on appropriate opioids
                       prescribing.

               3.      Continuing Medical Education (CME) on appropriate prescribing of
                       opioids.

               4.      Support for non-opioid pain treatment alternatives, including training
                       providers to offer or refer to multi-modal, evidence-informed treatment of
                       pain.

               5.      Support enhancements or improvements to Prescription Drug Monitoring
                       Programs (PDMPs), including but not limited to improvements that:

                       a.     Increase the number of prescribers using PDMPs;

                       b.     Improve point-of-care decision-making by increasing the quantity,
                              quality, or format of data available to prescribers using PDMPs, by
                              improving the interface that prescribers use to access PDMP data,
                              or both; or

                       c.     Enable states to use PDMP data in support of surveillance or
                              intervention strategies, including MAT referrals and follow-up for
                              individuals identified within PDMP data as likely to experience
                              OUD.

               6.      Development and implementation of a national PDMP – Fund
                       development of a multistate/national PDMP that permits information
                       sharing while providing appropriate safeguards on sharing of private
                       health information, including but not limited to:

                       a.     Integration of PDMP data with electronic health records, overdose
                              episodes, and decision support tools for health care providers
                              relating to OUD.

                       b.     Ensuring PDMPs incorporate available overdose/naloxone
                              deployment data, including the United States Department of

                                             Exhibit N
                                                21
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 158 of 238. PageID #: 576068




                              Transportation’s Emergency Medical Technician overdose
                              database.

               7.      Increase electronic prescribing to prevent diversion or forgery.

               8.      Educating Dispensers on appropriate opioid dispensing.

        B.     PREVENT MISUSE OF OPIOIDS

 Support efforts to discourage or prevent misuse of opioids through evidence-based, evidence-
 informed, or promising programs or strategies that may include, but are not limited to, the
 following:

               1.      Corrective advertising or affirmative public education campaigns based on
                       evidence.

               2.      Public education relating to drug disposal.

               3.      Drug take-back disposal or destruction programs.

               4.      Fund community anti-drug coalitions that engage in drug prevention
                       efforts.

               5.      Support community coalitions in implementing evidence-informed
                       prevention, such as reduced social access and physical access, stigma
                       reduction – including staffing, educational campaigns, support for people
                       in treatment or recovery, or training of coalitions in evidence-informed
                       implementation, including the Strategic Prevention Framework developed
                       by the U.S. Substance Abuse and Mental Health Services Administration
                       (SAMHSA).

               6.      Engaging non-profits and faith community as a system to support
                       prevention.

               7.      Support evidence-informed school and community education programs
                       and campaigns for students, families, school employees, school athletic
                       programs, parent-teacher and student associations, and others.

               8.      School-based or youth-focused programs or strategies that have
                       demonstrated effectiveness in preventing drug misuse and seem likely to
                       be effective in preventing the uptake and use of opioids.

               9.      Support community-based education or intervention services for families,
                       youth, and adolescents at risk for OUD and any co-occurring SUD/MH
                       conditions.




                                             Exhibit N
                                                22
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 159 of 238. PageID #: 576069




               10.    Support evidence-informed programs or curricula to address mental health
                      needs of young people who may be at risk of misusing opioids or other
                      drugs, including emotional modulation and resilience skills.

               11.    Support greater access to mental health services and supports for young
                      people, including services and supports provided by school nurses or other
                      school staff, to address mental health needs in young people that (when
                      not properly addressed) increase the risk of opioid or other drug misuse.

     C.    PREVENT OVERDOSE DEATHS AND OTHER HARMS (HARM
 REDUCTION)

 Support efforts to prevent or reduce overdose deaths or other opioid-related harms through
 evidence-based, evidence-informed, or promising programs or strategies that may include, but
 are not limited to, the following:

               1.     Increasing availability and distribution of naloxone and other drugs that
                      treat overdoses to first responders, overdose patients, opioid users,
                      families and friends of opioid users, schools, community navigators and
                      outreach workers, drug offenders upon release from jail/prison, and other
                      members of the general public.

               2.     Public health entities provide free naloxone to anyone in the community,
                      including but not limited to provision of intra-nasal naloxone in settings
                      where other options are not available or allowed.

               3.     Training and education regarding naloxone and other drugs that treat
                      overdoses for first responders, overdose patients, patients taking opioids,
                      families, schools, and other members of the general public.

               4.     Enable school nurses and other school staff to respond to opioid
                      overdoses, and provide them with naloxone, training, and support.

               5.     Expand, improve, or develop data tracking software and applications for
                      overdoses/naloxone revivals.

               6.     Public education relating to emergency responses to overdoses.

               7.     Public education relating to immunity and Good Samaritan laws.

               8.     Educate first responders regarding the existence and operation of
                      immunity and Good Samaritan laws.

               9.     Syringe service programs and other evidence-informed programs to reduce
                      harms associated with intravenous drug use, including supplies, staffing,
                      space, peer support services, referrals to treatment, fentanyl checking,
                      connections to care, and the full range of harm reduction and treatment
                      services provided by these programs.

                                            Exhibit N
                                               23
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 160 of 238. PageID #: 576070




                10.     Expand access to testing and treatment for infectious diseases such as HIV
                        and Hepatitis C resulting from intravenous opioid use.

                11.     Support mobile units that offer or provide referrals to harm reduction
                        services, treatment, recovery supports, health care, or other appropriate
                        services to persons that use opioids or persons with OUD and any co-
                        occurring SUD/MH conditions.

                12.     Provide training in harm reduction strategies to health care providers,
                        students, peer recovery coaches, recovery outreach specialists, or other
                        professionals that provide care to persons who use opioids or persons with
                        OUD and any co-occurring SUD/MH conditions.

                13.     Support screening for fentanyl in routine clinical toxicology testing.

 III.   OTHER STRATEGIES

        A.      FIRST RESPONDERS

 In addition to items C8, D1 through D7, H1, H3, and H8, support the following:

                1.      Law enforcement expenditures related to the opioid epidemic

                2.      Educate law enforcement or other first responders regarding appropriate
                        practices and precautions when dealing with fentanyl or other drugs.

                3.      Provisions of wellness and support services for first responders and others
                        who experience secondary trauma associated with opioid-related
                        emergency events.

        B.      LEADERSHIP, PLANNING AND COORDINATION

 Support efforts to provide leadership, planning, and coordination to abate the opioid epidemic
 through activities, programs, or strategies that may include, but are not limited to, the following:

                1.      Community regional planning to identify goals for reducing harms related
                        to the opioid epidemic, to identify areas and populations with the greatest
                        needs for treatment intervention services, or to support other strategies to
                        abate the opioid epidemic described in this opioid abatement strategy list
                        including, but not limited to costs associated with local opioid task forces,
                        community buprenorphine waiver trainings, and coordination and
                        operation of community-based treatment prevention programing.

                2.      A government dashboard to track key opioid-related indicators and
                        supports as identified through collaborative community processes.

                3.      Invest in infrastructure or staffing at government or not-for-profit agencies
                        to support collaborative, cross-system coordination with the purpose of

                                              Exhibit N
                                                  24
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 161 of 238. PageID #: 576071




                        preventing overprescribing, opioid misuse, or opioid overdoses, treating
                        those with OUD and any co-occurring SUD/MH conditions, supporting
                        them in treatment or recovery, connecting them to care, or implementing
                        other strategies to abate the opioid epidemic described in this opioid
                        abatement strategy list.

                4.      Provide resources to staff government oversight and management of
                        opioid abatement programs.

        C.      TRAINING

 In addition to the training referred to in items above A7, A8, A9, A12, A13, A14, A15, B7, B10,
 C3, C5, E2, E4, F1, F3, F8, G5, H3, H12, and I2, support training to abate the opioid epidemic
 through activities, programs, or strategies that may include, but are not limited to, the following:

                1.      Provide funding for staff training or network programs and services
                        regarding the capability of government, community, and not-for-profit
                        entities to abate the opioid crisis.

                2.      Support infrastructure and staffing for collaborative cross-systems
                        coordination to prevent opioid misuse, prevent overdoses, and treat those
                        with OUD and any co-occurring SUD/MH conditions, or implement other
                        strategies to abate the opioid epidemic described in this opioid abatement
                        strategy list (e.g., health care, primary care, pharmacies, PDMPs, etc.).

        D.      RESEARCH

 Support opioid abatement research that may include, but is not limited to, the following:
               1.     Monitoring, surveillance, and evaluation of programs and strategies
                      described in this opioid abatement strategy list.

                2.      Research non-opioid treatment of chronic pain.

                3.      Research improved service delivery for modalities such as SBIRT that
                        demonstrate promising but mixed results in populations vulnerable to
                        opioid use disorders.

                4.      Research on novel harm reduction and prevention efforts such as the
                        provision of fentanyl test strips.

                5.      Research on innovative supply-side enforcement efforts such as improved
                        detection of mail-based delivery of synthetic opioids.

                6.      Expanded research on swift/certain/fair models to reduce and deter opioid
                        misuse within criminal justice populations that build upon promising
                        approaches used to address other substances (e.g. Hawaii HOPE and
                        Dakota 24/7).


                                              Exhibit N
                                                  25
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 162 of 238. PageID #: 576072




             7.    Research on expanded modalities such as prescription methadone that can
                   expand access to MAT.

             8.    Epidemiological surveillance of OUD-related behaviors in critical
                   populations including individuals entering the criminal justice system,
                   including but not limited to approaches modeled on the Arrestee Drug
                   Abuse Monitoring (ADAM) system.

             9.    Qualitative and quantitative research regarding public health risks and
                   harm reduction opportunities within illicit drug markets, including surveys
                   of market participants who sell or distribute illicit opioids.

             10.   Geospatial analysis of access barriers to MAT and their association with
                   treatment engagement and treatment outcomes.

       E.    POST-MORTEM

             1.    Toxicology tests for the range of synthetic opioids presently seen in
                   overdose deaths as     well as newly evolving synthetic opioids infiltrating
                   the drug supply.

             2.    Toxicology method development and method validation for the range of
                   synthetic opioids observed now and in the future, including the cost of
                   installation, maintenance, repairs and training of capital equipment.

             3.    Autopsies in cases of overdose deaths resulting from opioids and synthetic
                   opioids.

             4.    Additional storage space/facilities for bodies directly related to opioid or
                   synthetic opioid related deaths.

             5.    Comprehensive death investigations for individuals where a death is
                   caused by or suspected to have been caused by an opioid or synthetic
                   opioid overdose, whether intentional or accidental.

             6.    Indigent burial for unclaimed remains resulting from overdose deaths.

             7.    Navigation-to-care services for individuals with opioid use disorder who
                   are encountered by the medical examiner’s office as either family and/or
                   social network members of decedents dying of opioid overdose.

             8.    Epidemiologic data management and reporting to public health and public
                   safety stakeholders regarding opioid overdose fatalities.




                                         Exhibit N
                                             26
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 163 of 238. PageID #: 576073




    List of New York Subdivisions and Special Districts Represented by Napoli Shkolnik
                        PLLC and Simmons Hanly Conroy LLC



                                Napoli Shkolnik New York Clients

       Allegany County
       Amherst Town
       Amsterdam City
       Auburn City
       Buffalo City
       Cattaraugus County
       Cayuga County
       Chautauqua County
       Cheektowaga Town
       Chemung County
       Chenango County
       Clinton County
       Cortland County
       Essex County
       Franklin County
       Genesee County
       Hamilton County
       Ithaca City
       Kingston City
       Lancaster Town
       Livingston County
       Madison County
       Mount Vernon City
       Nassau County
       Niagara County
       Ogdensburg City
       Orleans County
       Otsego County
       Poughkeepsie City
       Poughkeepsie Town
       Putnam County
       Rensselaer County
       Rochester City
       Saratoga Springs City
       Schoharie County

                                            Exhibit O
                                               1
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 164 of 238. PageID #: 576074




       Schuyler County
       Steuben County
       Tioga County
       Tompkins County
       Tonawanda Town
       Warren County
       Westchester County
       Saratoga County
       Yates County

                     Simmons Hanley Conroy LLC New York Clients

       Broome County
       Columbia County
       Dutchess County
       Erie County
       Fulton County
       Greene County
       Herkimer County
       Lewis County
       Monroe County
       New York City
       Ontario County
       Orange County
       Oswego County
       Schenectady County
       Seneca County
       St Lawrence County
       Suffolk County
       Sullivan County
       Ulster County
       Washington County
       Wyoming County




                                      Exhibit O
                                         2
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 165 of 238. PageID #: 576075




                                    Case Management Order




 SUPREME COURT OF THE STATE OF NEW YORK
 COUNTY OF SUFFOLK
                                                          Index No. 400000/2017
  IN RE OPIOID LITIGATION
                                                          Hon. Jerry Garguilo



    CASE MANAGEMENT ORDER APPLICABLE TO NON-SETTLED PLAINTIFFS
           ASSERTING CLAIMS AGAINST SETTLING DEFENDANTS

        This Case Management Order (“CMO”) shall apply to all plaintiffs with cases pending as

 of [Date of Final Court Approval of Settlement] against Settling Defendants and to all new

 plaintiffs filing cases after that date against Settling Defendants (collectively, “Plaintiff’ or

 “Plaintiffs”), whose claims are pending in this coordinated proceeding and not released by the

 Settlement Agreement in this action entered into on [settlement date] (“Settlement Agreement”).

 As used herein, “Settling Defendants” refers to McKesson Corporation, Cardinal Health, Inc.,

 AmerisourceBergen Corporation, and all Released Entities as that term is defined in the Settlement

 Agreement. Pursuant to the order of the Coordination Panel, all such new cases filed in the State

 of New York shall be assigned to the In re Opioid Litigation pending before this Court and shall

 be subject to the terms of this CMO.

        Good cause appearing, it is ordered as follows:




                                             Exhibit P
                                                 1
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 166 of 238. PageID #: 576076




        A.      Plaintiffs’ Requirement to Produce Certain Specified Information About

 Their Claims

 1. Plaintiffs’ Production Requirements. Each Plaintiff shall serve the following documents

 and/or information upon counsel for Settling Defendants:

                        (a)     Fact Sheet. If not already completed, executed, and served, each

 Plaintiff shall serve upon the Settling Defendants within the deadlines specified herein a

 completed copy of the Fact Sheet, attached as Exhibit A to Case Management Order No. 2 (see

 NYSCEF No. 543). Each Plaintiff that has already completed, executed, and served a compliant

 Fact Sheet shall serve upon the Settling Defendants within the deadlines specified herein an

 updated Fact Sheet reflecting any material change in the facts underlying the Plaintiff’s claims or

 shall affirm that no such material change applies. Simultaneously with its service of its Fact

 Sheet or affirmation, each Plaintiff shall serve upon Settling Defendants a verified statement

 under oath setting forth how each element of their claims has not been resolved pursuant to the

 terms of the Settlement and the state and regional abatement fund provided therein.

                        (b)     Record Production.

                                (i)     Each Plaintiff shall produce all records establishing the

 existence of each of their claims. If Plaintiff claims the existence of a public nuisance, Plaintiff

 shall produce all records establishing the existence of a public nuisance, a definition of the

 nuisance and evidence to support its existence, and all records supporting a claim for nuisance

 “abatement” relief (including without limitation a categorization and itemization of any

 requested nuisance abatement relief and evidence to support each component of such relief).

                                (ii)    Each Plaintiff shall produce all records supporting a claim

 of damages or any other type of monetary relief, including but not limited to abatement remedies



                                               Exhibit P
                                                   2
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 167 of 238. PageID #: 576077




 or any other injunctive relief that would require any expenditure by the Defendants. Such

 records shall include a categorization and itemization of claimed damages or other type of relief,

 and calculations and evidence for each component of such claimed relief. Each Plaintiff shall

 also specify whether the alleged amounts were paid or reimbursed through a grant, insurance, or

 other third-party source and provide records evidencing such payment or reimbursement.

                                (iii)   For any other relief involving the expenditure of money,

 including expenditures for the provision of services, each Plaintiff shall specify the entities that

 will make the expenditures, when and how long those entities will make the expenditures, and

 the nature and amount of the expenditures, including how they will address any and all alleged

 harms. Each Plaintiff shall produce all documents relied upon in identifying or calculating the

 claimed relief.

                                (iv)    Each Plaintiff seeking any form of relief based directly or

 indirectly upon allegedly unnecessary prescriptions shall identify those prescriptions, to whom

 and by whom the prescriptions were written, the pharmacy that filled each such prescription,

 whether the Plaintiff was reimbursed for them, and the Plaintiff’s basis for identifying the

 prescriptions.

                                (v)     Each Plaintiff seeking any form of relief based directly or

 indirectly upon harm allegedly attributable to prescription opioid orders that the Plaintiff

 contends the Settling Distributors should not have shipped pursuant to a suspicious order

 regulation shall identify those orders, including the date of each such order; the product(s)

 ordered; the quantities ordered; the pharmacy or other dispensing entity that placed the order;

 and the Plaintiff’s basis for identifying the order, including any sources relied upon and

 algorithms used.



                                               Exhibit P
                                                   3
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 168 of 238. PageID #: 576078




                         (c)     Affidavit. An affidavit signed by each Plaintiff and its counsel (i)

 attesting that the Plaintiff has complied with all requirements of the Fact Sheet attached as

 Exhibit A to the Court’s Case Management Order No. 2; (ii) attesting that records have been

 collected in compliance with this CMO; and (iii) attesting that all records collected have been

 produced pursuant to this CMO. If any of the documents or records described in this Section B

 do not exist, the signed affidavit by the Plaintiff and its counsel shall state that fact and the

 reasons, if known, why such materials do not exist.

                         (d)     Expert Reports. Each Plaintiff shall serve on counsel for Settling

 Defendants a case-specific expert report or reports executed by a qualified expert, under oath,

 and subject to the penalties of perjury (a “Case-Specific Expert Report”). The Case-Specific

 Expert Report shall include all matter required to comply with the Rules of the Commercial

 Division of the Supreme Court of the State of New York, including without limitation

 Commercial Division Rule 13, and at least:

                                 (i)     Plaintiff’s Information. The Plaintiff’s name;

                                 (ii)    Expert’s Information. The name, professional address, and

 curriculum vitae of the expert, including a list of all publications authored by the expert within

 the preceding ten (10) years, and the foundation for the expert’s opinion in relation to the

 expert’s professional experience;

                                 (iii)   Plaintiff’s Records. All records reviewed by the expert in

 preparation of the Case-Specific Expert Report;

                                 (iv)    Reliance Materials. All materials relied on by the expert in

 preparation of the Case-Specific Expert Report;




                                                Exhibit P
                                                    4
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 169 of 238. PageID #: 576079




                                (v)        Locations. If the Plaintiff is asserting a public nuisance

 claim, the location(s) where the Plaintiff alleges a public nuisance exists, including with

 specificity how Plaintiff has been affected by such public nuisance and copies of documents

 relied upon, if any, as evidence of such alleged effect.

                                (vi)       Subjects of Report(s). The Case-Specific Expert Report(s)

 must collectively include all matters on which the expert(s) intend to rely, including but not

 limited to the following:

 (1) Whether the Plaintiff’s records reviewed by the expert(s) indicate that the Plaintiff suffered

 any injury or damage and, if so, the nature of the alleged injury or damage;

 (2) Whether the Plaintiff’s records reviewed by the expert(s) indicate the existence of a nuisance

 and, if so, the nature of the nuisance;

 (3) Whether the Plaintiff’s records reviewed by the expert(s) indicate that Settling Defendants

 engaged in any wrongful conduct and, if so, the nature and details of that conduct (including, but

 not limited to, (a) any allegedly unnecessary prescriptions or (b) any specific orders of

 prescription opioids that the expert opines that the Settling Defendants should not have shipped),

 and the basis for identifying (a) or (b) as wrongful;

 (4) An opinion that there is in fact a causal relationship between the individual Plaintiff’s claims

 and Settling Defendants’ alleged conduct and the basis for that opinion;

 (5) An opinion quantifying the relief requested by the Plaintiff, including any “abatement” relief,

 damages, statutory penalties, and any other claim for damages or any other monetary relief,

 including but not limited to abatement remedies or any other injunctive relief that would require

 any expenditure by the Defendants, with specific detailed calculations and evidence for each




                                                  Exhibit P
                                                      5
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 170 of 238. PageID #: 576080




 component of such relief, prepared and sworn/affirmed to by such expert and subject to the

 penalties of perjury.

 (6) All computer code, work papers, data, and other sources underlying any calculations or other

 analysis relating to the subject matter of subparagraphs (1) - (5) above and necessary to replicate

 those calculations or analysis.

 2. Deadline to comply.

                         (a)       For each Plaintiff with claims pending against Settling Defendants

 as of the entry of this CMO, the items required by Section B.1 shall be produced no later than

 [DATE], or ninety (90) days after the date such Plaintiff elects not to settle its claims, whichever

 is sooner.

                         (b)       For each Plaintiff with claims newly filed in or transferred to this

 proceeding against Settling Defendants after the entry of this CMO, the items required by

 Section B.1 shall be produced no later than ninety (90) days after the case is filed in or

 transferred to this proceeding.

 3. Failure to comply.

                         (a)       Notice of Non-Compliance and Opportunity to Cure. If any

 Plaintiff fails to comply with any provision of this Order, Settling Defendants shall provide

 Plaintiff written notice of such non-compliance (“Notice of Non-Compliance”) specifying the

 non-compliance. Upon receipt of a Notice of Non-Compliance, Plaintiff shall have sixty (60)

 days to cure its non-compliance specified in the Notice of Non-Compliance. During the period

 wherein non-compliance has not yet been cured, all litigation deadlines applicable to Settling

 Defendants, including without limitation deadlines for discovery or to file and serve a pleading

 or motion responsive to a Plaintiff’s complaint, shall be held in abeyance.



                                                  Exhibit P
                                                     6
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 171 of 238. PageID #: 576081




                        (b)     Failure to Cure. If, after the passage of sixty (60) days of service

 of a Notice of Non-Compliance, a Plaintiff fails to cure its non-compliance, upon application by

 the Settling Defendants, the Plaintiff’s claims, as well as any derivative claim(s), will be

 dismissed with prejudice as against Settling Defendants.

                        (c)     Extensions of Time. The Court, on motion and for good cause

 shown, may order an extension of the time to comply with this Order.

                        (d)     The Plaintiff shall be permitted to supplement the disclosures

 described in Sections B.1, including expert reports, and C only to extent appropriate to address

 factual information that the Plaintiff did not have access to and could not reasonably have

 obtained by the deadline under this Order, including any extension granted by the Court for good

 cause. Any such supplementation must be made promptly upon receipt of the information that

 was previously unavailable. This opportunity to supplement does not relieve the Plaintiff of its

 responsibility to comply with this CMO fully and completely on the basis of information within

 its possession or that it reasonably could obtain at the time compliance is first required. No lay

 or expert testimony may be offered at trial by the Plaintiff on any subject described in Sections

 B-1 and C that is not disclosed fully and at the times required by this Order.

        B.      Discovery on Statute of Limitations and Other Time-Based Defenses

 1. Each Plaintiff must, within the time frames established by Section B.2, serve upon counsel

 for the Settling Defendants an affidavit signed by the Plaintiff and its counsel providing the

 following information: (1) the date the Plaintiff first learned that the harms alleged in its

 complaint may be related to Settling Defendants’ conduct; (2) how the Plaintiff first learned the

 harms alleged in its complaint may be related to Settling Defendants’ conduct; (3) the date the

 Plaintiff first spoke to or corresponded with an attorney about potential litigation against Settling



                                               Exhibit P
                                                   7
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 172 of 238. PageID #: 576082




 Defendants or any other party concerning the conduct or harms alleged in its Complaint; and (4)

 the date the Plaintiff first retained counsel for litigation relating to those alleged conduct or

 harms. Settling Defendants are permitted to serve written discovery on each Plaintiff related to

 these topics (and others), and each such Plaintiff must respond to the discovery prior to any

 depositions related to these topics, provided that the Plaintiff shall have at least thirty (30) days

 to respond to such discovery.

        C.      Further Proceedings

        Within 30 days following the completion of all disclosures required by this Order, or 30

 days following the Court’s resolution of any dispute concerning the adequacy of those

 disclosures, whichever is later, Settling Defendants may file a motion to dismiss the Complaint.

 Settling Defendants may also submit Frye motions or move for summary judgment on the

 ground that Plaintiff’s claims fail as a matter of law based on the expert reports and other

 disclosures required under Sections B and C of this Order. Until further order of the Court, all

 proceedings in these cases other than those set forth in this Order shall be stayed.

  SO ORDERED
  Dated:
                                                        Jerry Garguilo
                                                        Justice




                                                Exhibit P
                                                    8
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 173 of 238. PageID #: 576083




                                   List of States

 1.    Alabama                               44.    South Carolina
 2.    Alaska                                45.    South Dakota
 3.    American Samoa                        46.    Tennessee
 4.    Arizona                               47.    Texas
 5.    Arkansas                              48.    United States Virgin Islands
 6.    California                            49.    Utah
 7.    Colorado                              50.    Vermont
 8.    Connecticut                           51.    Virginia
 9.    Delaware                              52.    Washington
 10.   Florida                               53.    Washington, District of Columbia
 11.   Georgia                               54.    Wisconsin
 12.   Guam                                  55.    Wyoming
 13.   Hawaii
 14.   Idaho
 15.   Illinois
 16.   Indiana
 17.   Iowa
 18.   Kansas
 19.   Kentucky
 20.   Louisiana
 21.   Maine
 22.   Maryland
 23.   Massachusetts
 24.   Michigan
 25.   Minnesota
 26.   Mississippi
 27.   Missouri
 28.   Montana
 29.   Nebraska
 30.   Nevada
 31.   New Hampshire
 32.   New Jersey
 33.   New Mexico
 34.   New York
 35.   North Carolina
 36.   North Dakota
 37.   Northern Mariana Islands
 38.   Ohio
 39.   Oklahoma
 40.   Oregon
 41.   Pennsylvania
 42.   Puerto Rico
 43.   Rhode Island
                                     Exhibit Q
                                         1
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 174 of 238. PageID #: 576084




                          Proposed Injunctive Relief Term Sheet



                    DISTRIBUTOR INJUNCTIVE RELIEF TERMS


 I.     INTRODUCTION

        A.   Within ninety (90) days of the Effective Date unless otherwise set forth herein,
             each Injunctive Relief Distributor shall implement the injunctive relief terms set
             forth in Sections II through XIX (the “Injunctive Relief Terms”) in its Controlled
             Substance Monitoring Program (“CSMP”).

        B.   The Effective Date of these Injunctive Relief Terms shall be defined by Section
             I.P of the Settlement Agreement, dated as of July [●], 2021, which incorporates
             these Injunctive Relief Terms as Exhibit P.

 II.    TERM AND SCOPE

        A.   The duration of the Injunctive Relief Terms contained in Sections IV through XVI
             shall be ten (10) years from the Effective Date.

        B.   McKesson Corporation, Cardinal Health, Inc., and AmerisourceBergen
             Corporation are referred to collectively throughout these Injunctive Relief Terms
             as the “Injunctive Relief Distributors” or individually as an “Injunctive Relief
             Distributor.” Each Injunctive Relief Distributor is bound by the terms herein.

        C.   The requirements contained in Sections VIII through XV shall apply to the
             distribution of Controlled Substances to Customers by each Injunctive Relief
             Distributor’s Full-Line Wholesale Pharmaceutical Distribution Business,
             including by any entities acquired by the Injunctive Relief Distributors that are
             engaged in the Full-Line Wholesale Pharmaceutical Distribution Business. The
             prior sentence is not limited to activity physically performed at each Injunctive
             Relief Distributor’s distribution centers and includes activity covered by the prior
             sentence performed by each Injunctive Relief Distributor at any physical location,
             including at its corporate offices or at the site of a Customer with respect to
             Sections III through XV.

 III.   DEFINITIONS

        A.   “Audit Report.” As defined in Section XVIII.H.3.

        B.   “Chain Customers.” Chain retail pharmacies that have centralized corporate
             headquarters and have multiple specific retail pharmacy locations from which
             Controlled Substances are dispensed to individual patients.

                                           Exhibit R
                                              1
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 175 of 238. PageID #: 576085




       C.    “Chief Diversion Control Officer.” As defined in Section IV.A.

       D.    “Clearinghouse.” The system established by Section XVII.

       E.    “Clearinghouse Advisory Panel.” As defined in Section XVII.B.4.

       F.    “Controlled Substances.” Those substances designated under schedules II-V
             pursuant to the federal Controlled Substances Act and the laws and regulations of
             the Settling States that incorporate federal schedules II-V. For purposes of the
             requirements of the Injunctive Relief Terms, Gabapentin shall be treated as a
             Controlled Substance except for purposes of Section XII for Customers located in
             States that do not regulate it as a controlled substance or similar designation (e.g.,
             drug of concern).

       G.    “Corrective Action Plan.” As defined in Section XIX.B.7.b.

       H.    “CSMP.” As defined in Section I.A.

       I.    “CSMP Committee.” As defined in Section VI.A.

       J.    “Customers.” Refers collectively to current, or where applicable potential, Chain
             Customers and Independent Retail Pharmacy Customers. “Customers” do not
             include long-term care facilities, hospital pharmacies, and pharmacies that serve
             exclusively inpatient facilities.

       K.    “Data Security Event.” Refers to any compromise, or threat that gives rise to a
             reasonable likelihood of compromise, by unauthorized access or inadvertent
             disclosure impacting the confidentiality, integrity, or availability of Dispensing
             Data.

       L.    “Dispensing Data” Includes, unless altered by the Clearinghouse Advisory Panel,
             (i) unique patient IDs; (ii) patient zip codes; (iii) the dates prescriptions were
             dispensed; (iv) the NDC numbers of the drugs dispensed; (v) the quantities of
             drugs dispensed; (vi) the day’s supply of the drugs dispensed; (vii) the methods of
             payment for the drugs dispensed; (viii) the prescribers’ names; (ix) the
             prescribers’ NPI or DEA numbers; (x) and the prescribers’ zip codes or addresses.
             The Clearinghouse will be solely responsible for collecting Dispensing Data.

       M.    “Draft Report.” As defined in Section XVIII.H.1.

       N.    “Effective Date.” As defined in Section I.B.

       O.    “Full-Line Wholesale Pharmaceutical Distribution Business.” Activity engaged
             in by distribution centers with a primary business of supplying a wide range of
             branded, generic, over-the-counter and specialty pharmaceutical products to
             Customers.



                                           Exhibit R
                                               2
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 176 of 238. PageID #: 576086




       P.    “Highly Diverted Controlled Substances.” Includes: (i) oxycodone; (ii)
             hydrocodone; (iii) hydromorphone; (iv) tramadol; (v) oxymorphone; (vi)
             morphine; (vii) methadone; (viii) carisoprodol; (ix) alprazolam; and (x) fentanyl.
             The Injunctive Relief Distributors shall confer annually and review this list to
             determine whether changes are appropriate and shall add Controlled Substances to
             the list of Highly Diverted Controlled Substances as needed based on information
             provided by the DEA and/or other sources related to drug diversion trends. The
             Injunctive Relief Distributors shall notify the State Compliance Review
             Committee and the Monitor of any additions to the list of Highly Diverted
             Controlled Substances. Access to Controlled Substances predominately used for
             Medication-Assisted Treatment shall be considered when making such additions.

       Q.    “Independent Retail Pharmacy Customers.” Retail pharmacy locations that do not
             have centralized corporate headquarters and dispense Controlled Substances to
             individual patients.

       R.    “Injunctive Relief Distributors.” As defined in Section II.B.

       S.    “Injunctive Relief Terms.” As defined in Section I.A.

       T.    “Monitor.” As defined in Section XVIII.A.

       U.    “National Arbitration Panel.” As defined by Section I.GG of the Settlement
             Agreement, dated as of July [●], 2021, which incorporates these Injunctive Relief
             Terms as Exhibit P.

       V.    “NDC.” National Drug Code.

       W.    “Non-Controlled Substance.” Prescription medications that are not Controlled
             Substances.

       X.    “Notice of Potential Violation.” As defined in Section XIX.B.2.

       Y.    “Order.” A unique Customer request on a specific date for (i) a certain amount of
             a specific dosage form or strength of a Controlled Substance or (ii) multiple
             dosage forms and/or strengths of a Controlled Substance. For the purposes of this
             definition, each line item on a purchasing document or DEA Form 222 is a
             separate order, except that a group of line items either in the same drug family or
             DEA base code (based upon the structure of a Injunctive Relief Distributor’s
             CSMP) may be considered to be a single order.

       Z.    “Pharmacy Customer Data.” Aggregated and/or non-aggregated data provided by
             the Customer for a 90-day period.

             1.     To the extent feasible based on the functionality of a Customer’s
                    pharmacy management system, Pharmacy Customer Data shall contain
                    (or, in the case of non-aggregated data, shall be sufficient to determine)
                    the following:

                                           Exhibit R
                                              3
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 177 of 238. PageID #: 576087




                    a)     A list of the total number of prescriptions and dosage units for each
                           NDC for all Controlled Substances and non-Controlled
                           Substances;

                    b)     A list of the top five prescribers of each Highly Diverted
                           Controlled Substance by dosage volume and the top ten prescribers
                           of all Highly Diverted Controlled Substances combined by dosage
                           volume. For each prescriber, the data shall include the following
                           information:

                           (1)     Number of prescriptions and doses prescribed for each
                                   Highly Diverted Controlled Substance NDC;

                           (2)     Number of prescriptions for each unique dosage amount
                                   (number of pills per prescription) for each Highly Diverted
                                   Controlled Substance NDC;

                           (3)     Prescriber name, DEA registration number, and address;
                                   and

                           (4)     Medical practice/specialties, if available;

                    c)     Information on whether the method of payment was cash for (a)
                           Controlled Substances, and (b) non-Controlled Substances; and

                    d)     Information on top ten patient residential areas by five-digit ZIP
                           code prefix for filled Highly Diverted Controlled Substances by
                           dosage volume, including number of prescriptions and doses for
                           each Highly Diverted Controlled Substance NDC.

             2.     Injunctive Relief Distributors are not required to obtain Pharmacy
                    Customer Data for all Customers. Pharmacy Customer Data only needs to
                    be obtained under circumstances required by the Injunctive Relief Terms
                    and the applicable CSMP policies and procedures. Each Injunctive Relief
                    Distributor’s CSMP policies and procedures shall describe the appropriate
                    circumstances under which and methods to be used to obtain and analyze
                    Pharmacy Customer Data.

             3.     Injunctive Relief Distributors shall only collect, use, disclose or retain
                    Pharmacy Customer Data consistent with applicable federal and state
                    privacy and consumer protections laws. Injunctive Relief Distributors
                    shall not be required to collect, use, disclose or retain any data element
                    that is prohibited by law or any element that would require notice to or
                    consent from the party who is the subject of the data element, including
                    but not limited to a third party (such as a prescriber) to permit collection,
                    use, disclosure and/or retention of the data.

       AA.   “Potential Violation.” As defined in Section XIX.B.1.

                                           Exhibit R
                                               4
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 178 of 238. PageID #: 576088




       BB.   “Reporting Periods.” As defined in Section XVIII.C.1.

       CC.   “Settling State.” As defined by Section I.OOO of the Settlement Agreement,
             dated as of July [●], 2021, which incorporates these Injunctive Relief Terms as
             Exhibit P.

       DD.   “State Compliance Review Committee.” The initial State Compliance Review
             Committee members are representatives from the Attorneys General Offices of
             Connecticut, Florida, New York, North Carolina, Tennessee, and Texas. The
             membership of the State Compliance Review Committee may be amended at the
             discretion of the Settling States.

       EE.   “Suspicious Orders.” As defined under federal law and regulation and the laws
             and regulations of the Settling States that incorporate the federal Controlled
             Substances Act. Suspicious Orders currently include, but are not limited to, orders
             of unusual size, orders deviating substantially from a normal pattern, and orders
             of unusual frequency.

       FF.   “Threshold.” The total volume of a particular drug family, DEA base code, or a
             particular formulation of a Controlled Substance that an Injunctive Relief
             Distributor shall allow a Customer to purchase in any particular period. This term
             may be reassessed during Phase 2-B of the Clearinghouse.

       GG.   “Third Party Request.” A request from an entity other than an Injunctive Relief
             Distributor, a Settling State, or the Monitor pursuant to a subpoena, court order,
             data practices act, freedom of information act, public information act, public
             records act, or similar law.

       HH.   “Top Prescriber.” A prescriber who, for a Customer, is either (i) among the top
             five (5) prescribers of each Highly Diverted Controlled Substance or (ii) among
             the top ten (10) prescribers of Highly Diverted Controlled Substances combined,
             as determined from the most recent Pharmacy Customer Data for that Customer.

 IV.   CSMP PERSONNEL

       A.    Each Injunctive Relief Distributor shall establish or maintain the position of Chief
             Diversion Control Officer, or other appropriately titled position, to oversee the
             Injunctive Relief Distributor’s CSMP. The Chief Diversion Control Officer shall
             have appropriate experience regarding compliance with the laws and regulations
             concerning Controlled Substances, in particular laws and regulations requiring
             effective controls against the potential diversion of Controlled Substances. The
             Chief Diversion Control Officer shall report directly to either the senior executive
             responsible for U.S. pharmaceutical distribution or the most senior legal officer at
             the Injunctive Relief Distributor.

       B.    The Chief Diversion Control Officer shall be responsible for the approval of
             material revisions to the CSMP.


                                           Exhibit R
                                               5
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 179 of 238. PageID #: 576089




       C.    The Chief Diversion Control Officer shall provide at least quarterly reports to the
             CSMP Committee regarding the Injunctive Relief Distributor’s operation of the
             CSMP, including the implementation of any changes to the CSMP required by
             these Injunctive Relief Terms.

       D.    An Injunctive Relief Distributor’s CSMP functions, including but not limited to
             the onboarding and approval of new Customers for the sale of Controlled
             Substances, setting and adjusting Customer Thresholds for Controlled Substances,
             terminating or suspending Customers, and submitting Suspicious Orders and other
             reports to Settling States (or the Clearinghouse, when operational), but excluding
             support necessary to perform these functions, shall be conducted exclusively by
             the Injunctive Relief Distributor’s CSMP personnel or qualified third-party
             consultants.

       E.    Staffing levels of each Injunctive Relief Distributor’s CSMP department shall be
             reviewed periodically, but at least on an annual basis, by the Injunctive Relief
             Distributor’s CSMP Committee. This review shall include consideration of
             relevant developments in technology, law, and regulations to ensure the necessary
             resources are in place to carry out the program in an effective manner.

       F.    Personnel in an Injunctive Relief Distributor’s CSMP department shall not report
             to individuals in an Injunctive Relief Distributor’s sales department, and sales
             personnel shall not be authorized to make decisions regarding the promotion,
             compensation, demotion, admonition, discipline, commendation, periodic
             performance reviews, hiring, or firing of CSMP personnel.

       G.    The CSMP policies and procedures shall be published in a form and location
             readily accessible to all CSMP personnel at each Injunctive Relief Distributor.

 V.    INDEPENDENCE

       A.    For each Injunctive Relief Distributor, sales personnel compensated with
             commissions shall not be compensated based on revenue or profitability targets or
             expectations for sales of Controlled Substances. However, each Injunctive Relief
             Distributor’s personnel may, as applicable, be compensated (including incentive
             compensation) based on formulas that include total sales for all of the Injunctive
             Relief Distributor’s products, including Controlled Substances. The compensation
             of sales personnel shall not include incentive compensation tied solely to sales of
             Controlled Substances.

       B.    For any Injunctive Relief Distributor personnel who are compensated at least in
             part based on Customer sales, the Injunctive Relief Distributor shall ensure the
             compensation of such personnel is not decreased by a CSMP-related suspension
             or termination of a Customer or as a direct result of the reduction of sales of
             Controlled Substances to a Customer pursuant to the CSMP.

       C.    The Injunctive Relief Distributors’ sales personnel shall not be authorized to
             make decisions regarding the implementation of CSMP policies and procedures,
                                          Exhibit R
                                              6
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 180 of 238. PageID #: 576090




             the design of the CSMP, the setting or adjustment of Thresholds, or other actions
             taken pursuant to the CSMP, except sales personnel must provide information
             regarding compliance issues to CSMP personnel promptly. The Injunctive Relief
             Distributors’ sales personnel are prohibited from interfering with, obstructing, or
             otherwise exerting control over any CSMP department decision-making.

       D.    Each Injunctive Relief Distributor shall review its compensation and non-
             retaliation policies and, if necessary, modify and implement changes to those
             policies to effectuate the goals of, and incentivize compliance with, the CSMP.

       E.    Each Injunctive Relief Distributor shall maintain a telephone, email, and/or web-
             based “hotline” to permit employees and/or Customers to anonymously report
             suspected diversion of Controlled Substances or violations of the CSMP,
             Injunctive Relief Distributor company policy related to the distribution of
             Controlled Substances, or applicable law. Each Injunctive Relief Distributor shall
             share the hotline contact information with their employees and Customers. Each
             Injunctive Relief Distributor shall maintain all complaints made to the hotline,
             and document the determinations and bases for those determinations made in
             response to all complaints.

 VI.   OVERSIGHT

       A.    To the extent not already established, each Injunctive Relief Distributor shall
             establish a committee that includes senior executives with responsibility for legal,
             compliance, distribution and finance to provide oversight over its CSMP (the
             “CSMP Committee”). The Chief Diversion Control Officer shall be a member of
             the CSMP Committee. The CSMP Committee shall not include any employee(s)
             or person(s) performing any sales functions on behalf of the Injunctive Relief
             Distributor; provided that service on the CSMP Committee by any senior
             executives listed in this paragraph whose responsibilities may include, but are not
             limited to, management of sales functions shall not constitute a breach of the
             Injunctive Relief Terms.

       B.    Each Injunctive Relief Distributor’s CSMP Committee shall have regular
             meetings during which the Chief Diversion Control Officer shall present to the
             CSMP Committee with respect to, and the CSMP Committee shall evaluate,
             among other things: (1) any material modifications and potential enhancements to
             the CSMP including, but not limited to, those relating to Customer due diligence
             and Suspicious Order monitoring and reporting; (2) any significant new national
             and regional diversion trends involving Controlled Substances; (3) the Injunctive
             Relief Distributor’s adherence to the CSMP policies and procedures, the
             Injunctive Relief Terms, and applicable laws and regulations governing the
             distribution of Controlled Substances; and (4) any technology, staffing, or other
             resource needs for the CSMP. The CSMP Committee shall have access to all
             CSMP reports. The CSMP Committee will review and approve the specific
             metrics used to identify the Red Flags set forth in Section VIII.


                                           Exhibit R
                                              7
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 181 of 238. PageID #: 576091




        C.   On a quarterly basis, each Injunctive Relief Distributor’s CSMP Committee shall
             send a written report to the Injunctive Relief Distributor’s Chief Executive, Chief
             Financial, and Chief Legal Officer, as well as its Board of Directors, addressing:
             (1) the Injunctive Relief Distributor’s substantial adherence to the CSMP policies
             and procedures, the Injunctive Relief Terms, and applicable laws and regulations
             governing the distribution of Controlled Substances; (2) recommendations as
             appropriate about the allocation of resources to ensure the proper functioning of
             the Injunctive Relief Distributor’s CSMP; and (3) significant revisions to the
             CSMP. The Board of Directors or a committee thereof at each Injunctive Relief
             Distributor shall document in its minutes its review of the quarterly CSMP
             Committee reports.

        D.   To the extent not already established, the Board of Directors of each Injunctive
             Relief Distributor shall establish its own compliance committee ( the “Board
             Compliance Committee”) to evaluate, at a minimum, and on a quarterly basis: (1)
             the CSMP Committee’s written reports; (2) the Injunctive Relief Distributor’s
             substantial adherence to the CSMP policies and procedures, the Injunctive Relief
             Terms, and applicable laws and regulations governing the distribution of
             Controlled Substances; (3) the Injunctive Relief Distributor’s code of conduct and
             any whistleblower reporting policies, including those prescribed by Section V.E;
             and (4) any significant regulatory and/or government enforcement matters within
             the review period relating to the distribution of Controlled Substances. An
             Injunctive Relief Distributor meets this requirement if it established, prior to the
             Effective Date, multiple committees of its Board of Directors that together have
             responsibilities outlined in this paragraph.

        E.   The Board Compliance Committee shall have the authority to: (1) require
             management of the Injunctive Relief Distributor to conduct audits on any CSMP
             or legal and regulatory concern pertaining to Controlled Substances distribution,
             and to update its full Board of Directors on those audits; (2) to commission
             studies, reviews, reports, or surveys to evaluate the Injunctive Relief Distributor’s
             CSMP performance; (3) request meetings with the Injunctive Relief Distributor’s
             management and CSMP staff; and (4) review the appointment, compensation,
             performance, and replacement of the Injunctive Relief Distributor’s Chief
             Diversion Control Officer.

 VII.   MANDATORY TRAINING

        A.   Each Injunctive Relief Distributor shall require all new CSMP personnel to attend
             trainings on its CSMP, its obligations under the Injunctive Relief Terms, and its
             duties with respect to maintaining effective controls against potential diversion of
             Controlled Substances and reporting Suspicious Orders pursuant to state and
             federal laws and regulations prior to conducting any compliance activities for the
             Injunctive Relief Distributor without supervision.

        B.   Each Injunctive Relief Distributor shall provide annual trainings to CSMP
             personnel on its CSMP, its obligations under the Injunctive Relief Terms, and its

                                           Exhibit R
                                               8
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 182 of 238. PageID #: 576092




             duties to maintain effective controls against potential diversion of Controlled
             Substances and report Suspicious Orders pursuant to state and federal laws and
             regulations.

       C.    On an annual basis, each Injunctive Relief Distributor shall test its CSMP
             personnel on their knowledge regarding its CSMP, its obligations under the
             Injunctive Relief Terms, and its duties to maintain effective controls against
             potential diversion of Controlled Substances and to report Suspicious Orders
             pursuant to state and federal laws and regulations.

       D.    Each Injunctive Relief Distributor shall train all third-party compliance
             consultants (defined as non-employees who are expected to devote 50% or more
             of their time to performing work related to the Injunctive Relief Distributor’s
             CSMP, excluding information technology consultants not engaged in substantive
             functions related to an Injunctive Relief Distributor’s CSMP) performing
             compliance functions for the Injunctive Relief Distributor in the same manner as
             the Injunctive Relief Distributor’s CSMP personnel.

       E.    At least every three (3) years in the case of existing employees, and within the
             first six months of hiring new employees, each Injunctive Relief Distributor shall
             require operations, sales, and senior executive employees to attend trainings on its
             CSMP, its obligations under the Injunctive Relief Terms, the hotline established
             in Section V.E, and its duties to maintain effective controls against potential
             diversion of Controlled Substances and report Suspicious Orders pursuant to state
             and federal laws and regulations.

 VIII. RED FLAGS

       A.    Within one hundred and twenty days (120) of the Effective Date, each Injunctive
             Relief Distributor shall, at a minimum, apply specific metrics to identify the
             potential Red Flags described in Section VIII.D with respect to Independent
             Retail Pharmacy Customers. For Chain Customers, the metrics used to identify
             the Red Flags described in Section VIII.D may be adjusted based on the specific
             business model and supplier relationships of the Chain Customer.

       B.    Each Injunctive Relief Distributor shall evaluate and, if necessary, enhance or
             otherwise adjust the specific metrics it uses to identify Red Flags set forth in
             Section VIII.D.

       C.    Each Injunctive Relief Distributor shall provide annually to the Monitor the
             specific metrics it uses to identify Red Flags as set forth in Section VIII.D. The
             Monitor shall review the metrics used to identify Red Flags as set forth in Section
             VIII.D to assess whether the metrics are reasonable. The Monitor may, at its
             discretion, suggest revisions to the metrics in the annual Audit Report as part of
             the Red Flags Review set forth in Section XVIII.F.3.f. Each Injunctive Relief
             Distributor may rely on its specific metrics to comply with the requirements of



                                           Exhibit R
                                               9
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 183 of 238. PageID #: 576093




             Section VIII unless and until the Monitor proposes a revised metric in connection
             with Section XVIII.H.

       D.    For purposes of the Injunctive Relief Terms, “Red Flags” are defined as follows:

             1.     Ordering ratio of Highly Diverted Controlled Substances to non-
                    Controlled Substances: Analyze the ratio of the order volume of all
                    Highly Diverted Controlled Substances to the order volume of all non-
                    Controlled Substances to identify Customers with significant rates of
                    ordering Highly Diverted Controlled Substances.

             2.     Ordering ratio of Highly Diverted Controlled Substance select base
                    codes or drug families to non-Controlled Substances: Analyze the ratio
                    of the order volume of each Highly Diverted Controlled Substance base
                    code or drug family to the total order volume of all non-Controlled
                    Substances to identify Customers with significant rates of ordering each
                    Highly Diverted Controlled Substance base code or drug family.

             3.     Excessive ordering growth of Controlled Substances: Analyze
                    significant increases in the ordering volume of Controlled Substances
                    using criteria to identify customers that exhibit percentage growth of
                    Controlled Substances substantially in excess of the percentage growth of
                    non-Controlled Substances.

             4.     Unusual formulation ordering: Analyze ordering of Highly Diverted
                    Controlled Substances to identify customers with significant ordering of
                    high-risk formulations. High-risk formulations include, but are not limited
                    to, 10mg hydrocodone, 8mg hydromorphone, 2mg alprazolam, single-
                    ingredient buprenorphine (i.e., buprenorphine without naloxone), and
                    highly-abused formulations of oxycodone. On an annual basis (or as
                    otherwise necessary), high-risk formulations of Highly Diverted
                    Controlled Substances may be added, removed, or revised based on the
                    Injunctive Relief Distributors’ assessment and regulatory guidance.

             5.     Out-of-area patients: Analyze Pharmacy Customer Data or Dispensing
                    Data to assess volume of prescriptions for Highly Diverted Controlled
                    Substances for out-of-area patients (based on number of miles traveled
                    between a patient’s zip code and the pharmacy location, depending on the
                    geographic area of interest) taking into consideration the percentage of
                    out-of-area patients for non-Controlled Substances.

             6.     Cash prescriptions: Analyze Pharmacy Customer Data or Dispensing
                    Data to assess percentage of cash payments for purchases of Controlled
                    Substances taking into consideration the percentage of cash payments for
                    purchases of non-Controlled Substances.

             7.     Prescriber activity of Customers: Analyze Pharmacy Customer Data or
                    Dispensing Data to identify Customers that are dispensing Highly
                                          Exhibit R
                                             10
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 184 of 238. PageID #: 576094




                    Diverted Controlled Substance prescriptions for Top Prescribers as
                    follows:

                    a)     Top Prescribers representing a significant volume of dispensing
                           where the prescriber’s practice location is in excess of 50 miles
                           from the pharmacy (“out-of-area”), relative to the percentage of
                           out-of-area prescriptions for non-Controlled Substances.

                    b)     Top Prescribers representing prescriptions for the same Highly
                           Diverted Controlled Substances in the same quantities and dosage
                           forms indicative of pattern prescribing (e.g., a prescriber providing
                           many patients with the same high-dose, high-quantity supply of
                           30mg oxycodone HCL prescription without attention to the
                           varying medical needs of the prescriber’s patient population).

                    c)     Top Prescribers where the top five (5) or fewer prescribers
                           represent more than 50% of total prescriptions for Highly Diverted
                           Controlled Substances during a specified period.

             8.     Public regulatory actions against Customers: Review information
                    retrieved from companies that provide licensing and disciplinary history
                    records (e.g., LexisNexis), and/or other public sources, including
                    governmental entities, showing that the Customer, pharmacists working
                    for that Customer, or the Customer’s Top Prescribers have been subject, in
                    the last five (5) years, to professional disciplinary sanctions regarding the
                    dispensing or handling of Controlled Substances or law enforcement
                    action related to Controlled Substances diversion. Continued licensing by
                    a relevant state agency may be considered, but shall not be dispositive, in
                    resolving the Red Flag. For Chain Customer locations, representations
                    from each Chain Customer that it reviews its pharmacists’ licensing
                    statuses annually and for the regulatory actions described in this paragraph
                    has either (i) taken appropriate employment action, or (ii) disclosed the
                    regulatory action to the Injunctive Relief Distributor, may be considered in
                    resolving the Red Flag.

             9.     Customer termination data: Review information from the Injunctive
                    Relief Distributor’s due diligence files and, when operable, from the
                    Clearinghouse, subject to Section VIII.F, regarding Customers that have
                    been terminated from ordering Controlled Substances by another
                    distributor due to concerns regarding Controlled Substances.

       E.    For any Red Flag evaluation in Section VIII.D that may be performed using
             Pharmacy Customer Data or Dispensing Data, an Injunctive Relief Distributor
             will analyze the Red Flag using Pharmacy Customer Data, to the extent feasible
             based on the functionality of a Customer’s pharmacy management system, until
             Dispensing Data is collected and analyzed by the Clearinghouse as described in
             Section XVII. Until Dispensing Data is collected and analyzed by the

                                          Exhibit R
                                             11
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 185 of 238. PageID #: 576095




             Clearinghouse, an Injunctive Relief Distributor may satisfy the Red Flag
             evaluations in Sections VIII.D.5 through VIII.D.7 by engaging in considerations
             of out-of-area patients, cash payments for prescriptions and Top Prescribers
             without satisfying the specific requirements of Sections VIII.D.5 through
             VIII.D.7. In the event that the Clearinghouse is not collecting and analyzing
             Dispensing Data within two years of the Effective Date, the Injunctive Relief
             Distributors and the State Compliance Review Committee shall meet and confer
             to consider alternatives for the performance of the analysis required by Sections
             VIII.D.5 through VIII.D.7 using Pharmacy Customer Data.

       F.    As provided for in Section XVII.C.4, the foregoing Red Flag evaluations may be
             performed by the Clearinghouse and reported to the relevant Injunctive Relief
             Distributors.

       G.    The Injunctive Relief Distributors and the State Compliance Review Committee
             shall work in good faith to identify additional potential Red Flags that can be
             derived from the data analytics to be performed by the Clearinghouse.

 IX.   ONBOARDING

       A.    For each Injunctive Relief Distributor, prior to initiating the sale of Controlled
             Substances to a potential Customer, a member of the Injunctive Relief
             Distributor’s CSMP department (or a qualified third-party compliance consultant
             trained on the Injunctive Relief Distributor’s CSMP) shall perform the following
             due diligence:

             1.     Interview the pharmacist-in-charge, either over the telephone, via
                    videoconference, or in person. The interview shall include questions
                    regarding the manner in which the potential Customer maintains effective
                    controls against the potential diversion of Controlled Substances.

             2.     Obtain a “Pharmacy Questionnaire” completed by the owner and/or
                    pharmacist-in-charge of the potential Customer. The Pharmacy
                    Questionnaire shall require going-concern potential Customers to list their
                    top ten (10) prescribers for Highly Diverted Controlled Substances
                    combined, along with the prescriber’s specialty, unless the Injunctive
                    Relief Distributor is able to obtain this data otherwise. The Pharmacy
                    Questionnaire shall also require disclosure of the identity of all other
                    distributors that serve the potential Customer, and whether the potential
                    Customer has been terminated or suspended from ordering Controlled
                    Substances by another distributor and the reason for any termination or
                    suspension. The Pharmacy Questionnaire shall request information that
                    would allow the Injunctive Relief Distributor to identify Red Flags,
                    including questions regarding the manner in which the potential Customer
                    maintains effective controls against the potential diversion of Controlled
                    Substances. A potential Customer’s responses to the Pharmacy
                    Questionnaire shall be verified, to the extent applicable and practicable,

                                          Exhibit R
                                             12
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 186 of 238. PageID #: 576096




                    against external sources (for example, the Clearinghouse, once
                    operational, and Automation of Reports and Consolidated Orders System
                    (“ARCOS”) data made available to the Injunctive Relief Distributor by the
                    DEA). The Pharmacy Questionnaire shall be maintained by the Injunctive
                    Relief Distributor in a database accessible to its CSMP personnel.

             3.     Complete a written onboarding report to be maintained in a database
                    accessible to the Injunctive Relief Distributor’s CSMP personnel
                    reflecting the findings of the interview and any site visit, the findings
                    regarding the identification of and, if applicable, conclusion concerning
                    any Red Flag associated with the pharmacy, as well as an analysis of the
                    Pharmacy Questionnaire referenced in the preceding paragraph.

             4.     For going-concern potential Customers, review Pharmacy Customer Data
                    to assist with the identification of any Red Flags.

             5.     Document whether the potential Customer or the pharmacist-in-charge has
                    been subject to any professional disciplinary sanctions or law enforcement
                    activity related to Controlled Substances dispensing, and, if so, the basis
                    for that action. For Chain Customers, this provision shall apply to the
                    potential specific pharmacies in question.

       B.    For Chain Customers, each Injunctive Relief Distributor may obtain the
             information in Section IX.A from a corporate representative of the Chain
             Customer.

       C.    In the event that an Injunctive Relief Distributor identifies one or more unresolved
             Red Flags or other information indicative of potential diversion of Controlled
             Substances through the onboarding process or otherwise, the Injunctive Relief
             Distributor shall refrain from selling Controlled Substances to the potential
             Customer pending additional due diligence. If following additional due diligence,
             the Injunctive Relief Distributor is unable to resolve the Red Flags or other
             information indicative of diversion, the Injunctive Relief Distributor shall not
             initiate the sale of Controlled Substances to the potential Customer and shall
             report the potential Customer consistent with Section XIV. If the Injunctive
             Relief Distributor determines that the potential Customer may be onboarded for
             the sale of Controlled Substances, the Injunctive Relief Distributor shall
             document the decision and the bases for its decision. Such a good faith
             determination, if documented, shall not serve, without more, as the basis of a
             future claim of non-compliance with the Injunctive Relief Terms. For Chain
             Customers, these provisions shall apply to the potential specific pharmacies in
             question.

 X.    ONGOING DUE DILIGENCE

       A.    Each Injunctive Relief Distributor shall periodically review its procedures and
             systems for detecting patterns or trends in Customer order data or other

                                          Exhibit R
                                              13
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 187 of 238. PageID #: 576097




             information used to evaluate whether a Customer is maintaining effective controls
             against diversion.

       B.    Each Injunctive Relief Distributor shall conduct periodic proactive compliance
             reviews of its Customers’ performance in satisfying their corresponding
             responsibilities to maintain effective controls against the diversion of Controlled
             Substances.

       C.    Each Injunctive Relief Distributor shall review ARCOS data made available to it
             by the DEA and, once operational, by the Clearinghouse, to assist with Customer
             specific due diligence. For Chain Customers, this provision shall apply to the
             potential specific pharmacies in question.

       D.    Each Injunctive Relief Distributor shall conduct due diligence as set forth in its
             CSMP policies and procedures in response to concerns of potential diversion of
             Controlled Substances at its Customers. For Chain Customers, these provisions
             shall apply to the specific pharmacies in question. The due diligence required by
             an Injunctive Relief Distributor’s CSMP policies and procedures may depend on
             the information or events at issue. The information or events raising concerns of
             potential diversion of Controlled Substances at a Customer include but are not
             limited to:

             1.     The discovery of one or more unresolved Red Flags;

             2.     The receipt of information directly from law enforcement or regulators
                    concerning potential diversion of Controlled Substances at or by a
                    Customer;

             3.     The receipt of information concerning the suspension or revocation of
                    pharmacist’s DEA registration or state license related to potential
                    diversion of Controlled Substances;

             4.     The receipt of reliable information through the hotline established in
                    Section V.E concerning suspected diversion of Controlled Substances at
                    the Customer;

             5.     The receipt of reliable information from another distributor concerning
                    suspected diversion of Controlled Substances at the Customer; or

             6.     Receipt of other reliable information that the Customer is engaged in
                    conduct indicative of diversion or is failing to adhere to its corresponding
                    responsibility to prevent the diversion of Highly Diverted Controlled
                    Substances.

       E.    On an annual basis, each Injunctive Relief Distributor shall obtain updated
             pharmacy questionnaires from five hundred (500) Customers to include the
             following:


                                           Exhibit R
                                              14
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 188 of 238. PageID #: 576098




             1.      The top 250 Customers by combined volume of Highly Diverted
                     Controlled Substances purchased from the Injunctive Relief Distributor
                     measured as of the end of the relevant calendar year; and

             2.      Additional Customers selected as a representative sample of various
                     geographic regions, customer types (Independent Retail Pharmacy
                     Customers and Chain Customers), and distribution centers. Each
                     Injunctive Relief Distributor’s Chief Diversion Control Officer shall
                     develop risk-based criteria for the sample selection

       F.    Scope of Review

             1.      For reviews triggered by Section X.D, an Injunctive Relief Distributor
                     shall conduct due diligence and obtain updated Pharmacy Customer Data
                     or equivalent, or more comprehensive data from the Clearinghouse if
                     needed, as set forth in its CSMP policies and procedures.

             2.      For questionnaires collected pursuant to Section X.E, Injunctive Relief
                     Distributors shall conduct a due diligence review consistent with the
                     Injunctive Relief Distributors’ CSMP policies and procedures. These
                     annual diligence reviews shall be performed in addition to any of the
                     diligence reviews performed under Section X.D, but may reasonably rely
                     on reviews performed under Section X.D.

             3.      If the Injunctive Relief Distributor decides to terminate the Customer due
                     to concerns regarding potential diversion of Controlled Substances, the
                     Injunctive Relief Distributor shall promptly cease the sale of Controlled
                     Substances to the Customer and report the Customer consistent with
                     Section XIV. If the Injunctive Relief Distributor decides not to terminate
                     the Customer, the Injunctive Relief Distributor shall document that
                     determination and the basis therefor. Such a good faith determination, if
                     documented, shall not, without more, serve as the basis of a future claim
                     of non-compliance with the Injunctive Relief Terms.

 XI.   SITE VISITS

       A.    Each Injunctive Relief Distributor shall conduct site visits, including
             unannounced site visits, where appropriate, of Customers, as necessary, as part of
             Customer due diligence.

       B.    During site visits, an Injunctive Relief Distributor’s CSMP personnel or qualified
             third-party compliance consultants shall interview the pharmacist-in-charge or
             other relevant Customer employees, if appropriate, about any potential Red Flags
             and the Customer’s maintenance of effective controls against the potential
             diversion of Controlled Substances.




                                           Exhibit R
                                              15
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 189 of 238. PageID #: 576099




        C.   An Injunctive Relief Distributor’s CSMP personnel or qualified third-party
             compliance consultants who conduct site visits shall document the findings of any
             site visit.

        D.   Site visit and all other compliance reports shall be maintained by each Injunctive
             Relief Distributor in a database accessible to all CSMP personnel.

 XII.   THRESHOLDS

        A.   Each Injunctive Relief Distributor shall use Thresholds to identify potentially
             Suspicious Orders of Controlled Substances from Customers.

        B.   Each Injunctive Relief Distributor’s CSMP department shall be responsible for
             the oversight of the process for establishing and modifying Thresholds. The sales
             departments of the Injunctive Relief Distributors shall not have the authority to
             establish or adjust Thresholds for any Customer or participate in any decisions
             regarding establishment or adjustment of Thresholds.

        C.   Injunctive Relief Distributors shall not provide Customers specific information
             about their Thresholds or how their Thresholds are calculated.

             1.     Threshold Setting

                    a)      Injunctive Relief Distributors shall primarily use model-based
                            thresholds. For certain circumstances, Injunctive Relief
                            Distributors may apply a non-model threshold based on
                            documented customer diligence and analysis.

                    b)      Each Injunctive Relief Distributor shall include in its Annual
                            Threshold Analysis and Assessment Report (as required by Section
                            XVIII.F.3.c) to the Monitor summary statistics regarding the use of
                            non-model thresholds and such information shall be considered by
                            the Monitor as part of its Threshold Setting Process Review in the
                            annual Audit Report.

                    c)      For the purposes of establishing and maintaining Thresholds, each
                            Injunctive Relief Distributor shall take into account the Controlled
                            Substances diversion risk of each drug base code. The diversion
                            risk of each base code should be defined and reassessed annually
                            by the Injunctive Relief Distributor’s CSMP Committee and
                            reviewed by the Monitor.

                    d)      Each Injunctive Relief Distributor shall establish Thresholds for
                            new Customers prior to supplying those Customers with
                            Controlled Substances and shall continue to have Thresholds in
                            place at all times for each Customer to which it supplies Controlled
                            Substances.


                                          Exhibit R
                                              16
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 190 of 238. PageID #: 576100




                   e)    When ordering volume from other distributors becomes readily
                         available from the Clearinghouse, an Injunctive Relief Distributor
                         shall consider including such information as soon as reasonably
                         practicable in establishing and maintaining Thresholds.

                   f)    Each Injunctive Relief Distributor shall incorporate the following
                         guiding principles in establishing and maintaining Customer
                         Thresholds, except when inapplicable to non-model Thresholds:

                         (1)    Thresholds shall take into account the number of non-
                                Controlled Substance dosage units distributed to, dispensed
                                and/or number of prescriptions dispensed by the Customer
                                to assist with the determination of Customer size. As a
                                general matter, smaller customers should have lower
                                Thresholds than larger customers.

                         (2)    For the purposes of establishing and maintaining
                                Thresholds, Injunctive Relief Distributors shall use
                                statistical models that are appropriate to the underlying
                                data.

                         (3)    For the purposes of establishing and maintaining
                                Thresholds, Injunctive Relief Distributors shall take into
                                account a Customer’s ordering and/or dispensing history
                                for a specified period of time.

                         (4)    For the purposes of establishing and maintaining
                                Thresholds, Injunctive Relief Distributors shall take into
                                account the ordering history of Customers within similar
                                geographic regions, or, where appropriate for Chain
                                Customers, ordering history within the chain.

                         (5)    If appropriate, Thresholds may take into account the
                                characteristics of Customers with similar business models.

                                (a)     A Customer’s statement that it employs a particular
                                        business model must be verified, to the extent
                                        practicable, before that business model is taken into
                                        account in establishing and maintaining a
                                        Customer’s Threshold.

             2.    Threshold Auditing

                   a)    The Injunctive Relief Distributors shall review their respective
                         Customer Thresholds at least on an annual basis and modify them
                         where appropriate.



                                        Exhibit R
                                           17
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 191 of 238. PageID #: 576101




                   b)    Each Injunctive Relief Distributor’s CSMP department shall
                         annually evaluate its Threshold setting methodology and processes
                         and its CSMP personnel’s performance in adhering to those
                         policies.

             3.    Threshold Changes

                   a)    An Injunctive Relief Distributor may increase or decrease a
                         Customer Threshold as set forth in its CSMP policies and
                         procedures, subject to Sections XII.C.3.b through XII.C.3.e.

                   b)    Prior to approving any Threshold change request by a Customer,
                         each Injunctive Relief Distributor shall conduct due diligence to
                         determine whether an increase to the Threshold is warranted. This
                         due diligence shall include obtaining from the Customer the basis
                         for the Threshold change request, obtaining and reviewing
                         Dispensing Data and/or Pharmacy Customer Data for the previous
                         three (3) months for due diligence purposes, and, as needed,
                         conducting an on-site visit to the Customer. This Threshold
                         change request diligence shall be conducted by the Injunctive
                         Relief Distributor’s CSMP personnel.

                   c)    No Injunctive Relief Distributor shall proactively contact a
                         Customer to suggest that the Customer request an increase to any
                         of its Thresholds, to inform the Customer that its Orders-to-date
                         are approaching its Thresholds or to recommend to the Customer
                         the amount of a requested Threshold increase. It shall not be a
                         violation of this paragraph to provide Chain Customer
                         headquarters reporting on one or more individual Chain Customer
                         pharmacy location(s) to support the anti-diversion efforts of the
                         Chain Customer’s headquarters staff, and it shall not be a violation
                         of this paragraph for the Injunctive Relief Distributor’s CSMP
                         personnel to contact Customers to seek to understand a Customer’s
                         ordering patterns.

                   d)    An Injunctive Relief Distributor’s Chief Diversion Control Officer
                         may approve criteria for potential adjustments to Customer
                         Thresholds to account for circumstances where the Thresholds
                         produced by the ordinary operation of the statistical models require
                         modification. Such circumstances include adjustments to account
                         for seasonal ordering of certain Controlled Substances that are
                         based on documented diligence and analysis, adjustments made to
                         permit ordering of certain Controlled Substances during a declared
                         national or state emergency (e.g., COVID-19 pandemic), IT errors,
                         and data anomalies causing results that are inconsistent with the
                         design of the statistical models. Each Injunctive Relief Distributor
                         shall include in its Annual Threshold Analysis and Assessment

                                       Exhibit R
                                          18
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 192 of 238. PageID #: 576102




                            Report (as required by Section XVIII.F.3.c) to the Monitor
                            information regarding the use of this paragraph and such
                            information shall be considered by the Monitor as part of its
                            Threshold Setting Process Review in the annual Audit Report.

                    e)      Any decision to raise a Customer’s Threshold in response to a
                            request by a Customer to adjust its Threshold must be documented
                            in a writing and state the reason(s) for the change. The decision
                            must be consistent with the Injunctive Relief Distributor’s CSMP
                            and documented appropriately.

 XIII. SUSPICIOUS ORDER REPORTING AND NON-SHIPMENT

       A.    Each Injunctive Relief Distributor shall report Suspicious Orders to the Settling
             States (“Suspicious Order Reports” or “SORs”), including those Settling States
             that do not currently require such SORs, at the election of the Settling State.

       B.    For the SORs required by the Injunctive Relief Terms, each Injunctive Relief
             Distributor shall report Orders that exceed a Threshold for Controlled Substances
             set pursuant to the processes in Section XII that are blocked and not shipped.

       C.    No Injunctive Relief Distributor shall ship any Order that it (i) reports pursuant to
             Sections XIII.A or XIII.B, or (ii) would have been required to report pursuant to
             Sections XIII.A or XIII.B had the Settling State elected to receive SORs.

       D.    In reporting Suspicious Orders to the Settling States, the Injunctive Relief
             Distributors shall file SORs in a standardized electronic format that is uniform
             among the Settling States and contains the following information fields:

             1.     Customer name;

             2.     Customer address;

             3.     DEA registration number;

             4.     State pharmacy license number;

             5.     Date of order;

             6.     NDC number;

             7.     Quantity;

             8.     Explanation for why the order is suspicious (up to 250 characters): Details
                    that are order-specific regarding why an order was flagged as a Suspicious
                    Order, including specific criteria used by an Injunctive Relief Distributor’s
                    Threshold system (except phrases such as “order is of unusual size”
                    without any additional detail are not acceptable); and

                                           Exhibit R
                                              19
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 193 of 238. PageID #: 576103




             9.     Name and contact information for a knowledgeable designee within the
                    Injunctive Relief Distributor’s CSMP department to be a point of contact
                    for the SORs.

       E.    On a quarterly basis, each Injunctive Relief Distributor shall provide a summary
             report to the Settling States that elect to receive it that provides the following
             information for the relevant quarter with respect to the top ten (10) Customers by
             volume for each Highly Diverted Controlled Substance base code that have
             placed a Suspicious Order for that base code, in that quarter (for Chain
             Customers, only individual pharmacies in the chain will considered for evaluation
             as a top ten (10) Customer):

             1.     The number of SORs submitted for that Customer by base code;

             2.     The Customer’s order volume by base code for the quarter for all Highly
                    Diverted Controlled Substances;

             3.     The Customer’s order frequency by base code for the quarter for all
                    Highly Diverted Controlled Substances;

             4.     For each Highly Diverted Controlled Substance base code, the ratio of the
                    Customer’s order volume for that base code to the volume of all
                    pharmaceutical orders for the quarter; and

             5.     The ratio of the Customer’s order volume of all Controlled Substances to
                    the volume of all pharmaceutical orders for the quarter.

       F.    The Injunctive Relief Distributors shall only be required to file a single, uniform,
             electronic form of SOR with any Settling State that receives SORs pursuant to
             these Injunctive Relief Terms. A Settling State retains the authority pursuant to
             applicable state law or relevant state agency authority to request additional
             information about a particular SOR.

       G.    It is the objective of the Settling States and the Injunctive Relief Distributors for
             the Injunctive Relief Distributors to provide SORs to Settling States that identify
             the same Suspicious Orders as reported to the DEA pursuant to the definition and
             requirements of the federal Controlled Substances Act and its regulations,
             although the fields of the SORs submitted to the Settling States as required by
             Section XIII may differ from the content required by the DEA. To the extent
             federal definitions and requirements materially change during the term of the
             Injunctive Relief Terms, the Injunctive Relief Distributors may be required to
             adjust the format and content of the SORs to meet these federal requirements.
             The Injunctive Relief Distributors and the State Compliance Review Committee
             will engage in good faith discussions regarding such adjustments.

       H.    It shall not be a violation of the Injunctive Relief Terms if an Injunctive Relief
             Distributor ships a Suspicious Order or fails to submit or transmit a SOR if:


                                           Exhibit R
                                              20
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 194 of 238. PageID #: 576104




             1.     The shipment of the Suspicious Order or failed SOR transmission was due
                    to a computer error (data entry mistakes, coding errors, computer logic
                    issues, software malfunctions, and other computer errors or IT failures);
                    and

             2.     The Injunctive Relief Distributor reports the error, including a description
                    of measures that will be taken to prevent recurrence of the error, to any
                    affected Settling State, the State Compliance Review Committee, and the
                    Monitor within five (5) business days of its discovery.

 XIV. TERMINATED CUSTOMERS

       A.    Each Injunctive Relief Distributor shall report to the Clearinghouse, once
             operational, within five (5) business days (or as otherwise required by state statute
             or regulation), Customers it has terminated from eligibility to receive Controlled
             Substances or refused to onboard for the sale of Controlled Substances due to
             concerns regarding the Customer’s ability to provide effective controls against the
             potential diversion of Controlled Substances following the Effective Date.

       B.    The Injunctive Relief Distributors shall report to the relevant Settling State(s),
             within five (5) business days (or as otherwise required by state statute or
             regulation) Customers located in such Settling States that it has terminated from
             eligibility to receive Controlled Substances or refused to onboard for the sale of
             Controlled Substances due to concerns regarding the Customer’s ability to
             provide effective controls against the potential diversion of Controlled Substances
             following the Effective Date. Such reports will be made in a uniform format. The
             Injunctive Relief Distributors and the State Compliance Review Committee shall
             use best efforts to agree on such uniform format for inclusion prior to the
             requirement taking effect.

       C.    In determining whether a Customer should be terminated from eligibility to
             receive Controlled Substances, Injunctive Relief Distributors shall apply factors
             set out in their CSMP policies and procedures, which shall include the following
             conduct by a Customer:

             1.     Has generated an excessive number of Suspicious Orders, which cannot
                    otherwise be explained;

             2.     Has routinely demonstrated unresolved Red Flag activity;

             3.     Has continued to fill prescriptions for Highly Diverted Controlled
                    Substances that raise Red Flags following an Injunctive Relief
                    Distributor’s warning or communication about such practices;

             4.     Has failed to provide Pharmacy Customer Data or Dispensing Data in
                    response to a request from an Injunctive Relief Distributor or otherwise
                    refuses to cooperate with the Injunctive Relief Distributor’s CSMP after


                                           Exhibit R
                                              21
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 195 of 238. PageID #: 576105




                    providing the Customer with a reasonable amount of time to respond to
                    the Injunctive Relief Distributor’s requests;

             5.     Has been found to have made material omissions or false statements on a
                    Pharmacy Questionnaire (the requirements for the contents of a Pharmacy
                    Questionnaire are described in Section IX); or

             6.     Has been the subject of discipline by a State Board of Pharmacy within the
                    past three (3) years or has had its owner(s) or pharmacist-in-charge subject
                    to license probation or termination within the past five (5) years by a State
                    Board of Pharmacy for matters related to Controlled Substances
                    dispensing or a federal or state felony conviction.

       D.    Once the Clearinghouse has made Customer termination data available to each
             Injunctive Relief Distributor, each Injunctive Relief Distributor shall consider
             terminating Customers that have been terminated from eligibility to receive
             Controlled Substances by another distributor as a result of suspected diversion of
             Controlled Substances if the Customer is ordering only Controlled Substances
             from the Injunctive Relief Distributor. If the Injunctive Relief Distributor
             determines not to terminate Customers to which this paragraph applies, the
             Injunctive Relief Distributor shall document its decision-making. A good-faith
             decision to continue shipping Controlled Substances to Customers to which this
             paragraph applies, shall not serve, without more, as the basis of a future claim of
             non- compliance with the Injunctive Relief Terms.

       E.    For Chain Customers, the provisions in Section XIV.A-D shall apply to the
             specific pharmacies in question.

 XV.   EMERGENCIES

       A.    In the circumstances of declared national or state emergencies in which the
             healthcare community relies on the Injunctive Relief Distributors for critical
             medicines, medical supplies, products, and services, the Injunctive Relief
             Distributors may be required to temporarily modify their respective CSMP
             processes to meet the critical needs of the supply chain. These modifications may
             conflict with the requirements of the Injunctive Relief Terms.

       B.    In the case of a declared national or state emergency, the Injunctive Relief
             Distributors shall be required to give notice to the State Compliance Review
             Committee of any temporary material changes to their CSMP processes which
             may conflict with the requirements of the Injunctive Relief Terms and specify the
             sections of the Injunctive Relief Terms which will be affected by the temporary
             change.

       C.    The Injunctive Relief Distributors shall document all temporary changes to their
             CSMP processes and appropriately document all customer-specific actions taken
             as a result of the declared national or state emergency.


                                           Exhibit R
                                              22
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 196 of 238. PageID #: 576106




       D.    The Injunctive Relief Distributors shall provide notice to the State Compliance
             Review Committee at the conclusion of the declared national or state emergency,
             or sooner, stating that the temporary CSMP processes put into place have been
             suspended.

       E.    Provided the Injunctive Relief Distributors comply with the provisions of Sections
             XV.A through XV.D, the Injunctive Relief Distributors will not face liability for
             any deviations from the requirements of the Injunctive Relief Terms taken in good
             faith to meet the critical needs of the supply chain in response to the declared
             national or state emergency. Nothing herein shall limit Settling States from
             pursuing claims against the Injunctive Relief Distributors based on deviations
             from the requirements of the Injunctive Relief Terms not taken in good faith to
             meet the critical needs of the supply chain in response to a declared national or
             state emergency.

 XVI. COMPLIANCE WITH LAWS AND RECORDKEEPING

       A.    The Injunctive Relief Distributors acknowledge and agree that they must comply
             with applicable state and federal laws governing the distribution of Controlled
             Substances.

       B.    Good faith compliance with the Injunctive Relief Terms creates a presumption
             that the Injunctive Relief Distributors are acting reasonably and in the public
             interest with respect to Settling States’ existing laws requiring effective controls
             against diversion of Controlled Substances and with respect to the identification,
             reporting, and blocking of Suspicious Orders of Controlled Substances.

       C.    The requirements of the Injunctive Relief Terms are in addition to, and not in lieu
             of, any other requirements of state or federal law applicable to Controlled
             Substances distribution. Except as provided in Section XVI.D, nothing in the
             Injunctive Relief Terms shall be construed as relieving Injunctive Relief
             Distributors of the obligation to comply with such laws, regulations, or rules. No
             provision of the Injunctive Relief Terms shall be deemed as permission for
             Injunctive Relief Distributors to engage in any acts or practices prohibited by such
             laws, regulations, or rules.

       D.    In the event of a conflict between the requirements of the Injunctive Relief Terms
             and any other law, regulation, or requirement such that an Injunctive Relief
             Distributor cannot comply with the law without violating the Injunctive Relief
             Terms or being subject to adverse action, including fines and penalties, the
             Injunctive Relief Distributor shall document such conflicts and notify the State
             Compliance Review Committee and any affected Settling State the extent to
             which it will comply with the Injunctive Relief Terms in order to eliminate the
             conflict within thirty (30) days of the Injunctive Relief Distributor’s discovery of
             the conflict. The Injunctive Relief Distributor shall comply with the Injunctive
             Relief Terms to the fullest extent possible without violating the law.


                                           Exhibit R
                                              23
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 197 of 238. PageID #: 576107




       E.    In the event of a change or modification of federal or state law governing the
             distribution of Controlled Substances that creates an actual or potential conflict
             with the Injunctive Relief Terms, any Injunctive Relief Distributor, any affected
             Settling State, or the State Compliance Review Committee may request that the
             Injunctive Relief Distributors, State Compliance Review Committee, and any
             affected Settling State meet and confer regarding the law change. During the meet
             and confer, the Injunctive Relief Distributors, the State Compliance Review
             Committee, and any affected Settling State will address whether the change or
             modification in federal or state law requires an amendment to the Injunctive
             Relief Terms. In the event the Injunctive Relief Distributors, the State
             Compliance Review Committee, and any affected Settling State cannot agree on a
             resolution, and the dispute relates to whether the generally applicable Injunctive
             Relief Terms herein should be changed, an Injunctive Relief Distributor, the State
             Compliance Review Committee, or any affected Settling State may submit the
             question to the National Arbitration Panel. If the dispute relates to whether a
             change in an individual State’s law requires a modification of the Injunctive
             Relief Terms only with respect to that State, an Injunctive Relief Distributor, the
             State Compliance Review Committee, or any affected Settling State may seek
             resolution of the dispute pursuant to Section XIX. Maintenance of competition in
             the industry and the potential burden of inconsistent obligations by Injunctive
             Relief Distributors shall be a relevant consideration in such resolution.

       F.    Recordkeeping: Each Injunctive Relief Distributor shall retain records it is
             required to create pursuant to its obligations hereunder in an electronic or
             otherwise readily accessible format. The Settling States shall have the right to
             review records provided to the Monitor pursuant to Section XVIII. Nothing in the
             Injunctive Relief Terms prohibits a Settling State from issuing a lawful subpoena
             for records pursuant to an applicable law.

 XVII. CLEARINGHOUSE

       A.    Creation of the Clearinghouse

             1.     The Clearinghouse functions shall be undertaken by a third-party vendor
                    or vendors.

             2.     The vendor(s) will be chosen through a process developed and jointly
                    agreed upon by the Injunctive Relief Distributors and the State
                    Compliance Review Committee.

             3.     Consistent with the process developed by the Injunctive Relief
                    Distributors and the State Compliance Review Committee, within two (2)
                    months of the Effective Date, the Injunctive Relief Distributors shall issue
                    a Request for Proposal to develop the systems and capabilities for a
                    Clearinghouse to perform the services of a data aggregator.




                                          Exhibit R
                                             24
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 198 of 238. PageID #: 576108




             4.    Within five (5) months of the Effective Date, the Clearinghouse Advisory
                   Panel shall select one or more entities to develop the systems for the
                   Clearinghouse and perform data aggregator services. The Clearinghouse
                   Advisory Panel shall select a vendor or vendors that employ or retain
                   personnel who have adequate expertise and experience related to the
                   pharmaceutical industry, the distribution of Controlled Substances, and the
                   applicable requirements of the Controlled Substances Act and the DEA’s
                   implementing regulations.

             5.    Within sixty (60) days of the selection of a vendor(s) to serve as the
                   Clearinghouse, the Injunctive Relief Distributors shall negotiate and
                   finalize a contract with the vendor(s). The date that the contract is signed
                   by the Injunctive Relief Distributors and the vendor(s) shall be referred to
                   as the “Clearinghouse Retention Date.”

             6.    The development of the Clearinghouse shall proceed on a phased approach
                   as discussed in Sections XVII.C and XVII.D.

       B.    Governance and Staffing of the Clearinghouse

             1.    Capabilities. The selected vendor or vendors shall staff the Clearinghouse
                   in a manner that ensures the development of robust data collection,
                   analytics and reporting capabilities for the Settling States and Injunctive
                   Relief Distributors. To the extent additional expertise is required for the
                   engagement, the vendor(s) may retain the services of third-party
                   consultants.

             2.    Independence. While performing services for the Clearinghouse, all
                   vendors and consultants, and their staff working on the Clearinghouse,
                   shall be independent (i.e., not perform services of any kind, including as a
                   consultant or an employee on behalf of any Injunctive Relief Distributor
                   outside of the ordinary business operations of the Clearinghouse).
                   Independence may be achieved by implementing appropriate ethical walls
                   with employees who are currently performing or who have previously
                   performed work for an Injunctive Relief Distributor within two years of
                   the Clearinghouse Retention Date.

             3.    Liability. The Injunctive Relief Distributors are entitled to rely upon
                   information or data received from the Clearinghouse, whether in oral,
                   written, or other form. No Injunctive Relief Distributor, and no individual
                   serving on the Clearinghouse Advisory Panel, shall have any liability
                   (whether direct or indirect, in contract or tort or otherwise) to any Party for
                   or in connection with any action taken or not taken by the Clearinghouse.
                   In addition, no Injunctive Relief Distributor, and no individual serving on
                   the Clearinghouse Advisory Panel, shall have any liability (whether direct
                   or indirect, in contract or tort or otherwise) to any Party for or in
                   connection with any action taken or not taken by an Injunctive Relief

                                         Exhibit R
                                             25
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 199 of 238. PageID #: 576109




                   Distributor based on incorrect, inaccurate, incomplete or otherwise
                   erroneous information or data provided by the Clearinghouse, unless the
                   information or data was incorrect, inaccurate, incomplete or otherwise
                   erroneous because the Injunctive Relief Distributor itself provided
                   incorrect, inaccurate, incomplete or otherwise erroneous data or
                   information to the Clearinghouse. For any legal requirements that are
                   assumed by the Clearinghouse during Phase 2-B pursuant to Section
                   XVII.D.3, liability shall be addressed pursuant to Section XVII.D.3.c.

             4.    Clearinghouse Advisory Panel. The State Compliance Review Committee
                   and Injunctive Relief Distributors shall create a Clearinghouse Advisory
                   Panel no later than sixty (60) days after the Effective Date to oversee the
                   Clearinghouse.

                   a)     The Clearinghouse Advisory Panel shall have an equal number of
                          members chosen by the State Compliance Review Committee on
                          the one hand, and the Injunctive Relief Distributors on the other.
                          The size of the Clearinghouse Advisory Panel will be decided by
                          the State Compliance Review Committee and the Injunctive Relief
                          Distributors, and the State Compliance Review Committee and the
                          Injunctive Relief Distributors may select as members third-party
                          experts, but no more than one half of each side’s representatives
                          may be such third-party experts. At least one member chosen by
                          the State Compliance Review Committee will be based on
                          consultation with the National Association of State Controlled
                          Substances Authorities.

                   b)     During the first two years of the operation of the Clearinghouse,
                          the Clearinghouse Advisory Panel shall meet (in-person or
                          remotely) at least once per month. After the first two years of
                          operation, the Clearinghouse Advisory Panel shall meet at least
                          quarterly. The Monitor may attend Clearinghouse Advisory Panel
                          meetings and may provide recommendations to the Clearinghouse
                          Advisory Panel.

                   c)     The Clearinghouse Advisory Panel shall establish a subcommittee
                          to advise on issues related to privacy, the Health Insurance
                          Portability and Accountability Act of 1996 (“HIPAA”), and data
                          security and a subcommittee to advise on issues related to
                          Dispensing Data. It may establish additional subcommittees.
                          Subcommittees may include individuals who are not members of
                          the Clearinghouse Advisory Panel. The Clearinghouse Advisory
                          Panel may invite one or more prescribers, dispensers, and
                          representatives from state Prescription Drug Monitoring Programs
                          (“PDMP”) to serve on the Dispensing Data subcommittee. Each
                          Injunctive Relief Distributor shall have a representative on each
                          subcommittee created by the Clearinghouse Advisory Panel.

                                         Exhibit R
                                            26
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 200 of 238. PageID #: 576110




                    d)     The Clearinghouse Advisory Panel may delegate tasks assigned to
                           it by the Injunctive Relief Terms to the Executive Director.

             5.     Executive Director. One employee of the vendor, or one representative
                    from the vendor group in the event that there are multiple vendors, shall be
                    an Executive Director who shall manage day-to-day operations and report
                    periodically to the Clearinghouse Advisory Panel.

       C.    Phase 1 of the Clearinghouse: Data Collection, Initial Analytics and
             Reporting

             1.     System Development

                    a)     Within one (1) year of the Clearinghouse Retention Date, the
                           Clearinghouse shall develop systems to receive and analyze data
                           obtained from the Injunctive Relief Distributors pursuant to
                           electronic transmission formats to be agreed upon by the
                           Clearinghouse Advisory Panel.

                    b)     In developing such systems, the Clearinghouse shall ensure that:

                           (1)     The systems provide robust reporting and analytic
                                   capabilities.

                           (2)     Data obtained from Injunctive Relief Distributors shall be
                                   automatically pulled from the existing order management
                                   data platforms (e.g., SAP).

                           (3)     The systems shall be designed to receive data from sources
                                   other than the Injunctive Relief Distributors, including
                                   pharmacies, non-Injunctive Relief Distributors, the DEA,
                                   State Boards of Pharmacy, and other relevant sources,
                                   pursuant to standardized electronic transmission formats.

                           (4)     The systems shall be designed to protect personally
                                   identifiable information (“PII”) and protected health
                                   information (“PHI”) from disclosure and shall comply with
                                   HIPAA and any federal and state laws relating to the
                                   protection of PII and PHI.

                           (5)     The Clearinghouse will establish a HIPAA-compliant
                                   database that can be accessed by state authorities, the
                                   Injunctive Relief Distributors, and any entities that
                                   subsequently participate in the Clearinghouse. The
                                   database that will be made available to the Injunctive Relief
                                   Distributors and any non-governmental entities that
                                   subsequently participate in the Clearinghouse will also
                                   blind commercially sensitive information.

                                          Exhibit R
                                             27
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 201 of 238. PageID #: 576111




                         (6)    State authorities shall have access to the HIPAA-compliant
                                database via web-based tools and no additional or
                                specialized equipment or software shall be required. This
                                access shall allow state authorities to query the HIPAA-
                                compliant database without limitation.

                         (7)    The Injunctive Relief Distributors shall be permitted to use
                                data obtained from the Clearinghouse for anti-diversion
                                purposes, including the uses expressly contemplated by the
                                Injunctive Relief Terms. The Injunctive Relief Distributors
                                shall not sell (or obtain license fees for) data obtained from
                                Clearinghouse to any third-parties. Nothing in the
                                Injunctive Relief Terms shall prohibit an Injunctive Relief
                                Distributor from using its own data, including data
                                provided to the Injunctive Relief Distributor by third-
                                parties other than the Clearinghouse, for any commercial
                                purposes, including selling or licensing its data to third-
                                parties.

             2.    Aggregation of Data

                   a)    It is the goal of the Settling States and the Injunctive Relief
                         Distributors for the Clearinghouse to obtain comprehensive data
                         from all distributors, pharmacies, and other relevant data sources to
                         provide maximum permissible transparency into the distribution
                         and dispensing of Controlled Substances. During Phase 1, the
                         Clearinghouse Advisory Panel shall develop recommendations for
                         ways to achieve this goal.

                   b)    In Phase 1, the Injunctive Relief Distributors shall provide and/or
                         facilitate the collection of, and the Clearinghouse shall collect and
                         maintain, the following:

                         (1)    Injunctive Relief Distributor transaction data for Controlled
                                Substances and non-Controlled Substances, specified at the
                                NDC, date, quantity, and customer level.

                         (2)    Injunctive Relief Distributor information on Customers that
                                have been terminated and/or declined onboarding due to
                                concerns regarding Controlled Substance dispensing
                                following the Effective Date.

                   c)    The Clearinghouse shall make available to the Injunctive Relief
                         Distributors, in a format to be determined by the Clearinghouse
                         Advisory Panel, blinded data for their CSMP due diligence
                         functions. The data will include all Controlled Substances and non-
                         Controlled Substances and be refreshed on a regular basis. The

                                         Exhibit R
                                            28
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 202 of 238. PageID #: 576112




                          Clearinghouse will also seek to provide non-identifying
                          information regarding whether a single distributor is associated
                          with multiple warehouses with unique DEA registrations (e.g.,
                          multiple distribution centers operated by a single distributor), in
                          the data it makes available.

                   d)     During Phase 1, the Clearinghouse Advisory Panel (with input
                          from its Dispensing Data subcommittee) will develop an
                          operational plan to obtain Dispensing Data directly from
                          pharmacies, unless the Clearinghouse Advisory Panel determines it
                          is inadvisable to do so. The operational plan developed by the
                          Clearinghouse Advisory Panel shall address compliance with
                          HIPAA and shall include recommendations to facilitate the
                          collection of Dispensing Data in compliance with HIPAA and
                          relevant state privacy laws. To the extent possible, the
                          Clearinghouse will begin collecting Dispensing Data during Phase
                          1.

                   e)     Nothing in the Injunctive Relief Terms shall require the Injunctive
                          Relief Distributors to indemnify or otherwise be responsible to
                          pharmacy customers for any claims resulting from the provision of
                          Dispensing Data to the Clearinghouse, including, but not limited
                          to, claims related to any data breaches occurring with the data
                          transmitted to or maintained by the Clearinghouse.

             3.    State and Federal Reporting Requirements

                   a)     The Injunctive Relief Distributors shall comply with state and
                          federal transactional and Suspicious Order reporting requirements
                          related to Controlled Substances as follows:

                          (1)    Until such time as the Clearinghouse is able to provide
                                 transactional and Suspicious Order regulatory reporting to
                                 the states on behalf of the Injunctive Relief Distributors, the
                                 Injunctive Relief Distributors shall continue to file all
                                 required reports under state law and those reports required
                                 by these Injunctive Relief Terms.

                          (2)    Once the Clearinghouse is able to process and submit such
                                 reports, the Clearinghouse may process and submit those
                                 reports on behalf of each Injunctive Relief Distributor to
                                 the states. At all times during Phase 1, each Injunctive
                                 Relief Distributor shall remain responsible for the
                                 identification of Suspicious Orders and will remain liable
                                 for a failure to submit transactional data or Suspicious
                                 Order reports required under state law or these Injunctive
                                 Relief Terms.

                                         Exhibit R
                                            29
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 203 of 238. PageID #: 576113




                          (3)    An Injunctive Relief Distributor may elect to fulfill its
                                 reporting obligations directly, rather than have the
                                 Clearinghouse assume the responsibility for the
                                 transmission of the various reports.

             4.    Additional Reports and Analytics

                   a)     In consultation with the Clearinghouse Advisory Panel, the
                          Clearinghouse shall work to develop additional reports and
                          analyses to assist the Settling States and the Injunctive Relief
                          Distributors in addressing Controlled Substance diversion,
                          including but not limited to identifying Red Flags consistent with
                          Section VIII.

                   b)     The Clearinghouse will generate analyses and reports to be used by
                          the Settling States and the Injunctive Relief Distributors based on
                          format and content recommended by the Clearinghouse Advisory
                          Panel. In order to refine the format and reach final
                          recommendations, the Clearinghouse shall prepare sample
                          analytical reports for a sample geographic region to review with
                          the Clearinghouse Advisory Panel. The sample reports will also be
                          shared with the DEA in an effort to receive additional feedback.

                   c)     After the content and format of the sample reports have been
                          approved by the Clearinghouse Advisory Panel, the Clearinghouse
                          will begin producing reports on a periodic basis.

                   d)     The Clearinghouse will develop capabilities to provide Settling
                          States customized reports upon reasonable request to assist in their
                          efforts to combat the diversion of Controlled Substances and for
                          other public health and regulatory purposes.

                   e)     After the Clearinghouse has obtained sufficient Dispensing Data
                          from Customers, the Clearinghouse shall commence providing
                          standard reports to the Settling States and Injunctive Relief
                          Distributors that will include summaries and analysis of
                          Dispensing Data. The reports and analytics of Dispensing Data
                          shall be developed in consultation with the Clearinghouse
                          Advisory Panel (including its Dispensing Data subcommittee) and
                          shall include, but not be limited to:

                          (1)    Identification of Customers whose dispensing may indicate
                                 Red Flags consistent with Section VIII, as determined by
                                 the Clearinghouse from aggregate data; and

                          (2)    Identification of Customers whose aggregate dispensing
                                 volumes for Highly Diverted Controlled Substances are


                                        Exhibit R
                                           30
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 204 of 238. PageID #: 576114




                                   disproportionately high relative to the population of the
                                   relevant geographic area.

                    f)     The Clearinghouse shall also prepare reports and analyses for the
                           Settling States and Injunctive Relief Distributors identifying
                           prescribers whose prescribing behavior suggests they may not be
                           engaged in the legitimate practice of medicine. Such reports and
                           analysis shall be developed in consultation with the Clearinghouse
                           Advisory Panel (including its Dispensing Data subcommittee) and
                           shall seek to identify and evaluate:

                           (1)     Prescribers who routinely prescribe large volumes of
                                   Highly Diverted Controlled Substances relative to other
                                   prescribers with similar specialties, including health care
                                   professionals who prescribe a large number of prescriptions
                                   for high dosage amounts of Highly Diverted Controlled
                                   Substances;

                           (2)     Prescribers whose prescriptions for Highly Diverted
                                   Controlled Substances are routinely and disproportionately
                                   filled in a geographic area that is unusual based on the
                                   prescriber’s location; and

                           (3)     Prescribers who routinely prescribe out-of-specialty or out-
                                   of-practice area without legitimate reason.

                    g)     Reports or analysis generated by the Clearinghouse may not be
                           based on complete data due to a lack of participation by non-
                           Injunctive Relief Distributors and pharmacies. As such, Injunctive
                           Relief Distributors shall not be held responsible for actions or
                           inactions related to reports and analysis prepared by the
                           Clearinghouse which may be based on incomplete data due to a
                           lack of participation by non-Injunctive Relief Distributors and
                           pharmacies.

       D.    Phase 2 of the Clearinghouse: Additional Data Collection and Analytics and
             Assumption of CSMP Functions

             Within one (1) year of Phase 1 of the Clearinghouse being operational, the
             Clearinghouse and the Clearinghouse Advisory Panel shall develop a detailed
             strategic and implementation plan for Phase 2 of the Clearinghouse (“Phase 2
             Planning Report”). Phase 2 will consist of two parts. Phase 2-A will focus on
             increasing data collection from non-Injunctive Relief Distributors, pharmacies
             and other data sources and developing enhanced analytics based on the
             experiences gained from Phase 1. Phase 2-A will also include recommendations
             for the development of uniform federal and state reporting. Phase 2-B will
             involve the potential assumption of various CSMP activities, including Threshold

                                          Exhibit R
                                             31
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 205 of 238. PageID #: 576115




             setting and order management by the Clearinghouse. The Phase 2 Planning Report
             will address both Phase 2-A and Phase 2-B. After the completion of the Phase 2
             Planning Report, individual Injunctive Relief Distributors, in their sole discretion,
             may elect not to proceed with Phase 2-B as provided by Section XVII.E. If one or
             more Injunctive Relief Distributors elect to proceed with Phase 2-B, the goal will
             be to have Phase 2-B fully operational within two (2) years of the Clearinghouse
             Retention Date and no later than three (3) years of the Clearinghouse Retention
             Date.

             1.     Phase 2-A: Additional Data Collection and Analytics

                    a)      During Phase 2-A, the Clearinghouse will continue the functions
                            defined in Phase 1 and work to expand the scope of its data
                            collection and enhance its analytics and reporting capabilities
                            including the following:

                            (1)     Integration of data from additional sources, including:

                                    (a)    Transaction data from other distributors, including
                                           manufacturers that distribute directly to retail
                                           pharmacies and pharmacies that self-warehouse;
                                           and

                                    (b)    Where possible, state PDMP data and other data,
                                           including but not limited to, State Board of
                                           Medicine and Board of Pharmacy sanctions, and
                                           agreed-upon industry data. If state PDMP data is
                                           effectively duplicative of Dispensing Data already
                                           obtained in Phase 1, it will not be necessary for the
                                           Clearinghouse to obtain state PDMP data.

                            (2)     Development of additional metrics analyzing the data
                                    available from the additional data sources (PDMP, other
                                    pharmacy data, sanction authorities, and third-party volume
                                    projections).

                            (3)     Development of real-time or near real-time access to
                                    distribution data, dispensing data and other data sources.

                            (4)     Refinement of methodologies for analyzing Dispensing
                                    Data to identify suspicious prescribers.

                            (5)     Development of additional capabilities to provide Settling
                                    States, the Injunctive Relief Distributors and potentially the
                                    DEA customized reporting from the Clearinghouse upon
                                    reasonable request.

             2.     Phase 2-A: Uniform Required Reporting

                                           Exhibit R
                                              32
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 206 of 238. PageID #: 576116




                   a)    The Clearinghouse and the Clearinghouse Advisory Panel shall
                         develop uniform reporting recommendations for potential
                         implementation by state regulators in order to allow the Injunctive
                         Relief Distributors to satisfy their obligations under the Injunctive
                         Relief Terms and state and federal laws in a uniform and consistent
                         manner.

                   b)    It is a goal of the Settling States and the Injunctive Relief
                         Distributors to:

                         (1)    Streamline and simplify required reporting which will
                                benefit the Injunctive Relief Distributors and the Settling
                                States, as well as the DEA;

                         (2)    Develop uniform transactional and Suspicious Order
                                reporting requirements; and

                         (3)    Provide for the submission of uniform Suspicious Order
                                reports.

             3.    Phase 2-B: Clearinghouse Assumption of CSMP Functions

                   a)    With respect to Phase 2-B, the Phase 2 Planning Report shall
                         address:

                         (1)    Engagement with stakeholders, including the DEA, to
                                develop the system of Threshold setting and Suspicious
                                Order reporting to potentially be provided by the
                                Clearinghouse;

                         (2)    Development of technology and rules, including any
                                proposed changes to federal law or regulations;

                         (3)    Development of models for the identification of Suspicious
                                Orders and setting universal Thresholds in a manner
                                consistent with Section XII. These models shall include
                                active order management and order fulfillment protocols to
                                ensure that orders are compared to relevant Thresholds by
                                the Clearinghouse before shipment instructions are
                                provided by the Clearinghouse to the Injunctive Relief
                                Distributors. The models shall also include the
                                identification of Suspicious Orders when they are placed by
                                Customers, which will be held before shipment or blocked
                                based on instructions provided by the Clearinghouse to the
                                Injunctive Relief Distributors.




                                        Exhibit R
                                           33
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 207 of 238. PageID #: 576117




                          (4)     Development of criteria governing distribution to
                                  Customers that have placed one or more Orders that exceed
                                  a Threshold;

                          (5)     Development of rules for allocating Orders placed by
                                  Customers that have more than one Distributor if one or
                                  more Orders exceed a Threshold;

                          (6)     Development of a pilot project for a sample geographic
                                  region to perform data analysis to test the models for
                                  Threshold setting and the identification of Suspicious
                                  Orders.

                   b)     Following implementation of Phase 2-B, the Injunctive Relief
                          Distributors participating in Phase 2-B and the State Compliance
                          Review Committee shall meet and confer with respect to whether
                          to expand the scope of the Clearinghouse to cover additional anti-
                          diversion functions, such as the performance of due diligence.

                   c)     CSMP functions that have been assumed by the Clearinghouse
                          during Phase 2-B will no longer be performed by participating
                          Injunctive Relief Distributors individually through their CSMPs.
                          CSMP functions performed by the Clearinghouse will assist
                          participating Injunctive Relief Distributors to satisfy the applicable
                          legal obligations of those Injunctive Relief Distributors. The
                          Clearinghouse’s performance of CSMP functions will not relieve
                          participating Injunctive Relief Distributors from their legal
                          obligations unless (i) the Injunctive Relief Distributors and the
                          State Compliance Review Committee jointly enter into a written
                          agreement for the Clearinghouse to assume legal requirements
                          during Phase 2-B; and (ii) all vendors and consultants working on
                          the Clearinghouse agree in writing to assume such obligations.
                          Nothing in this paragraph shall apply to any Injunctive Relief
                          Distributor that does not participate in Phase 2-B pursuant to
                          Section XVII.E.

       E.    Option to Opt Out of Phase 2-B

             1.    Each Injunctive Relief Distributor shall have the option, in its sole
                   discretion, to elect not to participate in Phase 2-B at any point. In the
                   event that an Injunctive Relief Distributor elects not to participate in Phase
                   2-B, that Injunctive Relief Distributor shall cease to have any obligation to
                   fund future costs directly related to Phase 2-B of the Clearinghouse or to
                   implement the Clearinghouse’s determinations as to identification of
                   Suspicious Orders and Suspicious Order reporting. If an Injunctive Relief
                   Distributor elects not to participate in Phase 2-B, that Injunctive Relief
                   Distributor shall remain responsible for the requirements specified for

                                         Exhibit R
                                             34
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 208 of 238. PageID #: 576118




                   Phase 1 and Phase 2-A of the Clearinghouse and shall be responsible for
                   contributing to the costs associated with Phase 1 and Phase 2-A.

             2.    In the event that an Injunctive Relief Distributor elects not to participate in
                   Phase 2-B, the Clearinghouse Advisory Panel shall discuss and make
                   recommendations for any necessary adjustments to the Phase 2-B
                   capabilities described in Section XVII.D.3.

       F.    Funding

             1.    The establishment and ongoing operations of the Clearinghouse shall be
                   funded by the Injunctive Relief Distributors for a period of ten (10) years
                   commencing on the Clearinghouse Retention Date.

             2.    For each of the first two (2) years of the operation of the Clearinghouse,
                   the Injunctive Relief Distributors will make total payments of $7.5 million
                   per year combined. For years three (3) through ten (10), the Injunctive
                   Relief Distributors will make total payments of $3 million per year
                   combined. Additional costs associated with Phase 2-B shall be billed to
                   the Injunctive Relief Distributors participating in Phase 2-B.

             3.    Payments by the Injunctive Relief Distributors for the Clearinghouse shall
                   be allocated among the Injunctive Relief Distributors as set forth in
                   Section IV.H of the Settlement Agreement, dated as of July [●], 2021,
                   which incorporates these Injunctive Relief Terms as Exhibit P.

             4.    In the event that the cost of the Clearinghouse exceeds the amounts
                   provided by the Injunctive Relief Distributors, the Injunctive Relief
                   Distributors and State Compliance Review Committee shall meet-and-
                   confer on alternatives, which may include:

                   a)     Limiting the operations of the Clearinghouse consistent with a
                          revised budget;

                   b)     Seeking additional sources of funding for the Clearinghouse;
                          and/or

                   c)     Allocating, in a manner consistent with the allocation of payments
                          between the Injunctive Relief Distributors as set forth in Section
                          XVII.F.3, additional amounts that are the responsibility of the
                          Injunctive Relief Distributors to be used for the operation of the
                          Clearinghouse.

             5.    The Injunctive Relief Distributors and the State Compliance Review
                   Committee agree to engage in good faith discussions regarding potential
                   continued operation and funding of the Clearinghouse following the initial
                   ten (10) year period of Clearinghouse operations.


                                          Exhibit R
                                             35
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 209 of 238. PageID #: 576119




             6.    The Injunctive Relief Distributors and the State Compliance Review
                   Committee shall develop a means to obtain payments from other parties
                   that may use or benefit from the Clearinghouse, including but not limited
                   to other settling defendants, non-Injunctive Relief Distributors, or other
                   parties and the Clearinghouse Advisory Panel shall consider other funding
                   sources for the Clearinghouse. This may include consideration of a user
                   fee or other model by which non-Injunctive Relief Distributors that use the
                   Clearinghouse will contribute to funding the Clearinghouse.

             7.    In the event that ten (10) or more Settling States reach agreements with
                   any national retail chain pharmacies to resolve claims related to the
                   distribution of Controlled Substances, the Settling States’ Attorneys’
                   General agree to make participation in the Clearinghouse, including
                   providing data to the Clearinghouse and contribution to the cost of the
                   operation of the Clearinghouse, a condition of any settlement. The Settling
                   States’ Attorneys’ General agree to make best efforts to ensure that any
                   other settling distributors and/or pharmacies participate in the
                   Clearinghouse. To the extent that the Attorneys General are able to secure
                   participation by additional distributors and/or pharmacies, it is anticipated
                   that, to the extent practicable based on the financial and relative size of the
                   settling distributor and/or pharmacy, those entities will contribute to the
                   cost of the operation of the Clearinghouse. The Injunctive Relief
                   Distributors’ obligation to fund the Clearinghouse shall be partially
                   reduced by contributions obtained from other distributors and/or
                   pharmacies pursuant to a formula to be determined by the Clearinghouse
                   Advisory Panel.

       G.    Confidentiality

             1.    All data provided to the Clearinghouse shall be confidential.

             2.    Information provided by distributors participating in the Clearinghouse
                   may not be provided to any other entity or individual outside those
                   expressly contemplated by the Injunctive Relief Terms.

             3.    The Clearinghouse may not provide to any distributor information specific
                   to another distributor. Notwithstanding the prior sentence, the
                   Clearinghouse may provide blinded data to a distributor reflecting total
                   Orders (across all distributors) for a particular Customer, region, and/or
                   state at the base code and NDC number level and all transactional data
                   information. Such information may only be used by receiving distributors
                   for purposes of identifying, minimizing, or otherwise addressing the risk
                   of Controlled Substances diversion. No distributor or pharmacy, including
                   the Injunctive Relief Distributors, shall attempt to obtain revenue from this
                   information. Such information provided by the Clearinghouse shall be
                   compliant with all applicable laws and regulations.


                                          Exhibit R
                                             36
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 210 of 238. PageID #: 576120




             4.    If the Clearinghouse receives a request for disclosure of any data, material
                   or other information created or shared under the Injunctive Relief Terms,
                   pursuant to a Third Party Request, the Clearinghouse shall notify the
                   Injunctive Relief Distributors and the Clearinghouse Advisory Panel of the
                   Third Party Request and any confidential information to be disclosed so
                   that the Injunctive Relief Distributors may seek a protective order or
                   otherwise challenge or object to the disclosure. The Clearinghouse shall
                   provide the Injunctive Relief Distributors and the Clearinghouse Advisory
                   Panel with at least ten (10) days’ advance notice before complying with
                   any Third Party Request for confidential information, except where state
                   law requires a lesser period of advance notice.

       H.    Data Integrity

             1.    The Clearinghouse shall use best-in-class technology to preserve the
                   integrity of the data.

             2.    The Clearinghouse shall report any data breaches under HIPAA and state
                   law that occur as a result of any of its data collection and reporting
                   activities to the Settling States and other authorities as required by law.

             3.    The Injunctive Relief Distributors and the Settling States shall not be
                   liable for any breaches of any databases maintained by the Clearinghouse.
                   This does not excuse the Clearinghouse or its vendor(s) from compliance
                   with all state and federal laws and regulations governing (1) the protection
                   of personal information and protected health information, or (2)
                   notifications relating to Data Security Events.

       I.    Credit for Investment in the Clearinghouse

             1.    The Injunctive Relief Distributors and the State Compliance Review
                   Committee shall negotiate in good faith regarding a potential credit against
                   Injunctive Relief Distributors’ overall settlement obligations if costs
                   exceed the amounts specified in Section XVII.F.

 XVIII. MONITOR

       A.    Monitor Selection and Engagement

             1.    The Injunctive Relief Distributors shall engage a Monitor to perform the
                   reviews described in Section XVIII.F. The Monitor shall employ or retain
                   personnel who have appropriate qualifications related to the
                   pharmaceutical industry and the laws governing the distribution of
                   pharmaceuticals, the distribution of Controlled Substances, and the
                   applicable requirements of federal and state law. The Monitor may also
                   employ or retain personnel who have appropriate qualifications in the
                   audit and review of sample documents in order to conduct the reviews
                   described in Section XVIII.F. To the extent additional expertise is required

                                         Exhibit R
                                            37
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 211 of 238. PageID #: 576121




                   for the engagement, the Monitor may retain the services of third- party
                   consultants.

             2.    The Monitor must perform each review described in Section XVIII.F in a
                   professionally independent and objective fashion, as defined in the most
                   recent Government Auditing Standards issued by the United States
                   Government Accountability Office. A Monitor shall not be engaged in
                   active litigation involving one or more of the Injunctive Relief Distributors
                   or Settling States or present a potential conflict of interest involving
                   matters concerning an Injunctive Relief Distributor, except by agreement
                   of the affected parties. If the Monitor is employed by an entity that
                   performed work for any Injunctive Relief Distributor or any of the Settling
                   States prior to the Effective Date, the Monitor will cause to be
                   implemented appropriate ethical walls between the Monitor team and the
                   employees of the firm who have previously performed work for an
                   Injunctive Relief Distributor or any of the Settling States.

             3.    The process for selecting the Monitor shall be as follows:

                   a)     Within sixty (60) calendar days of the Effective Date, the
                          Injunctive Relief Distributors and the State Compliance Review
                          Committee shall exchange pools of recommended candidates to
                          serve as the Monitor. The pools shall each contain the names of
                          three (3) individuals, groups of individuals, or firms.

                   b)     After receiving the pools of Monitor candidates, the Injunctive
                          Relief Distributors and the State Compliance Review Committee
                          shall have the right to meet with the candidates and conduct
                          appropriate interviews of the personnel who are expected to work
                          on the project. The Injunctive Relief Distributors (individually or
                          in combination) and the State Compliance Review Committee may
                          veto any of the candidates, and must do so in writing within thirty
                          (30) days of receiving the pool of candidates. If all three (3)
                          candidates within a pool are rejected by either the Injunctive Relief
                          Distributors or the State Compliance Review Committee, the party
                          who rejected the three (3) candidates may direct the other party to
                          provide up to three (3) additional qualified candidates within thirty
                          (30) calendar days of receipt of said notice.

                   c)     If the Injunctive Relief Distributors or the State Compliance
                          Review Committee do not object to a proposed candidate, the
                          Injunctive Relief Distributors or the State Compliance Review
                          Committee shall so notify the other in writing within thirty (30)
                          days of receiving the pool of candidates. If more than one
                          candidate remains, the State Compliance Review Committee shall
                          select the Monitor from the remaining candidates. Within thirty
                          (30) calendar days of the selection of the Monitor, the Injunctive

                                         Exhibit R
                                            38
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 212 of 238. PageID #: 576122




                          Relief Distributors shall retain the Monitor, and finalize all terms
                          of engagement, supplying a copy of an engagement letter to the
                          State Compliance Review Committee. The terms of engagement
                          shall include a process by which Injunctive Relief Distributors may
                          challenge Monitor costs as excessive, duplicative or unnecessary,
                          which process must be approved by the State Compliance Review
                          Committee.

             4.    The Injunctive Relief Distributors shall be responsible for the Monitor’s
                   fees and costs directly related to its performance of the work specified by
                   the Injunctive Relief Terms up to a limit of $1,000,000 per year per
                   Injunctive Relief Distributor (i.e. a total of $3,000,000 per year).

             5.    Prior to each year, the Monitor shall submit a combined annual budget to
                   the Injunctive Relief Distributors and State Compliance Review
                   Committee that shall not exceed a total of $3,000,000. The Monitor shall
                   submit quarterly reports to the Injunctive Relief Distributors and the State
                   Compliance Review Committee tracking actual spend to the annual
                   budget.

             6.    In the event that any of the Injunctive Relief Distributors or State
                   Compliance Review Committee believe that the Monitor is not performing
                   its duties and responsibilities under the Injunctive Relief Terms in a
                   reasonably cost effective manner, an Injunctive Relief Distributor or the
                   State Compliance Review Committee shall recommend in writing changes
                   to the Monitor’s practices to reduce cost. The Monitor, Injunctive Relief
                   Distributors, and the State Compliance Review Committee shall meet and
                   confer in good faith in response to such a recommendation.

             7.    In the event that the Injunctive Relief Distributor and the State
                   Compliance Review Committee cannot agree on whether the
                   recommended cost reductions are warranted, either the State Compliance
                   Review Committee or the Injunctive Relief Distributors may submit the
                   question to the National Arbitration Panel, who shall determine whether
                   the Monitor is performing its duties and responsibilities under the
                   Injunctive Relief Terms in a reasonably cost effective manner, and, if not,
                   the necessary changes to the Monitor’s practices to reduce cost.

             8.    If the National Arbitration Panel determines that the Monitor cannot
                   complete the reviews described in Section XVIII.F within the combined
                   annual budget of $3,000,000, the National Arbitration Panel shall require
                   the Monitor to provide the Injunctive Relief Distributors and the State
                   Compliance Review Committee with a written report explaining why it is
                   not possible to complete the reviews within budget and all steps the
                   Monitor has taken to perform its duties and responsibilities under the
                   Injunctive Relief Terms in a reasonably cost effective manner. After
                   receiving the Monitor’s report, the Injunctive Relief Distributors, and the

                                         Exhibit R
                                            39
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 213 of 238. PageID #: 576123




                    State Compliance Review Committee shall meet and confer in good faith
                    to determine whether an increase in the combined budget is appropriate. If
                    the Injunctive Relief Distributors and the State Compliance Review
                    Committee cannot reach an agreement on the amount of the reasonable
                    costs in excess of $3,000,000 for the relevant year, the issue will be
                    submitted to the National Arbitration Panel for resolution. The National
                    Arbitration Panel may award additional costs up to total cap of
                    $5,000,000 for the relevant year ($3,000,000 plus an additional
                    $2,000,000).

             9.     Unless the Injunctive Relief Distributors and the State Compliance
                    Review Committee agree otherwise as part of the meet and confer process
                    in the prior paragraph (such as by agreeing to limit the Monitor’s duties
                    and responsibilities for the remainder of the year), the amount above
                    $3,000,000 and up to the total cap of $5,000,000 in a given year necessary
                    for the Monitor to complete the reviews described in Section XVIII.F shall
                    be divided evenly among the Injunctive Relief Distributors without
                    reducing any other amounts that are the responsibility of the Injunctive
                    Relief Distributors.

       B.    Early Termination of the Monitor

             1.     In the event any of the Injunctive Relief Distributors or State Compliance
                    Review Committee believe that the Monitor is not performing its duties
                    and responsibilities under the Injunctive Relief Terms in a reasonably
                    professional, competent and independent manner, an Injunctive Relief
                    Distributor or the State Compliance Review Committee shall recommend
                    replacement of the Monitor in writing. The Injunctive Relief Distributors
                    and the State Compliance Review Committee shall meet and confer in
                    good faith in response to a recommendation to replace the Monitor. If the
                    State Compliance Review Committee and the Injunctive Relief
                    Distributors agree that the Monitor should be replaced, a replacement
                    Monitor will be selected in the manner set forth in Section XVIII.A.3.

             2.     In the event the Injunctive Relief Distributor and the State Compliance
                    Review Committee cannot agree on whether the Monitor should be
                    replaced, either the State Compliance Review Committee or the Injunctive
                    Relief Distributors may submit the question of the Monitor’s dismissal to
                    the National Arbitration Panel, and the Monitor shall only be dismissed if
                    that panel finds that there is Good Cause for dismissal. Good Cause for
                    dismissal shall mean (a) a material and substantial breach of the terms of
                    the the Monitor’s obligations under the Injunctive Relief Terms; (b) any
                    act of dishonesty, misappropriation, embezzlement, intentional fraud, or
                    similar conduct by the Monitor; (c) any clear pattern of bias or prejudice
                    in favor or against any party by the Monitor; (d) conduct by the Monitor
                    that demonstrates unfitness to fulfill the functions of the Monitor
                    reasonably and competently; or (e) conflicts of interest described in

                                         Exhibit R
                                             40
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 214 of 238. PageID #: 576124




                    Section XVIII.A.2. If the panel finds that the Monitor should be
                    dismissed, a replacement Monitor will be selected in the manner set forth
                    in Section XVIII.A.3.

             3.     In addition, if the Monitor resigns for any reason, a replacement Monitor
                    will be selected in the manner set forth in Section XVIII.A.3.

       C.    Term and Reporting Periods

             1.     The term of the Monitor will be five (5) years from the date the Monitor is
                    appointed, divided into one-year periods for purposes of the reviews and
                    reporting described in Section XVIII (“Reporting Periods”).

       D.    Monitor Access to Information

             1.     In connection with its reviews set forth in Section XVIII.F, the Monitor
                    may request to interview employees with appropriate authority and
                    responsibilities as necessary. In the event that an Injunctive Relief
                    Distributor believes that the Monitor is requesting an unreasonable
                    number of interviews or requesting interviews of employees who do not
                    have relevant information to the reviews required by Section XVIII.F, the
                    Injunctive Relief Distributor and State Compliance Review Committee
                    shall meet and confer in good faith to resolve this issue.

             2.     The Chief Diversion Control Officer of each Injunctive Relief Distributor
                    or a direct report of the Chief Diversion Control Officer shall serve as the
                    primary point of contact for the Monitor to facilitate the Monitor’s access
                    to documents, materials, or staff necessary to conduct the reviews
                    specified in Section XVIII.F. The Monitor shall communicate any request
                    for documents, materials, or access to staff to the Chief Diversion Control
                    Officers or their designees.

             3.     If at any time the Monitor believes there is undue delay, resistance,
                    interference, limitation, or denial of access to any records or to any
                    employee or former employee deemed necessary by the Monitor to
                    conduct the reviews specified in Section XVIII.F, the Monitor shall notify
                    the Chief Diversion Control Officer of the Injunctive Relief Distributor
                    and they shall meet and confer to resolve such issue. If the Monitor
                    believes that the matter was not resolved, the Monitor shall immediately
                    report the issue to the State Compliance Review Committee.

             4.     To the extent any of the documents requested by the Monitor contain
                    material protected from disclosure by any legal privilege including the
                    attorney-client privilege or attorney work product protections, an
                    Injunctive Relief Distributor may redact such material before providing
                    the documents to the Monitor, but must provide the Monitor with a
                    privilege log describing the redacted information and identifying the basis
                    for redaction.
                                          Exhibit R
                                             41
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 215 of 238. PageID #: 576125




             5.     Notwithstanding any other information referenced and produced pursuant
                    to Section XVIII, the Monitor shall have access to, and each Injunctive
                    Relief Distributor’s Chief Diversion Control Officer shall produce to the
                    Monitor, any settlement agreements with government entities entered into
                    after the Effective Date specifically concerning the requirements contained
                    in the Injunctive Relief Terms and an Injunctive Relief Distributor’s
                    distribution of Controlled Substances (as opposed to distribution of
                    pharmaceutical products in general).

       E.    Settling States’ Access to Monitor

             1.     Other than in connection with the initiation of a Notice of Potential
                    Violation set forth in Section XIX.B.2, should the Monitor believe it needs
                    to initiate communication with the State Compliance Review Committee
                    regarding an Injunctive Relief Distributor’s compliance with the
                    Injunctive Relief Terms, the Monitor’s communications should include the
                    Chief Diversion Control Officer or counsel of the affected Injunctive
                    Relief Distributor, regardless of the form of communication.

             2.     The State Compliance Review Committee shall have access to any
                    settlement agreements produced to the Monitor pursuant to Section
                    XVIII.D.5.

       F.    Reviews to be Conducted by the Monitor

             1.     There shall be two (2) types of reviews to be conducted by the Monitor:

                    a)     Customer-specific reviews, as set forth in Section XVIII.F.2; and

                    b)     System reviews, as set forth in Section XVIII.F.3.

             2.     Customer-Specific Reviews

                    a)     The following Customer-specific reviews will be conducted by the
                           Monitor for each Injunctive Relief Distributor for each of the
                           Reporting Periods:

                           (1)     Threshold Change Request Review (“TCR Review”);

                           (2)     Onboarding New Customer Review (“Onboarding
                                   Review”);

                           (3)     Ongoing Due Diligence Review (“Ongoing Diligence
                                   Review”);

                           (4)     Customer Termination Review (“Termination Review”);
                                   and


                                          Exhibit R
                                             42
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 216 of 238. PageID #: 576126




                         (5)    Orders that Exceed Thresholds but are Shipped Review
                                (“Exceeded Threshold Review”).

                   b)    Sample selection and audit periods for TCR Reviews, Onboarding
                         Reviews, Ongoing Diligence Reviews, Termination Reviews, and
                         Exceeded Threshold Reviews.

                         (1)    For each Reporting Period, the Monitor will review a
                                representative sample of files for the performance of the
                                TCR Reviews, Onboarding Reviews, and Ongoing
                                Diligence Reviews. The Monitor shall select a sample
                                representative of various geographic regions, customer
                                types (Independent Retail Pharmacy Customers or Chain
                                Customer), and distribution centers.

                         (2)    The Monitor will meet and confer with each of the
                                Injunctive Relief Distributors to determine the appropriate
                                audit period within each Reporting Period from which the
                                samples will be selected (e.g. samples will be selected from
                                the first six (6) months of a reporting period to allow the
                                Monitor time to perform its review during the remainder of
                                the reporting period).

                         (3)    Within thirty (30) calendar days following the close of the
                                agreed-upon audit period, the Injunctive Relief Distributors
                                (or the Clearinghouse once operational, if able to do so)
                                will provide the Monitor with the following lists of relevant
                                Customers for each type of review:

                                (a)    A list of all Customers that requested at least one
                                       Threshold increase for a Highly Diverted Controlled
                                       Substance during the relevant audit period,
                                       including the number of such requests by each
                                       Customer;

                                (b)    A list of all Customers that were onboarded during
                                       the relevant audit period and, during that period,
                                       ordered and received Highly Diverted Controlled
                                       Substances;

                                (c)    A list of all Customers that were the subject of an
                                       Ongoing Diligence Review during the relevant audit
                                       period;

                                (d)    A list of all Customers that, for reasons related to
                                       Controlled Substance regulatory compliance, were
                                       terminated during the relevant audit period; and


                                      Exhibit R
                                          43
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 217 of 238. PageID #: 576127




                               (e)     A list of all Orders for Highly Diverted Controlled
                                       Substances where a decision was made to ship the
                                       Order even though the order exceeded the otherwise
                                       applicable Threshold, with number of such shipped
                                       orders.

                         (4)   Within fifteen (15) calendar days of compiling this
                               Customer information for sample selection, each Injunctive
                               Relief Distributor shall propose a reasonable number of
                               customer files for each review to the Monitor.

                         (5)   Within fifteen (15) calendar days of receiving the lists
                               specified above from the Injunctive Relief Distributors, the
                               Monitor shall choose representative files to be reviewed
                               from these lists. Each list will include the Customers’ zip
                               code, geographic region, distribution center, and customer
                               type (Independent Retail Pharmacy Customer or Chain
                               Customer).

                   c)    TCR Reviews

                         (1)   For each Reporting Period, the Monitor shall conduct a
                               TCR Review for a sample review of Customers who
                               requested at least one Threshold increase for Highly
                               Diverted Controlled Substances for each Injunctive Relief
                               Distributor. For the TCR Reviews, the Monitor shall review
                               the information contained in the files of the sample
                               Customers and determine whether the information reflects
                               substantial compliance with the requirements of Section
                               XII.C.3.

                   d)    Onboarding Reviews

                         (1)   For each Reporting Period, the Monitor shall conduct an
                               Onboarding Review of a sample of Customers that were
                               onboarded during the applicable audit period and, during
                               that period, ordered and received Highly Diverted
                               Controlled Substances from the Injunctive Relief
                               Distributor. For the Onboarding Reviews, the Monitor shall
                               review the information contained in the files of the sample
                               Customers and determine whether the information reflects
                               substantial compliance with the requirements of Section IX.

                   e)    Ongoing Diligence Reviews

                         (1)   For each Reporting Period, the Monitor shall conduct an
                               Ongoing Diligence Review of a sample of Customers for
                               each Injunctive Relief Distributor that was the subject of an
                                       Exhibit R
                                          44
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 218 of 238. PageID #: 576128




                                Ongoing Diligence Review during the relevant audit
                                period. For the Ongoing Diligence Reviews, the Monitor
                                shall review the information contained in the files of the
                                sample of Customers and determine whether the
                                information reflects substantial compliance with the
                                requirements of Section X.

                   f)    Termination Reviews

                         (1)    For each Reporting Period, the Monitor shall conduct a
                                review of a sample of Customers that were terminated by
                                each Injunctive Relief Distributor during the audit period.
                                For the Termination Reviews, the Monitor shall review the
                                information contained in the files of the sample of
                                Customers and determine whether the information reflects
                                substantial compliance with the requirements of Section
                                XIV.

                   g)    Exceeded Threshold Review

                         (1)    For each Reporting Period, the Monitor shall conduct a
                                review of a sample of Orders for Highly Diverted
                                Controlled Substances where a decision was made by the
                                Injunctive Relief Distributor to ship the Order even though
                                the Order exceeded the applicable Threshold. For the
                                Exceeded Threshold Reviews, the Monitor shall review the
                                information contained in the Customer files related to the
                                Orders and determine whether the information reflects
                                substantial compliance with the requirements of Section
                                XIII.B.

             3.    Annual System Reviews:

                   a)    The following system reviews will be conducted by the Monitor
                         for each Injunctive Relief Distributor for each of the Reporting
                         Periods:

                         (1)    CSMP Review;

                         (2)    Threshold Setting Process Review;

                         (3)    Suspicious Orders and Suspicious Order Report Review;

                         (4)    Compensation Review;

                         (5)    Red Flag Review; and

                         (6)    Review of CSMP Integration with Clearinghouse.

                                       Exhibit R
                                          45
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 219 of 238. PageID #: 576129




                   b)    CSMP Review

                         (1)    For each Reporting Period, the Monitor shall conduct a
                                review of the following materials from each Injunctive
                                Relief Distributor:

                                (a)    Current CSMP policies and procedures;

                                (b)    Organizational charts for the departments that are
                                       relevant to the CSMP organization;

                                (c)    Logs and/or summaries of any reports received on
                                       the “hot line” required by Section V.E and the
                                       action or response of an Injunctive Relief
                                       Distributor to any such reports;

                                (d)    Copies of the quarterly reports provided by the
                                       Chief Diversion Control Officer to the CSMP
                                       Committee as required by Section IV.C;

                                (e)    Copies of the quarterly reports provided by the
                                       CSMP Committee to senior management and the
                                       Board of Directors as required by Section VI.C; and

                                (f)    Copies of the materials used for the training
                                       required by Section VII and lists of the attendees of
                                       the training.

                   c)    Threshold Setting Process Review:

                         (1)    For each Reporting Period, each Injunctive Relief
                                Distributor or its outside consultants shall prepare a
                                summary report describing how its Threshold-setting
                                methodology for Independent Retail Pharmacy Customers
                                and Chain Customers complies with Section XII (the
                                “Annual Threshold Analysis and Assessment Report”).

                         (2)    For each Reporting Period, the Monitor shall review the
                                Annual Threshold Analysis and Assessment Report,
                                determine whether the information reflects substantial
                                compliance with the requirements of Section XII, and
                                include any Observations and Recommendations, as
                                defined in Section XVIII.G, in its annual Audit Report.

                   d)    Suspicious Orders and Suspicious Order Reporting Review:

                         (1)    For each Reporting Period, each Injunctive Relief
                                Distributors will provide the Monitor with a report

                                      Exhibit R
                                          46
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 220 of 238. PageID #: 576130




                                containing summary metrics for the Suspicious Orders that
                                were reported to the DEA and the Settling States (the
                                “Suspicious Order Metrics Report”). In the Suspicious
                                Order Metrics Report, the Injunctive Relief Distributors
                                will also provide summary metrics for Orders of Highly
                                Diverted Controlled Substances that exceeded a Threshold
                                but were still shipped.

                          (2)   For each Reporting Period, the Monitor shall review the
                                Suspicious Order Metrics Report, determine whether the
                                information reflects substantial compliance with the
                                requirements of Section XIII, and include any Observations
                                and Recommendations in its annual Audit Report.

                   e)     Compensation Reviews:

                          (1)   For each Reporting Period, the Monitor will review
                                compensation-related policy documents for each Injunctive
                                Relief Distributor for sales personnel. The Monitor shall
                                analyze those documents and determine whether the
                                compensation policies of each Injunctive Relief Distributor
                                comply with the requirements contained in Section V.

                   f)     Red Flags Review:

                          (1)   For each Reporting Period, the Monitor shall review the
                                Red Flags defined in Section VIII and their incorporation
                                into each Injunctive Relief Distributor’s policies and
                                procedures. The Monitor shall determine whether the
                                information reflects substantial compliance with the
                                requirements of Section VIII and include any Observations
                                and Recommendations, as called for by Section VIII.C,
                                about those definitions in its annual Audit Report.

                   g)     Review of CSMP Integration with the Clearinghouse:

                          (1)   For each Reporting Period, each Injunctive Relief
                                Distributor shall prepare a report summarizing the status of
                                the Injunctive Relief Distributor’s CSMP integration with
                                the operation of the Clearinghouse (“Clearinghouse
                                Integration Report”). The Monitor shall review each
                                Injunctive Relief Distributor’s Clearinghouse Integration
                                Report, determine whether the information reflects
                                substantial compliance with the requirements of Section
                                XVII, and include any Observations and Recommendations
                                in its annual Audit Report.

       G.    Observations and Recommendations:
                                       Exhibit R
                                          47
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 221 of 238. PageID #: 576131




             1.     If the Monitor notes any areas for potential improvement during the course
                    of the reviews conducted pursuant to the Injunctive Relief Terms, the
                    Monitor shall include any such recommendations in the Audit Report.
                    Collectively, any such questions, concerns or recommendations will be
                    referred to as “Observations and Recommendations.”

       H.    Audit Reports:

             1.     No later than one hundred and twenty (120) calendar days prior to the end
                    of a Reporting Period and/or at any other time deemed reasonably
                    necessary by the Monitor, the Monitor shall provide each Injunctive Relief
                    Distributor with a draft report detailing any instances of substantial non-
                    compliance with the applicable provisions of the Injunctive Relief Terms
                    from the reviews in Section XVIII.F (the “Draft Report”). The Draft
                    Report will also describe any Observations and Recommendations.

             2.     Within thirty (30) calendar days of its receipt of the Draft Report, the
                    Injunctive Relief Distributor will provide comments and responses to the
                    Draft Report. The Injunctive Relief Distributor will, among other things:

                    a)        Respond to each instance of substantial non-compliance, including,
                              where appropriate, describing any corrective action taken (or to be
                              taken).

                    b)        Respond to each Observation and Recommendation.

             3.     Within thirty (30) calendar days of its receipt of the Injunctive Relief
                    Distributors’ responses to the Draft Report, the Monitor shall provide a
                    final report (the “Audit Report”) to each Injunctive Relief Distributor and
                    the State Compliance Review Committee. The Monitor shall provide the
                    State Compliance Review Committee with a copy of an Injunctive Relief
                    Distributor’s response to the Draft Report.

             4.     No action or lack of action by the Settling States regarding information
                    received from the Monitor concerning an Injunctive Relief Distributor’s
                    conduct shall be considered affirmation, acceptance, or ratification of that
                    conduct by the Settling States.

       I.    Confidentiality:

             1.     Materials and information provided by the Injunctive Relief Distributors
                    to the Monitor that are designated “Confidential” (and any parts, portions,
                    or derivations thereof) (the “Confidential Information”) will be kept
                    confidential and not be shown, disclosed, or distributed to any other party,
                    including any other Injunctive Relief Distributor.

             2.     The Monitor will not use materials or information received from one
                    Injunctive Relief Distributor, or information or analysis developed using

                                            Exhibit R
                                               48
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 222 of 238. PageID #: 576132




                   the Confidential Information of an Injunctive Relief Distributor, in its
                   assessment of any other Injunctive Relief Distributor. Because each
                   Injunctive Relief Distributor operates pursuant to its own unique policies
                   and procedures intended to comply with legal and other requirements of
                   the Injunctive Relief Terms, the Monitor shall apply the standards of each
                   Injunctive Relief Distributor to its reviews without preference to the
                   practices or standards applied by any other Injunctive Relief Distributor.

             3.    If any of the Settling States or the Monitor receive a request for disclosure
                   of any material or information created or shared under the Injunctive
                   Relief Terms, pursuant to a Third Party Request, the Settling State or the
                   Monitor, respectively, shall notify the Injunctive Relief Distributors of the
                   Third Party Request and the Confidential Information to be disclosed so
                   that the Injunctive Relief Distributors may seek a protective order or
                   otherwise challenge or object to the disclosure. The Settling State or the
                   Monitor will provide the Injunctive Relief Distributors with at least ten
                   (10) days’ advance notice before complying with any Third Party Request
                   for Confidential Information, except where state law requires a lesser
                   period of advance notice.

             4.    Nothing herein will be deemed to prevent any party from claiming any
                   applicable exemption to the public information act, freedom of
                   information act, public records act, or similar law.

 XIX. ENFORCEMENT OF INJUNCTIVE RELIEF TERMS

       A.    State Compliance Review Committee:

             1.    Any Settling State may initiate a review of a Potential Violation consistent
                   with the process set forth in Section XIX.

             2.    The State Compliance Review Committee shall assign the Monitor the
                   responsibilities set forth in Sections XIX.B.3 through XIX.B.7, regarding
                   review of a Potential Violation and an opportunity to cure, except with
                   respect to matters requiring interpretation of the Injunctive Relief Terms
                   subject to Section XIX.C.2. The objective of the Monitor shall be to
                   facilitate a resolution among the parties, providing an opportunity to cure,
                   as applicable, for the party against whom a Potential Violation has been
                   alleged.

             3.    No less than six (6) months before the Monitor’s term expires pursuant to
                   Section XVIII, the State Compliance Review Committee and Injunctive
                   Relief Distributors shall meet and confer in good faith to determine the
                   parameters and processes for continued enforcement, consistent to the
                   maximum extent possible with the provisions set forth in Section XIX, for
                   the period after the Monitor’s term has ended. Absent agreement between
                   the State Compliance Review Committee and Injunctive Relief

                                         Exhibit R
                                            49
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 223 of 238. PageID #: 576133




                    Distributors, all provisions set forth in Section XIX involving the Monitor
                    are excused after the Monitor’s term has ended.

             4.     Should an Injunctive Relief Distributor allege in good faith that a Settling
                    State or the Monitor has impaired the ability of the Injunctive Relief
                    Distributor to meet the Injunctive Relief Terms, the Injunctive Relief
                    Distributor may request the State Compliance Review Committee to
                    mediate any dispute in an effort to avoid the time and expense of litigation
                    regarding interpretation and enforcement of the Injunctive Relief Terms.

       B.    Process for Review of Potential Violations and Opportunity to Cure:

             1.     Definition of “Potential Violation:” A Potential Violation occurs when an
                    Injunctive Relief Distributor is alleged to not be in substantial compliance
                    with (i) the Injunctive Relief Terms or (ii) a Corrective Action Plan
                    adopted consistent with the process set forth in Section XIX.B.7.

             2.     Submission of Notice of Potential Violation. An allegation of a Potential
                    Violation shall be submitted to the State Compliance Review Committee
                    in writing by one or more Settling States (“Notice of Potential Violation”
                    or “Notice”) and shall include the following to the extent practicable:

                    a)     Specification of the particular Injunctive Relief Term(s) and/or
                           Corrective Action Plan(s) implicated by the Potential Violation;

                    b)     Description of the Potential Violation with specificity;

                    c)     The reasoning for and, if available, any documentation supporting
                           the allegation that a Potential Violation has occurred, including
                           whether the Potential Violation is a matter identified by the
                           Monitor in an Audit Report; and

                    d)     Description of the time-sensitivity of the Potential Violation, if
                           relevant.

             3.     Assignment to Monitor. The State Compliance Review Committee shall
                    review every Notice. If the State Compliance Review Committee
                    reasonably believes that further review is warranted, the State Compliance
                    Review Committee shall forward the Notice to the Monitor. The Monitor
                    shall ensure that the Injunctive Relief Distributor that is the subject of the
                    Notice receives a copy of the Notice and a proposed schedule consistent
                    with the process set forth in Sections XIX.B.4 and XIX.B.5.

             4.     Response to Notice of Potential Violation. Within thirty (30) days of
                    receipt of the Notice of Potential Violation, the Injunctive Relief
                    Distributor that is the subject of the Notice shall provide a written
                    response to the referring Settling State(s), the Monitor, and the State
                    Compliance Review Committee. The response (a) shall set forth the

                                          Exhibit R
                                              50
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 224 of 238. PageID #: 576134




                   reasons the Injunctive Relief Distributor that is the subject of the Notice
                   believes that it is in substantial compliance with the relevant Injunctive
                   Relief Term(s) and/or Corrective Action Plan(s), and (b) as applicable,
                   shall explain efforts undertaken to cure the Potential Violation and a
                   schedule for completing the efforts to cure.

             5.    Conference for Parties re Notice of Potential Violation. The parties to the
                   Notice shall meet or otherwise confer regarding the Potential Violation.
                   The parties and the Monitor shall make themselves available for such a
                   meeting (which may at any party’s election be a virtual or technology-
                   based meeting), provided, however, that the meeting is not required to take
                   place sooner than fifteen (15) days after a written response to the Notice of
                   Potential Violation.

             6.    Process for Previously-Submitted Notices of Potential Violation. At the
                   request of the parties to a Notice, the Monitor shall determine whether the
                   Notice implicates the same or similar issues as a previously submitted
                   Notice or is a matter previously identified by the Monitor in an Audit
                   Report involving the same party alleged to have engaged in a Potential
                   Violation, and make an initial determination as to whether the issues needs
                   to be addressed anew. The Monitor shall inform the Settling State and
                   Injunctive Relief Distributor involved in the previous Notice or the subject
                   of a matter previously identified by the Monitor in an Audit Report of its
                   determination within five (5) business days of receipt of the Notice. The
                   Settling State and Injunctive Relief Distributor shall have five (5) business
                   days to object to the determination. If an objection is made, the Monitor
                   shall respond to the objection within five (5) business days. If no
                   objection is made, the party involved in the prior Notice may rely on the
                   response to the previously submitted Notice or matter previously
                   identified by the Monitor in an Audit Report and no further action shall be
                   required.

             7.    Monitor Resolution of Potential Violation and Opportunity to Cure.
                   Within thirty (30) days of the meeting pursuant to Section XIX.B.5, the
                   Monitor, taking into consideration the submissions of the parties involved
                   in the Notice and other information available to the Monitor, shall resolve
                   the Notice as follows:

                   a)     If the Monitor reasonably believes that a Potential Violation is not
                          ongoing or has been substantially resolved as of thirty (30) days
                          from the meeting pursuant to Section XIX.B.5, the Monitor shall
                          provide written notice to the State Compliance Review Committee
                          and the Settling State(s) and Injunctive Relief Distributor involved
                          in the Notice.

                   b)     If the Monitor reasonably believes that a Potential Violation is
                          ongoing and has not been substantially resolved as of thirty (30)

                                         Exhibit R
                                             51
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 225 of 238. PageID #: 576135




                          days from the meeting pursuant to Section XIX.B.5, the Monitor
                          shall provide written notice to the State Compliance Review
                          Committee and the Settling State(s) and Injunctive Relief
                          Distributor involved in the Notice and request that the Injunctive
                          Relief Distributor prepare, within thirty (30) days of the receipt of
                          such written notice, a Corrective Action Plan to remedy such
                          Potential Violation, including a reasonable period for
                          implementation of such plan. The Monitor may extend the period
                          of time to submit a Corrective Action Plan up to ninety (90) days
                          based on a reasonable request by the affected party.

                   c)     A Corrective Action Plan may address multiple Potential
                          Violations, and an existing Corrective Action Plan may be
                          amended to address additional Potential Violations.

                   d)     Within ten (10) business days of submission of a Corrective Action
                          Plan regarding a Potential Violation, the Monitor shall confer with
                          the State Compliance Review Committee and the Settling State(s)
                          and Injunctive Relief Distributor involved in the Notice regarding
                          the proposed Corrective Action Plan. The Monitor may
                          recommend revisions in its discretion. The conference required by
                          this paragraph may at any party’s election be a virtual or
                          technology-based meeting.

                   e)     Within thirty (30) days of the conference in Section XIX.B.7.d, the
                          Monitor shall advise the State Compliance Review Committee and
                          the Settling State(s) and Injunctive Relief Distributor involved in
                          the Notice whether the Monitor has adopted the proposed
                          Corrective Action Plan or whether the Monitor has adopted it after
                          making modifications. The Monitor shall also set forth a
                          reasonable period for implementation of any such plan that has
                          been adopted. The Injunctive Relief Distributor that is subject to a
                          Corrective Action Plan adopted by the Monitor must begin to
                          comply with the Corrective Action Plan within five (5) business
                          days of receiving notice of the Corrective Action Plan has been
                          adopted, unless it seeks review by the State Compliance Review
                          Committee pursuant to Section XIX.C.1.

       C.    Enforcement Responsibilities of State Compliance Review Committee:

             1.    The Settling State(s) or Injunctive Relief Distributor involved in a Notice
                   may request the State Compliance Review Committee to review the
                   resolution (including a resolution pursuant to Section XIX.B.7.a) and/or
                   Corrective Action Plan adopted by the Monitor regarding that Notice. Any
                   such request must be made within five (5) business days of a resolution or
                   adoption of a Corrective Action Plan by the Monitor. The State
                   Compliance Review Committee, taking into consideration the resolution

                                        Exhibit R
                                            52
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 226 of 238. PageID #: 576136




                   by the Monitor, submissions of the Settling State(s) or Injunctive Relief
                   Distributor, and other information available to the Committee, shall within
                   thirty (30) days of receipt of the request resolve the matter by written
                   notice to the affected parties, which shall include the State Compliance
                   Review Committee’s reasoning in reaching its resolution. The State
                   Compliance Review Committee may agree, disagree, or modify any
                   resolution or Corrective Action Plan that it reviews. An Injunctive Relief
                   Distributor that is subject to a Corrective Action Plan that is affirmed or
                   affirmed as amended by the State Compliance Review Committee must
                   within five (5) business days begin to comply with the Corrective Action
                   Plan.

             2.    The State Compliance Review Committee shall review any issues raised
                   by a Notice regarding the interpretation of the Injunctive Relief Terms at
                   the request of the Settling State(s), Injunctive Relief Distributor involved
                   in a Notice, or the Monitor. Such a request may be made at any time after
                   the Notice’s submission, and the request will not extend the timelines set
                   forth in Sections XIX.B and XIX.C.1. The State Compliance Review
                   Committee shall notify the Monitor, Settling State(s) and Injunctive Relief
                   Distributor involved in the Notice of its determination. Settling States and
                   Injunctive Relief Distributors do not waive their rights to challenge the
                   interpretation of the Injunctive Relief Terms by the State Compliance
                   Review Committee in any subsequent proceeding pursuant to Section
                   XIX.E.2.

             3.    The State Compliance Review Committee may, independent of a Notice
                   of Potential Violation, review requests by a Monitor, Settling State, or
                   Injunctive Relief Distributor regarding the interpretation of the Injunctive
                   Relief Terms. The State Compliance Review Committee shall notify the
                   Monitor and requesting party of its interpretation, including the State
                   Compliance Review Committee’s reasoning in reaching its conclusion.
                   Settling States and Injunctive Relief Distributors do not waive their rights
                   to challenge the interpretation of the Injunctive Relief Terms by the State
                   Compliance Review Committee in any subsequent proceeding pursuant to
                   Section XIX.E.2.

             4.    The State Compliance Review Committee shall make available to all
                   Settling States and Injunctive Relief Distributors any interpretation it
                   issues pursuant to Sections XIX.C.2 and XIX.C.3.

       D.    Composition of State Compliance Review Committee:

             1.    A Settling State on the State Compliance Review Committee that is in
                   active litigation with one or more of the Injunctive Relief Distributors, or
                   in another potential conflict of interest involving compliance with
                   Controlled Substances laws and regulations, may not serve on the State
                   Compliance Review Committee for matters involving the affected

                                         Exhibit R
                                             53
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 227 of 238. PageID #: 576137




                   Injunctive Relief Distributor, and the remaining Settling States on the
                   State Compliance Review Committee shall within five (5) business days
                   select an alternate Settling State as a replacement.

             2.    If the affected state on the State Compliance Review Committee disputes
                   that it has a disqualifying active litigation or other conflict of interest, the
                   determination of whether that state has a conflict disqualifying it from
                   serving on the State Compliance Review Committee shall be made by the
                   remaining states on the State Compliance Review Committee.

       E.    Enforcement Actions:

             1.    Any written notice or resolution by the State Compliance Review
                   Committee regarding the matters set forth in Sections XIX.B and XIX.C
                   shall provide the State Compliance Review Committee’s assessment of the
                   matter but will not be an official opinion of any individual Settling State.

             2.    Following the issuance of a written notice or resolution of the State
                   Compliance Review Committee pursuant to Section XIX.C, a Settling
                   State or Injunctive Relief Distributor may take whatever action it deems
                   necessary related to the written notice or resolution issued by the State
                   Compliance Review Committee, provided that the Settling State or
                   Injunctive Relief Distributor is either (a) the Settling State that sought
                   review by the State Compliance Review Committee, or (b) the Injunctive
                   Relief Distributor that is the subject of the Potential Violation at issue.
                   Such action may include but is not limited to bringing an action to enforce
                   the settlement agreement, filing a new original action, or, the parties to a
                   Notice attempting to negotiate a Corrective Action Plan directly with each
                   other.

             3.    The Settling States agree that prior to taking any court or administrative
                   action, other than an action that is necessary to address an immediate
                   threat to the health, safety, or welfare of the citizens of the Settling State,
                   or that a public emergency requiring immediate action exists, it will follow
                   the process outlined in Sections XIX.B and XIX.C.

             4.    A Settling State or Injunctive Relief Distributor must bring a court or
                   administrative action within six (6) months of any resolution of the State
                   Compliance Review Committee, unless the alleged violation is also an
                   independent violation of state or federal law, or an action that a Settling
                   State concludes is necessary to address an immediate threat to the health,
                   safety, or welfare of the citizens of the State, or that a public emergency
                   requiring immediate action exists, in which cases, the applicable statute of
                   limitations (if any) for sovereign actions shall apply.




                                          Exhibit R
                                              54
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 228 of 238. PageID #: 576138




            SETTLING DISTRIBUTORS’ MOTION TO DISMISS
           CLAIMS FILED BY NON-PARTICIPATING NEW YORK
                SUBDIVISIONS AS BARRED BY STATUTE




                          EXHIBIT C
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 229 of 238. PageID #: 576139




                                         STATE OF NEW YORK
                                  OFFICE OF THE ATTORNEY GENERAL

 LETITIA JAMES                                                                    EXECUTIVE DIVISION
 ATTORNEY GENERAL

                                                                       November 17, 2021

 Via Electronic Mail and Overnight Courier

 Michael T. Reynolds, Esq.                           Salvatore C. Badala, Esq.
 Cravath, Swaine & Moore LLP                         Napoli Shkolnik PLLC
 825 8th Avenue                                      400 Broadhollow Road
 New York, NY 10019                                  Melville, NY 11747

 Elaine Golin, Esq.                                  Jayne Conroy, Esq.
 Wachtell, Lipton, Rosen & Katz                      Simmons Hanly Conroy LLC
 51 west 52nd Street                                 112 Madison Avenue
 New York, NY 10019                                  7th Floor
                                                     New York, NY 10016
 Thomas J. Perrelli, Esq.
 Jenner & Block LLP
 1099 New York Avenue, NW
 Suite 900
 Washington, DC 20001-4412


        Re:      Distributors New York Settlement Agreement

 Dear Counsel:

        I am writing on behalf of the State of New York to provide notice of the State’s
 compliance with certain provisions of the Distributors New York Settlement Agreement
 executed on July 20, 2021 (“Agreement”) as of today, the Initial Participation Date.1

         With respect to the Incentive Payments, the State has satisfied the eligibility requirements
 for Incentive Payment A under Section V.F.1 of the Agreement because: (i) pursuant to New
 York Mental Hygiene Law § 25.18(d), there is a Bar in full force and effect that enjoins all Non-
 Litigating Subdivisions from asserting any Released Claims against the Released Entities and
 extinguishes by operation of law all claims asserted by all Litigating Subdivisions against the
 Released Entities in any actions commenced after June 30, 2019 (“Barred Litigating

 1
   The definitions set forth in Section II of the Agreement apply to all italicized terms used in this
 letter.


 28 LIBERTY STREET, NEW YORK, NY 10005 ● PHONE (212) 416-6127 ● FAX (212) 416-6003 ● WWW.AG.NY.GOV
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 230 of 238. PageID #: 576140
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 231 of 238. PageID #: 576141
 Schedule to 11-17-21 Letter


  Releasing Subdivisions

  ALBANY CITY
  ALBANY COUNTY
  ALLEGANY COUNTY
  AMHERST TOWN
  AMSTERDAM CITY
  AUBURN CITY
  BROOME COUNTY
  BUFFALO CITY
  CATTARAUGUS COUNTY
  CAYUGA COUNTY
  CHAUTAUQUA COUNTY
  CHEEKTOWAGA TOWN
  CHEMUNG COUNTY
  CHENANGO COUNTY
  CLINTON COUNTY
  COLUMBIA COUNTY
  CORTLAND COUNTY
  DUTCHESS COUNTY
  ERIE COUNTY
  ESSEX COUNTY
  FRANKLIN COUNTY
  FULTON COUNTY
  GENESEE COUNTY
  GENEVA CITY
  GREENE COUNTY
  HAMILTON COUNTY
  HERKIMER COUNTY
  HERKIMER VILLAGE
  ITHACA CITY
  JEFFERSON COUNTY
  LACKAWANNA CITY
  LANCASTER TOWN
  LEWIS COUNTY
  LIVINGSTON COUNTY
  MADISON COUNTY
  MONROE COUNTY
  MONTGOMERY COUNTY
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 232 of 238. PageID #: 576142
 Schedule to 11-17-21 Letter


  MOUNT VERNON CITY
  NASSAU COUNTY
  NEW YORK CITY
  NIAGARA COUNTY
  OGDENSBURG CITY
  ONEIDA COUNTY
  ONONDAGA COUNTY
  ONTARIO COUNTY
  ORANGE COUNTY
  ORLEANS COUNTY
  OSWEGO COUNTY
  OTSEGO COUNTY
  PLATTSBURGH CITY
  POUGHKEEPSIE CITY
  PUTNAM COUNTY
  RENSSELAER COUNTY
  ROCHESTER CITY

  ROCKLAND COUNTY
  ROME CITY
  SARATOGA COUNTY
  SARATOGA SPRINGS CITY
  SCHENECTADY CITY
  SCHENECTADY COUNTY
  SCHOHARIE COUNTY
  SCHUYLER COUNTY
  SENECA COUNTY
  ST LAWRENCE COUNTY
  STEUBEN COUNTY
  SUFFOLK COUNTY
  SULLIVAN COUNTY
  SYRACUSE CITY
  TIOGA COUNTY
  TOMPKINS COUNTY
  TONAWANDA TOWN
  TROY CITY
  ULSTER COUNTY
  UTICA
  WARREN COUNTY
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 233 of 238. PageID #: 576143
 Schedule to 11-17-21 Letter


  WASHINGTON COUNTY
  WESTCHESTER COUNTY
  WYOMING COUNTY
  YATES COUNTY
  YONKERS CITY


  Barred Litigating Subdivisions

  AMITYVILLE VILLAGE
  BABYLON TOWN
  BABYLON VILLAGE
  BELLPORT VILLAGE
  BROOKHAVEN TOWN
  CLARKSTOWN TOWN
  EAST HAMPTON TOWN
  EAST ROCKAWAY VILLAGE
  FARMINGDALE VILLAGE
  FLORAL PARK VILLAGE
  GARDEN CITY VILLAGE
  GREAT NECK VILLAGE
  GREENPORT VILLAGE
  HAVERSTRAW TOWN
  HEMPSTEAD TOWN
  HEMPSTEAD VILLAGE
  HUNTINGTON TOWN
  ISLAND PARK VILLAGE
  ISLANDIA VILLAGE
  ISLIP TOWN
  KINGSTON CITY
  LAKE GROVE VILLAGE
  LAWRENCE VILLAGE
  LINDENHURST VILLAGE
  LLOYD HARBOR VILLAGE
  LONG BEACH CITY
  LYNBROOK VILLAGE
  MASSAPEQUA PARK VILLAGE
  MILL NECK VILLAGE
  MILLERTON VILLAGE
  NEW HYDE PARK VILLAGE
  NISSEQUOGUE VILLAGE
  NORTH HEMPSTEAD TOWN
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 234 of 238. PageID #: 576144
 Schedule to 11-17-21 Letter


  NORTHPORT VILLAGE
  OLD WESTBURY VILLAGE
  ORANGETOWN TOWN
  OYSTER BAY TOWN
  PATCHOGUE VILLAGE
  POQUOTT VILLAGE
  PORT WASHINGTON NORTH VILLAGE
  POUGHKEEPSIE TOWN
  RAMAPO TOWN
  RIVERHEAD TOWN
  SALTAIRE VILLAGE
  SMITHTOWN TOWN
  SOUTHAMPTON TOWN
  SOUTHOLD TOWN
  STEWART MANOR VILLAGE
  STONY POINT TOWN
  SUFFERN VILLAGE
  VALLEY STREAM VILLAGE
  VILLAGE OF THE BRANCH VILLAGE
  WAPPINGER TOWN
  WAPPINGERS FALLS VILLAGE
  WEST HAMPTON DUNES VILLAGE
  WEST HAVERSTRAW VILLAGE
  WESTBURY VILLAGE

  Special Districts
  BELLMORE FIRE DISTRICT
  BOARD OF ED. OF ROCHESTER CITY SCHOOL DIST. (NY)
  CENTEREACH FIRE DISTRICT
  CENTERPORT FIRE DISTRICT
  ERIE COUNTY MEDICAL CENTER CORPORATION, ET AL.*
  HAUPPAUGE FIRE DISTRICT
  HICKSVILLE WATER DISTRICT
  ISLIP TERRACE FIRE DISTRICT
  LEVITTOWN FIRE DISTRICT
  MELVILLE FIRE DISTRICT
  MERRICK LIBRARY (NY)
  MILLER PLACE FIRE DISTRICT
  MOUNT SINAI FIRE DISTRICT
  NASSAU UNIVERSITY MEDICAL CENTER*
  NESCONSET FIRE DISTRICT
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 235 of 238. PageID #: 576145
 Schedule to 11-17-21 Letter


  NORTH MERRICK FIRE DISTRICT
  NORTH PATCHOGUE FIRE DISTRICT
  PLAINVIEW - OLD BETHPAGE PUBLIC LIBRARY (NY)
  PORT WASHINGTON WATER DISTRICT
  RIDGE FIRE DISTRICT
  ROCKVILLE CENTRE PUBLIC LIBRARY (NY)
  ROSALYN WATER DISTRICT
  SMITHTOWN FIRE DISTRICT
  SOUTH FARMINGDALE FIRE DISTRICT
  ST. JAMES FIRE DISTRICT
  STONY BROOK FIRE DISTRICT
  UNIONDALE FIRE DISTRICT
  WEST HEMPSTEAD PUBLIC LIBRARY


 *New York State is releasing these entities out of an abundance of caution, but by doing so the State is
 not intending to concede, and should not be construed as conceding, that these entities are “Special
 Districts” within the meaning of the definition of “Subdivision” under the Agreement.
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 236 of 238. PageID #: 576146




   Release of Opioid-Related Claims Pursuant to the Distributors New York
  Settlement Agreement and New York Mental Hygiene Law Section 25.18(d)


         WHEREAS pursuant to the Distributors New York Settlement Agreement (the
 “Settlement”), the State of New York, Nassau and Suffolk Counties and each Participating
 Subdivision have released their Released Claims against McKesson Corporation, Cardinal
 Health, Inc., (together “the Distributors”) and the related Released Entities, as the terms
 “Participating Subdivisions,” “Released Claims” and “Released Entities” are defined in the
 Settlement; and
        WHEREAS the Settlement provides in Section X.A that, as of the Effective Date of the
 Settlement, the Distributors and the related Released Entities will be released and forever
 discharged from all of the Releasors’ Released Claims, as the terms “Released Entities,”
 “Releasors” and “Released Claims” are defined in the Settlement; and
          WHEREAS the Settlement provides in Section II.CCC that Releasors (as defined in the
 Settlement) who are releasing claims under Section X.A include “to the maximum extent of the
 power of the New York State’s Attorney General . . . to release Claims” . . . “New York State’s .
 . . departments, agencies, divisions, boards, commissions, Subdivisions, districts,
 instrumentalities of any kind . . . any public entities, public instrumentalities, public educational
 institutions, unincorporated districts, fire districts, irrigation districts and other Special Districts
 in New York State;” and
         WHEREAS Section 25.18(d) of the Mental Hygiene Law provides the New York
 Attorney General with authority, through the release of opioid-related claims in a “statewide
 opioid settlement agreement” executed after June 1, 2021, to: (i) release the unfiled opioid-
 related claims of New York government entities like those identified in Section II.CCC against
 opioid distributors like the Distributors, and (ii) to release opioid-related claims filed by such
 New York government entities after June 30, 2019 against distributors like the Distributors; and
        WHEREAS the Settlement constitutes a “statewide opioid settlement agreement” under
 Section 25.18(d) of the Mental Hygiene Law;
         THEREFORE, pursuant to the foregoing provisions of the Settlement and the power and
 authority of the New York Attorney General, including under Section 25.18(d) of the Mental
 Hygiene Law, the Distributors and the other Released Entities are, as of the Effective Date,
 hereby released from any and all Released Claims of New York State, any of New York State’s
 past and present executive departments, state agencies, divisions, boards, commissions and
 instrumentalities with the regulatory authority to enforce state and federal controlled substances
 acts (including, without limitation, the New York State Department of Financial Services), any
 of New York State’s past and present executive departments, state agencies, divisions, boards,
 commissions and instrumentalities that have the authority to bring Claims related to Covered
 Conduct seeking money (including abatement and/or remediation) or revocation of a
 pharmaceutical distribution license, and any Participating Subdivision (collectively, Releasors),
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 237 of 238. PageID #: 576147




 as the terms “Participating Subdivisions,” “Released Claims,” “Released Entities,” and
 “Releasors” are defined in the Settlement. New York State (for itself and the Releasors),
 absolutely, unconditionally, and irrevocably covenants not to bring, file, or claim, or to cause,
 assist or permit to be brought, filed, or claimed, or to otherwise seek to establish liability for any
 Released Claims against any Released Entity in any forum whatsoever, as the terms “Released
 Claims,” “Released Entities,” and “Releasors” are defined in the Settlement.
 Dated: New York, New York
        November 17, 2021

 LETITIA JAMES
 Attorney General of the State of New York

 By: _________________________
        Jennifer Levy
        First Deputy Attorney General
 Office of the New York State Attorney General
 28 Liberty Street, 23rd Floor
 New York, NY 10006
 Tel: 212-416-8450
 Jennifer.Levy@ag.ny.gov
Case: 1:17-md-02804-DAP Doc #: 4374-1 Filed: 04/21/22 238 of 238. PageID #: 576148




                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION



     IN RE: NATIONAL PRESCRIPTION
           OPIATE LITIGATION

           This document relates to:
                                                                        MDL No. 2804
        All cases identified in Exhibit A
                                                                   Hon. Dan Aaron Polster



              [PROPOSED] ORDER GRANTING SETTLING DISTRIBUTORS’
             MOTION TO DISMISS CLAIMS FILED BY NON-PARTICIPATING
                 NEW YORK SUBDIVISIONS AS BARRED BY STATUTE

         Upon consideration of Settling Distributors’ Motion To Dismiss Claims Filed By Non-

 Participating New York Subdivisions As Barred By Statute (“Settling Distributors’ Motion”),

 and any opposition thereto, and as there is no just reason for delay, it is hereby ORDERED that

 Settling Distributors’ Motion is GRANTED. It is further ORDERED that the claims asserted

 against Settling Distributors1 in the lawsuits listed on Exhibit A (attached hereto and to Settling

 Distributors’ Motion) are hereby DISMISSED WITH PREJUDICE.


                                                                             ______________________

                                                                             Hon. Dan A. Polster
                                                                             United States District Judge


 1
  The Settling Distributors are AmerisourceBergen Corporation, AmerisourceBergen Drug Corporation, Bellco
 Drug Corp., American Medical Distributors, Inc., McKesson Corporation, PSS World Medical, Inc., Cardinal
 Health, Inc., and Kinray LLC, as well as any other Released Entities, as that term is defined in the New York
 Agreement, that have been named as defendants in any of the cases listed in Exhibit A. See Exhibit A; Settling
 Distributors’ Motion Exhibit B at 8-9 & Ex. F thereto.
